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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                               )      Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al., 1                       )      Case No. 20-61065 (PWB)
                                                     )
                                                     )
               Debtors.                              )      (Jointly Administered)
                                                     )

              CONSOLIDATED FIRST AND FINAL APPLICATION FOR
            ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES

         King & Spalding LLP (“K&S”), counsel to the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), Scroggins & Williamson, P.C. (“S&W”), conflicts

counsel to the Debtors, Alvarez & Marsal North America, LLC (“A&M”), retained to provide

Jonathan Tibus as the Debtors’ chief restructuring officer and certain additional personnel, Piper

Sandler & Co. (“Piper Sandler”), investment banker to the Debtors, Kelley Drye & Warren LLP

(“Kelley Drye”), counsel to the Official Committee of Unsecured Creditors (the “Committee”),

Arnall Golden Gregory LLP (“AGG”), co-counsel to the Committee, and FTI Consulting, Inc.

(“FTI”), financial advisor to the Committee (collectively, the “Case Professionals”) hereby

submit this first and final application (the “Application”) seeking allowance of compensation and

reimbursement of expenses pursuant to sections 330 and 331 of Title 11 of the United States

Code (the “Bankruptcy Code”) and Rule 2016(a) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), any applicable local bankruptcy rules of the United States Bankruptcy


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.


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Court for the Northern District of Georgia (the “Local Bankruptcy Rules”), the Amended and

Restated General Order 26-2019, Procedures for Complex Chapter 11 Cases, dated November

4, 2019 (the “Complex Case Procedures”), and the United States Trustee Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the

“UST Guidelines”) for the period commencing on January 19, 2020 through and including July

31, 2020 (the “Compensation Period”). In support of this Application, the Case Professionals

respectfully represent as follows:

                                          Jurisdiction

       1.      The United States Bankruptcy Court for the Northern District of Georgia has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. Consideration of this

Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       2.      Venue of this proceeding is proper before this Court pursuant to 28 U.S.C. §§

1408 and 1409.

                                         Background

       3.      On January 19, 2020 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code with the Court. On January 22, 2020, the

Court entered an order [Docket No. 33] authorizing the joint administration and procedural

consolidation of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b). No request has

been made for the appointment of a trustee or examiner in these Chapter 11 Cases.

       4.      On February 11, 2020, the United States Trustee for the Northern District of

Georgia (the “U.S. Trustee”) appointed the Committee.         See Appointment and Notice of

Appointment of Committee of Creditors Holding Unsecured Claims [Docket No. 143].




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       5.      Prior to Closing the sale of substantially all of the Debtors’ assets on May 18,

2020 (the “Closing Date”), the Debtors operated their businesses and managed their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       6.      The factual background relating to the Debtors’ commencement of these chapter

11 cases is set forth in detail in the Declaration of Jonathan M. Tibus in Support of Chapter 11

Petitions and First Day Pleadings [Docket No. 17] (the “First Day Declaration”) filed on the

Petition Date and incorporated herein by reference.

       7.      On the Closing Date, the Debtors closed the sale of substantially all of their assets

pursuant to that certain Asset Purchase Agreement, dated as of May 6, 2020, between DB KRST

Investors LLC (the “Purchaser”) and Debtor The Krystal Company, as amended by that certain

First Amendment to Asset Purchase Agreement, dated as of May 12, 2020 between Purchaser

and Debtor The Krystal Company (as further amended, supplemented, or otherwise modified

from time to time and including all related instruments, documents, exhibits, schedules, and

agreements thereto, collectively, the “Agreement”).

       8.      The Debtors filed a motion to dismiss these cases on August 17, 2020 [Docket

No. 596] (the “Dismissal Motion”).        The Dismissal Motion is scheduled to be heard on

September 22, 2020 at 10:00 a.m. ET. See Notice of Hearing [Docket No. 598].

       9.      This Application has been prepared in accordance with the Bankruptcy Rules, the

Local Bankruptcy Rules, the Complex Case Procedures, and the UST Guidelines.

       10.     The Case Professionals represent that the Debtors have received and reviewed this

Application. The Debtors have found that this Application accurately represents the work done

by the Case Professionals and approves the request for compensation and reimbursement sought

in this Application.




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       11.     The Debtors have filed their monthly operating reports for all periods through

August 9, 2020, and will pay all quarterly U.S. Trustee fees as and when due.

                              Retention of the Case Professionals

       12.     On February 5, 2020, the Debtors applied to the Court for an order approving the

retention of K&S as its bankruptcy counsel [Docket No. 123] (the “K&S Retention Application”)

to perform legal services necessary to enable the Debtors to execute their financial restructuring

through chapter 11. On February 10, 2020, the Court entered an order [Docket No. 135] (the

“K&S Retention Order”) authorizing the Debtors to retain K&S as its counsel under the terms set

forth in the K&S Retention Application.

       13.     On February 5, 2020, the Debtors applied to the Court for an order approving the

retention of S&W as its conflicts counsel [Docket No. 124] (the “S&W Retention Application”).

On February 10, 2020, the Court entered an order [Docket No. 136] (the “S&W Retention

Order”) authorizing the Debtors to retain S&W as its conflict counsel under the terms set forth in

the S&W Retention Application.

       14.       On February 5, 2020, the Debtors applied to the Court for an order approving

the retention of A&M [Docket No. 125] (the “A&M Retention Application”) to provide Jonathan

Tibus as the Debtors’ chief restructuring officer and certain additional personnel. On February

10, 2020, the Court entered an order [Docket No. 137] (the “A&M Retention Order”) authorizing

the Debtors to retain A&M to provide Jonathan Tibus as the Debtors’ chief restructuring officer

and certain additional personnel under the terms set forth in the A&M Retention Application.

       15.     On February 5, 2020, the Debtors applied to the Court for an order approving the

retention of Piper Sandler as its investment banker [Docket No. 126] (the “Piper Sandler

Retention Application”). On February 10, 2020, the Court entered an order [Docket No. 138]




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(the “Piper Sandler Retention Order”) authorizing the Debtors to retain Piper Sandler as its

investment banker under the terms set forth in the Piper Sandler Retention Application.

       16.     On March 2, 2020, the Committee applied to the Court for an order approving the

retention of Kelley Drye as its counsel [Docket No. 209] (the “Kelley Drye Retention

Application”). On March 3, 2020, the Court entered an order [Docket No. 214] (the “Kelley

Drye Retention Order”) authorizing the Committee to retain Kelley Drye as its counsel under the

terms set forth in the Kelley Drye Retention Application.

       17.     On February 28, 2020, the Committee applied to the Court for an order approving

the retention of AGG as co-counsel to the Committee [Docket No. 203] (the “AGG Retention

Application”). On March 3, 2020, the Court entered an order [Docket No. 213] (the “AGG

Retention Order”) authorizing the Committee to retain AGG as its co-counsel under the terms set

forth in the AGG Retention Application.

       18.     On March 3, 2020, the Committee applied to the Court for an order approving the

retention of FTI as its financial advisor [Docket No. 217] (the “FTI Retention Application” and,

together with the K&S Retention Application, S&W Retention Application, A&M Retention

Application, Piper Sander Retention Application, Kelley Drye Retention Application, and AGG

Retention Application, the “Retention Applications”). On March 4, 2020, the Court entered an

order [Docket No. 226] (the “AGG Retention Order” and, together with the K&S Retention

Order, S&W Retention Order, A&M Retention Order, Piper Sander Retention Order, Kelley

Drye Retention Order, and AGG Retention Order, the “Retention Orders”) authorizing the

Committee to retain FTI as its financial advisor under the terms set forth in the FTI Retention

Application.




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   Summary of Professional Compensation and Reimbursement of Expenses Requested

       19.    Pursuant to this Application, the Case Professionals seek final allowance of

compensation for professional services performed and reimbursement of expenses incurred in

connection with the rendition of the professional services during the Compensation Period as set

forth below and on Exhibits A-1 through A-7 attached hereto.

       a.     K&S seeks final allowance of compensation for professional services
              performed during the Compensation Period in the amount of
              $1,533,613.50 and reimbursement of expenses incurred in connection with
              the rendition of such services in the amount of $8,886.80. During the
              Compensation Period, K&S attorneys and paraprofessionals expended a
              total of 1,817.9 hours in connection with the necessary services
              performed.

       b.     S&W seeks final allowance of compensation for professional services
              performed during the Compensation Period in the amount of $258,800.00
              and reimbursement of expenses incurred in connection with the rendition
              of such services in the amount of $388.22. During the Compensation
              Period, S&W attorneys and paraprofessionals expended a total of 528.1
              hours in connection with the necessary services performed.

       c.     A&M seeks final allowance of the Completion Fee (as defined in the
              A&M Retention Application) in the amount of $250,000.00, compensation
              for professional services performed during the Compensation Period in the
              amount of $1,998,270.00 and reimbursement of expenses incurred in
              connection with the rendition of such services in the amount of
              $16,314.90. During the Compensation Period, A&M professionals
              expended a total of 2,877.7 hours in connection with the necessary
              services performed.

       d.     Piper Sandler seeks final allowance of the Sale Fee (as defined in the Piper
              Sandler Retention Application) and Monthly Fees (as defined in the Piper
              Sandler Retention Application) incurred during the Compensation Period
              in the amount of $1,732,500.00 and reimbursement of expenses incurred
              in connection with the rendition of such services in the amount of
              $8,064.03.

       e.     Kelley Drye seeks final allowance of compensation for professional
              services performed during the Compensation Period in the amount of
              $545,266.35 and reimbursement of expenses incurred in connection with
              the rendition of such services in the amount of $3,049.68. During the
              Compensation Period, Kelley Drye attorneys and paraprofessionals



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               expended a total of 786 hours in connection with the necessary services
               performed.

       f.      AGG seeks final allowance of compensation for professional services
               performed during the Compensation Period in the amount of $171,381.00
               and reimbursement of expenses incurred in connection with the rendition
               of such services in the amount of $1,432.15. During the Compensation
               Period, AGG attorneys and paraprofessionals expended a total of 277.8
               hours in connection with the necessary services performed.

       g.      FTI seeks final allowance of compensation for professional services
               performed during the Compensation Period in the amount of $182,857.95
               and for reimbursement of expense incurred in connection with the
               rendition of such services in the amount of $1,978.22. During the
               Compensation Period, FTI professionals expended a total of 247.5 hours
               in connection with the necessary services performed.

       20.     The fees charged by the Case Professionals in these chapter 11 cases are billed in

accordance with the Case Professionals’ existing billing rates and procedures in effect during the

Compensation Period and as set forth in detail in the Retention Applications.          The Case

Professionals submit that the fees are reasonable based on the customary compensation charged

by comparably skilled practitioners in comparable bankruptcy and non-bankruptcy cases in a

competitive national legal market.

       21.     Summaries of the actual and necessary expenses incurred by each Case

Professionals are attached hereto as Exhibits B-1 through B-7.

       22.     Summaries of the legal services rendered by K&S, S&W, Kelley Drye, and AGG

are attached hereto as Exhibits C-1 through C-4. The services rendered by each of these legal

Case Professionals during the Compensation Period can be grouped in the project categories or

task codes set forth in Exhibits C-1 through C-4. The legal Case Professionals attempted to

place the services performed in the category that best relates to the services provided. However,

because certain services may relate to more than one category, services pertaining to one

category may in fact be included in another category.



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       23.     The actual detailed daily time entries and the invoices for all work performed by

each Case Professional during the Compensation Period are attached as Exhibits D-1 through D-

7.

       24.     To the best of each Case Professional’s knowledge, this Application complies

with sections 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016, the Complex Case

Procedures, and the UST Guidelines.

                              Reasonable and Necessary Services

       25.     The foregoing professional services performed by the Case Professionals were

necessary and appropriate to the administration of the Debtors’ chapter 11 cases. The

professional services performed by the Case Professionals were in the best interests of the

Debtors and their stakeholders. Compensation for such services is commensurate with the

complexity, importance, and nature of the issues and tasks that were involved in these cases. The

professional services were performed skillfully and efficiently.

       26.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

to the extent section 330 of the Bankruptcy Code is applicable to each Case Professional, it is

respectfully submitted that the amount requested by each Case Professional is fair and reasonable

given (a) the initial posture of these cases and the nature of this reorganization; (b) the

complexity of these cases; (c) the time and labor required to represent the Debtors or the

Committee effectively; (d) the nature and extent of services rendered; (e) each Case

Professional’s experience, reputation and ability; (f) the value of each Case Professional’s

services; and (g) the cost of comparable services other than in a case under the Bankruptcy Code.




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             Compliance with Rule 2016 of Federal Rules of Bankruptcy Procedure

       27.      In accordance with Rule 2016 of the Federal Rules of Bankruptcy Procedure, the

Case Professionals hereby state that (a) all services for which compensation is sought herein

were rendered to the Debtors or the Committee, as applicable, solely in connection with the

Debtors’ chapter 11 cases; (b) to date on a postpetition basis each Case Professional has received

only those payments made to it by the Debtors pursuant to the Retention Orders; (c) no

agreement or understanding exists between any Case Professional and any other person for the

sharing of compensation to be received for services rendered in or in connection with these

cases; and (d) no division of compensation will be made by any Case Professional, except as

between members of each Case Professional, and no agreement prohibited by 18 U.S.C. § 155 or

section 504 of the Bankruptcy Code has been made.

                                              Notice

       28.      The Case Professionals have provided notice of this Application to: (a) the U.S.

Trustee; (b) counsel to the Committee; (c) counsel to the administrative agent for the Debtors’

prepetition credit facilities; (d) the Internal Revenue Service; (e) the Georgia Department of

Revenue; (f) the Attorney General for the State of Georgia; (g) the United States Attorney for the

Northern District of Georgia; (h) the state attorneys general for states in which the Debtors

conduct business; and (i) any party that has requested notice pursuant to Bankruptcy Rule 2002.

In light of the nature of the relief requested, the Case Professionals submit that no further notice

is necessary.

                                        No Prior Request

       29.      No prior request for the relief sought in the Application has been made to this or

any other court.




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       WHEREFORE, the Case Professionals respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit E, granting the relief requested herein and

further relief as the Court may deem just and proper.



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Date: September 21, 2020                Respectfully submitted,
      Atlanta, Georgia
                                        KING & SPALDING LLP


                                        /s/ Sarah R. Borders
                                        Sarah R. Borders
                                        Georgia Bar No. 610649
                                        Jeffrey R. Dutson
                                        Georgia Bar No. 637106
                                        Leia Clement Shermohammed
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                                        Counsel for the Debtors in Possession

                                        -AND-

                                        SCROGGINS & WILLIAMSON, P.C.


                                        /s/ J. Robert Williamson
                                        J. Robert Williamson
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                                        Conflicts Counsel for the Debtors in
                                        Possession

                                        -AND-
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                                        ALVAREZ & MARSAL NORTH AMERICA,
                                        LLC


                                        /s/ Jonathan Tibus
                                        Jonathan Tibus
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                                        Atlanta, Georgia 30326
                                        Telephone: (404) 260-4040
                                        Email: JTibus@alvarezandmarsal.com

                                        -AND-

                                        PIPER SANDLER & CO.


                                        /s/ Teri Stratton
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                                        Suite 1675
                                        Los Angeles, California 90071
                                        Telephone: (310) 297-6030
                                        Email: teri.stratton@psc.com

                                        -AND-

                                        KELLEY DRYE & WARREN LLP


                                        /s/ Eric Wilson
                                        Eric Wilson (admitted pro hac vice)
                                        Maeghan J. McLoughlin (admitted pro hac vice)
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                                        New York, New York 10178
                                        Telephone: (212) 808-5087
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                                        Counsel to the Official Committee of
                                        Unsecured Creditors

                                        -AND-
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                                        ARNALL GOLDEN GREGORY LLP

                                        /s/ Darryl S. Laddin
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                                        Sean C. Kulka
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                                        Co-Counsel to the Official Committee of
                                        Unsecured Creditors

                                        -AND-

                                        FTI CONSULTING, INC.


                                        /s/ Clifford A. Zucker
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                                                EXHIBIT A-1

                                 THE KRYSTAL COMPANY, ET AL.

                                        Compensation Period
                                January 19, 2020 Through July 31, 2020
                                        King & Spalding LLP

                                             Year                        2020
                                           Admitted        Hours        Hourly           Total
                 Timekeeper               to Practice      Billed        Rate         Compensation

                                                    Partners

          Sarah Borders                       1989         396.8         $1215           $482,112.00
          Sam Choy                            1992           2           $1235             $2,470.00
          Jeff Dutson                         2010         275.8         $1005           $277,179.00
          Shelby Guilbert                     2004          2.2           $950             $2,090.00
          Natasha Moffitt                     2001         90.4          $9852            $89,036.50
          Phyllis Sumner                      1990          34           $1025            $34,850.00
                             Totals                        801.2                         $887,737.50

                                                   Associates

          Britney Baker                       2018         253.8         $560            $142,128.00
          Kelley Chittenden                   2018         10.9          $6503             $6,797.00
          Amy Dehnel                          2012         14.9          $710             $10,792.00
          Daniel Fowler                       2017           8           $590              $4,720.00
          Andrew James                        2019           9           $475              $4,275.00
          Christian Sae                       2018          9.9          $800              $7,920.00
          Nell Schiller                       2011          1.5          $920              $1,380.00
          Leia Shermohammed                   2015         691.9         $670            $463,573.00
                         Totals                            999.9                         $641,372.00

                                               Staff Attorneys

          Kelly Henning                       2014           1.8         $350                  $630.00
                             Totals                          1.8                               $630.00

                                         Specialists and Paralegals

2
    Natasha Moffitt’s billing rate increased during the Compensation Period. In January 2020, Ms. Moffitt’s billed
    8.8 hours at $984.15 per hour and, for the remainder of the Compensation Period, 81.6 hours at $985.00.
3
    Kelley Chittenden’s billing rate decreased during the Compensation Period. In February 2020, Ms. Chittenden
    billed 7.7 hours at $650.00 per hour and, in March 2020, 3.2 hours at $560.00.
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                                   Year                       2020
                                 Admitted         Hours      Hourly        Total
             Timekeeper         to Practice       Billed      Rate      Compensation

        Karen Osborne                              2.9        $330            $957.00
        Cliff Russell                              5.4        $230          $1,242.00
        Andra Sambataro                            6.7        $250          $1,675.00
                      Totals                       15                       $3,874.00


                                                                         Total Compensation
                                                         Total Billed
                                                              Hours
 Total Attorneys and ParaCase Professionals                  1,817.9             $1,533,613.50


 Blended Hourly Rate for Attorneys and ParaCase Professionals            $ 843
 Blended Hourly Rate for Attorneys                                       $ 848
 Blended Hourly Rate for ParaCase Professionals                          $ 258




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                                      EXHIBIT A-2

                          THE KRYSTAL COMPANY, ET AL.

                                 Compensation Period
                         January 19, 2020 Through July 31, 2020
                             Scroggins & Williamson, P.C.

                                    Year                     2020
                                  Admitted     Hours        Hourly        Total
             Timekeeper          to Practice   Billed        Rate      Compensation

                                      Shareholder

        J. Robert Williamson        1986        278.5        $520        $144,820.00
        Ashley R. Ray               1999        212.3        $465         $98,719.50
                        Totals                  490.8                    $243,539.50

                                           Counsel

        J. Hayden Kepner, Jr.       1991         3.3         $475           $1,567.5
        Matthew W. Levin            1991        26.2         $475         $12,445.00
                      Totals                    29.5                      $14,012.50

                                       Paralegals

        Lisa Forster                             7.8         $160          $1,248.00
                        Totals                   7.8                       $1,248.00


                                                                        Total Compensation
                                                        Total Billed
                                                             Hours
 Total Attorneys and ParaCase Professionals                   528.1             $258,800.00


 Blended Hourly Rate for Attorneys and ParaCase Professionals           $ 490
 Blended Hourly Rate for Attorneys                                      $ 496
 Blended Hourly Rate for ParaCase Professionals                         $ 160
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                                   EXHIBIT A-3

                       THE KRYSTAL COMPANY, ET AL.

                               Compensation Period
                       January 19, 2020 Through July 31, 2020
                                 Alvarez & Marsal

      Fee Summary – Completion Fee
                          Fee                             Amount Incurred
      Completion Fee                                        $250,000.00
      Total                                                 $250,000.00


      Fee Summary – Professional Fees
        Professional         Position       Rate   Total Hours       Total Fees
      Jonathan Tibus    Managing Director   $950      548.6           $521,170.00
      Michael Shenk     Director            $750      791.3           $593,475.00
      Michael Larem     Director            $725        3               $2,175.00
      Jonathan Simpson Associate            $575      990.3           $569,422.50
      Rob Esposito      Director            $675      227.3           $153,427.50
      Tyler Potesta     Consultant          $500      317.2           $158,600.00
                     Totals                          2877.7         $1,998,270.00

                                                           Blended Hourly Rate: $694

                                                                Total Fees: $2,248,270.00
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                                  EXHIBIT A-4
                          THE KRYSTAL COMPANY, ET AL.

                                 Compensation Period
                         January 19, 2020 Through July 31, 2020
                                  Piper Sandler & Co.

                                      Fee Summary

Fee Summary – Transaction Fee
                        Fee                                 Amount Incurred
Sale Fee, Gross (4% of Transaction Value)                    $1,620,000.00
Less: Monthly Fee Credits (50% of each Monthly Fee)          ($187,500.00)
Sale Fee, Net of Monthly Credits                             $1,432,500.00

Fee Summary – Monthly Fees
                     Fee                                    Amount Incurred
January Monthly Fee                                            $75,000.00
February Monthly Fee                                           $75,000.00
March Monthly Fee                                              $75,000.00
April Monthly Fee                                              $75,000.00
Monthly Fees                                                  $300,000.00

                            Total Fees Owed During Compensation Period: $1,732,500.00
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                                    EXHIBIT A-5

                          THE KRYSTAL COMPANY, ET AL.

                                Compensation Period
                        January 19, 2020 Through July 31, 2020
                             Kelley Drye & Warren LLP

                                  Year
                                 Admitted                  2020
                                    to        Hours       Hourly        Total
             Timekeeper          Practice     Billed       Rate      Compensation

                                       Partners

        James R. Adams             2000       27.6        $729          $20,120.40
        James S. Carr              1987       19.8        $855          $16,929.00
        Eric R. Wilson             1997       253.5      $841.50       $213,320.25
                       Totals                 300.9                    $258,784.65

                                    Special Counsel

        Benjamin D. Feder          1985        29.2      $715.50        $20,892.60
        Jennifer D. Raviele        2009         .7        $531             $371.70
                       Totals                  29.9                     $21,264.30

                                      Associates

        Kayci G. Hines             2016       129.0        $468         $51,480.00
        Maeghan J. McLoughlin      2018       310.2        $702        $217,760.40
                       Total                  439.2                    $268,912.80

                                      Paralegals

        Diane M Kubel                           .9        $274.5           $247.05
        Marie M. Vicinanza                     15.1       $274.5         $4,144.95
                      Totals                    16                        $4392.00


                                                                      Total Compensation
                                                      Total Billed
                                                           Hours
 Total Attorneys and ParaCase Professionals                   786             $545,266.35
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 Blended Hourly Rate for Attorneys and ParaCase Professionals   $ 693
 Blended Hourly Rate for Attorneys                              $ 702
 Blended Hourly Rate for ParaCase Professionals                 $ 274.5
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                                      EXHIBIT A-6

                          THE KRYSTAL COMPANY, ET AL.

                                 Compensation Period
                         January 19, 2020 Through July 31, 2020
                              Arnall Golden Gregory LLP

                                    Year
                                   Admitted                 2020
                                      to       Hours       Hourly        Total
             Timekeeper            Practice    Billed       Rate      Compensation

                                         Partners

        Sean C. Kulka                1998      195.9        $625        $122,437.50
        Darryl S. Laddin             1990      64.1         $670         $42,947.00
        Ronald A. Weiner             1994        .8         $725            $580.00
        Zach Wilson                  2009        .3         $615            $184.50
                        Totals                 261.1                    $166,149.00

                                      Staff Attorney

        Meghan J. Wells              2016       15.9        $315          $5008.50
                      Totals                    15.9                      $5008.50

                                 Specialists and Paralegals

        Toussant S. Jackson                      .5         $150               $75
        Jennifer M. Waite                        .3         $495            $148.5
                       Totals                    .8                        $223.50


                                                                       Total Compensation
                                                       Total Billed
                                                            Hours
 Total Attorneys and ParaCase Professionals                   277.8            $171,381.00


 Blended Hourly Rate for Attorneys and ParaCase Professionals          $ 616
 Blended Hourly Rate for Attorneys                                     $ 617
 Blended Hourly Rate for ParaCase Professionals                        $ 279
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                                      EXHIBIT A-7

                           THE KRYSTAL COMPANY, ET AL.

                                  Compensation Period
                          January 19, 2020 Through July 31, 2020
                                      FTI Consulting

         Professional                 Position             Rate       Total    Total
                                                                     Hours     Fees
    Scott D. Friedland        Senior Managing Director        $985      2.5   $2,462.50
    Steven Joffe              Senior Managing Director       $1125 10.6      $11,925.00
    Steven Simms              Senior Managing Director       $1295      5.8   $7,511.00
    Clifford Zucker           Senior Managing Director        $985     127 $125,095.00
    Kelsey Hopkins            Senior Consultant               $530      9.2   $4,876.00
    Michelle Kuan             Senior Consultant               $660     83.9  $55,374.00
    Marili Hellmund-Mora Associate                            $280      8.5   $2,380.00
                       Total (Before Reduction)                       247.5 $209,623.50
                  Less: 50% discount for non-working travel time ($6,448.00)
                          Less: 10% voluntary reduction ($20,317.55)
                             Grand Total                              247.5 $182,857.95

                                                                       Blended Rate: $764
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                                     EXHIBIT B-1


                            THE KRYSTAL COMPANY, ET AL.


                         Summary of Disbursements and Charges

                                 Compensation Period
                         January 19, 2020 Through July 31, 2020
                                 King & Spalding LLP

        Disbursements                                              Amount

        Color Copies                                               $273.00
        Computer Research                                         $1,656.31
        Corporate Filings                                            $0.00
        Document Delivery                                          $166.99
        Document Retrieval                                           $0.00
        Duplicating Costs                                         $1,465.50
        Filing Fees                                               $5,151.00
        Telephone/Conference Calls                                   $0.00
        Transcription Services                                       $0.00
        Transportation Costs                                        $54.00
        Professional Fees                                          $120.00
                TOTAL                                             $8,886.80
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                                    EXHIBIT B-2


                          THE KRYSTAL COMPANY, ET AL.


                        Summary of Disbursements and Charges

                                Compensation Period
                        January 19, 2020 Through July 31, 2020
                            Scroggins & Williamson, P.C.

        Disbursements                                            Amount

        Lexis                                                    $210.70
        Pacer Service Center                                      $68.70
        Parking                                                   $72.00
        Photocopies                                               $22.80
        Postage                                                   $14.55
                  TOTAL                                          $388.22
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                                   EXHIBIT B-3


                       THE KRYSTAL COMPANY, ET AL.


                      Summary of Disbursements and Charges

                              Compensation Period
                      January 19, 2020 Through July 31, 2020
                                Alvarez & Marsal

              Professional             Position        Total Expenses
          Jonathan Tibus        Managing Director              $1,186.98
          Michael Shenk         Director                         $246.75
          Michael Larem         Director                           $0.00
          Jonathan Simpson      Associate                          $0.00
          Rob Esposito          Director                       $6,859.99
          Tyler Potesta         Consultant                     $8,021.18
                             Total                            $16,314.90
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                                    EXHIBIT B-4


                          THE KRYSTAL COMPANY, ET AL.


                        Summary of Disbursements and Charges

                                Compensation Period
                        January 19, 2020 Through July 31, 2020
                                 Piper Sandler & Co.

        Disbursements                                             Amount

        Ground Transport                                          $790.05
        Airfare                                                  $3,987.41
        Lodging                                                  $2,791.76
        Meals                                                     $475.83
        Other                                                      $18.98
                  TOTAL                                          $8,064.03
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                                     EXHIBIT B-5


                          THE KRYSTAL COMPANY, ET AL.


                         Summary of Disbursements and Charges

                                 Compensation Period
                         January 19, 2020 Through July 31, 2020
                              Kelley Drye & Warren LLP

        Disbursements                                             Amount

        Binding                                                      $9.98
        Courier                                                     $27.68
        Duplication                                                $220.90
        Legal Research                                             $774.17
        Lodging                                                    $541.62
        Meals                                                        $9.62
        Travel                                                     $989.31
        Telephone                                                  $116.00
        UCC/Lien Search                                            $360.40
                  TOTAL                                           $3049.68
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                                      EXHIBIT B-6


                          THE KRYSTAL COMPANY, ET AL.


                         Summary of Disbursements and Charges

                                  Compensation Period
                          January 19, 2020 Through July 31, 2020
                               Arnall Golden Gregory LLP

        Disbursements                                               Amount

        Online Research                                              $69.62
        Pro Hac Vice Admission Fees                                 $300.00
        Postage                                                      $92.60
        Deposition Transcripts                                      $966.45
        Local Travel                                                  $3.48
                  TOTAL                                            $1,432.15
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                                     EXHIBIT B-7


                          THE KRYSTAL COMPANY, ET AL.


                         Summary of Disbursements and Charges

                                 Compensation Period
                         January 19, 2020 Through July 31, 2020
                                     FTI Consulting

        Disbursements                                              Amount

        Airfare                                                    $910.81
        Lodging                                                    $583.04
        Transportation                                             $339.81
        Working Meals                                              $144.56
                  TOTAL                                           $1,978.22
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                                       EXHIBIT C-1

                                     Project Categories

             Compensation Period: January 19, 2020 Through July 31, 2020
                               King & Spalding LLP


 Task
 Code   Task Description                                      Hours             Value

 B110   Case Administration                                    316.2       $270,561.00
 B120   Asset Analysis and Recovery                                0             $0.00
 B130   Asset Disposition                                      600.1       $530,876.00
 B140   Relief from Stay / Adequate Protection                  27.0        $23,568.00
 B150   Meetings of and Communications with Creditors           22.7        $17,975.00
 B160   Fee/Employment Applications                             23.7        $17,655.00
 B170   Fee/Employment Objections                                  0             $0.00
 B180   Avoidance Action Analysis                                  0             $0.00
 B185   Assumption/Rejection of Leases and Contracts            55.4        $43,359.50
 B190   Other Contested Matters (excluding assump/rej.
        motions)                                                23.9        $24,019.50
 B210   Business Operations                                      5.5         $5,237.00
 B220   Employee Benefits/Pensions                              49.8        $37,833.50
 B230   Financing/Cash Collections                              74.6        $90,639.00
 B240   Tax Issues                                                 0             $0.00
 B250   Real Estate                                              5.4         $1,242.00
 B260   Board of Directors Meeting                               8.9         $9,372.50
 B310   Claims Administration and Objections                     0.2          $243.00
 B320   Plan and Disclosure Statement (including Business
        Plan)                                                    2.1         $1,708.50
 B410   General Bankruptcy Advice/Opinions                     437.4       $272,281.00
 B420   Restructurings                                          13.9        $44,917.00
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                                    EXHIBIT C-2

                                  Project Categories

              Compensation Period: January 19, 2020 Through July 31, 2020
                            Scroggins & Williamson, P.C.


 Task Description                                       Hours               Value

 Asset Disposition                                         5.8       $2,691.00
 Case Administration                                     148.6      $72,222.00
 Employment and Fee Apps                                   3.4       $1,647.00
 Financing and Cash Collateral                           283.4     $139,890.00
 First/Second Day                                          48       $23,436.50
 Meetings/Comms w/ Creditors                              21.1      $10,631.00
 Other Motions/Applications                               17.8       $8,277.00
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                                       EXHIBIT C-3

                                   Project Categories

             Compensation Period: January 19, 2020 Through July 31, 2020
                            Kelley Drye & Warren LLP


 Matter Task Description                                       Hours            Value

 0001    Case Administration                                     21.3       $13,655.25
 0002    Pleadings Review                                         4.3        $2,989.80
 0003    Retention Matters (Applications & Objections)           39.5       $23,782.95
 0004    Fee Matters                                             77.7       $42,646.05
 0005    Financing and Cash Collateral                          185.5      $139,851.90
 0006    Asset Analysis, Recovery and Disposition               163.1      $119,078.45
 0007    Executory Contracts and Leases                          17.4       $11,999.70
 0008    Claims Administration, Analysis & Objection             10.1        $6,213.15
 0009    Claims Administration, Analysis & Objection               15         $9020.7
 0010    Disclosure Statement & Plan                               .8          $645.3
 0011    Committee and Creditor Communications                  134.9      $100,804.00
 0012    Business Operations                                     25.4       $18,039.00
 0013    Court Hearings                                            60       $46,627.00
 0014    Relief From Stay/Adequate Protection                     1.8        $1,361.00
 0019    Meetings/Communications with Debtors                     8.9        $6,791.00
 0020    Insider Investigation                                   10.9         $761.40
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                                        EXHIBIT C-4

                                     Project Categories

             Compensation Period: January 19, 2020 Through July 31, 2020
                            Arnall Golden Gregory LLP

 Task
 Code   Task Description                                      Hours            Value

 B110   Case Administration                                     11.1        $6,745.00
 B120   Asset Disposition                                         41       $26,259.50
 B130   Asset Analysis and Recovery                             10.5        $6,690.00
 B140   Relief from Stay / Adequate Protection                   3.2        $2,000.00
 B150   Meetings of and Communications with Creditors         1825.4        $8009.30
 B160   Fee/Employment Applications                             32.4       $20,691.00
 B170   Fee/Employment Objections                               23.7       $15,087.00
 B180   Avoidance Action Analysis                                0.7         $437.50
 B185   Assumption/Rejection of Leases and Contracts            14.6        $9,210.50
 B210   Business Operations                                     13.8        $8,743.50
 B230   Financing/Cash Collections                              66.6       $41,770.00
 B230   Claims Administration and Objections                    44.6        $4,219.00
 B320   Plan and Disclosure Statement                            0.2         $125.00
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                                  EXHIBIT D-1

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                                                                 Remit To:
                                                                 King & Spalding LLP
                                                                 P.O. Box 116133
                                                                 Atlanta, GA 30368-6133
             FEDERAL I.D. XX-XXXXXXX
                                                                 By Wire: SunTrust Bank
                                                                 ABA: 061 000 104
                                                                 SWIFT: SNTRUS3A
                                                                 USD Account: 88003 12475
                                                                 Account Name: King & Spalding


 The Krystal Company                                             Invoice No.                            10343597
 ATTN: Bruce Vermilyea                                           Invoice Date                            04/30/20
 Chief Financial Officer                                         Client No.                                13459
 1455 Lincoln Parkway E                                          Matter No.                               253001
 Suite 600
 Dunwoody, GA 30346


                                                                                               For questions, contact:
 RE: Restructuring Advice                                                            Kathryn Furman +1 404 572 3599



For Professional Services Rendered through 04/30/20:

 Fees                                                                              $                  313,011.00
 Expenses                                                                                                   393.00
 Total this Invoice                                                                $                  313,404.00




                                        Payment is Due Upon Receipt
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PROFESSIONAL SERVICES

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04/01/20   J Dutson               B110   Respond to inquiry from creditors         1.0        1,005.00
                                         (0.6); emails regarding cash
                                         collateral (0.4)
04/02/20   J Dutson               B110   Attend to outstanding motions for         0.5          502.50
                                         exclusivity and lease extension
04/03/20   S Borders              B110   Call with lenders on data privacy         0.5          607.50
                                         breach issues along with N.
                                         Moffitt and P. Sumner
04/06/20   B Baker                B110   Email correspondence concerning           0.2          112.00
                                         motions to extend exclusivity and
                                         time to assume or reject executory
                                         contracts
04/13/20   S Borders              B110   Call with T. Stratton regarding           1.8        2,187.00
                                         sale (.5); call with R. Williamson
                                         regarding strategy (.5); call with
                                         former CEO regarding 409(a)(.5);
                                         document review regarding audit
                                         (.3)
04/13/20   J Dutson               B110   Emails regarding pension                  0.8          804.00
                                         termination (0.3); review and
                                         comment on MOR (0.5)
04/14/20   S Borders              B110   Call with client regarding business       0.5          607.50
                                         issues
                                         Total B110                                5.3        5,825.50
04/01/20   B Baker                B130   Edit draft motion to extend time to       1.3          728.00
                                         assume or reject nonresidential
                                         property leases (1.0); discuss draft
                                         with L Shermohammed (.3)
04/02/20   S Borders              B130   Call with T. Stratton regarding           0.5          607.50
                                         bids
04/03/20   J Dutson               B130   Review and revise NDA                     0.5          502.50
04/05/20   B Baker                B130   Email correspondence concerning           0.2          112.00
                                         contract cure schedule
04/05/20   S Borders              B130   Review of APA received from               1.2        1,458.00
                                         bidder
04/06/20   B Baker                B130   Review draft contract cure                0.9          504.00
                                         schedule (.7); email
                                         correspondence concerning
                                         comments to contract cure
                                         schedule (.2)
04/06/20   S Borders              B130   Call with T. Stratton (.3); attention     2.2        2,673.00
                                         to sale issue (.2); call with T.
                                         Stratton (.2); review of APA
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Date       Timekeeper             Task   Description                              Hours       Value
                                         received from bidder with Piper
                                         and A&M (.5); document review
                                         regarding same (1.0)
04/06/20   J Dutson               B130   Attend bank group call regarding           2.2        2,211.00
                                         sale and prepare for same (0.5);
                                         call with M. Elliott regarding sale
                                         process (0.3); emails regarding
                                         APA and review same (0.5);
                                         review Cure Cost Schedule (0.9)
04/06/20   L Shermohammed         B130   Review cure cost schedule (.3);            2.7        1,809.00
                                         correspond with M. Shenk
                                         regarding revisions to cure cost
                                         schedule (.3); correspond with
                                         Piper team regarding legal
                                         diligence (1.3); correspond with
                                         counsel for Mississippi Power
                                         regarding cure notice and sale
                                         process (.5); correspond with KCC
                                         regarding service of cure notice
                                         (.3)
04/07/20   S Borders              B130   Call with A&M and Piper                    1.3        1,579.50
                                         regarding projected proceeds from
                                         APA Purchaser offer (.5);
                                         document review regarding same
                                         (.8)
04/07/20   S Borders              B130   Emails with Kramer Levin                   0.9        1,093.50
                                         regarding APA (0.3); review of
                                         cure costs schedule (0.3); emails
                                         with J. Dutson regarding same
                                         (0.3)
04/07/20   J Dutson               B130   Emails and calls with T. Hardin            1.3        1,306.50
                                         regarding outstanding sale
                                         dilligence (0.5); review documents
                                         related to same (0.3); review cure
                                         cost notice and schedule (0.5)
04/07/20   L Shermohammed         B130   Correspond with M. Shenk                   2.4        1,608.00
                                         regarding cure cost schedule
                                         revisions and file same (1.1);
                                         correspond with Piper team
                                         regarding Sentinel diligence
                                         requests (.6); correspond with L.
                                         Peters regarding adequate
                                         assurance information request (.3);
                                         correspond with KCC regarding
                                         service of the cure notice (.4)
04/08/20   S Borders              B130   Attention to Sentinel APA (1.7);           3.8        4,617.00
                                         prepared extract of assumed
                                         liabilities (0.5); call with Piper and
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Date       Timekeeper             Task   Description                             Hours       Value
                                         A&M (0.5); review of all
                                         administrative expenses to be paid
                                         under APA (0.5); review of bid
                                         procedures (0.3); addressed lease
                                         issues (0.3)
04/08/20   J Dutson               B130   Review and revise NDAs                    0.5          502.50
04/08/20   L Shermohammed         B130   Draft stalking horse notice               0.8          536.00
04/09/20   L Shermohammed         B130   Correspond with various creditors         1.2          804.00
                                         and the company regarding
                                         reconciling cure amounts
04/10/20   S Borders              B130   Attention to sale issues and              0.7          850.50
                                         response from bidder.
04/10/20   L Shermohammed         B130   Correspond with various creditors         0.7          469.00
                                         and the company regarding the
                                         reconciliation of cure amounts
                                         (.4); correspond with A. Wyatt
                                         regarding adequate assurance
                                         information (.3)
04/11/20   S Borders              B130   Attention to sale analysis                0.5          607.50
04/13/20   S Borders              B130   Call with T. Stratton (.3); call with     2.1        2,551.50
                                         potential bidder (.5); emails with
                                         lender’s counsel regarding APA,
                                         PBGC claims, Data Breach claims
                                         (.5); email with client regarding
                                         sale process (.4); review of
                                         Phoenix sale distribution chart (.4)
04/13/20   J Dutson               B130   Prepare for and attend bank group         2.1        2,110.50
                                         call regarding sale (0.5); call with
                                         M. Elliott regarding sale (0.3);
                                         review and revise motion to extend
                                         lease deadline and review
                                         documents related to same (1.0);
                                         call with S. Borders regarding sale
                                         process (0.3);
04/13/20   L Shermohammed         B130   Correspond with A&M regarding             0.6          402.00
                                         cure amount discrepancies
04/14/20   B Baker                B130   Review precedent and bidding              3.3        1,848.00
                                         procedures requirements regarding
                                         the same (2.3); draft notice of
                                         stalking horse bidder (1.0)
04/14/20   S Borders              B130   Attention to sale issues (0.3);           2.1        2,551.50
                                         email with T. Stratton (0.4); call
                                         with R. Williamson and J. Tibus
                                         (0.5); call with T. Stratton (0.4);
                                         emails with potential bidder (0.5)
04/14/20   J Dutson               B130   Review and revise NDA (0.7);              1.3        1,306.50
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Date       Timekeeper             Task   Description                            Hours       Value
                                         respond to inquiries regarding data
                                         breach (0.3); emails regarding
                                         extension motions and calls
                                         regarding same (0.3)
04/14/20   L Shermohammed         B130   Correspond with A&M and                  1.8        1,206.00
                                         contract counterparties regarding
                                         cure amount discrepancies (.6);
                                         review precedent for and
                                         correspond with B. Baker
                                         regarding notice of stalking horse
                                         bidder (1.2);
04/15/20   B Baker                B130   Draft notice of stalking horse           2.0        1,120.00
                                         bidder
04/15/20   S Borders              B130   Emails with lender's counsel             1.2        1,458.00
                                         regarding pension (.2); call with T.
                                         Stratton regarding bidders (.5);
                                         review of issues list from bidder
                                         and set up a call regarding same
                                         (.5)
04/15/20   J Dutson               B130   Respond to inquiry from client           1.5        1,507.50
                                         regarding sale process and
                                         litigation (0.3); emails and calls
                                         regarding cure costs (0.3); review
                                         lease order (0.3); respond to
                                         inquiries regarding NDAs (0.3);
                                         emails regarding pension
                                         termination (.3)
04/15/20   L Shermohammed         B130   Correspond with various                  1.1          737.00
                                         counterparties and A&M regarding
                                         cure amount discrepancies (.3);
                                         review and revise draft of notice of
                                         stalking horse bidder (.8)
04/16/20   B Baker                B130   Call and email correspondence            0.6          336.00
                                         concerning data room and APA
                                         schedules
04/16/20   S Borders              B130   Review of Issues list from bidder        2.3        2,794.50
                                         (.5); call with bidder and counsel
                                         to review and resolve open issues
                                         (1.5); review of revised list and
                                         email from bidder and responded
                                         to same (.3)
04/16/20   S Borders              B130   Email to and from K. DeHart              0.8          972.00
                                         regarding reconciliation of cure
                                         amount for lease; attention to lease
                                         cures
04/16/20   S Borders              B130   Call with counsel to potential           0.5          607.50
                                         bidder
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Date       Timekeeper             Task   Description                           Hours       Value
04/16/20   J Dutson               B130   Call with potential purchaser and       1.5        1,507.50
                                         prepare for same
04/17/20   S Borders              B130   Review of Nashville APA (1.4);          2.9        3,523.50
                                         call with J. Tibus and T. Stratton
                                         and team regarding same (.5);
                                         email with Sidley regarding same
                                         (.2); review of revised APA (.8)
04/17/20   J Dutson               B130   Review revised APA (0.5); Call          4.8        4,824.00
                                         with S. Borders regarding APA
                                         revisions (0.7); calls with client
                                         regarding APA issues (0.4); revise
                                         APA an emails regarding same
                                         (2.8); further revisions to APA
                                         (0.4)
04/17/20   L Shermohammed         B130   Revise APA schedules and                4.4        2,948.00
                                         correspond with M. Shenk
                                         regarding same
04/17/20   L Shermohammed         B130   Review stalking horse APA               0.9          603.00
04/18/20   S Borders              B130   Call with APA bidder (1.0);             3.4        4,131.00
                                         review of revised APA (.5); call
                                         with client regarding assumed
                                         liabilties and process for
                                         consultation rights (.5); call with
                                         UCC counsel regarding sale
                                         alternative (.4); email to lender's
                                         counsel regarding same (.2); email
                                         to Lender counsel regarding same
                                         (.1); document review regarding
                                         assumed liabilties (.7)
04/18/20   J Dutson               B130   Review and summarize APA                4.9        4,924.50
                                         issues (0.9); call with buyer
                                         regarding APA issues (1.0); call
                                         with Debtors' advisors regarding
                                         same (0.5); revisions to APA and
                                         emails with client regarding same
                                         (1.5); calls with A&M regarding
                                         APA issues (0.3); ;additional
                                         revisions to APA (0.5); email to
                                         committee counsel regarding APA
                                         (0.2)
04/18/20   L Shermohammed         B130   Review and revise APA schedules         3.6        2,412.00
                                         (1.7); draft exhibits to the APA
                                         (1.9)
04/19/20   S Borders              B130   Review of revised APA and emails        1.1        1,336.50
                                         regarding same (.6); call with
                                         potential bidder's counsel (.5)
04/19/20   J Dutson               B130   Review revisions to APA and             7.8        7,839.00
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Date       Timekeeper             Task   Description                            Hours       Value
                                         summarize same (1.3); calls with
                                         client and others regarding APA
                                         (0.5); attend to ancilary sale
                                         documents and emails regarding
                                         same (1.5); multiple revisions to
                                         APA (1.9); revise managmeent
                                         agreement (1.0); attend to escrow
                                         agreement (0.5); emails regarding
                                         diligence materials and calls
                                         regarding same (0.5); review and
                                         revise schedules to APA (0.6)
04/19/20   L Shermohammed         B130   Review APA and relate documents          1.8        1,206.00
                                         and revise APA schedules
                                         accordingly and correspond
                                         regarding same with K&S, A&M
                                         and Piper teams (1.8)
04/20/20   B Baker                B130   Compile KYC information for              3.6        2,016.00
                                         good faith escrow deposit (2.8);
                                         email correspondence regarding
                                         the same (.8)
04/20/20   S Borders              B130   Call with T. Stratton regarding call     4.5        5,467.50
                                         with lenders on APA (.3); call with
                                         T. Stratton regarding management
                                         meeting (.5); call with Nashville
                                         Capital regarding APA (.5);
                                         review and revisions to APA (.7);
                                         review of motion to approve
                                         stalking horse and email to Sidley
                                         regarding same (.7); review of sale
                                         issues (.3); call with J. Edwards
                                         regarding same (.4); call with
                                         UCC regarding sale issues (.5);
                                         review of motion for standing (.4);
                                         email with R. Williamson
                                         regarding same (.2)
04/20/20   J Dutson               B130   All hands call regarding APA             8.1        8,140.50
                                         (0.5); revisions to same (1.5);
                                         review and revise schedules (0.5);
                                         emails and calls with client
                                         regarding outstanding sale issues
                                         (1.0); calls with Purchaser's
                                         counsel (0.5); review revised sale
                                         documents and emails regarding
                                         same (2.5); review and revise
                                         ancillary documents (1.0); draft
                                         summary of outstanding issues for
                                         S. Borders and calls regarding
                                         same (0.6)
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Date       Timekeeper             Task   Description                           Hours       Value
04/20/20   L Shermohammed         B130   Draft motion to approve the             7.7        5,159.00
                                         stalking horse agreement (4.7);
                                         review management agreement
                                         (.3); review revised APA and
                                         conform APA schedules (1.6);
                                         emails regarding the APA and
                                         APA schedules (.3); correspond
                                         with various creditors regarding
                                         cure costs (.8)
04/21/20   B Baker                B130   Compile KYC information for             1.9        1,064.00
                                         good faith escrow deposit (.5);
                                         email correspondence regarding
                                         the same (1.4)
04/21/20   S Borders              B130   Review of APA (1.3); emails with        5.2        6,318.00
                                         purchaser (0.4); attention to open
                                         issues (1.0); call with
                                         Restructuring Committee (0.5);
                                         call with client (0.5); calls
                                         regarding cure costs and
                                         challenges to same (1.0); emails
                                         regarding same (0.3); call with
                                         potential bidder and counsel
                                         regarding their desire to bid (0.7)
04/21/20   J Dutson               B130   Review revisions to APA and             5.2        5,226.00
                                         schedules and summarize same to
                                         team (1.5); review Escrow
                                         agreement and emails regarding
                                         same (0.4); revise APA, Schedules
                                         and related documents (1.0);
                                         attend to execution of APA and
                                         review execution version (1.0);
                                         emails to committee regarding
                                         same (0.3)
04/21/20   L Shermohammed         B130   Correspond with various parties         5.2        3,484.00
                                         and A&M regarding cure costs
                                         (1.5); correspond with KCC
                                         regarding service of stalking horse
                                         motion (.2); revise and stalking
                                         horse motion (1.8); draft and
                                         revise motion to expedite hearing
                                         on stalking horse motion (1.1);
                                         correspond with the Court
                                         regarding the stalking horse
                                         motion (.2); emails regarding
                                         execution of the APA and related
                                         documents (.2); emails to other
                                         potential purchasers regarding the
                                         APA and schedules (.2)
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Date       Timekeeper             Task   Description                           Hours       Value
04/22/20   B Baker                B130   Email correspondence concerning         0.8          448.00
                                         good faith deposit
04/22/20   S Borders              B130   Call with Alston on HR review           1.9        2,308.50
                                         and diligence; call with K&S,
                                         A&M and Piper team regarding
                                         sale progress and alternatives
04/22/20   J Dutson               B130   Emails with committee regarding         2.3        2,311.50
                                         APA (0.5); attend to escrow
                                         agreement and good faith deposit
                                         (0.8); respond to Cure Cost issues
                                         (0.5); call with Debtor team
                                         regarding next steps (0.5)
04/22/20   L Shermohammed         B130   Conference with K&S, A&M, and           3.6        2,412.00
                                         Piper teams regarding the sale
                                         transaction (.7); correspond
                                         regarding the schedules to the
                                         stalking horse APA (.4);
                                         correspond with various creditors
                                         and A&M regarding cure costs
                                         (1.9); correspond with the
                                         company and a landlord regarding
                                         proof of insurance (.6)
04/23/20   B Baker                B130   Email correspondence concerning         0.7          392.00
                                         good faith deposit (.2); review
                                         precedent case docket concerning
                                         declarations for stalking horse
                                         purchaser (.5)
04/23/20   S Borders              B130   Call with Fortress regarding data       3.5        4,252.50
                                         breach (0.5); attention to APA
                                         issues (2.4); calls with J. Edwards
                                         regarding settlement agreement
                                         and structure (0.6)
04/23/20   J Dutson               B130   Call with committee regarding           1.7        1,708.50
                                         APA revisions and review same
                                         (0.7); call with Fortress regarding
                                         Data Breach (0.5); review
                                         adequate assurance package (0.5);
04/23/20   L Shermohammed         B130   Correspond with various creditors       6.6        4,422.00
                                         and A&M regarding cure costs
                                         (1.7); review adequate assurance
                                         package (.2); draft declarations in
                                         support of the stalking horse
                                         agreement (4.2); summarize
                                         content of schedules (.5)
04/24/20   S Borders              B130   Work on sale, multiple calls with       5.1        6,196.50
                                         committee, Piper, A&M, Fortress
                                         and their counsel
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04/24/20   J Dutson               B130   Call with NRD Capital (0.5); call       2.4        2,412.00
                                         with Fortress advisors regarding
                                         bid (0.5); call with Debtors' team
                                         regarding Fortress bid (0.5);
                                         emails regarding publication
                                         notice and review COS (0.5);
                                         emails with potential bidder (0.4);
04/24/20   L Shermohammed         B130   Draft and revise declarations in        5.7        3,819.00
                                         support of the stalking horse
                                         motion (1.5); correspond with
                                         various potential purchasers
                                         regarding the APA and schedules
                                         (.4); review and summarize cure
                                         cost objections (2.6); correspond
                                         with various creditors regarding
                                         cure costs (1.2)
04/25/20   S Borders              B130   Call with Debtors Professionals         4.3        5,224.50
                                         regarding strategy (1.2); call
                                         regarding stalking horse bid (1.1);
                                         call regarding APA and 9010
                                         settlement (1.0); call with client
                                         (1.0)
04/25/20   J Dutson               B130   Review and summarize changes to         7.3        7,336.50
                                         APA (1.2); call with S. Borders
                                         regarding same (0.3); revise APA
                                         (1.8); call with client regarding
                                         same (0.5); call with Nashville
                                         capital (0.5); review and revise
                                         ancillary documents to APA (1.0);
                                         revise settlement agreement and
                                         emails regarding same (1.0);
                                         additional revisions to settlement
                                         agreement and APA (1.0)
04/25/20   L Shermohammed         B130   Review credit bid APA and related       3.1        2,077.00
                                         documents and revise schedules
                                         accordingly (2.9); correspond with
                                         M. Shenk regarding same (.2)
04/26/20   S Borders              B130   Call with committee regarding           5.5        6,682.50
                                         asset sale (.5); call with debtor's
                                         professionals regarding strategy
                                         and comments to APA and
                                         settlement agreement (.6); multiple
                                         revisions to APA and 9019 (3.0);
                                         calls with Lender's counsel (.4);
                                         calls with Jeff Duston and Jon
                                         Tibus regarding APA (1.))
04/26/20   J Dutson               B130   Call with Committee regarding           5.1        5,125.50
                                         settlement and APA (0.5); multiple
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                                         calls with A&B regarding APA
                                         (0.8); review and comment on
                                         schedules (0.5); review tax
                                         analysis (0.5); review revisions to
                                         APA and settlement agreement
                                         and summarize same (1.0); revise
                                         APA and Settlement Agreements
                                         (1.5); emails regarding same (0.3)
04/26/20   L Shermohammed         B130   Review credit bid APA and related        2.0        1,340.00
                                         documents and revise schedules
                                         accordingly (1.3); correspond with
                                         M. Shenk regarding same (.4); call
                                         and draft email to the Court
                                         regarding an continuance of the
                                         hearing on the stalking horse
                                         motion (.3)
04/27/20   S Borders              B130   Prepare for and attend hearing on        6.3        7,654.50
                                         motion to approve stalking horse
                                         (0.9); call with lender's counsel
                                         regarding same (.5); call with
                                         Nashville Capital's counsel
                                         regarding same (.3); call with
                                         board of directors (.5); call with
                                         debtor's professionsal regarding
                                         strategy (.5); multiple revisions to
                                         relevant sale documents (3.0);
                                         APA call with lender's counsel (.6)
04/27/20   J Dutson               B130   Prepare for stalking horse hearing       7.5        7,537.50
                                         (0.5); attend same (0.5); emails
                                         and calls with committee
                                         regarding APA (1.4); prepare for
                                         and attend board call (1.3); review
                                         and comment on revised APA
                                         (1.0); review and comment on
                                         Settlement Agreement and emails
                                         regarding same (0.7); call
                                         regarding PBGC termination and
                                         prepare for same (0.7); review
                                         committee changes to settlement
                                         documents (0.5); attend to
                                         publication issues (0.5); review
                                         and comment on settlement
                                         agreement exhibits (0.4)
04/27/20   L Shermohammed         B130   Attend Krystal board meeting (.4);      11.3        7,571.00
                                         attend hearing on stalking horse
                                         motion (.2); conference with M.
                                         Shenk regarding APA schedules
                                         and review and revise same (1.9);
                                         correspond with A&M team
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Date       Timekeeper             Task   Description                           Hours       Value
                                         regarding same (.8); review
                                         revised credit bid APA (.3);
                                         summarize objections to stalking
                                         horse motion (1.1); correspond
                                         with creditor regarding the
                                         assumption of leases (.2); draft
                                         stalking horse motion (3.2);
                                         correspond with the Court
                                         regarding the stalking horse
                                         motion hearing (.3); summarize
                                         cure cost objections and
                                         correspond with J. Simpson
                                         regarding same (2.9)
04/28/20   S Borders              B130   Call with Sidley (.3); call with        4.5        5,467.50
                                         Piper (.3); call with board of
                                         Krystal Holdings (.5); call with
                                         Alston regarding APA and 9019
                                         (.5); multiple revisions of 9019
                                         and APA (2.0); emails with J.
                                         Dutson and Alston regarding same
                                         (.6); emails with UCC counsel
                                         regarding same (.3);
04/28/20   J Dutson               B130   Prepare for and attend board call       5.5        5,527.50
                                         for Krystal Holdings (1.0); prepare
                                         for and attend hearing (0.4);
                                         review and comment on revised
                                         APA (1.0); emails and calls with
                                         parties regarding settlement
                                         agreement (0.6); review and revise
                                         settlement agreement (0.3); revise
                                         exhibits to settlement agreement
                                         (0.4); attend to outstanding
                                         pension isssues related to sale
                                         (0.5); call with J. Edwards
                                         regarding sale (0.4); review and
                                         comment on schedules (0.5); call
                                         with client regarding bill board
                                         issues (0.4)
04/28/20   L Shermohammed         B130   Attend stalking horse hearing (.2);     8.3        5,561.00
                                         correspond with N. Moffitt
                                         regarding security incident (.4);
                                         address purchaser's questions
                                         regarding schedules, correspond
                                         with M. Shenk regarding same,
                                         and revise and revise same
                                         accordingly (5.3); conference with
                                         J. Schippert regarding APA
                                         schedules (.2); review revised
                                         APA and outstanding issues (.5);
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Date       Timekeeper             Task   Description                             Hours       Value
                                         revise 9019 motion (1.5);
                                         correspond with creditor regarding
                                         lease assumption (.2)
04/29/20   S Borders              B130   Review of APA and settlement              1.9        2,308.50
                                         agreement; emails with J. Edwards
                                         regarding needed changes; email
                                         with J. Dutson regarding same;
                                         attentiont to cash collateral;
                                         attention to finalzing APA; call
                                         with Sidley
04/29/20   J Dutson               B130   Attend to final revisions to APA          3.0        3,015.00
                                         and review of same (1.0); attend to
                                         final revisions to settlement
                                         agreement (0.6); mutliple calls
                                         with A&B regarding credit bid
                                         (0.4); respond to cure cost inquiry
                                         (0.3); review and revise
                                         termination notice and emails
                                         regarding same (0.7)
04/29/20   L Shermohammed         B130   Draft and file notice of withdrawal       7.4        4,958.00
                                         of stalking horse motion (.7); draft,
                                         revise, and send notice of
                                         termination of stalking horse
                                         (1.6); review revised settlement
                                         agreement and revise 9019 motion
                                         accordingly (.8); correspond with
                                         KCC regarding publication notice
                                         (.2); draft motion to expedite
                                         hearing on 9019 motion (.9); draft
                                         publication notice of claims bar
                                         date and security incident (1.5);
                                         correspond with various creditors
                                         and A&M regarding cure costs
                                         (1.3); correspond with the Court
                                         regarding withdrawal of the
                                         stalking horse motion (.4)
04/30/20   S Borders              B130   Prepared for hearing (0.4); call          2.9        3,523.50
                                         with Scroggins & Williamson
                                         (0.3); participated in hearing (0.5);
                                         attention to cure issues (0.5); call
                                         with purchaser's counsel (0.6);
                                         attention to 9019 (0.6)
04/30/20   L Shermohammed         B130   Revise 9019 motion and motion to          4.3        2,881.00
                                         expedite and send same to the
                                         purchaser and the Committee (.8);
                                         revise publication notice and
                                         correspond with N. Moffitt
                                         regarding same (1.2); review cash
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Date       Timekeeper             Task   Description                            Hours       Value
                                         collateral reporting package (.1);
                                         correspond with various creditors
                                         and A&M regarding cure costs
                                         (2.2)
                                         Total B130                             252.1      232,691.00
04/02/20   B Baker                B140   Draft response to landlord motion        3.9        2,184.00
                                         for stay relief
04/02/20   S Borders              B140   Attention to Pruett stay relief and      0.5          607.50
                                         preparation for same
04/03/20   S Borders              B140   Attention to Pruett relief from stay     0.5          607.50
                                         motion and preparation for hearing
                                         on same
04/03/20   L Shermohammed         B140   Draft, revise and file objection to      3.9        2,613.00
                                         motion for relief from stay and
                                         correspond with J. Dutson
                                         regarding same (3.9)
04/06/20   S Borders              B140   Call regarding preparation for stay      0.5          607.50
                                         relief hearing on Pruett motion
04/06/20   J Dutson               B140   Call regarding Pruett Motion for         1.8        1,809.00
                                         Relief (0.4); emails regardin same
                                         (0.4); review and revise Tibus
                                         declaration (0.5) call with
                                         committee and call with lender's
                                         counsel regarding same (0.5)
04/06/20   L Shermohammed         B140   Conference with S. Borders and J.        4.3        2,881.00
                                         Dutson regarding Pruett motion
                                         for relief (.3); legal research
                                         regarding stub rent (.7); draft,
                                         revise and file declaration in
                                         support of objection to Pruett
                                         motion for relief (1.5); correspond
                                         with J. Tibus and C. Pope
                                         regarding same and arrange for
                                         notarization of same (1.4);
                                         correspond with counsel for Plair
                                         regarding consent order on motion
                                         for relief and upload same (.4)
04/07/20   S Borders              B140   Hearing on Stay Relief Motion            0.4          486.00
04/07/20   J Dutson               B140   Prepare for and participate in           2.5        2,512.50
                                         Pruett motion for relief
04/28/20   B Baker                B140   Summarize filed stay relief motion       2.0        1,120.00
                                         (1.6); update stay relief motion
                                         chart (.2); email correspondence
                                         with L. Shermohammed regarding
                                         the same (.2)
                                         Total B140                              20.3       15,428.00
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Date       Timekeeper             Task   Description                         Hours       Value
04/01/20   A James                B150   Respond to current and former         0.8          380.00
                                         employee calls to discuss
                                         paperwork and current state of
                                         Krystal
04/02/20   A James                B150   Call further ex/current employees     0.4          190.00
                                         to discuss paperwork sent as part
                                         of court requirements
04/09/20   A James                B150   Call Krystal employees and            0.5          237.50
                                         discuss proof of claim paperwork;
                                         discuss concerning call with L.
                                         Shermohammed in email form
04/10/20   A James                B150   Call more Krystal employees to        0.3          142.50
                                         discuss proof of claim paperwork
04/17/20   A James                B150   Call a list of employees who          1.3          617.50
                                         reached out to discuss proof of
                                         claim forms
04/21/20   A James                B150   Call several current/former           0.3          142.50
                                         employees and discuss proof of
                                         claim paperwork
04/30/20   A James                B150   Discuss proof of claim forms with     0.7          332.50
                                         former employees; discuss other
                                         items and refer to K&S team
                                         members; draft emails to L.
                                         Shermohammed with issues and
                                         summary of progress
                                         Total B150                            4.3        2,042.50
04/09/20   B Baker                B185   Review billboard leases and           6.4        3,584.00
                                         related email correspondence
                                         (2.0); draft second omnibus lease
                                         rejection motion (3.4); research
                                         concerning cure costs and
                                         penalties and interest on real
                                         property taxes (1.0)
04/10/20   B Baker                B185   Draft second omnibus lease            5.0        2,800.00
                                         rejection motion (4.0); discuss
                                         motion with L. Shermohammed
                                         (.5); email correspondence with
                                         A&M and company concerning
                                         billboard leases (.5)
04/11/20   B Baker                B185   Email correspondence concerning       0.1           56.00
                                         billboard lease rejection
04/12/20   B Baker                B185   Email correspondence concerning       0.2          112.00
                                         contract and billboard lease
                                         rejection
04/13/20   B Baker                B185   Email correspondence concerning       3.5        1,960.00
                                         contract and billboard lease
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Date       Timekeeper             Task   Description                             Hours       Value
                                         rejection (2.5); review
                                         documentation regarding the same
                                         (1.0)
04/14/20   B Baker                B185   Draft second omnibus lease                2.5        1,400.00
                                         rejection motion (2.4); email
                                         correspondence concerning the
                                         same (.1)
04/16/20   J Dutson               B185   Review and emails regarding relief        0.6          603.00
                                         from stay order (0.3); commetn on
                                         Pruett lease order (0.3)
                                         Total B185                               18.3       10,515.00
04/03/20   J Dutson               B190   Calls regarding Pruett Motion             1.7        1,708.50
                                         (0.3); review and revise response
                                         (1.0); review and revise stay relief
                                         consent order (0.4)
                                         Total B190                                1.7        1,708.50
04/20/20   S Borders              B220   Review and revise motion to               0.5          607.50
                                         terminate pension plan
04/27/20   S Borders              B220   Call with PBGC regarding                  0.5          607.50
                                         termination of pension; call/email
                                         with lender's counsel regarding
                                         same
                                         Total B220                                1.0        1,215.00
04/01/20   S Borders              B230   Prepare for cash collateral hearing       1.6        1,944.00
                                         (0.3); participated in cash
                                         collateral hearing (0.5); review of
                                         revised order (0.5); call with J.
                                         Tibus (0.2); call with R.
                                         Williamson (0.1)
04/06/20   S Borders              B230   Call with Lenders (.2); call with         0.7          850.50
                                         Counsel for Ms. Pruett regarding
                                         stay relief (.3); email regarding
                                         APA (.2)
04/15/20   S Borders              B230   Call with Rufus Dorsey regarding          0.7          850.50
                                         cash collateral order (.2); call with
                                         R. Williamson regarding same
                                         (.3); review of entered order (.2)
                                         Total B230                                3.0        3,645.00
04/06/20   S Borders              B310   Call with Landlord's counsel              0.2          243.00
                                         regarding proof of claim,
                                         assumption and cure cost
                                         Total B310                                0.2          243.00
04/08/20   J Dutson               B320   Review and revise exclusivity             0.9          904.50
                                         motion; emails regarding same
                                         Total B320                                0.9          904.50
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Date       Timekeeper             Task   Description                           Hours       Value
04/01/20   L Shermohammed         B410   Revise motion to extend deadline        4.2        2,814.00
                                         to assume leases (1.5); correspond
                                         with K&S team and A&M
                                         regarding Pruett motion for relief
                                         and draft objection to same (1.2);
                                         correspond with the company
                                         regarding the lease amendments
                                         and provide information to the
                                         Committee regarding same (.5);
                                         correspond with W. Cannon
                                         regarding Pruett motion for relief
                                         and emails regarding same (.8);
                                         correspond with B. Baker
                                         regarding motion to extend time to
                                         assume leases (.2)
04/02/20   L Shermohammed         B410   Revise motion to extend deadline        6.1        4,087.00
                                         to assume leases (1.5); draft and
                                         revise motion to extend exclusivity
                                         period (3.4); correspond with
                                         A&M regarding Pruett motion for
                                         relief (.4); negotiate and drat
                                         consent order on Plair motion for
                                         relief (.8)
04/06/20   L Shermohammed         B410   Review docket, draft significant        2.0        1,340.00
                                         developments to include in the
                                         monthly operating report, and
                                         correspond with J. Simpson
                                         regarding same (1.3); legal
                                         research regarding notice periods
                                         for motions to extend exclusivity
                                         and deadline to assume leases (.4);
                                         determine appropriate date for
                                         hearing on same (.2); correspond
                                         with the lenders regarding the
                                         lease amendments (.1)
04/07/20   L Shermohammed         B410   Review billboard leases to be           1.2          804.00
                                         rejected and correspond with the
                                         company regarding same (.7);
                                         review recently entered general
                                         orders of the Court (.5)
04/08/20   L Shermohammed         B410   Revise motion to extend                 4.0        2,680.00
                                         exclusivity periods (.6);
                                         correspond with the lenders and
                                         Committee regarding the lease
                                         amendments (.3); correspond with
                                         AFCO regarding payment of
                                         premium finance installments due
                                         and correspond with the company
                                         regarding same (.7); correspond
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Date       Timekeeper             Task   Description                            Hours       Value
                                         with A. Sausaman regarding
                                         consent order on motion for relief
                                         and draft email to K&S team
                                         regarding same (1.1); correspond
                                         with J. Simpson regarding OCPs
                                         (.2); correspond with various
                                         creditors regarding proof of claim
                                         notice (.9); correspond with KCC
                                         regarding service of cure notice
                                         (.2)
04/09/20   L Shermohammed         B410   Correspond with S. Borders and           4.3        2,881.00
                                         the company regarding IRS claims
                                         (.7); correspond with R. Esposito
                                         at A&M regarding claimant V.
                                         Duncan and attorney representing
                                         V. Duncan (.6); correspond with
                                         AFCO regarding premium finance
                                         installment payment (.2);
                                         conference with M. Shenk
                                         regarding cure costs (.3);
                                         correspond with M. Wood at the
                                         company regarding lease
                                         amendments (.2); correspond with
                                         W. Godfrey and the company
                                         regarding payments to Snaptech
                                         (.8); correspond with B. Baker
                                         regarding second omnibus
                                         objection to leases (.5); correspond
                                         with various creditors regarding
                                         proof of claim notice (.4);
                                         correspond with M. Misdom at the
                                         company regarding property taxes
                                         (.6)
04/10/20   L Shermohammed         B410   Correspond with B. Baker and the         0.6          402.00
                                         company regarding billboard
                                         leases (.4); correspond with A.
                                         James regarding creditor calls (.2)
04/13/20   L Shermohammed         B410   Review cash flow forecast (.1);          5.2        3,484.00
                                         correspond with B. Baker and the
                                         company regarding billboard
                                         leases (.8); revise motions to
                                         extend exclusivity periods and
                                         deadline for assumption of
                                         nonresidential property leases
                                         (1.4); correspond with counsel for
                                         M. Williams regarding motion for
                                         relief (.5); review and file monthly
                                         operating report and correspond
                                         with A&M regarding same (1.3);
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Date       Timekeeper             Task   Description                            Hours       Value
                                         correspond with various creditors
                                         regarding bar date motion (.8);
                                         correspond with G. Godfrey
                                         regarding amounts due to
                                         Snaptech (.3)
04/14/20   L Shermohammed         B410   Review and file motions to extend        3.5        2,345.00
                                         exclusivity periods and deadline to
                                         assume nonresidential leases and
                                         correspond with KCC regarding
                                         service of same (1.2); review and
                                         revise second omnibus lease
                                         rejection motion (1.1); draft
                                         consent order on Pruett motion for
                                         relief (.8); correspond with various
                                         creditors regarding notice of
                                         filings(.4)
04/15/20   L Shermohammed         B410   Review objection to motion to            2.7        1,809.00
                                         extend deadline to assume
                                         nonresidential leases and draft
                                         email regarding same (.5);
                                         correspond with counsel for M.
                                         Williams regarding consent order
                                         on motion for relief (.4);
                                         correspond with the Committee
                                         regarding the order on the motion
                                         to extend time to assume
                                         nonresidential leases (.2); research
                                         regarding and draft motion for
                                         distress termination of pension
                                         plan (1.2); correspond with KCC
                                         regarding landlords (.2);
                                         correspond with various creditors
                                         regarding notice of filings (.2)
04/16/20   L Shermohammed         B410   Draft distress termination of            4.1        2,747.00
                                         pension plan motion (3.4);
                                         correspond with counsel for M.
                                         Williams regarding the consent
                                         order on the motion for relief from
                                         stay (.3); correspond with the
                                         Committee and the lenders
                                         regarding same (.4)
04/16/20   L Shermohammed         B410   Correspond with various                  0.7          469.00
                                         counterparties and A&M regarding
                                         cure amount discrepancies (.2);
                                         correspond with A. Dowdy
                                         regarding plaintiff potentially
                                         seeking relief from the automatic
                                         stay (.2); correspond with counsel
                                         for Krystal regarding M. Williams
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Date       Timekeeper             Task   Description                            Hours       Value
                                         motion for relife (.3)
04/17/20   L Shermohammed         B410   Research regarding and draft             5.7        3,819.00
                                         distress termination of pension
                                         plan motion
04/17/20   L Shermohammed         B410   Correspond with M. Shenk                 2.3        1,541.00
                                         regarding U.S. Trustee quarterly
                                         fees (.4); correspond with KCC
                                         regarding service of cash collateral
                                         order (.2); correspond with counsel
                                         for R. Pruett regarding consent
                                         order on motion for relief and
                                         revise same (.6); correspond with
                                         the Company regarding additional
                                         OCPs and declarations of
                                         disinterestedness (.3); correspond
                                         with G. Godfrey regarding
                                         payment of amounts to SnapTech
                                         (.6); correspond with various
                                         creditors regarding proofs of claim
                                         (.2)
04/20/20   L Shermohammed         B410   Revise distress pension plan             2.6        1,742.00
                                         termination motion and correspond
                                         with J. Tibus regarding same (1.2);
                                         revise and submit the consent
                                         order on the M. Williams motion
                                         for relief and correspond with the
                                         Company's defense counsel and
                                         opposing counsel regarding same
                                         (.7); correspond with KCC
                                         regarding limited service list and
                                         required redactions (.3); revise
                                         proposed order on motion to
                                         extend lease assumption deadline
                                         and correspond with the
                                         Committee and J. Dutson
                                         regarding same (.4)
04/21/20   L Shermohammed         B410   Correspond with M. Wood                  0.4          268.00
                                         regarding landlord's potential sale
                                         of land
04/22/20   L Shermohammed         B410   Revise proposed order on the             1.8        1,206.00
                                         motion to extend lease assumption
                                         deadline and correspond with
                                         Committee regarding same (.4);
                                         review OCP declaration of
                                         disinterestedness and correspond
                                         with B. Baker regarding same (.3);
                                         correspond with counsel for a
                                         landlord regarding the motion to
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Date       Timekeeper             Task   Description                           Hours       Value
                                         extend lease assumption deadline
                                         and correspond with J. Dutson and
                                         S. Borders regarding same (1.1)
04/23/20   L Shermohammed         B410   Conference with M. Shenk                2.6        1,742.00
                                         regarding retiree health insurance
                                         and tax issues and review related
                                         documents (1.4); correspond with
                                         M. Shenk and J. Dutson regarding
                                         the pension termination motion
                                         (.9); review and revise OCP notice
                                         (.3)
04/24/20   L Shermohammed         B410   Correspond with the company and         1.0          670.00
                                         the U.S. Trustee regarding the U.S.
                                         Trustee quarterly fee (.7);
                                         conference with J. Dutson
                                         regarding the sale transaction and
                                         the pension termination motion
                                         (.1); correspond with S. Borders
                                         regarding the pension termination
                                         motion (.2)
04/27/20   L Shermohammed         B410   Conference with the PBBC                0.2          134.00
                                         regarding pension plan termination
04/28/20   L Shermohammed         B410   Review and summarize 503(b)(9)          2.1        1,407.00
                                         procedures (.8); review 503(b)(9)
                                         claims (.5); correspond with
                                         various parties, including the
                                         Committee regarding the 503(b)(9)
                                         claims (.4); review landlord
                                         motion for relief and related
                                         summary (.4)
04/28/20   L Shermohammed         B410   Review purchaser's revisions to         0.2          134.00
                                         proposed order on pension plan
                                         termination motion (.2)
04/29/20   L Shermohammed         B410   Correspond with KCC regarding           0.1           67.00
                                         service of cash collateral budget
                                         and withdrawal of stalking horse
                                         motion (.1)
04/30/20   L Shermohammed         B410   Correspond with J. Simpson and          0.3          201.00
                                         the U.S. Trustee regarding U.S.
                                         Trustee quarterly fee payment (.3)
                                         Total B410                             57.9       38,793.00
                                         Total                                 365.0      313,011.00
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TIMEKEEPER SUMMARY

Timekeeper                 Status                             Hours           Rate             Value
Sarah Borders              Partner                              82.0       1215.00         99,630.00
Jeff Dutson                Partner                              86.3       1005.00         86,731.50
Britney Baker              Associate                            39.1        560.00         21,896.00
Andrew James               Associate                             4.3        475.00          2,042.50
Leia Shermohammed          Associate                           153.3        670.00        102,711.00
Total                                                          365.0                      313,011.00


Expenses Incurred

04/30/20    Color Copies -                                                                    273.00
04/06/20    Professional Fees - VENDOR: Coleen Tomlinson dba Sealed N Signed                  120.00
            INVOICE#: 194 DATE: 4/6/2020 Notary for Jon Tibus Signature on
            Declaration
                              Total Expenses                                                  393.00
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13459      Krystal Company, The                                         Invoice No. 10343597
253001     Restructuring Advice                                                       Page 23
04/30/20



Task Summary

Task                                                    Hours             Value
B110         Case Administration                           5.3         5,825.50
B130         Asset Disposition                           252.1       232,691.00
B140         Relief from Stay/Adequate Protection         20.3        15,428.00
             Proceedings
B150         Meetings of and Communications with           4.3         2,042.50
             Creditors
B185         Assumption/Rejection of Leases and           18.3        10,515.00
             Contracts
B190         Other Contested Matters (excluding            1.7         1,708.50
             assumption/rejection motions)
B220         Employee Benefits/Pensions                    1.0         1,215.00
B230         Financing/Cash Collections                    3.0         3,645.00
B310         Claims Administration and Objections          0.2           243.00
B320         Plan and Disclosure Statement (including      0.9           904.50
             Business Plan)
B410         General Bankruptcy Advice/Opinions           57.9        38,793.00
Total                                                   365.0        313,011.00
 Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                          Desc Main
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                                                                        Remit To:
                                                                        King & Spalding LLP
                                                                        P.O. Box 116133
                                                                        Atlanta, GA 30368-6133
           FEDERAL I.D. XX-XXXXXXX
                                                                        By Wire: SunTrust Bank
                                                                        ABA: 061 000 104
                                                                        SWIFT: SNTRUS3A
                                                                        USD Account: 88003 12475
                                                                        Account Name: King & Spalding

The Krystal Company                                                     Invoice No.                        10343597
ATTN: Bruce Vermilyea                                                   Invoice Date                        04/30/20
Chief Financial Officer                                                 Client No.                            13459
1455 Lincoln Parkway E                                                  Matter No.                           253001
Suite 600
Dunwoody, GA 30346


                                                                                                  For questions, contact:
RE: Restructuring Advice                                                                Kathryn Furman +1 404 572 3599

                                               REMITTANCE
                                 Please return this page with your remittance.

                     Amount Due This Invoice                        $313,404.00




                                         Payment is Due Upon Receipt
  Case 20-61065-pwb           Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                      Desc Main
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                                                                 Remit To:
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                                                                 P.O. Box 116133
                                                                 Atlanta, GA 30368-6133
             FEDERAL I.D. XX-XXXXXXX
                                                                 By Wire: SunTrust Bank
                                                                 ABA: 061 000 104
                                                                 SWIFT: SNTRUS3A
                                                                 USD Account: 88003 12475
                                                                 Account Name: King & Spalding


 The Krystal Company                                             Invoice No.                              10343575
 ATTN: Tony Hardin                                               Invoice Date                              04/30/20
 1455 Lincoln Parkway E                                          Client No.                                  13459
 Suite 600                                                       Matter No.                                 265001
 Dunwoody, GA 30346


                                                                                                 For questions, contact:
 RE: Project Chattanooga                                                               Phyllis Sumner +1 404 572 4799



For Professional Services Rendered through 04/30/20:

 Fees                                                                              $                      20,810.00
 Total this Invoice                                                                $                      20,810.00




Summary of Outstanding Invoices as of 05/01/20
 Invoice No.     Invoice Date           Balance Due
  10336945         03/31/20            $           71.00




                                        Payment is Due Upon Receipt
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13459      Krystal Company, The                                                      Invoice No. 10343575
265001     Project Chattanooga                                                                      Page 2
04/30/20


PROFESSIONAL SERVICES


Date       Timekeeper             Description                                Hours                  Value
04/01/20   N Moffitt              Correspondence with bankruptcy team          0.1                  98.50
                                  concerning scheduling of lender call
04/01/20   N Moffitt              Confer with Edelman concerning               0.1                  98.50
                                  frequency of periodic media updates
04/03/20   N Moffitt              Update talking points in anticipation of     0.1                  98.50
                                  call with lenders
04/03/20   N Moffitt              Call with lenders regarding breach           0.7                 689.50
04/03/20   P Sumner               Call with N. Moffitt and lenders             0.6                 615.00
04/03/20   P Sumner               Prepare for lender call                      0.3                 307.50
04/06/20   A Dehnel               Emails with S. Guilbert regarding            0.4                 284.00
                                  response letter to PLIS; emails with N.
                                  Moffitt and S. Guilbert regarding status
                                  of matter; continue drafting response
                                  letter to PLIS
04/06/20   S Guilbert             Review draft response to insurers            0.1                  95.00
04/06/20   N Moffitt              Correspondence with T. Hardin                0.1                  98.50
                                  regarding draft response to insurer
                                  regarding breach
04/06/20   N Moffitt              Correspondence with Verizon                  0.2                 197.00
                                  concerning confidentiality of PFI report
04/06/20   N Moffitt              Correspondence with S. Guilbert              0.1                  98.50
                                  regarding status of insurance review
                                  and scheduling of call
04/06/20   N Moffitt              Prepare draft response to insurer            0.4                 394.00
                                  concerning breach
04/06/20   N Moffitt              Correspondence with B. McMillan              0.1                  98.50
                                  regarding ability to disclose PFI report
04/06/20   N Moffitt              Correspondence with T. Hardin                0.1                  98.50
                                  regarding scheduling call with lenders
04/06/20   N Moffitt              Correspondence with I. Oberlin               0.1                  98.50
                                  regarding availability for a call
04/06/20   N Moffitt              Correspondence with T. Hardin                0.1                  98.50
                                  regarding briefing pertaining to breach
04/06/20   N Moffitt              Correspondence with T. Hardin                0.1                  98.50
                                  regarding breach vendors
04/06/20   P Sumner               Correspondence regarding status              0.5                 512.50
                                  updates and talking points for diligence
                                  calls
04/07/20   A Dehnel               Finish draft letter to PLIS providing        5.5               3,905.00
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13459      Krystal Company, The                                                       Invoice No. 10343575
265001     Project Chattanooga                                                                       Page 3
04/30/20


Date       Timekeeper             Description                                 Hours                  Value
                                  information requested and associated
                                  draft confidentiality agreement (2.7);
                                  call with S. Guilbert, N. Moffitt, and P.
                                  Sumner regarding status of insurance
                                  review (.5); emails with team regarding
                                  matter (.4); review summary of
                                  potentially applicable policy provisions
                                  (.9); review Netsurion agreement (.7);
                                  emails regarding notice to Netsurion
                                  (.3).
04/07/20   S Guilbert             Call with P. Sumner, N. Moffit, A.            1.1               1,045.00
                                  Dehnel regarding insurance claim (0.5);
                                  review policies and potential coverages
                                  for Mandiant costs (0.6)
04/07/20   N Moffitt              Call with S. Guilbert, A Dehnel, and P.       0.5                 492.50
                                  Sumner concerning status of review and
                                  analysis of insurance coverage
04/07/20   N Moffitt              Correspondence with S. Guilbert and A.        0.2                 197.00
                                  Dehnel regarding coverage of certain
                                  expenses under insurance policies
04/07/20   N Moffitt              Prepare correspondence to bankruptcy          0.7                 689.50
                                  counsel concerning status and scope of
                                  insurance coverage and process for
                                  seeking reimbursement
04/07/20   N Moffitt              Correspondence with S. Guilbert and A.        0.2                 197.00
                                  Dehnel regarding scope and
                                  applicability of Netsurion coverage
04/07/20   P Sumner               Call with team regarding insurance            0.5                 512.50
                                  status
04/07/20   P Sumner               Review insurance questions and various        0.5                 512.50
                                  correspondence regarding same
04/08/20   A Dehnel               Emails with team regarding matter and         0.8                 568.00
                                  call with client; emails to and from
                                  client; review of summary of forensic
                                  investigation
04/08/20   A Dehnel               Continue review of Netsurion                  2.4               1,704.00
                                  Agreement; draft summary of same for
                                  client, including potentially applicable
                                  policy provisions; further review of
                                  property policy and include analysis of
                                  potential coverage under same; emails
                                  with team regarding same
04/08/20   S Guilbert             Review and revise notice                      0.1                  95.00
                                  recommendation
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265001     Project Chattanooga                                                                       Page 4
04/30/20


Date       Timekeeper             Description                                 Hours                  Value
04/08/20   N Moffitt              Correspondence with Verizon                   0.1                  98.50
                                  concerning request to provide PFI
                                  report to lenders/buyers
04/08/20   N Moffitt              Correspondence with S. Guilbert               0.1                  98.50
                                  regarding Netsurion coverage
04/08/20   N Moffitt              Correspondence with S. Guilbert and A.        0.2                 197.00
                                  Dehnel regarding scope and
                                  applicability of Netsurion coverage
04/08/20   N Moffitt              Correspondence with Krystal                   0.1                  98.50
                                  concerning PFI report and data room
04/08/20   N Moffitt              Correspondence with T. Hardin                 0.1                  98.50
                                  regarding description of security breach
                                  for Chubb
04/13/20   A Dehnel               Edit and revise email to client regarding     0.3                 213.00
                                  potential additional coverages that may
                                  be available for Krystal
04/13/20   S Guilbert             Revise coverage summary for client            0.2                 190.00
04/13/20   N Moffitt              Review insurance coverage summary             0.4                 394.00
                                  and revise draft email to T. Hardin
                                  regarding same
04/14/20   A Dehnel               Finalize edits to email to client             0.5                 355.00
                                  summarizing potential additional
                                  coverages available; follow up with N.
                                  Moffitt and S. Guilbert regarding
                                  response letter to PLIS; review email
                                  with bankruptcy team regarding notice
                                  of payments
04/14/20   N Moffitt              Send correspondence to S. Borders             0.1                  98.50
                                  regarding insurance claims
04/15/20   A Dehnel               Review email from bankruptcy team             0.1                  71.00
                                  concerning matter
04/15/20   A Dehnel               Emails with team and client regarding         0.1                  71.00
                                  memorandum of agreement and
                                  appointment of chairperson
04/20/20   A Dehnel               Emails with S. Guilbert regarding             0.4                 284.00
                                  matter; edit and revise letter to PLIS
04/20/20   S Guilbert             Revise response to PLIS                       0.3                 285.00
04/22/20   P Sumner               Correspondence regarding buyer                0.3                 307.50
                                  questions regarding data breach
04/23/20   N Moffitt              Prepare summary of call with potential        0.6                 591.00
                                  buyer and action items and
                                  correspondence with P. Sumner
                                  regarding same
  Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                     Desc Main
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265001     Project Chattanooga                                                                          Page 5
04/30/20


Date       Timekeeper                  Description                               Hours                 Value
04/23/20   N Moffitt                   Telephone conference with potential         0.7                 689.50
                                       buyer of Krystal concerning payment
                                       card incident
04/25/20   N Moffitt                   Correspondence with J. Dutson               0.3                 295.50
                                       regarding revisions to description of
                                       breach and notices for purposes of sale
                                       agreement
04/27/20   A Dehnel                    Edit and revise response to PLIS            0.1                  71.00
04/27/20   P Sumner                    Various correspondence regarding data       0.4                 410.00
                                       breach and risk factors
04/28/20   N Moffitt                   Review and revise description of breach     0.7                 689.50
                                       and sale agreement language for
                                       bankruptcy team and correspond with
                                       bankruptcy team regarding same
04/28/20   N Moffitt                   Correspondence with B. McMillan             0.1                  98.50
                                       regarding communications with state
                                       AGs
04/30/20   N Moffitt                   Correspondence with bankruptcy team         0.5                 492.50
                                       concerning revisions and comments to
                                       notice to file proof of claim
04/30/20   P Sumner                    Correspondence regarding bankruptcy         0.3                 307.50
                                       notice regarding data breach
04/30/20   P Sumner                    Conference with N. Moffitt regarding        0.3                 307.50
                                       data breach claims issues
                                       Total                                      24.0              20,810.00




TIMEKEEPER SUMMARY

Timekeeper                 Status                                  Hours            Rate                Value
Shelby Guilbert            Partner                                   1.8          950.00             1,710.00
Natasha Moffitt            Partner                                   7.9          985.00             7,781.50
Phyllis Sumner             Partner                                   3.7         1025.00             3,792.50
Amy Dehnel                 Associate                                10.6          710.00             7,526.00
Total                                                               24.0                            20,810.00
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                                                                         Remit To:
                                                                         King & Spalding LLP
                                                                         P.O. Box 116133
                                                                         Atlanta, GA 30368-6133
            FEDERAL I.D. XX-XXXXXXX
                                                                         By Wire: SunTrust Bank
                                                                         ABA: 061 000 104
                                                                         SWIFT: SNTRUS3A
                                                                         USD Account: 88003 12475
                                                                         Account Name: King & Spalding

 The Krystal Company                                                     Invoice No.                         10343575
 ATTN: Tony Hardin                                                       Invoice Date                         04/30/20
 1455 Lincoln Parkway E                                                  Client No.                             13459
 Suite 600                                                               Matter No.                            265001
 Dunwoody, GA 30346


                                                                                                    For questions, contact:
 RE: Project Chattanooga                                                                  Phyllis Sumner +1 404 572 4799

                                                REMITTANCE
                                  Please return this page with your remittance.

                      Amount Due This Invoice                        $20,810.00



Summary of Outstanding Invoices as of 05/01/20
 Invoice No.      Invoice Date           Balance Due
  10336945          03/31/20             $         71.00




                                          Payment is Due Upon Receipt
  Case 20-61065-pwb           Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                     Desc Main
                                    Document    Page 143 of 749



                                                                 Remit To:
                                                                 King & Spalding LLP
                                                                 P.O. Box 116133
                                                                 Atlanta, GA 30368-6133
             FEDERAL I.D. XX-XXXXXXX
                                                                 By Wire: SunTrust Bank
                                                                 ABA: 061 000 104
                                                                 SWIFT: SNTRUS3A
                                                                 USD Account: 88003 12475
                                                                 Account Name: King & Spalding


 The Krystal Company                                             Invoice No.                            10352937
 ATTN: Bruce Vermilyea                                           Invoice Date                            06/12/20
 Chief Financial Officer                                         Client No.                                13459
 1455 Lincoln Parkway E                                          Matter No.                               253001
 Suite 600
 Dunwoody, GA 30346


                                                                                               For questions, contact:
 RE: Restructuring Advice                                                            Kathryn Furman +1 404 572 3599



For Professional Services Rendered through 05/31/20:

 Fees                                                                              $                  207,526.50
 Expenses                                                                                                     90.55
 Total this Invoice                                                                $                  207,617.05




                                        Payment is Due Upon Receipt
  Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00              Desc Main
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13459      Krystal Company, The                                                   Invoice No. 10352937
253001     Restructuring Advice                                                                  Page 2
06/12/20


PROFESSIONAL SERVICES

Date       Timekeeper             Task   Description                             Hours       Value
05/05/20   B Baker                B110   Summarize objections filed for            2.8        1,568.00
                                         lease assumption extension motion
                                         and exclusivity motion
05/08/20   S Borders              B110   Attention to sale (1.0); attention to     2.5        3,037.50
                                         payment of substantial
                                         contribution claims and attention
                                         to reconciliation of cure costs (.5);
                                         attention to management
                                         employment issues (.2); call with
                                         J. Edwards, K. Jaeger (.4); call
                                         with J.Tibus (.4)
05/09/20   B Baker                B110   Summarize objections filed for            2.1        1,176.00
                                         lease assumption extension motion
                                         and exclusivity motion
05/10/20   B Baker                B110   Draft agendas for hearings on 5/12        4.0        2,240.00
                                         and 5/13
05/11/20   B Baker                B110   Draft hearing agenda for 5/13             4.3        2,408.00
                                         hearing (2.3); edit hearing agendas
                                         for 5/12 hearing (.7); summarize
                                         objections (1.0); email
                                         correspondence concerning the
                                         same (.3)
05/12/20   B Baker                B110   Update and file 5/13 hearing              4.9        2,744.00
                                         agenda (.7); draft and file 5/13
                                         hearing amended agenda (1.2);
                                         summarize objections (2.0); email
                                         correspondence concerning
                                         agendas and hearing binder (1.0)
05/16/20   B Baker                B110   Draft motion to dismiss cases             1.2          672.00
05/17/20   B Baker                B110   Draft motion to dismiss cases             3.8        2,128.00
05/18/20   B Baker                B110   Draft motion to dismiss cases             6.7        3,752.00
05/18/20   S Borders              B110   Call with B. Weimar; email to             0.8          972.00
                                         board; email to B. Weimar
                                         regarding equity investor letter
05/26/20   S Borders              B110   Post closing issues regarding             4.1        4,981.50
                                         Argonee
05/28/20   S Borders              B110   Attention to M. Watters EEOC              0.5          607.50
                                         litigation and call with D. Hart
                                         regarding same
05/29/20   S Borders              B110   Address tail endorsement for D&O          0.8          972.00
                                         policy
05/29/20   S Borders              B110   Document review and email to D.           0.3          364.50
                                         Hart regarding EEOC claim
  Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00             Desc Main
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13459      Krystal Company, The                                                   Invoice No. 10352937
253001     Restructuring Advice                                                                  Page 3
06/12/20

Date       Timekeeper             Task   Description                             Hours       Value
05/30/20   S Borders              B110   Attention to PBGC issues                  2.5        3,037.50
                                         Total B110                               41.3       30,660.50
05/01/20   B Baker                B130   Review exhibits to APA to                 4.2        2,352.00
                                         populate schedules (3.8); call and
                                         email correspondence concerning
                                         the same (.4)
05/01/20   S Borders              B130   Attention to sale and closing issues      4.8        5,832.00
                                         (1.0); review of invoice (.8);
                                         attention to access to lessors and
                                         company employees (1.0);
                                         attention to 9019 (1.0); attention to
                                         auction questions (1.0)
05/01/20   J Dutson               B130   Call with databreach team                 2.6        2,613.00
                                         regarding sale issues and emails
                                         regarding same (0.8); emails
                                         regarding sale next steps (0.5);
                                         attend to good faith deposit (0.5);
                                         call with J. Tibus regarding
                                         transition program and emails
                                         regarding same (0.4); review
                                         pleadings (0.4)
05/01/20   L Shermohammed         B130   Conference with N. Moffitt, P.            4.9        3,283.00
                                         Sumner and J. Dutson regarding
                                         publication notice (.5); correspond
                                         with various creditors and A&M
                                         regarding cure amounts (2.1);
                                         revise and file 9019 motion and
                                         motion to expedited hearing on
                                         same (1.1); correspond with the
                                         Court regarding the filings and
                                         hearing date (.2); correspond with
                                         M. Shenk regarding 503(b)(9)
                                         claims (.3); correspond with KCC
                                         regarding service of the 9019
                                         motion and related documents (.2);
                                         correspond with B. Baker
                                         regarding exhibits to the APA (.2);
                                         correspond with KCC regarding
                                         certain notice parties (.3)
05/02/20   S Borders              B130   Attention to sale and closing issues      1.1        1,336.50
                                         and work plan regarding same
05/02/20   J Dutson               B130   Emails regarding benefit transfers        1.3        1,306.50
                                         and insurance programs (0.8);
                                         attend to publication notice and
                                         call with J. Edwards regarding
                                         same (0.5)
05/03/20   B Baker                B130   Review exhibits to APA to                 3.6        2,016.00
  Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00             Desc Main
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13459      Krystal Company, The                                                   Invoice No. 10352937
253001     Restructuring Advice                                                                  Page 4
06/12/20

Date       Timekeeper             Task   Description                             Hours       Value
                                         populate schedules
05/03/20   S Borders              B130   Emails with T. Statton (.2); draft        2.0        2,430.00
                                         sale order (1.0); attention to sale
                                         issues (.8)
05/03/20   L Shermohammed         B130   Review and revise sale order              1.7        1,139.00
05/04/20   B Baker                B130   Populate schedules to APA                 1.9        1,064.00
                                         exhibits (1.4); email
                                         correspondence concerning the
                                         same (.5)
05/04/20   S Borders              B130   Email regarding rejection of              2.3        2,794.50
                                         World Pay contract; emails with
                                         contract parties; calls with various
                                         creditors and landlords regarding
                                         sale
05/04/20   J Dutson               B130   Call with Traveler's counsel (0.4);       0.9          904.50
                                         emails and calls regarding Data
                                         Breach (0.5)
05/04/20   L Shermohammed         B130   Review and revise management              4.3        2,881.00
                                         agreement and related schedules to
                                         APA and correspond with B.
                                         Baker and M. Shenk regarding
                                         same (1.7); correspond with
                                         various creditors and A&M
                                         regarding cure costs (2.6)
05/05/20   B Baker                B130   Email correspondence concerning           0.5          280.00
                                         schedules to APA exhibits
05/05/20   S Borders              B130   Call with utility bond provider           1.0        1,215.00
                                         (.2); attention to APA revised from
                                         Fortress (.4); attention to notice of
                                         no auction (.2); prepare for board
                                         process (.2)
05/05/20   J Dutson               B130   Call with A&M regarding travlers          2.3        2,311.50
                                         and emails regarding same (0.5);
                                         attend to publication and other
                                         data breach matters (0.8); emails
                                         with Traveler's counsel (0.3);
                                         email to M. Elliott regarding
                                         Credit Bid (0.2); call with
                                         Committee's counsel and emails
                                         regarding KCC invoice (0.5)
05/05/20   L Shermohammed         B130   Draft notice of no auction and            7.3        4,891.00
                                         filing of APA and correspond with
                                         J. Dutson regarding same (.9);
                                         correspond with J. Dutson
                                         regarding real estate transfer
                                         documents and prepare same (1.5);
                                         correspond with various landlords
  Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00             Desc Main
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13459      Krystal Company, The                                                   Invoice No. 10352937
253001     Restructuring Advice                                                                  Page 5
06/12/20

Date       Timekeeper             Task   Description                             Hours       Value
                                         and A&M regarding assumption of
                                         leases and cure amounts (3.4);
                                         review and revise publication
                                         notice and correspond with KCC
                                         regarding same (.8); review
                                         schedules to exhibits of APA (.7)
05/06/20   B Baker                B130   Populate schedules for exhibits to        2.0        1,120.00
                                         APA (1.5); email correspondence
                                         concerning the same (.5)
05/06/20   L Shermohammed         B130   Correspond with KCC team                  8.2        5,494.00
                                         regarding service of adequate
                                         assurance information (.4); draft
                                         closing checklist (.7); revise notice
                                         of no auction and filing of APA
                                         and file same (.7); review revised
                                         APA and correspond with S.
                                         Borders regarding same (.9);
                                         review schedules to exhibits to
                                         APA and correspond with B.
                                         Baker regarding same (1.2); revise
                                         cure cost tracker and correspond
                                         with various creditors and A&M
                                         regarding cure costs and
                                         assumption of leases (3.8);
                                         conference with NCR regarding
                                         sale process and cure costs (.5)
05/07/20   B Baker                B130   Populate schedules for exhibits to        0.9          504.00
                                         APA (1.5); email correspondence
                                         concerning the same (.5)
05/07/20   S Borders              B130   Attention to cure claims and              2.0        2,430.00
                                         emails regarding same (.5); revised
                                         sale order (.7); attention to
                                         workers compensation issues
                                         regarding sale (.3); call with
                                         fortress' counsel (.2); email
                                         regarding substantial contribution
                                         claim (.3)
05/07/20   L Shermohammed         B130   Review and coordinate service of         10.1        6,767.00
                                         Adequate Assurance Information
                                         with KCC (.8); review revisions to
                                         sale order (.7); review and
                                         correspond with C. Russell
                                         regarding real estate transfer
                                         documents (.7); draft substantial
                                         contribution motion and motion to
                                         expedite hearing regarding same
                                         (5.1); correspond with various
                                         creditors and A&M regarding cure
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Date       Timekeeper             Task   Description                            Hours       Value
                                         amounts and revise tracker
                                         regarding same (2.3); review
                                         employee offer letter (.3);
                                         correspond with S. Borders and J.
                                         Edwards regarding lease
                                         amendments (.2)
05/08/20   L Shermohammed         B130   Revise and file substantial              6.2        4,154.00
                                         contribution and motion to
                                         expedite regarding same (1.6);
                                         correspond with the Court
                                         regarding same (.4); summarize
                                         objections to the lease assumption
                                         extension motion and correspond
                                         with B. Baker regarding same (.6);
                                         review revised sale order (.7);
                                         correspond with various creditors
                                         and A&M regarding cure costs and
                                         assumption of leases (1.3); review
                                         and revise real estate transfer
                                         documents (.5); coordinate service
                                         of adequate assurance information
                                         (.7); coordinate service of
                                         documents with KCC (.4)
05/09/20   L Shermohammed         B130   Correspond with A&M and J.               0.9          603.00
                                         Edwards regarding rejection
                                         contracts schedule (.5); coordinate
                                         service of order granting motion to
                                         expedite with the Court and KCC
                                         (.4)
05/11/20   L Shermohammed         B130   Review and revise APA exhibits           5.5        3,685.00
                                         and schedules (1.1); draft and file
                                         amended cure notice and
                                         correspond with A&M regarding
                                         same (.9); review and revise real
                                         estate transfer documents and
                                         correspond with C. Russell
                                         regarding same (.7); draft and file
                                         notice of modified proposed sale
                                         order (.4); correspond with the
                                         Company regarding employee
                                         transition issues (.3); review first
                                         amendment to APA (.4);
                                         correspond with A&B regarding
                                         the sale order (.3); revise Stratton
                                         sale hearing proffer (.8);
                                         correspond with various contract
                                         and lease counterparties regarding
                                         cure costs (.6)
05/12/20   B Baker                B130   Update APA exhibits and                  1.0          560.00
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Date       Timekeeper             Task   Description                              Hours       Value
                                         schedules to exhibits
05/12/20   S Borders              B130   Prepare for and attend hearing on          7.8        9,477.00
                                         extension of time to assume or
                                         reject leases and extension of
                                         exclusivity; prepared for sale
                                         hearing; prepared proffers for T.
                                         Stratton and J. Tibus; revise sale
                                         order; call with UCC counsel; call
                                         with Purchaser counsel; call with
                                         R. Williamson regarding cash
                                         collateral; amendment to APA;
                                         attention to cure issues; call
                                         regarding executive separation
                                         agreements with Fortress and J.
                                         Tibus; document review
05/12/20   L Shermohammed         B130   Revise Stratton proffer (.3); revise       7.1        4,757.00
                                         and correspond regarding
                                         schedules to APA exhibits (.5);
                                         draft notice of modified proposed
                                         sale order (.5); draft notice of first
                                         amendment to APA (.3); prepare
                                         for sale hearing (3.2); review
                                         revised sale order (.3); correspond
                                         with lease and contract
                                         counterparties regarding cure costs
                                         and sale (.8); draft notice
                                         regarding supplemental cure notice
                                         (.4); review and revise summaries
                                         of objections to sale hearing (.3);
                                         review and revise agenda and
                                         correspond with B. Baker
                                         regarding same (.3); correspond
                                         with KCC regarding service of
                                         documents (.2)
05/13/20   S Borders              B130   Hearing on sale motion; 9019               5.9        7,168.50
                                         motion; motion on Pruett Relief
                                         from stay; prepared for same;
                                         revised sale order; call with J.
                                         Edwards regarding same; call with
                                         M. McLoughin regarding same;
                                         revised hearing outline; revised
                                         sale orders based on Court's
                                         comments
05/13/20   L Shermohammed         B130   Review and revise proposed sale            6.2        4,154.00
                                         order and notice of modified
                                         proposed order (.7); prepare for
                                         sale hearing (.9); attend sale
                                         hearing (1.6); correspond with
                                         KCC regarding service of
  Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00            Desc Main
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Date       Timekeeper             Task   Description                            Hours       Value
                                         documents (.3); revise sale order
                                         post-sale hearing and correspond
                                         with A&B, the Committee, and
                                         other parties regarding same (1.2);
                                         review assumption and rejection
                                         Excel sheet analysis (.4); review
                                         and file notices (.6); summarize
                                         additional objections to the sale
                                         (.2); correspond with the Court
                                         regarding entry of the sale order
                                         (.3)
05/14/20   B Baker                B130   Draft notice of designated rights        0.9          504.00
                                         assets and assigned contracts
05/14/20   S Borders              B130   Review of sale documents (1.3);          2.8        3,402.00
                                         transition call (1.0); document
                                         review regarding sale and use of
                                         cash collateral (.5)
05/14/20   L Shermohammed         B130   Draft notice of filing designation       2.9        1,943.00
                                         right assets and assigned contracts
                                         list (.7); review partial assignment
                                         of APA (.5); review specific lease
                                         assignment documents (.5); review
                                         and revise schedules to APA
                                         exhibits and correspond with
                                         A&M and the Company regarding
                                         same (1.2)
05/15/20   B Baker                B130   Compile signature packet (1.1);          1.8        1,008.00
                                         call and email correspondence
                                         concerning APA exhibits (.7)
05/15/20   S Borders              B130   Transition call;                         2.7        3,280.50
                                         assumption/rejection issues; work
                                         on sale logistics
05/15/20   L Shermohammed         B130   Attend transition call (1.2); draft      7.8        5,226.00
                                         and revise bring down certificate
                                         (.9); draft and revise FIRPTA
                                         certificate (1.3); prepare signature
                                         packets and other documents for
                                         closing and correspond regarding
                                         same (1.9); review and revise real
                                         estate transfer documents and
                                         correspond with C. Russell
                                         regarding same (.7); review and
                                         correspond with A&B and the
                                         Company regarding revised APA
                                         and schedules thereto (1.1);
                                         correspond with the Company
                                         regarding the Ringgold owned
                                         property (.7)
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Date       Timekeeper             Task   Description                              Hours       Value
05/16/20   S Borders              B130   Review of closing documents and            1.5        1,822.50
                                         transition status call with
                                         Purchaser
05/16/20   L Shermohammed         B130   Attend transition call (1.2); review       2.6        1,742.00
                                         and revise APA exhibits and
                                         schedules thereto and correspond
                                         with A&B and S. Borders
                                         regarding same (1.4)
05/17/20   S Borders              B130   Review of closing documents and            1.0        1,215.00
                                         closing call
05/17/20   L Shermohammed         B130   Compile FIRPTA and Bring Down              1.4          938.00
                                         Certificates (.4); attend closing call
                                         (.2); review executed compiled
                                         closing set (.8)
05/18/20   L Shermohammed         B130   Review revised real estate transfer        1.3          871.00
                                         documents (.9); correspond with
                                         various parties regarding closing
                                         (.4)
05/19/20   L Shermohammed         B130   Draft and revise notice of closing         2.1        1,407.00
                                         of sale (1.1); review designation
                                         right asset and assigned contracts
                                         schedules for accuracy (.5);
                                         correspond regarding post-closing
                                         name changes (.2); conference
                                         with M. Shenk regarding
                                         schedules (.3)
05/20/20   B Baker                B130   Email correspondence concerning            0.2          112.00
                                         DRA and assigned contracts
                                         schedules
05/22/20   S Borders              B130   Address various sale issues                2.1        2,551.50
05/28/20   S Borders              B130   Emails to and from J. Edwards              1.0        1,215.00
                                         regarding inclusion of Realty
                                         Income in lease extension order
                                         (.4); review of emails and
                                         proposed order (.4); email with L.
                                         Shemohammed regarding same
                                         (.2)
                                         Total B130                               142.6      116,760.50
05/10/20   S Borders              B140   Call with M. Shenk regarding               1.0        1,215.00
                                         closing issues (.4); attention to
                                         lease issue (.6)
05/11/20   S Borders              B140   Review of revised sale order (.4);         0.5          607.50
                                         emails to Fortress' counsel
                                         regarding same (.1)
05/21/20   S Borders              B140   Prepare for and participate in             2.2        2,673.00
                                         hearing; document review
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Date       Timekeeper             Task   Description                           Hours       Value
                                         regarding same
                                         Total B140                              3.7        4,495.50
05/11/20   A James                B150   Discuss various issues that             0.7          332.50
                                         creditors have called to discuss,
                                         primarily on proof of claim forms
                                         for current/former employees
05/14/20   A James                B150   Discuss proof of claim forms with       0.4          190.00
                                         creditors
                                         Total B150                              1.1          522.50
05/13/20   B Baker                B160   Draft final fee application for         1.1          616.00
                                         Piper Sandler (.7); email
                                         correspondence concerning the
                                         same (.3)
05/14/20   B Baker                B160   Draft final fee application for         3.3        1,848.00
                                         Piper Sandler (3.1); email
                                         correspondence concerning the
                                         same (.2)
                                         Total B160                              4.4        2,464.00
05/27/20   S Borders              B185   Review of rejection list; review of     1.2        1,458.00
                                         rejection order and notice;
                                         attention to emails from various
                                         landlords, email to J. Edwards
                                         Total B185                              1.2        1,458.00
05/19/20   D Fowler               B210   Attention to final investor letter      0.3          177.00
05/29/20   D Fowler               B210   Review questions regarding D&O          0.4          236.00
                                         tail policy
                                         Total B210                              0.7          413.00
05/06/20   D Fowler               B220   Emails with L. Shermohammed             0.9          531.00
                                         regarding Krystal Parent Holdings
                                         and corresponding organizational
                                         documents for PBGC inquiry;
                                         revise structure chart and send to
                                         L. Shermohammed
05/11/20   S Choy                 B220   Review information for health           0.4          494.00
                                         plan termination requirements
05/12/20   S Choy                 B220   Review health plan information          0.5          617.50
                                         and termination requirements
05/12/20   N Schiller             B220   Research whether advance notice         1.5        1,380.00
                                         is required to terminate a group
                                         health plan
05/25/20   S Borders              B220   Attention to PBGC issues                2.7        3,280.50
05/27/20   S Borders              B220   Attention to Mark Tolle severance       0.6          729.00
                                         issues; call with Jon Tibus and
                                         Michael Shenk regarding same
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Date       Timekeeper             Task   Description                            Hours       Value
                                         Total B220                               6.6        7,032.00
05/11/20   S Borders              B230   Address final cash collateral;           2.5        3,037.50
                                         email to A. Ray and R.
                                         Williamson; calls with Landlords;
                                         address PBGC issues; prepare for
                                         hearing on motion to extend time
                                         to assume or reject leases; emails
                                         with J. Edwards regarding APA;
                                         review of MOR; call with L.
                                         Shemohhamed
05/19/20   S Borders              B230   Attention to cash collateral order       2.1        2,551.50
                                         (.2); emails to A. Ray regarding
                                         same (.1); revised letter to equity
                                         investors (.2); review of letter to
                                         pension beneficiaries on continued
                                         medical insurance and document
                                         review regarding same (.3); review
                                         and revised Notice of Sale and
                                         email to L. Shemohammed
                                         regarding same (.3) call with
                                         committee counsel and purchaser
                                         counsel for hearing on Thursday
                                         (.5); attention to various counsel
                                         who emailed or called regarding
                                         bar date today (.5)
05/20/20   S Borders              B230   Review revised cash collateral           2.9        3,523.50
                                         order; attention to hearing prep;
                                         document review; emails to and
                                         from committee and
                                         lender/purchaser
                                         Total B230                               7.5        9,112.50
05/08/20   C Russell              B250   Review existing deed and                 1.7          391.00
                                         recombination plat and legal
                                         descriptions
05/12/20   C Russell              B250   Prepare warranty deed and tax            2.4          552.00
                                         transfer forms
05/15/20   C Russell              B250   Revise warranty deed and tax             1.3          299.00
                                         transfer forms, review closing
                                         documents
                                         Total B250                               5.4        1,242.00
05/01/20   L Shermohammed         B410   Correspond with M. Wood at the           0.2          134.00
                                         company regarding lease
                                         amendments
05/04/20   L Shermohammed         B410   Draft portions of monthly                1.3          871.00
                                         operating report
05/05/20   L Shermohammed         B410   Call with Fidelity and S. Borders        0.7          469.00
                                         regarding utility bonds (.3); review
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Date       Timekeeper             Task   Description                           Hours       Value
                                         schedule of Fidelity utility bonds
                                         (.4)
05/06/20   L Shermohammed         B410   Correspond with S. Borders, D.          1.0          670.00
                                         Fowler and the PBGC regarding
                                         additional documentation
                                         requested to terminate pension
                                         plan (.4); review corporate
                                         ownership chart regarding the
                                         pension plan (.2); correspond with
                                         M. Misdom regarding property
                                         insurance (.4)
05/07/20   L Shermohammed         B410   Correspond with M. Shenk                0.7          469.00
                                         regarding documents relating to
                                         pension plan termination (.2);
                                         correspond with SnapTech and the
                                         Company regarding payment of
                                         postpetition invoices (.5)
05/08/20   L Shermohammed         B410   Review monthly operating report         1.1          737.00
                                         (.4); correspond with various
                                         landlords and the company
                                         regarding renewed insurance (.5);
                                         correspond with SnapTech and the
                                         company regarding payment of
                                         postpetition invoices (.4)
05/11/20   L Shermohammed         B410   Correspond with the Company             4.3        2,881.00
                                         regarding the website update (.2);
                                         correspond with M. Shenk
                                         regarding retiree plan (.3); review
                                         and revise monthly operating
                                         report and file same (.7); review
                                         cash collateral budget (.1); review
                                         and revise hearing prep regarding
                                         objections to the lease assumption
                                         extension motion (1.8); review and
                                         revise agenda and file same (.5);
                                         revise the lease assumption
                                         extension motion (.3); correspond
                                         with the Company and G. Godfrey
                                         regarding payment to SnapTech
                                         (.4)
05/12/20   L Shermohammed         B410   Correspond with the Company and         3.4        2,278.00
                                         G. Godfrey regarding payment to
                                         Snaptech (.3); attend hearing on
                                         motions to extend exclusivity
                                         periods and deadline to assume
                                         leases (1.4); revise proposed
                                         orders on same post-hearing (.9);
                                         email same to objecting parties
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Date       Timekeeper             Task   Description                            Hours       Value
                                         and correspond regarding same
                                         (.8)
05/13/20   L Shermohammed         B410   Correspond with the PBGC                 1.9        1,273.00
                                         regarding pension termination
                                         stipulation and termination related
                                         documents (.4); correspond with
                                         the Company regarding updated
                                         certificates of insurance (.3);
                                         correspond with Piper and B.
                                         Baker regarding final fee
                                         applications (.3); draft email to
                                         and correspond with the Court
                                         regarding proposed order on the
                                         lease assumption deadline
                                         extension motion (.6); correspond
                                         with counsel for Krystal Warner
                                         Robins regarding motion for relief
                                         (.3)
05/14/20   L Shermohammed         B410   Review and revise Piper final fee        1.7        1,139.00
                                         application form (.9); review
                                         motion for relief and correspond
                                         with counsel for KRY Warner
                                         Robins and A&B regarding same
                                         (.8)
05/15/20   L Shermohammed         B410   Prepare form of and correspond           0.7          469.00
                                         with B. Baker regarding motion to
                                         dismiss
05/18/20   L Shermohammed         B410   Review and revise motion to              4.1        2,747.00
                                         dismiss (2.6); prepare for hearing
                                         on substantial contribution motion
                                         and motion to extend time to
                                         assume or reject leases (1.5)
05/19/20   L Shermohammed         B410   Prepare for hearing on substantial       6.0        4,020.00
                                         contribution motion and motion to
                                         extend time to assume or reject
                                         leases (2.6); draft agenda (.5);
                                         legal research regarding section
                                         365 (2.7); conference with the
                                         Committee and the Purchaser
                                         regarding the upcoming hearing
                                         (.2)
05/20/20   L Shermohammed         B410   Correspond with KCC regarding            6.5        4,355.00
                                         service of various filing and orders
                                         (.9); revise and file agenda (.4);
                                         prepare for hearing on substantial
                                         contribution motion and motion to
                                         extend time to assume or reject
                                         contracts (4.3); review Purchaser's
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Date       Timekeeper             Task   Description                            Hours       Value
                                         objection tracker (.6); correspond
                                         with M. Shenk regarding the
                                         upcoming hearing and various
                                         schedules (.3)
05/21/20   L Shermohammed         B410   Prepare for hearing on substantial       4.9        3,283.00
                                         contribution motion and motion to
                                         extend time to assume or reject
                                         contracts and correspond with S.
                                         Borders regarding same (2.4);
                                         hearing regarding same (1.2); draft
                                         revised proposed orders (1.3)
05/22/20   L Shermohammed         B410   Correspond with counsel for KRY          1.3          871.00
                                         Warner Robins regarding motion
                                         for relief (.3); correspond with the
                                         Company and various landlords
                                         regarding certificates of insurance
                                         and review same (.4); correspond
                                         with landlords regarding proposed
                                         order on motion to extend time to
                                         assume and reject leases (.6)
05/26/20   L Shermohammed         B410   Draft and revise proposed orders         1.9        1,273.00
                                         from May 21 hearing (1.0);
                                         correspond with counsel for Peach
                                         Willow and KRY Warner Robins
                                         (.6); correspond with T. Hardin
                                         regarding a pending lawsuit (.3)
05/27/20   L Shermohammed         B410   Review initial rejection list and        4.5        3,015.00
                                         draft and compile rejection notice
                                         (1.3); review employee separation
                                         agreement and conference with
                                         A&M and K&S teams regarding
                                         same (.6); correspond with
                                         Purchaser and S. Borders
                                         regarding certain landlords (1.6);
                                         telephonically attend hearing on
                                         motion for relief and motion for
                                         allowance of administrative
                                         expense claim (.5); correspond
                                         with KCC regarding service of
                                         various filed documents (.5)
05/28/20   L Shermohammed         B410   Correspond with Purchaser                3.2        2,144.00
                                         regarding amended proposed order
                                         on assumption or rejection
                                         extension motion and review and
                                         upload same (1.2); correspond
                                         with the Court regarding same
                                         (.2); review pension termination
                                         documents and correspond with
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Date       Timekeeper               Task    Description                         Hours        Value
                                            A&M and K&S teams regarding
                                            same (1.3); correspond with T.
                                            Hardin regarding a pending
                                            lawsuit and other matters (.5)
05/29/20   L Shermohammed           B410    Review consent motion of                0.4         268.00
                                            landlord 522 Highway and
                                            correspond with landlord
                                            regarding same (.4)
                                            Total B410                            49.8       33,366.00
                                            Total                                264.3      207,526.50



TIMEKEEPER SUMMARY

Timekeeper                  Status                             Hours            Rate             Value
Sarah Borders               Partner                              65.2        1215.00         79,218.00
Sam Choy                    Partner                               0.9        1235.00          1,111.50
Jeff Dutson                 Partner                               7.1        1005.00          7,135.50
Britney Baker               Associate                            51.2         560.00         28,672.00
Daniel Fowler               Associate                             1.6         590.00            944.00
Andrew James                Associate                             1.1         475.00            522.50
Nell Schiller               Associate                             1.5         920.00          1,380.00
Leia Shermohammed           Associate                           130.3         670.00         87,301.00
Cliff Russell               Paralegal                             5.4         230.00          1,242.00
Total                                                           264.3                       207,526.50


Expenses Incurred

05/31/20    Duplicating Costs                                                                    73.60
05/15/20    Document Delivery - VENDOR: Georgia Messenger Service, Inc. INVOICE#:                16.95
            320264 DATE: 5/15/2020 Messenger service
                               Total Expenses                                                    90.55
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Task Summary

Task                                                   Hours              Value
B110         Case Administration                         41.3         30,660.50
B130         Asset Disposition                          142.6        116,760.50
B140         Relief from Stay/Adequate Protection         3.7          4,495.50
             Proceedings
B150         Meetings of and Communications with          1.1            522.50
             Creditors
B160         Fee/Employment Applications                  4.4          2,464.00
B185         Assumption/Rejection of Leases and           1.2          1,458.00
             Contracts
B210         Business Operations                          0.7            413.00
B220         Employee Benefits/Pensions                   6.6          7,032.00
B230         Financing/Cash Collections                   7.5          9,112.50
B250         Real Estate                                  5.4          1,242.00
B410         General Bankruptcy Advice/Opinions          49.8         33,366.00
Total                                                   264.3        207,526.50
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                                                                        Remit To:
                                                                        King & Spalding LLP
                                                                        P.O. Box 116133
                                                                        Atlanta, GA 30368-6133
           FEDERAL I.D. XX-XXXXXXX
                                                                        By Wire: SunTrust Bank
                                                                        ABA: 061 000 104
                                                                        SWIFT: SNTRUS3A
                                                                        USD Account: 88003 12475
                                                                        Account Name: King & Spalding

The Krystal Company                                                     Invoice No.                        10352937
ATTN: Bruce Vermilyea                                                   Invoice Date                        06/12/20
Chief Financial Officer                                                 Client No.                            13459
1455 Lincoln Parkway E                                                  Matter No.                           253001
Suite 600
Dunwoody, GA 30346


                                                                                                  For questions, contact:
RE: Restructuring Advice                                                                Kathryn Furman +1 404 572 3599

                                               REMITTANCE
                                 Please return this page with your remittance.

                     Amount Due This Invoice                        $207,617.05




                                         Payment is Due Upon Receipt
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                                                                 Remit To:
                                                                 King & Spalding LLP
                                                                 P.O. Box 116133
                                                                 Atlanta, GA 30368-6133
             FEDERAL I.D. XX-XXXXXXX
                                                                 By Wire: SunTrust Bank
                                                                 ABA: 061 000 104
                                                                 SWIFT: SNTRUS3A
                                                                 USD Account: 88003 12475
                                                                 Account Name: King & Spalding


 The Krystal Company                                             Invoice No.                              10352938
 ATTN: Tony Hardin                                               Invoice Date                              06/12/20
 1455 Lincoln Parkway E                                          Client No.                                  13459
 Suite 600                                                       Matter No.                                 265001
 Dunwoody, GA 30346


                                                                                                 For questions, contact:
 RE: Project Chattanooga                                                               Phyllis Sumner +1 404 572 4799



For Professional Services Rendered through 05/31/20:

 Fees                                                                              $                       8,167.00
 Total this Invoice                                                                $                       8,167.00




                                        Payment is Due Upon Receipt
  Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                Desc Main
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13459      Krystal Company, The                                                     Invoice No. 10352938
265001     Project Chattanooga                                                                     Page 2
06/12/20


PROFESSIONAL SERVICES


Date       Timekeeper             Description                               Hours                  Value
05/01/20   A Dehnel               Edit and revise response letter to PLIS     0.6                 426.00
05/01/20   N Moffitt              Review AG list used for bankruptcy          0.3                 295.50
                                  notification and correspondence with
                                  bankruptcy team regarding same
05/01/20   N Moffitt              Review revised bankruptcy notice and        0.1                  98.50
                                  correspondence with bankruptcy team
                                  regarding same
05/01/20   N Moffitt              Telephone conference with bankruptcy        0.5                 492.50
                                  team concerning distribution of notice
05/01/20   N Moffitt              Correspondence with Edelman                 0.2                 197.00
                                  concerning quote for media distribution
05/01/20   P Sumner               Review revised notice regarding claims      0.2                 205.00
05/01/20   P Sumner               Various correspondence regarding            0.4                 410.00
                                  publication notice for consumers and
                                  prior AG notices
05/01/20   P Sumner               Call with team regarding notice             0.5                 512.50
                                  deadlines and procedures
05/01/20   P Sumner               Review prior notice plan and                0.2                 205.00
                                  publication
05/01/20   P Sumner               Strategize regarding notice process for     0.3                 307.50
                                  AGs and consumers and
                                  correspondence regarding same
05/04/20   A Dehnel               Review trade name restoration policy        0.4                 284.00
                                  for pandemic extension and property
                                  policy to determine if any pandemic
                                  exclusions and emails with S. Guilbert
                                  regarding same
05/04/20   N Moffitt              Review and revise letter to PLIS            0.5                 492.50
05/04/20   N Moffitt              Correspondence with S. Borders              0.2                 197.00
                                  regarding avoiding card brand fines
05/04/20   N Moffitt              Tend to questions raised pertaining to      0.8                 788.00
                                  impact of bankruptcy on breach
05/04/20   P Sumner               Correspondence regarding questions          0.2                 205.00
                                  BR and breach
05/05/20   A Dehnel               Edit and revise response letter to PLIS     0.2                 142.00
05/05/20   N Moffitt              Revise letter to PLIS                       1.3               1,280.50
05/05/20   N Moffitt              Correspondence with Edelman                 0.1                  98.50
                                  concerning status of SOW for media
                                  distribution
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Date       Timekeeper                  Description                               Hours                  Value
05/05/20   N Moffitt                   Correspondence with S. Borders and J.       0.2                 197.00
                                       Dutson regarding Edelman quote
05/05/20   N Moffitt                   Correspondence with J. Dutson               0.1                  98.50
                                       regarding website update
05/06/20   A Dehnel                    Edit and revise response letter to PLIS     0.4                 284.00
05/12/20   A Dehnel                    Emails with team regarding draft            0.1                  71.00
                                       response to PLIS
05/15/20   A Dehnel                    Edit and revise draft response to PLIS      0.1                  71.00
05/18/20   A Dehnel                    Edit and revise letter in response to       1.0                 710.00
                                       PLIS and emails with team regarding
                                       same
05/21/20   N Moffitt                   Correspondence with T. Hardin               0.1                  98.50
                                       regarding insurance question
                                       Total                                       9.0               8,167.00




TIMEKEEPER SUMMARY

Timekeeper                 Status                                   Hours           Rate                Value
Natasha Moffitt            Partner                                    4.4         985.00             4,334.00
Phyllis Sumner             Partner                                    1.8        1025.00             1,845.00
Amy Dehnel                 Associate                                  2.8         710.00             1,988.00
Total                                                                 9.0                            8,167.00
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                                                                         Remit To:
                                                                         King & Spalding LLP
                                                                         P.O. Box 116133
                                                                         Atlanta, GA 30368-6133
            FEDERAL I.D. XX-XXXXXXX
                                                                         By Wire: SunTrust Bank
                                                                         ABA: 061 000 104
                                                                         SWIFT: SNTRUS3A
                                                                         USD Account: 88003 12475
                                                                         Account Name: King & Spalding

The Krystal Company                                                      Invoice No.                         10352938
ATTN: Tony Hardin                                                        Invoice Date                         06/12/20
1455 Lincoln Parkway E                                                   Client No.                             13459
Suite 600                                                                Matter No.                            265001
Dunwoody, GA 30346


                                                                                                    For questions, contact:
RE: Project Chattanooga                                                                   Phyllis Sumner +1 404 572 4799

                                                REMITTANCE
                                  Please return this page with your remittance.

                      Amount Due This Invoice                        $8,167.00




                                          Payment is Due Upon Receipt
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                                                                 Remit To:
                                                                 King & Spalding LLP
                                                                 P.O. Box 116133
                                                                 Atlanta, GA 30368-6133
             FEDERAL I.D. XX-XXXXXXX
                                                                 By Wire: SunTrust Bank
                                                                 ABA: 061 000 104
                                                                 SWIFT: SNTRUS3A
                                                                 USD Account: 88003 12475
                                                                 Account Name: King & Spalding


 The Krystal Company                                             Invoice No.                            10359535
 ATTN: Bruce Vermilyea                                           Invoice Date                            07/07/20
 Chief Financial Officer                                         Client No.                                13459
 1455 Lincoln Parkway E                                          Matter No.                               253001
 Suite 600
 Dunwoody, GA 30346


                                                                                               For questions, contact:
 RE: Restructuring Advice                                                            Kathryn Furman +1 404 572 3599



For Professional Services Rendered through 06/30/20:

 Fees                                                                              $                    78,621.00
 Total this Invoice                                                                $                    78,621.00




                                        Payment is Due Upon Receipt
  Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00             Desc Main
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PROFESSIONAL SERVICES

Date       Timekeeper             Task   Description                            Hours       Value
06/01/20   B Baker                B110   Locate precedent for transition          0.5          280.00
                                         support agreement
06/03/20   A Dehnel               B110   Conference with S. Guilbert              0.1           71.00
                                         regarding matter
06/05/20   B Baker                B110   Email correspondence concerning          0.3          168.00
                                         motion to dismiss
06/08/20   S Borders              B110   Attention to request for relief from     0.4          486.00
                                         stay from C. Miller and H. Miller;
                                         email to counsel; review of
                                         proposed consent order
06/08/20   S Borders              B110   Review of AGG fee statements             0.2          243.00
06/08/20   A Dehnel               B110   Follow up regarding response to          0.1           71.00
                                         PLIS
06/09/20   N Moffitt              B110   Review notice of sale of assets          0.1           98.50
                                         pertaining to Krystal
06/10/20   B Baker                B110   Email correspondence monthly             0.2          112.00
                                         operating report and adequate
                                         assurance account
06/11/20   S Borders              B110   Work on wrap up of case closing          2.6        3,159.00
                                         issues
06/12/20   S Borders              B110   Fee statement; Baldwin                   2.5        3,037.50
                                         administrative application; EEOC
                                         claim; wrap up of case closing
                                         issues
06/15/20   B Baker                B110   Review and summarize                     1.3          728.00
                                         administrative expense motion
06/15/20   S Borders              B110   Call with Committee counsel;             1.0        1,215.00
                                         attention to motion for
                                         administrative claim; attention to
                                         EEOC matter
06/16/20   B Baker                B110   Draft and file notice of assumption      1.1          616.00
                                         (.6); review docket entries (.2)
                                         email correspondence with L.
                                         Shermohammed and S. Borders
                                         concerning administrative expense
                                         motion (.3)
06/17/20   B Baker                B110   Hearing concerning                       2.4        1,344.00
                                         commencement of professional fee
                                         payments (.3); draft and upload
                                         amended final cash collateral order
                                         (1.3); calls and email
                                         correspondence concerning the
                                         same (.8)
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Date       Timekeeper             Task   Description                            Hours       Value
06/17/20   S Borders              B110   Prepare for and participate in           1.0        1,215.00
                                         hearing; email regarding L. Peter's
                                         email on payment of rent; call with
                                         B. Baker regarding revisions to
                                         conveyance documents for owned
                                         real estate
06/18/20   S Borders              B110   Document review Motion for               0.6          729.00
                                         Relief from stay
06/19/20   N Moffitt              B110   Correspondence with Krystal and          0.1           98.50
                                         S. Borders concerning preliminary
                                         liability communication from
                                         MasterCard
06/22/20   S Borders              B110   Call with PBGC; email regarding          0.5          607.50
                                         organizational chart to PBGC;
                                         email to A&M regarding most
                                         recent statement for pension plan
                                         as requested by PBGC
06/29/20   N Moffitt              B110   Call with S. Borders concerning          0.5          492.50
                                         bankruptcy status
06/29/20   N Moffitt              B110   Correspondence with S. Borders           0.1           98.50
                                         regarding scheduling call to
                                         discuss bankruptcy status
06/29/20   N Moffitt              B110   Review correspondence from               0.1           98.50
                                         Krystal to WorldPay concerning
                                         bankruptcy
06/30/20   N Moffitt              B110   Review communications from               0.1           98.50
                                         Verizon pertaining to Synovus
                                         requests
06/30/20   N Moffitt              B110   Prepare correspondence to S.             0.1           98.50
                                         Borders concerning verification
                                         requests and request for PFI report
                                         Total B110                              15.9       15,165.50
06/01/20   L Shermohammed         B130   Correspond with A&B regarding            4.1        2,747.00
                                         real estate transfer documents and
                                         review same (1.2); draft amended
                                         order regarding assumption and
                                         rejection procedures and file and
                                         correspond with the Court
                                         regarding same (1.8); draft and file
                                         notice of assumption and
                                         correspond with A&B regarding
                                         same (1.1)
06/16/20   B Baker                B130   Email correspondence with L.             0.2          112.00
                                         Shermohammed and S. Borders
                                         concerning real estate transfer
                                         documents
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Date       Timekeeper             Task   Description                           Hours       Value
06/17/20   B Baker                B130   Revise owner's affidavit (.5); call     1.2          672.00
                                         and email correspondence real
                                         estate transfer documents (.7)
06/19/20   B Baker                B130   Email correspondence concerning         0.6          336.00
                                         real estate transfer documents
06/22/20   B Baker                B130   Email correspondence with               0.9          504.00
                                         purchaser counsel and client
                                         concerning real estate transfer
                                         document comments
06/23/20   B Baker                B130   Email correspondence with               0.8          448.00
                                         concerning real estate transfer
                                         document comments
06/23/20   S Borders              B130   Emails regarding Buyer's honoring       0.7          850.50
                                         gift cards and World pay (.2);
                                         email regarding Geer relief from
                                         stay and review of proposed order
                                         regarding the same (.3); call with
                                         creditor regarding "lost claim
                                         form" (.2)
06/24/20   B Baker                B130   Email correspondence concerning         0.7          392.00
                                         real estate transfer documents and
                                         IP assignment
06/25/20   B Baker                B130   Email correspondence concerning         0.7          392.00
                                         real estate transfer document
                                         comments
06/29/20   B Baker                B130   Email correspondence concerning         0.8          448.00
                                         executed deed and owner's
                                         affidavit; coordinate delivery of
                                         original documents to title
                                         company
06/30/20   B Baker                B130   Email correspondence with title         0.2          112.00
                                         company concerning original deed
                                         and owner's affidavit
                                         Total B130                             10.9        7,013.50
06/04/20   S Borders              B140   Attention and emails regarding          0.7          850.50
                                         workers compensation issues
06/05/20   S Borders              B140   Attention and emails regarding          0.6          729.00
                                         workers compensation issues; call
                                         regarding same
06/22/20   S Borders              B140   Call with C. Heibeck regarding          0.6          729.00
                                         ADA settlement; call with J.
                                         Edwards regarding same
06/25/20   S Borders              B140   Address stay issues and landlord        0.6          729.00
                                         issues
                                         Total B140                              2.5        3,037.50
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Date       Timekeeper             Task   Description                            Hours       Value
06/04/20   S Borders              B185   Work on Traveler's agreement;            2.9        3,523.50
                                         attention to workers compensation;
                                         attention to various lease claims
                                         and communications
06/10/20   S Borders              B185   Review of proposed notice of             2.1        2,551.50
                                         assumption of executory contracts
                                         (.2); attention to PBGC issues
                                         (2.1)
06/16/20   S Borders              B185   Prepare for hearing; email from L.       2.6        3,159.00
                                         Peters regarding nonpayment of
                                         rent; review of APA; emails with
                                         J. Edwards; email with A. Ray
06/29/20   S Borders              B185   Attention to extended lease terms;       0.5          607.50
                                         call with A. Porter regarding
                                         terminated employee; call with R.
                                         Graham regarding unpaid rent;
                                         email to J. Edwards regarding
                                         same.
06/30/20   S Borders              B185   Call with J. Edwards                     0.3          364.50
                                         Total B185                               8.4       10,206.00
06/05/20   S Borders              B220   Attention to PBGC and pension            3.9        4,738.50
                                         termination; legal research and
                                         document review regarding same
                                         Total B220                               3.9        4,738.50
06/02/20   S Borders              B230   Call with A. Ray regarding cash          2.8        3,402.00
                                         collateral hearing; call with A. Ray
                                         and J. Edwards regarding payment
                                         of rent status; prepared for
                                         hearing; review of proposed order;
                                         participated in hearing; call with
                                         R. Williamson and A. Ray
                                         regarding order; emails with Jones
                                         & Cork regarding Metro Air
                                         claim; emails with M. Shenk and
                                         J. Tibus regarding Metro Air
                                         Claim; review of sale order
                                         regarding same
06/03/20   S Borders              B230   Review of changes to final cash          0.4          486.00
                                         collaeral order (.1); email to A.
                                         Ray regarding same (.1); email
                                         from S. Kupka regarding same
                                         (.1); email with M. Shenk
                                         regarding payment of substantial
                                         contribution claim (.1)
                                         Total B230                               3.2        3,888.00
06/01/20   L Shermohammed         B410   Determine whether lease of certain       0.6          402.00
                                         landlord has been rejected and
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Date       Timekeeper             Task   Description                            Hours       Value
                                         correspond with J. Dutson
                                         regarding same (.6)
06/02/20   L Shermohammed         B410   Correspond with T. Hardinand M.          4.6        3,082.00
                                         Shenk regarding adequate
                                         assurance account (.5);
                                         telephonically attend hearing on
                                         cash collateral and professional
                                         fees (.7); correspond with J.
                                         Simpson regarding the monthly
                                         operating report and draft a portion
                                         of same (1.3); correspond with
                                         counsel for Dominion Energy
                                         regarding its adequate assurance
                                         deposit (.6); correspond with KCC
                                         regarding service of various
                                         documents (.2); correspond with
                                         counsel for Peach Willow
                                         regarding lease assumption (.7);
                                         revise assumption notice and
                                         correspond with A&B regarding
                                         and file same (.6)
06/04/20   L Shermohammed         B410   Review and comment on revisions          5.7        3,819.00
                                         to real estate transfer documents
                                         and correspond with S. Borders
                                         regarding same (1.6); draft
                                         corporate ancillary documents
                                         related to same (2.1); correspond
                                         with Dominion Energy regarding
                                         its adequate assurance deposit (.4);
                                         correspond with C. Foster
                                         regarding a workers' compensation
                                         settlement (.7); correspond with
                                         M. Wood regarding the Ringgold
                                         owned property (.9); correspond
                                         with Sunshine Car Care regarding
                                         the assumption/rejection of its
                                         contract and review related
                                         documents regarding same (.8)
06/05/20   L Shermohammed         B410   Draft and revise motion to dismiss       6.3        4,221.00
                                         (3.6); review treatment of workers'
                                         compensation claims under the
                                         APA and prepare for settlement
                                         conference (1.2); draft final fee
                                         application (1.5)
06/08/20   L Shermohammed         B410   Review and revise monthly                4.7        3,149.00
                                         operating report and correspond
                                         with A&M regarding same (1.8);
                                         correspond with Duke Energy and
                                         T. Hardin regarding utilities
  Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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13459      Krystal Company, The                                                 Invoice No. 10359535
253001     Restructuring Advice                                                                Page 7
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Date       Timekeeper             Task   Description                           Hours       Value
                                         accounts (1.3); review Haygood
                                         motion for relief and related
                                         consent order (.8); review EEOC
                                         update and correspond with T.
                                         Hardin regarding same (.8)
06/09/20   L Shermohammed         B410   Review Haygood Word copy                4.1        2,747.00
                                         consent order (.1); review
                                         proposed assumption and rejection
                                         lists and correspond with A&B
                                         regarding same (.5); prepare
                                         various documents for B. Baker
                                         and correspond with B. Baker
                                         regarding same (.8); correspond
                                         with A&M regarding monthly
                                         operating report (.2); correspond
                                         with M. Misdom, T. Hardon, M.
                                         Shenk, Dominion and Duke
                                         Energy regarding service and
                                         utility accounts (1.4); correspond
                                         with counsel for Sunshine Car
                                         Care regarding lease agreement
                                         and assumption and with A&B
                                         regarding same (1.1)
06/10/20   L Shermohammed         B410   Prepare, review and file                3.6        2,412.00
                                         assumption notice (.4); prepare,
                                         review and file rejection notice
                                         (.3); correspond with counsel to
                                         Krystal V LLC regarding
                                         assumption of lease (.4); draft
                                         email to S. Borders regarding
                                         various items (.5); correspond with
                                         M. Misdom, T. Hardon, M. Shenk,
                                         Dominion and Duke Energy
                                         regarding service and utility
                                         accounts (1.7); correspond with
                                         A&M regarding monthly operating
                                         report (.3)
06/18/20   L Shermohammed         B410   Correspond with B. Baker                0.5          335.00
                                         regarding real estate transfer
                                         documents
06/19/20   L Shermohammed         B410   Review revised monthly operating        3.0        2,010.00
                                         report, correspond with A&M and
                                         S. Borders regarding same, and
                                         file same (.8); review real estate
                                         transfer documents and correspond
                                         with B. Baker (1.1); correspond
                                         with counsel to unsecured creditor
                                         regarding status of case (.4);
                                         correspond with counsel to
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13459      Krystal Company, The                                                   Invoice No. 10359535
253001     Restructuring Advice                                                                  Page 8
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Date       Timekeeper             Task   Description                             Hours       Value
                                         Snaptech regarding June payment
                                         and correspond with the company
                                         regarding the same (.7)
06/22/20   L Shermohammed         B410   Review schedules and other                3.3        2,211.00
                                         documents related to asserted
                                         claims (1.8); conference regarding
                                         pension termination and related
                                         correspondence (.3); correspond
                                         with counsel for Snaptech and the
                                         Company regarding same (.5);
                                         review title commitment
                                         requirements and correspond with
                                         B. Baker regarding same (.7)
06/23/20   L Shermohammed         B410   Correspond with B. Baker                  2.5        1,675.00
                                         regarding real estate transfer
                                         documents (.6); review consent
                                         order on McLean motion for relief
                                         and correspond with W. Geer and
                                         K&S team regarding same (1.2);
                                         correspond with counsel for Ladas
                                         Land Development and J. Edwards
                                         regarding cure amounts (.7)
06/24/20   L Shermohammed         B410   Correspond with counsel regarding         2.3        1,541.00
                                         Haygood motion for stay relief
                                         (.4); review IP assignment and
                                         correspond with J. Schippert
                                         regarding same (.6); correspond
                                         with various utility providers,
                                         newco, and M. Shenk regarding
                                         account processes (.9); conference
                                         with R. Willcox regarding asserted
                                         claims (.4)
06/25/20   L Shermohammed         B410   Attend hearing (.9); correspond           1.2          804.00
                                         with chambers regarding consent
                                         order on motion for relief (.3)
06/29/20   L Shermohammed         B410   Review docket and draft portion of        4.8        3,216.00
                                         monthly operating report and
                                         correspond with A&M regarding
                                         same (1.4); correspond with B.
                                         Baker regarding real estate transfer
                                         documents (.2); review
                                         correspondence and other
                                         documents regarding employee
                                         separation agreement (.7);
                                         correspond with J. Edwards
                                         regarding assumption and rejection
                                         notices and extension of DRA
                                         period (.3); draft, finalize and file
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Date       Timekeeper               Task   Description                               Hours        Value
                                           assumption and rejection notices
                                           (.8); correspond with S. Goolsby
                                           regarding rejection of certain lease
                                           and review documents regarding
                                           same (.6); correspond with tax
                                           collector regarding personal
                                           property at certain rejected store
                                           location and correspond with
                                           Company regarding same (.8)
06/30/20   L Shermohammed           B410   Review Plair consent order on                4.4        2,948.00
                                           motion for relief and correspond
                                           with company regarding same (.6);
                                           draft, finalize, and file assumption
                                           and rejection notices (.8); draft
                                           global rejection notice (.7);
                                           correspond with taxing entity
                                           regarding personal property (.8);
                                           review docket and correspond with
                                           B. Keck regarding the assumption
                                           of certain leases (1.5)
                                           Total B410                                  51.6       34,572.00
                                           Total                                       96.4       78,621.00



TIMEKEEPER SUMMARY

Timekeeper                  Status                              Hours                Rate             Value
Sarah Borders               Partner                              27.5             1215.00         33,412.50
Natasha Moffitt             Partner                               1.1              985.00          1,083.50
Britney Baker               Associate                            11.9              560.00          6,664.00
Amy Dehnel                  Associate                             0.2              710.00            142.00
Leia Shermohammed           Associate                            55.7              670.00         37,319.00
Total                                                            96.4                             78,621.00
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Task Summary

Task                                                   Hours              Value
B110         Case Administration                        15.9          15,165.50
B130         Asset Disposition                          10.9           7,013.50
B140         Relief from Stay/Adequate Protection        2.5           3,037.50
             Proceedings
B185         Assumption/Rejection of Leases and           8.4         10,206.00
             Contracts
B220         Employee Benefits/Pensions                   3.9          4,738.50
B230         Financing/Cash Collections                   3.2          3,888.00
B410         General Bankruptcy Advice/Opinions          51.6         34,572.00
Total                                                    96.4         78,621.00
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                                                                        Remit To:
                                                                        King & Spalding LLP
                                                                        P.O. Box 116133
                                                                        Atlanta, GA 30368-6133
           FEDERAL I.D. XX-XXXXXXX
                                                                        By Wire: SunTrust Bank
                                                                        ABA: 061 000 104
                                                                        SWIFT: SNTRUS3A
                                                                        USD Account: 88003 12475
                                                                        Account Name: King & Spalding

The Krystal Company                                                     Invoice No.                        10359535
ATTN: Bruce Vermilyea                                                   Invoice Date                        07/07/20
Chief Financial Officer                                                 Client No.                            13459
1455 Lincoln Parkway E                                                  Matter No.                           253001
Suite 600
Dunwoody, GA 30346


                                                                                                  For questions, contact:
RE: Restructuring Advice                                                                Kathryn Furman +1 404 572 3599

                                               REMITTANCE
                                 Please return this page with your remittance.

                     Amount Due This Invoice                        $78,621.00




                                         Payment is Due Upon Receipt
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                                                                 Remit To:
                                                                 King & Spalding LLP
                                                                 P.O. Box 116133
                                                                 Atlanta, GA 30368-6133
             FEDERAL I.D. XX-XXXXXXX
                                                                 By Wire: SunTrust Bank
                                                                 ABA: 061 000 104
                                                                 SWIFT: SNTRUS3A
                                                                 USD Account: 88003 12475
                                                                 Account Name: King & Spalding


 The Krystal Company                                             Invoice No.                            10370898
 ATTN: Bruce Vermilyea                                           Invoice Date                            08/24/20
 Chief Financial Officer                                         Client No.                                13459
 1455 Lincoln Parkway E                                          Matter No.                               253001
 Suite 600
 Dunwoody, GA 30346


                                                                                               For questions, contact:
 RE: Restructuring Advice                                                            Kathryn Furman +1 404 572 3599



For Professional Services Rendered through 07/31/20:

 Fees                                                                              $                    41,137.00
 Expenses                                                                                                     33.63
 Total this Invoice                                                                $                    41,170.63




Summary of Outstanding Invoices as of 08/24/20
 Invoice No.     Invoice Date           Balance Due
  10359535         07/07/20            $       78,621.00




                                        Payment is Due Upon Receipt
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PROFESSIONAL SERVICES

Date       Timekeeper             Task   Description                            Hours       Value
07/06/20   S Borders              B110   Review of MOR and email                  1.4        1,701.00
                                         regarding same; work on pension
                                         and turnover to PBGC
07/07/20   S Borders              B110   Attention to EEOC claim; request         1.5        1,822.50
                                         for termination of lease; non
                                         payment of lease cure issues;
                                         PBGC requests
07/15/20   S Borders              B110   Email from PBGC; email from              0.7          850.50
                                         Layton Grisette; document review
                                         regarding PBGC issues
07/16/20   S Borders              B110   Email regarding unpaid claim;            0.9        1,093.50
                                         emails regarding garnishment
                                         request; email with Fortress
                                         counsel regarding winddown;
                                         review of PBGC requests and
                                         DOL issues
07/17/20   S Borders              B110   Attention to various litigaiton and      0.7          850.50
                                         landlord issues
07/23/20   S Borders              B110   Document review; email to client         0.2          243.00
                                         regarding Department of Labor
                                         request
07/23/20   S Borders              B110   Call with M. Shenk regarding             0.5          607.50
                                         PBGC Trusteeship Agreement;
                                         email to PBGC team regarding
                                         same and request for
                                         confidentiality agreement
07/24/20   S Borders              B110   Document review regarding DOL            0.3          364.50
                                         issues
07/27/20   S Borders              B110   Email with J. Edwards regarding          0.5          607.50
                                         case wind up (.1) email with D.
                                         Hart and J. Edwards regarding
                                         EEOC claim (.2); document
                                         review regarding UCC request (.2)
07/28/20   S Borders              B110   Email regarding lawsuit against          1.3        1,579.50
                                         franshisee and drafted resonse to
                                         same for M. Shenk
07/30/20   S Borders              B110   Attentiont to PBGC issues; emails        0.6          729.00
                                         from Seyfarth regarding EEOC
                                         claim; attention to extension of bar
                                         date
07/31/20   S Borders              B110   Call with PBGC; review of                1.0        1,215.00
                                         ;transfer agreement for pension;
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08/24/20

Date       Timekeeper             Task   Description                           Hours       Value
                                         review of requested corporate
                                         ownership issue; call with client
                                         regarding same; transmitted
                                         executed agreeement to PBGC
                                         Total B110                              9.6       11,664.00
07/02/20   B Baker                B130   Email correspondence with L.            1.1          616.00
                                         Shermohammed, S. Borders,
                                         A&B, and title company
                                         concerning PT-61 form
07/02/20   S Borders              B130   Attention to Word Pay demand            0.4          486.00
                                         Total B130                              1.5        1,102.00
07/14/20   S Borders              B140   Emails to and from J. Berland;          0.5          607.50
                                         revised termination of lease;
                                         document review
                                         Total B140                              0.5          607.50
07/29/20   L Shermohammed         B160   Draft consolidated fee application      1.3          871.00
07/31/20   L Shermohammed         B160   Draft consolidated fee application      1.9        1,273.00
                                         Total B160                              3.2        2,144.00
07/01/20   S Borders              B185   Attention to sale of real estate;       1.0        1,215.00
                                         EEOC claim; World Pay issues;
                                         final schedules of
                                         rejected/assumed leases
07/02/20   B Baker                B185   File global notice of rejection         0.2          112.00
07/22/20   S Borders              B185   Attention to request for lease          0.3          364.50
                                         termination for Mabry Blvd
                                         Tampa location
07/29/20   S Borders              B185   Email to and from Judy Bergland         1.0        1,215.00
                                         regarding termination; email to
                                         and from L. Shermohammed
                                         regarding same; email to
                                         professionals regarding motion to
                                         dismiss and fee application;
                                         document review regarding ability
                                         to do consolidated fee application;
                                         Total B185                              2.5        2,906.50
07/01/20   L Shermohammed         B410   Review and analyze contract cure        4.2        2,814.00
                                         parties and proposed assumption
                                         and rejection lists (2.1);
                                         correspond with B. Keck regarding
                                         assumption of various leases and
                                         review notices regarding same
                                         (.6); correspond with S. Goolsby
                                         regarding various leases and
                                         review notices regarding same
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Date       Timekeeper             Task   Description                             Hours       Value
                                         (.7); correspond with KCC
                                         regarding service on contract
                                         parties (.5); correspond with
                                         former employee regarding the
                                         pension termination (.3)
07/02/20   L Shermohammed         B410   Correspond with KCC regarding             2.7        1,809.00
                                         the service of various documents
                                         (.3); review and analyze real estate
                                         tax forms and correspond with B.
                                         Baker regarding same (.5); revise,
                                         finalize and file global rejection
                                         notice (.7); draft, finalize and file
                                         assumption and rejection notices
                                         (1.2)
07/06/20   L Shermohammed         B410   Draft, revise, and file monthly           2.4        1,608.00
                                         operating report and confer with
                                         A&M team and S. Borders
                                         regarding same
07/07/20   L Shermohammed         B410   Review Owens motion for relief            3.1        2,077.00
                                         and proposed consent order and
                                         conference with A. Anglin
                                         regarding same (1.4); correspond
                                         with counsel for Sunshine Car
                                         Care (.4); correspond with
                                         landlord of Tennessee property
                                         (.5); correspond with various
                                         creditors regarding notices
                                         received (.8)
07/08/20   L Shermohammed         B410   Review various documents                  1.7        1,139.00
                                         regarding pending litigation and
                                         correspond with T. Hardin and
                                         Travelers regarding same
07/10/20   L Shermohammed         B410   Correspond with A. Anglin                 1.7        1,139.00
                                         regarding consent order on motion
                                         for relief (.6); review termination
                                         of lease (1.1)
07/13/20   L Shermohammed         B410   Correspond with various utility           1.4          938.00
                                         companies regarding account
                                         transfers (.4); correspond with J.
                                         Edwards regarding Ultimate
                                         Software (.3); review lease
                                         termination and correspond with
                                         Krystal team regarding same (.7)
07/14/20   L Shermohammed         B410   Correspond with counsel regarding         1.3          871.00
                                         Owen's motion for relief (.4);
                                         review lease termination and
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Date       Timekeeper             Task   Description                           Hours       Value
                                         correspond with Krystal team
                                         regarding same (.9)
07/15/20   L Shermohammed         B410   Follow up with counsel regarding        0.8          536.00
                                         Owen's motion for stay relief;
                                         review docket prior to hearing on
                                         same; research regarding final fee
                                         application
07/16/20   L Shermohammed         B410   Correspond with landlord counsel        1.9        1,273.00
                                         regarding lease assumption (.5);
                                         correspond with J. Edwards
                                         regarding same (.2); attend hearing
                                         on Owen's stay relief motion (.9);
                                         correspond with Dominion Energy
                                         regarding account transfer (.3)
07/17/20   L Shermohammed         B410   Review operating reports                0.4          268.00
07/20/20   L Shermohammed         B410   Correspond with counsel regarding       3.3        2,211.00
                                         9019 settlement; draft final fee
                                         application
07/21/20   L Shermohammed         B410   Draft June monthly fee statement        4.2        2,814.00
07/21/20   L Shermohammed         B410   Correspond with counsel regarding       1.1          737.00
                                         9019 settlement; correspond with
                                         J. Tibus regarding lease
                                         termination; correspond with
                                         various parties, including the
                                         company, regarding the transfer of
                                         utility accounts
07/22/20   L Shermohammed         B410   Correspond with M. Shenk                0.9          603.00
                                         regarding wind down; correspond
                                         with J. Tibus regarding lease
                                         termination
07/23/20   L Shermohammed         B410   Correspond with counsel regarding       0.5          335.00
                                         9019 settlement
07/24/20   L Shermohammed         B410   Correspond with counsel regarding       0.3          201.00
                                         Jenkins proof of claim
07/27/20   L Shermohammed         B410   Review PBGC notice of                   0.2          134.00
                                         determination
07/28/20   L Shermohammed         B410   Correspond with A&M team                0.2          134.00
                                         regarding lease termination
07/31/20   L Shermohammed         B410   Review and revise motion to             1.6        1,072.00
                                         dismiss; correspond with A&M
                                         regarding lease termination
                                         Total B410                             33.9       22,713.00
                                         Total                                  51.2       41,137.00
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253001     Restructuring Advice                                                                  Page 6
08/24/20



TIMEKEEPER SUMMARY

Timekeeper                 Status                              Hours           Rate              Value
Sarah Borders              Partner                              12.8        1215.00          15,552.00
Britney Baker              Associate                             1.3         560.00             728.00
Leia Shermohammed          Associate                            37.1         670.00          24,857.00
Total                                                           51.2                         41,137.00


Expenses Incurred

06/29/20    Document Delivery - VENDOR: United Parcel Service (KY) INVOICE#:                     13.25
            329658-270WW DATE: 7/4/2020 Amy Riser, Sr. Title - First American Title
            Insurance Co. - ATLANTA - GA
07/31/20    Document Delivery - VENDOR: United Parcel Service (KY) INVOICE#:                     20.38
            329658-310AAA DATE: 8/1/2020 Donald W. Scarlett, - Ulrich, Scarlett,
            Wickman & Dean PA - Sarasota - FL
                              Total Expenses                                                     33.63
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Task Summary

Task                                                   Hours              Value
B110         Case Administration                         9.6          11,664.00
B130         Asset Disposition                           1.5           1,102.00
B140         Relief from Stay/Adequate Protection        0.5             607.50
             Proceedings
B160         Fee/Employment Applications                  3.2          2,144.00
B185         Assumption/Rejection of Leases and           2.5          2,906.50
             Contracts
B410         General Bankruptcy Advice/Opinions          33.9         22,713.00
Total                                                    51.2         41,137.00
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                                                                         Remit To:
                                                                         King & Spalding LLP
                                                                         P.O. Box 116133
                                                                         Atlanta, GA 30368-6133
            FEDERAL I.D. XX-XXXXXXX
                                                                         By Wire: SunTrust Bank
                                                                         ABA: 061 000 104
                                                                         SWIFT: SNTRUS3A
                                                                         USD Account: 88003 12475
                                                                         Account Name: King & Spalding

 The Krystal Company                                                     Invoice No.                        10370898
 ATTN: Bruce Vermilyea                                                   Invoice Date                        08/24/20
 Chief Financial Officer                                                 Client No.                            13459
 1455 Lincoln Parkway E                                                  Matter No.                           253001
 Suite 600
 Dunwoody, GA 30346


                                                                                                   For questions, contact:
 RE: Restructuring Advice                                                                Kathryn Furman +1 404 572 3599

                                                REMITTANCE
                                  Please return this page with your remittance.

                      Amount Due This Invoice                        $41,170.63



Summary of Outstanding Invoices as of 08/24/20
 Invoice No.      Invoice Date           Balance Due
  10359535          07/07/20             $     78,621.00




                                          Payment is Due Upon Receipt
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                                  EXHIBIT D-2

                           Detailed Time Entries/Invoices

                        First and Final Application Period
                      January 19, 2020 Through July 31, 2020
                          Scroggins & Williamson, P.C.




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                                   Scroggins    & Williamson,
                                         Document                P.C.
                                                     Page 204 of 749
                                             4401 Northside Parkway
                                                    Suite 450
                                                Atlanta, GA 30327

                                               Tax I.D. No. XX-XXXXXXX




The Krystal Company                                                                                    May 01, 2020




RE:

Fees and Expenses from                 April 01, 2020                    to   April 30, 2020



             PROFESSIONAL SERVICES

 Date        Init.   Description                                                               Hours        Amount

             Asset Disposition

4/23/2020    ARR     Review sale motion and asset purchase agreement                             1.30        $604.50

4/28/2020    ARR     Participate in telephonic hearing and conference                            0.40        $186.00
                     with R. Williamson


             SUBTOTAL:                                                                 [         1.70        $790.50 ]

             Case Administration

 4/1/2020    LFF     Work on fee statement                                                       2.10        $336.00

             JRW     Telephone conference with Ms. Borders (0.3);                                1.00        $520.00
                     conferences with Ms. Ray (0.7)

 4/2/2020    JRW     Review email correspondence and respond to same                             0.80        $416.00

 4/3/2020    JRW     Review email correspondence and respond to same                             1.00        $520.00
                     (0.8); telephone conference with Ms. Borders (0.2)

             ARR     Review and respond to email correspondence                                  0.30        $139.50

 4/6/2020    JRW     Review email correspondence and respond to same                             0.30        $156.00

             ARR     Review email correspondence (0.3); review A&M Power                         0.80        $372.00
                     Point and prepare for and participate in weekly
                     status call with lenders and debtor professionals
                     (0.5)

 4/7/2020    JRW     Telephone conferences with Mr. Tibus (0.4);                                 1.40        $728.00
                     conferences with Ms. Ray (0.4); review email
                     correspondence and respond to same (0.6)
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 Date        Init.    Description                                                  Hours      Amount

 4/8/2020    JRW      Review email correspondence and respond to same                  0.40    $208.00

 4/9/2020    JRW      Review email correspondence and respond to same                  0.50    $260.00

             ARR      Review email correspondence                                      0.40    $186.00

4/10/2020    JRW      Conferences with Ms. Ray                                         0.40    $208.00

             ARR      Prepare for and participate in conference call with              1.20    $558.00
                      Committee professionals regarding NOL analysis
                      (0.8); conference with R. Williamson (0.4)

4/13/2020    JRW      Telephone conference with Ms. Borders regarding                  1.10    $572.00
                      status of pending matters (0.4); review email
                      correspondence and respond to same (0.7)

             ARR      Review and respond to email correspondence (0.3);                1.00    $465.00
                      review A&M Power Point (0.3); prepare for and
                      participate in weekly status call with lenders and
                      debtor professionals (0.4)

4/14/2020    JRW      Review email correspondence and respond to same                  0.70    $364.00

4/15/2020    JRW      Telephone conference with Ms. Borders (0.3); review              1.50    $780.00
                      email correspondence and respond to same (0.8);
                      review pleadings (0.4)

4/16/2020    JRW      Conference with Ms. Ray (0.3); review email                      0.60    $312.00
                      correspondence and respond to same (0.3)

             ARR      Conference with R. Williamson (0.3); review weekly               0.60    $279.00
                      cash report (0.3)

4/17/2020    MWL      Exchange emails with B. Rothschild regarding                     0.10     $47.50
                      question regarding insurance claim

             ARR      Review email correspondence (0.4); review stipulated             0.90    $418.50
                      order (0.3); conference with R. Williamson (0.2)

4/20/2020    JRW      Review email correspondence and respond to same                  0.90    $468.00
                      (0.5); review Committee standing motion (0.4)

             ARR      Review A&M Power Point (0.4); prepare for and                    0.90    $418.50
                      participate in weekly status call with lenders and
                      debtor professionals (0.5)

4/21/2020    JRW      Review motion (0.4); review email correspondence and             0.80    $416.00
                      respond to same (0.4)

4/22/2020    JRW      Review motion and email correspondence and respond               0.80    $416.00
                      to same (0.5); conferences with Ms. Ray (0.3)
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 Date        Init.    Description                                                   Hours        Amount

4/22/2020    ARR      Conference with R. Williamson (0.3); review email                 0.70      $325.50
                      correspondence (0.4)

4/23/2020    JRW      Review email correspondence and respond to same                   0.80      $416.00
                      (0.4); review pleadings (0.4)

4/24/2020    JRW      Conference with Ms. Ray                                           0.40      $208.00

             ARR      Conference with R. Williamson (0.4); review and                   0.80      $372.00
                      respond to email correspondence (0.4)

4/27/2020    JRW      Telephone conference with Ms. Borders (0.3); review               0.80      $416.00
                      email correspondence and respond to same (0.5)

             ARR      Review and respond to email correspondence                        0.30      $139.50

4/28/2020    JRW      Participate in telephonic hearing and follow up call              1.50      $780.00
                      with Ms. Ray (0.4); review email correspondence and
                      respond to same (0.8); telephone conference with Ms.
                      Borders (0.3)

             ARR      Review and respond to email correspondence                        0.30      $139.50

4/29/2020    JRW      Review email correspondence and respond to same                   1.40      $728.00
                      (0.9); review sale documents and agreements (0.5)

4/30/2020    JRW      Conferences with Ms. Ray regarding pending matters                1.10      $572.00
                      (0.5); review email correspondence and respond to
                      same (0.6)

             ARR      Review and respond to email correspondence                        0.40      $186.00


             SUBTOTAL:                                                          [      29.00   $13,846.50   ]

             Financing and Cash Collateral

 4/1/2020    MWL      Revise and upload order on cash collateral                        0.30      $142.50

             JRW      Telephone conferences with Ms. Ray and counsel for                3.50    $1,820.00
                      lenders (0.5); review loan provisions and cash
                      collateral order (0.5); prepare for and participate
                      in telephonic hearing on cash collateral (1.5); work
                      on order (0.5); conferences with Ms. Ray and Mr.
                      Levin regarding written statement of lien issues
                      (0.5)

             ARR      Review proposed changes to cash collateral                        6.30    $2,929.50
                      stipulation and email correspondence regarding same
                      (0.6); review and respond to email correspondence;
                      conference with R. Williamson; multiple telephone
                      conferences with R. Dorsey; telephone conference
                      with R. Williamson and S. Kulka regarding cash
                      collateral issues; draft notice of filing proposed
                      order (2.7); prepare notice of proposed order for
                      filing and conference with R. Williamson regarding
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 Date        Init.    Description                                                  Hours       Amount

                      same (0.5); prepare for and participate in
                      telephonic hearing on continued use of cash
                      collateral (2.5)

 4/2/2020    MWL      Conference with R. Williamson and A. Ray regarding               0.90     $427.50
                      lien issues list and drafting of same

             JRW      Work on statement of lender issues and conferences               3.50   $1,820.00
                      with Mr. Levin and Ms. Ray regarding same (3.2);
                      revise order (0.3)

 4/3/2020    MWL      Conference with R. Williamson regarding lien issues              0.60     $285.00
                      list (0.3); review and comment on same (0.3)

             JRW      Legal research, review documents and agreements, and             5.40   $2,808.00
                      draft and revise statement of lender issues and
                      multiple conferences with Ms. Ray regarding same
                      (5.1); telephone conference with Mr. Dorsey (0.3)

 4/6/2020    JRW      Review weekly cash flow update                                   0.20     $104.00

 4/9/2020    JRW      Review cash flow report                                          0.30     $156.00

4/13/2020    JRW      Telephone conference with Mr. Dorsey regarding cash              0.30     $156.00
                      collateral issues

4/14/2020    JRW      Review budget and revisions thereto and telephone                2.40   $1,248.00
                      conferences with Mr. Shenk regarding same (0.5);
                      telephone conference with Mr. Dorsey regarding cash
                      collateral hearing and order (0.4); conferences with
                      Ms. Ray regarding same (0.4); telephone conference
                      with Mr. Tibus, Mr. Shenk and Ms. Borders regarding
                      status of pending matters and hearing on cash
                      collateral (0.5); review proposed order and
                      revisions thereto and related email correspondence
                      (0.6)

             ARR      Review email correspondence regarding cash                       1.70     $790.50
                      collateral budget (0.4); review and respond to email
                      correspondence regarding cash collateral stipulation
                      (0.9); conference with R. Williamson (0.4)

4/15/2020    MWL      Finalize and file notice of proposed order (0.2);                0.50     $237.50
                      finalize order and budget and upload same (0.3)

             JRW      Telephone conference with Mr. Dorsey (0.3); draft                1.90     $988.00
                      notice and revise order on cash collateral regarding
                      same (0.9); conference with Mr. Levin (0.3);
                      conference with Ms. Ray regarding hearing status and
                      pending matters (0.4)

             ARR      Telephone conference with R. Dorsey (0.3);                       1.40     $651.00
                      conference with R. Williamson and email
                      correspondence with B. Harrill (0.8); review and
                      respond to email correspondence (0.3)
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The Krystal Company                                                                                Page 5




 Date        Init.    Description                                                   Hours        Amount


4/16/2020    ARR      Email correspondence with T. Dworschak regarding                  0.30      $139.50
                      cash collateral hearing

4/20/2020    JRW      Review weekly report from Alvarez and prepare for                 0.60      $312.00
                      and participate in status call with lenders

4/24/2020    ARR      Review cash collateral order and email                            0.30      $139.50
                      correspondence regarding same

4/27/2020    JRW      Conferences with Ms. Ray regarding cash collateral                0.50      $260.00
                      issues and hearing

             ARR      Conference with R. Williamson regarding cash                      0.80      $372.00
                      collateral issues and hearing (0.5); email
                      correspondence with J. Tibus regarding cash
                      collateral budget (0.3)

4/28/2020    JRW      Review budget and conferences with Ms. Ray regarding              0.70      $364.00
                      same

             ARR      Draft proposed stipulation extending use of cash                  2.10      $976.50
                      collateral (0.6); review budget and conference with
                      R. Williamson (0.7); review draft cash collateral
                      budget (0.4); conference with R. Williamson (0.4)

4/29/2020    MWL      Conference with R. Williamson regarding status                    0.30      $142.50

             JRW      Work on stipulated order and telephone conference                 1.90      $988.00
                      with Mr. Edwards and Ms. Ray regarding same (1.1);
                      conferences with Ms. Ray (0.8)

             ARR      Review and respond to email correspondence regarding              4.30    $1,999.50
                      cash collateral (1.1); circulate proposed stipulated
                      order and email correspondence regarding same (0.5);
                      follow up on cash collateral issues (0.3);
                      conference with R. Williamson (0.8); draft notice of
                      filing budget and prepare for filing (0.6);
                      telephone conference with R. Dorsey; telephone
                      conference with J. Edwards and R. Williamson; revise
                      and circulate proposed order (0.6); revise
                      stipulated order and email to chambers (0.4)

4/30/2020    JRW      Telephone conference with Ms. Ray and Ms. Borders                 1.10      $572.00
                      regarding hearing (0.5); prepare for and participate
                      in telephonic cash collateral hearing (0.6)

             ARR      Prepare for and participate in telephonic hearing                 1.90      $883.50
                      regarding cash collateral and status conference and
                      review asset purchase agreement (1.5); prepare and
                      upload stipulation and budget (0.4)


             SUBTOTAL:                                                          [      44.00   $21,712.50   ]
        Case 20-61065-pwb           Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00    Desc Main
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 Date        Init.    Description                                                   Hours        Amount

             Meetings/Comm w/Creditors

 4/6/2020    JRW      Prepare for and participate in status call with                   0.30      $156.00
                      lenders and professionals

 4/7/2020    JRW      Conference call with Committee professionals, Mr.                 0.80      $416.00
                      Tibus and Ms. Ray regarding secured lender issues

4/10/2020    JRW      Prepare for and participate in conference call with               1.20      $624.00
                      Committee professionals and Mr. Tibus regarding lien
                      and NOL issues and review related documents

4/13/2020    JRW      Prepare for and participate in status call with                   0.50      $260.00
                      lenders


             SUBTOTAL:                                                          [       2.80    $1,456.00 ]

             Other Motions/Applications

 4/1/2020    ARR      Draft letter to agent regarding potential defects in              2.20    $1,023.00
                      security interests (0.8); draft and revise schedule
                      of potential defects in lender's security interest
                      (1.4)

 4/2/2020    ARR      Draft and revise statement of potential defects in                5.30    $2,464.50
                      lender's interests and conference with R. Williamson
                      regarding same (3.4); conference with R. Williamson
                      (0.7); review asset analysis (1.2)

 4/3/2020    ARR      Review documents and agreements, draft and revise                 6.30    $2,929.50
                      statement of lender issues, and multiple conferences
                      with R. Williamson

 4/7/2020    ARR      Prepare for conference call with Committee                        2.00      $930.00
                      professionals (0.6); conference with R. Williamson
                      (0.5); conference call with S. Kulka, D. Laddin, C.
                      Zucker, R. Williamson and J. Tibus regarding
                      validity and extend of lender's liens (0.9)

4/20/2020    ARR      Review Committee's motion for standing                            0.40      $186.00


             SUBTOTAL:                                                          [      16.20    $7,533.00 ]

             For Professional Services Rendered:                                       93.70   $45,338.50
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             Additional Charges :

                                                            Description                                Amount

                            Photocopies                     Copy Charges (42 pp x $0.15)                    6.30

                            Postage                         Postage                                        10.00

                            Pacer Service Center            Pacer Service Center Charge                    21.60


             Total Expenses:                                                                             $37.90

             Total amount of this bill                                                               $45,376.40



                                               Timekeeper Summary
Name                                                                                       Hours        Rate
Lisa F. Forster                                                                               2.10       160.00
Matthew W. Levin                                                                              2.70       475.00
J. Robert Williamson                                                                         43.30       520.00
Ashley Reynolds Ray                                                                          45.60       465.00
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Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
                          Document    Page 214 of 749
        Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                            SCROGGINS         8c WILLIAMSON, P .C.
                                       4401 NORTHSIDE PARKWAY
                                              SUITE450
                                          ATLANTA, GA 30327


                                         TAX l.D. No. XX-XXXXXXX




The Krystal Company                                                                  July 31, 2020




RE :


Fees and Expenses from             June 01, 2020              to    June 30, 2020



             PROFESSIONAL SERVICES

 Date        Init. Description                                                 Hours          Amount
                                                                                            ------
             Case Administration

  6/2/2020 JRW     Telephone conference with Ms. Ray and Ms. Borders                0.40      $208.00

  6/3/2020 ARR     Review and respond to email correspondence                       0.40      $186.00

  6/8/2020 ARR     Review email correspondence                                      0.20       $93.00

6/29/2020 JRW      Review pleadings (0.3); review email correspondence              0.70      $364.00
                   and respond to same (0.4)


             SUBTOTAL :                                                             1. 70     $851.00]

             Employment and Fee Apps

6/12/2020 ARR      Review and circulate fee statement                               0.90      $418.50

6/17/2020 ARR      Participate in telephonic hearing on payment of                  0.40      $186.00
                   professional fees


             SUBTOTAL:                                                          1. 30         $604.50]

            Financing and Cash Collateral

  6/1/2020 ARR     Conference with R. Williamson regarding hearing              0.20           $93.00

             JRW   Conference with Ms. Ray regarding hearing                    0.20          $104.00

  6/2/2020 ARR     Telephone conference with S. Borders and J. Edwards          2.10          $976.50
                   regarding hearing (0.7); prepare for and participate
                   in telephonic hearing on cash collateral and
                   telephone conference with R. Williamson and S.
                   Borders regarding same (1.4)

             JRW   Prepare for and participate in hearing on cash               1. 00         $520.00
                   collateral motion and conferences with Ms. Ray
                   regarding same
        Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00    Desc Main
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The Krystal Company                                                                         Page   2




 Date        Init. Description                                                    Hours      Amount


 6/3/2020 ARR      Draft and revise cash collateral order and circulate            0.70     $325.50
                   for comment

 6/4/2020 ARR      Email correspondence regarding cash collateral order            0.30     $139.50
                   and upload same

6/16/2020 ARR      Email correspondence with S. Borders regarding                  0.30     $139.50
                   hearing


             SUBTOTAL:                                                             4.80   $2,298.00]

            Meetings/Comm w/Creditors

6/29/2020 JRW      Telephone conference with counsel for lessor                    0.30     $156.00
                   regarding lease status


             SUBTOTAL:                                                             0.30     $156.00]

             For Professional Services Rendered:                                   8.10   $3,909.50



            Additional Charges

                                                      Description

                         Photocopies                  Copy Charges   (35 pp x $0.15)            5.25

                         Postage                      Postage                                   4.55


             Total Expenses:                                                                   $9.80

             Total amount of this bill                                                    $3,919.30



                                         Timekeeper Summary
Name                                                                              Hours        Rate
J. Robert Williamson                                                               2.60      520.00
Ashley Reynolds Ray                                                                5.50      465.00
Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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                                  EXHIBIT D-3

                           Detailed Time Entries/Invoices

                        First and Final Application Period
                      January 19, 2020 Through July 31, 2020
                                Alvarez & Marsal




                                         7
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




May 1, 2020                                                                                                             Reference Invoice #:
                                                                                                                                  823167-CF
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 - CF                                                                               $                 250,000.00


              Fee Total                                                                                        $                 250,000.00


Expenses                                                                                                       $                          -


                                                                             Total Amount Due                  $                 250,000.00




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-CF

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                                  Desc Main
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




February 21, 2020                                                                                                       Reference Invoice #:
                                                                                                                                    823167-7
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -7                                                                                 $                 273,360.00
1/20/20 - 1/31/20

             Fee Total                                                                                         $                 273,360.00


Expenses                                                                                                       $                    5,502.05


                                                                             Total Amount Due                  $                 278,862.05




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-7

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                       Desc Main
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                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




February 21, 2020                                                                                                 Reference Invoice #:
                                                                                                                         823167-7
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -7                                              Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950      72.5   $     68,875.00            79.00     $       68,954.00
             Shenk, Michael                                    750      89.0   $     66,750.00              -       $       66,750.00
             Larem, Michael                                    725       3.0   $      2,175.00              -       $        2,175.00
             Simpson, Jonathan                                 575      97.9   $     56,292.50              -       $       56,292.50
             Total Core Restructuring                                  262.4   $    194,092.50            79.00     $      194,171.50
             Case Management
             Esposito, Rob                                     675      64.1   $     43,267.50        1,999.86      $       45,267.36
             Potesta, Tyler                                    500      72.0   $     36,000.00        3,423.19      $       39,423.19
             Total Case Management                                     136.1   $     79,267.50        5,423.05      $       84,690.55
Total                                                                  398.5   $    273,360.00        5,502.05      $      278,862.05
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                                  Desc Main
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




March 9, 2020                                                                                                           Reference Invoice #:
                                                                                                                                    823167-8
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -8                                                                                 $                 550,430.00
2/1/20 - 2/29/20

             Fee Total                                                                                         $                 550,430.00


Expenses                                                                                                       $                    9,274.93


                                                                             Total Amount Due                  $                 559,704.93




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-8

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                       Desc Main
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                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




March 9, 2020                                                                                                     Reference Invoice #:
                                                                                                                         823167-8
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -8                                              Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950     126.0   $    119,700.00            54.29     $      119,754.29
             Shenk, Michael                                    750     150.1   $    112,575.00            61.70     $      112,636.70
             Simpson, Jonathan                                 575     208.9   $    120,117.50              -       $      120,117.50
             Total Core Restructuring                                  485.0   $    352,392.50           115.99     $      352,508.49
             Case Management
             Esposito, Rob                                     675     158.5   $    106,987.50        4,606.81      $      111,594.31
             Potesta, Tyler                                    500     182.1   $     91,050.00        4,552.13      $       95,602.13
             Total Case Management                                     340.6   $    198,037.50        9,158.94      $      207,196.44
Total                                                                  825.6   $    550,430.00        9,274.93      $      559,704.93
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




April 1, 2020                                                                                                           Reference Invoice #:
                                                                                                                                    823167-9
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -9                                                                                 $                 374,475.00
3/1/20 -3/31/20

                Fee Total                                                                                      $                 374,475.00


Expenses                                                                                                       $                      269.69


                                                                             Total Amount Due                  $                 374,744.69




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-9

Notification Email:                   treasury@alvarezandmarsal.com
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                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




April 1, 2020                                                                                                     Reference Invoice #:
                                                                                                                         823167-9
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -9                                              Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950     114.0   $    108,300.00            37.92     $      108,337.92
             Shenk, Michael                                    750     156.7   $    117,525.00            60.06     $      117,585.06
             Simpson, Jonathan                                 575     220.5   $    126,787.50              -       $      126,787.50
             Total Core Restructuring                                  491.2   $    352,612.50            97.98     $      352,710.48
             Case Management
             Esposito, Rob                                     675       3.5   $      2,362.50           139.89     $        2,502.39
             Potesta, Tyler                                    500      39.0   $     19,500.00            31.82     $       19,531.82
             Total Case Management                                      42.5   $     21,862.50           171.71     $       22,034.21
Total                                                                  533.7   $    374,475.00           269.69     $      374,744.69
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                                  Desc Main
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




May 1, 2020                                                                                                             Reference Invoice #:
                                                                                                                                  823167-10
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -10                                                                                $                 327,910.00
4/1/20 -4/30/20

              Fee Total                                                                                        $                 327,910.00


Expenses                                                                                                       $                      233.49


                                                                             Total Amount Due                  $                 328,143.49




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-10

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                       Desc Main
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                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




May 1, 2020                                                                                                       Reference Invoice #:
                                                                                                                        823167-10
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -10                                             Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950      69.0   $     65,550.00           174.15     $       65,724.15
             Shenk, Michael                                    750     164.0   $    123,000.00            47.87     $      123,047.87
             Simpson, Jonathan                                 575     224.7   $    129,202.50              -       $      129,202.50
             Total Core Restructuring                                  457.7   $    317,752.50           222.02     $      317,974.52
             Case Management
             Esposito, Rob                                     675       0.9   $        607.50             0.28     $          607.78
             Potesta, Tyler                                    500      19.1   $      9,550.00            11.19     $        9,561.19
             Total Case Management                                      20.0   $     10,157.50            11.47     $       10,168.97
Total                                                                  477.7   $    327,910.00           233.49     $      328,143.49
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                                  Desc Main
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




June 1, 2020                                                                                                            Reference Invoice #:
                                                                                                                                  823167-11
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -11                                                                                $                 323,270.00
5/1/20 -5/31/20

               Fee Total                                                                                       $                 323,270.00


Expenses                                                                                                       $                      758.24


                                                                             Total Amount Due                  $                 324,028.24




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-11

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                       Desc Main
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                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




June 1, 2020                                                                                                      Reference Invoice #:
                                                                                                                        823167-11
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -11                                             Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950     125.9   $    119,605.00           594.73     $      120,199.73
             Shenk, Michael                                    750     149.5   $    112,125.00            47.51     $      112,172.51
             Simpson, Jonathan                                 575     154.5   $     88,837.50              -       $       88,837.50
             Total Core Restructuring                                  429.9   $    320,567.50           642.24     $      321,209.74
             Case Management
             Esposito, Rob                                     675       0.3   $        202.50           113.15     $          315.65
             Potesta, Tyler                                    500       5.0   $      2,500.00             2.85     $        2,502.85
             Total Case Management                                       5.3   $      2,702.50           116.00     $        2,818.50
Total                                                                  435.2   $    323,270.00           758.24     $      324,028.24
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                                  Desc Main
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




July 6, 2020                                                                                                            Reference Invoice #:
                                                                                                                                  823167-12
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -12                                                                                $                  95,297.50
6/1/20 - 6/30/20

               Fee Total                                                                                       $                  95,297.50


Expenses                                                                                                       $                      143.34


                                                                             Total Amount Due                  $                  95,440.84




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-12

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                       Desc Main
                                              Document    Page 230 of 749

                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




July 6, 2020                                                                                                      Reference Invoice #:
                                                                                                                        823167-12
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -12                                             Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950      25.5   $     24,225.00           129.76     $       24,354.76
             Shenk, Michael                                    750      47.0   $     35,250.00            13.58     $       35,263.58
             Simpson, Jonathan                                 575      62.3   $     35,822.50              -       $       35,822.50
             Total Core Restructuring                                  134.8   $     95,297.50           143.34     $       95,440.84
Total                                                                  134.8   $     95,297.50           143.34     $       95,440.84
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                                  Desc Main
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                                                                                                        Alvarez & Marsal North America, LLC.
                                                                                                                    3424 Peachtree Road , NE
                                                                                                                                  Suite 1500
                                                                                                                           Atlanta, GA 30326
                                                                                                                        Tel: +1 404 260 4040




August 3, 2020                                                                                                          Reference Invoice #:
                                                                                                                                  823167-13
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303




Invoice Reference #: 823167 -13                                                                                $                  53,527.50
7/1/20 - 7/31/20

             Fee Total                                                                                         $                  53,527.50


Expenses                                                                                                       $                      133.16


                                                                             Total Amount Due                  $                  53,660.66




Wire / EFT / ACH Instructions:                                               Mail Instructions:

Bank:                                 J.P. Morgan Chase                      Alvarez & Marsal North America, LLC.

ABA:                                  021000021                              Attn: Liz Carrington

Swift:                                                                       600 Madison Avenue

Account Name:                         Alvarez & Marsal North America, LLC.   8th Floor

Account Number                        789758026                              New York, NY 10022

Reference Number                      823167-13

Notification Email:                   treasury@alvarezandmarsal.com
    Case 20-61065-pwb                   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                       Desc Main
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                                                                                                 Alvarez & Marsal North America, LLC.
                                                                                                            3424 Peachtree Road , NE
                                                                                                                            Suite 1500
                                                                                                                     Atlanta, GA 30326
                                                                                                                  Tel: +1 404 260 4040




August 3, 2020                                                                                                    Reference Invoice #:
                                                                                                                        823167-13
Office of the United States Trustee
75 Ted Turner Drive SW, Room 362
Atlanta, GA 30303

Krystal

Invoice Reference #: 823167 -13                                             Hours Billed          Expenses
   Project              Employee                             Rate    Hours-B     Fees Billed     Exps Billed            Total Billed
             Core Restructuring
             Tibus, Jonathan                                   950      15.7   $     14,915.00           117.13     $       15,032.13
             Shenk, Michael                                    750      35.0   $     26,250.00            16.03     $       26,266.03
             Simpson, Jonathan                                 575      21.5   $     12,362.50              -       $       12,362.50
             Total Core Restructuring                                   72.2   $     53,527.50           133.16     $       53,660.66
Total                                                                   72.2   $     53,527.50           133.16     $       53,660.66
Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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                                  EXHIBIT D-4

                           Detailed Time Entries/Invoices

                        First and Final Application Period
                      January 19, 2020 Through July 31, 2020
                               Piper Sandler & Co.




                                         8
Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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                                  EXHIBIT D-5

                           Detailed Time Entries/Invoices

                        First and Final Application Period
                      January 19, 2020 Through July 31, 2020
                           Kelley Drye & Warren LLP




                                         9
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785655

 027768           Krystal Company Committee
 0001             Case Administration


                                Account Summary and Remittance Form


Legal Services:                                                                              $13,847.50

Less 10% Discount:                                                                           ($1,384.75)

Total Fees Due:                                                                              $12,462.75

Disbursements and Other Charges:                                                                 $111.48

                            Total Amount Due:                                               $12,574.23

                        Terms: Payment Due on or Before April 16, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                   KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                               MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
    HOUSTON                                      BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 17, 2020
                                                                                 Invoice No. 2785655

Client 027768
Matter 0001 Case Administration

Attorney: 01118                                                                                   Page 1

  Date   Description                                        Tkpr   Hours     Amount

02/12/20 Initial strategy conference with J. Carr, M.       JRA       0.50    $364.50
         McLoughlin and K. Hines (all KDW) regarding
         immediate tasks (.3); preliminary conference
         with S. Kulka (AG) regarding case and
         immediate actions (.2).
02/12/20 Initial strategy conference with J. Adams, M.       JSC      0.30     256.50
         McLoughlin and K. Hines (all of KDW)
         regarding immediate action tasks.
02/12/20 Strategy and next steps conference with J. Carr,   KGH       0.60     280.80
         J. Adams, and M.McLoughlin (all of KDW)
         (.3); calls with M. McLoughlin (KDW)
         regarding next steps (.3).
02/12/20 Meet with J. Carr, J. Adams, and K. Hines (all     MJM       0.60     421.20
         KDW) to discuss strategy and next steps (.3);
         calls with K. Hines (KDW) to discuss NOA,
         contact sheet, bylaws (.3).
02/13/20 Emails with M. McLoughlin (KDW) regarding          ERW       1.10     925.65
         case task list, upcoming deadlines (.2); read
         Tibus declaration (.3) and FTI presentation
         materials (.4) for case background and strategy;
         emails to J. Carr (KDW) and C. Zucker (FTI)
         regarding case status, next steps (.2).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                    KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                       NEW YORK                              AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                                  MUMBAI, INDIA
     CHICAGO                                       PARSIPPANY
    HOUSTON                                         BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 17, 2020
Page 2



  Date    Description                                           Tkpr   Hours     Amount

02/13/20 Strategy conference with J. Adams, M.                  JSC       0.30     256.50
         McLoughlin and K. Hines (all KDW) to discuss
         immediate task.
02/13/20 Instruction to M. Vicinanza (KDW) regarding            KGH       2.90    1,357.20
         preparing case contact sheet (.2); review status
         of case after third day hearing for impact (.3);
         conference with M. Vicinanza (KDW) regarding
         revisions to initial case contact sheet (.3); revise
         committee contact sheet (1.3); conference with
         M.McLoughlin (KDW) regarding case strategy
         and various next steps (.3); draft bylaws (.5).
02/13/20 Confer with K. Hines regarding contact list and        MJM       1.60    1,123.20
         bylaws (.3); review, comment on same (.3);
         review docket for pleadings not entered on a
         final basis (.3); emails with E. Wilson (KDW)
         regarding case background, relevant pleadings
         (.3); draft task list (.4).
02/13/20 Prepare contact sheet.                                 MMV       1.10     301.95
02/14/20 Emails with K. Hines (KDW) regarding local             ERW       0.40     336.60
         rules, expenses (.2); emails with M. McLoughlin
         (KDW) regarding case status (.2).
02/14/20 Email additional names to K. Hines (KDW) for           JSC       0.70     598.50
         the main contact sheet (.2); provide tasks to be
         accomplished to K. Hines (KDW) for the task
         list (.1); conference with M. McLoughlin
         (KDW) regarding the immediate tasks that need
         to be accomplished and determining the most
         efficient way to address these tasks (.4).
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
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                                   KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                              AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                                MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 17, 2020
Page 3



  Date    Description                                         Tkpr   Hours     Amount

02/14/20 Meet with J. Carr (KDW) to discuss committee         MJM       1.00     702.00
         call, upcoming deadlines (.4); emails with E.
         Wilson (KDW) regarding investment banker,
         case status (.2); review updated contact sheet
         (.2) and additional information sent by D.
         Laddin (AG) (.2).
02/14/20 Update to committee attendance sheet.                MMV       0.30      82.35
02/16/20 Emails (.2) and calls (.3) with M. McLoughlin        ERW       0.70     589.05
         (KDW) regarding extension of upcoming
         deadlines; emails to J. Carr (KDW) regarding
         case status, call to discuss (.2).
02/16/20 Emails with E. Wilson (KDW) regarding                MJM       0.50     351.00
         upcoming objection deadlines (.2); call with E.
         Wilson (KDW) to discuss case status, next steps
         (.3).
02/17/20 Confer with M. McLoughlin and J. Adams (both         ERW       0.60     504.90
         of KDW) regarding case status, next steps.
02/17/20 Prepare for (.3) and participate in a conference     JSC       0.90     769.50
         call with E. Wilson and M. McLoughlin (both of
         KDW) to discuss the tasks that need immediate
         attention (.6).
02/17/20 Emails with M. McLoughlin (KDW) regarding            KGH       0.70     327.60
         drafting expense reimbursement form, updated
         contact sheet, and committee attendance list (.3);
         draft expense reimbursement form (.2); outline
         case next steps (.2).
02/17/20 Call with J. Carr and E. Wilson (both KDW) to        MJM       0.80     561.60
         discuss case strategy and next steps. (.6) calls
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                       NEW YORK                               AFFILIATE OFFICE:
   LOS ANGELES                                      STAMFORD                                 MUMBAI, INDIA
     CHICAGO                                        PARSIPPANY
     HOUSTON                                         BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 17, 2020
Page 4



  Date    Description                                            Tkpr   Hours     Amount

         with K. Hines (KDW) regarding same. (.2)
02/18/20 Further revise contact sheet to include additional      KGH       0.60     280.80
         contact details (.2); email to M. Vicinanza with
         instruction to set up distribution lists (.2); revise
         initial task list to include complete tasks,
         including case contact sheet, expense
         reimbursement form (.2).
02/18/20 Update contact sheet (.1) and attendance sheet          MJM       0.20     140.40
         (.1).
02/19/20 End of day call with M. McLoughlin (KDW)                ERW       0.20     168.30
         regarding case status.
02/19/20 Update task list (.3); confer with KDW team             MJM       0.50     351.00
         regarding same (.2).
02/19/20 Prepare email and instructions to IT for setting        MMV       0.20      54.90
         up group emails.
02/21/20 Emails with S. Kulka (AG) regarding 341a                ERW       0.20     168.30
         meeting coverage.
02/24/20 Follow up emails with T. Huang (KDW)                    KGH       1.70     795.60
         regarding setting up committee distribution
         email (.2); draft critical dates chart (.9); revise
         task list to include tasks regarding same (.4);
         revise contact sheet (.2).
02/25/20 Email from S. Kulka (AG) regarding tomorrow's           ERW       0.30     252.45
         341(a), transfers (.1); briefly review transfers
         (.2).
02/27/20 Review proposed case management order for               KGH       0.30     140.40
         impact.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 17, 2020
Page 5




Total Original Fees for this Matter:                                                 $13,847.50

Less 10% Discount:                                                                  ($1,384.75)

Total Fees Due:                                                                      $12,462.75



Other Charges:

  Duplication                                                    $22.90
  Telephone                                                       44.00
  Binding                                                          9.98
  Lexis Research                                                  34.60

Total Other Charges for this Matter:                                                      111.48

Total this Invoice                                                                   $12,574.23
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 17, 2020
Page 6




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         3.50         841.50              $2,945.25
JRA           Adams, Jason                         0.50         729.00                 364.50
JSC           Carr, James S                        2.20         855.00               1,881.00
KGH           Hines, Kayci                         6.80         468.00               3,182.40
MJM           McLoughlin, Maeghan J                5.20         702.00               3,650.40
MMV           Vicinanza, Marie M                   1.60         274.50                 439.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 242 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785657

 027768           Krystal Company Committee
 0002             Pleadings Review


                                Account Summary and Remittance Form


Legal Services:                                                                                $1,612.00

Less 10% Discount:                                                                             ($161.20)

Total Fees Due:                                                                                $1,450.80

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $1,450.80

                        Terms: Payment Due on or Before April 16, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                    Document    Page 243 of 749
                                   KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                               MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
    HOUSTON                                      BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 17, 2020
                                                                                 Invoice No. 2785657

Client 027768
Matter 0002 Pleadings Review

Attorney: 01118                                                                                   Page 1

  Date   Description                                     Tkpr     Hours     Amount

02/12/20 Review and comment on lease rejection order MJM             1.80   $1,263.60
         (.3); PACA order (.3); utilities order (.3); taxes
         order (.2); 503(b)(9) order (.6); call with J.
         Dutson (KS) regarding 503(b)(9) form (.1).
02/13/20 Review pleadings, including entry of various       KGH      0.40     187.20
         third day orders for impact.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 244 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0002
March 17, 2020
Page 2




Total Original Fees for this Matter:                                                  $1,612.00

Less 10% Discount:                                                                      $161.20

Total Fees Due:                                                                       $1,450.80

Total For This Matter:                                                                $1,450.80
Total this Invoice                                                                    $1,450.80
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
                                      Document    Page 245 of 749
                                     KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                    MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0002
March 17, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

KGH           Hines, Kayci                         0.40         468.00               $187.20
MJM           McLoughlin, Maeghan J                1.80         702.00              1,263.60




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00            Desc Main
                                   Document    Page 246 of 749
                                  KELLEY DRYE & WARREN LLP                             FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                                AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                                  MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                           March 17, 2020
                                                                                      Invoice No. 2785656

 027768           Krystal Company Committee
 0003             Retention Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                                  $20,637.50

Less 10% Discount:                                                                               ($2,063.75)

Total Fees Due:                                                                                  $18,573.75

Disbursements and Other Charges:                                                                        $0.00

                            Total Amount Due:                                                   $18,573.75

                        Terms: Payment Due on or Before April 16, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                      PAYMENT BY CHECK:
 ABA #: 021-000-021                                               KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                             ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                           101 PARK AVENUE
 ACCOUNT #:135-046110                                             NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER                (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                   Document    Page 247 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                   March 17, 2020
                                                                              Invoice No. 2785656

Client 027768
Matter 0003 Retention Matters (Applications & Objections)

Attorney: 01118                                                                                 Page 1

  Date    Description                                  Tkpr    Hours     Amount

02/12/20 Telephone call with D. Laddin of Arnall         JSC      2.90   $2,479.50
         Golden regarding acting as local counsel for
         the committee (.3); emails to and from
         Province regarding interviewing for the role of
         financial advisor (.3); telephone call with
         Province regarding same (.4); emails to and
         from Glass Ratner regarding same (.5); emails
         to and from FTI regarding same (.4);
         telephone call with FTI regarding same (.4);
         prepare a form email and circulate materials
         for the presentations (.6).
02/13/20 Emails with J. Carr (KDW), D. Laddin and S. ERW          0.40     336.60
         Kulka (both of AG) regarding retentions,
         applicable deadlines (.2); emails with M.
         McLoughlin (KDW) regarding conflicts report
         (.2).
02/13/20 Conference (.2) and email correspondence (.2) JRA        0.40     291.60
         with J. Carr (KDW) regarding debtors'
         retention applications, timing for objections,
         and issues relating to analysis of same.
02/13/20 Email to J. Dutson (KS), debtors' counsel,      JSC      0.90     769.50
         regarding disclosure requirements (.1) email to
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
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    CHICAGO                                       PARSIPPANY
    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0003
March 17, 2020
Page 2



  Date     Description                                       Tkpr   Hours     Amount

           committee professionals regarding same (.1);
           telephone call with D. Laddin (AG), local
           counsel to the committee, regarding reviewing
           the retention applications for the debtors'
           professionals (.3); confer (.2) and emails (.2)
           with J. Adams (KDW) regarding same.
02/13/20   Conference (.6) and email to (.2) with J. Carr    KGH       1.20     561.60
           (KDW) regarding Wells Fargo conflicts
           request for KDW retention application; review
           Wells Fargo conflicts request (.2); review
           negative notice procedures for filing
           requirements (.2).
02/13/20   Emails with D. Laddin (AG) regarding debtor       MJM       0.20     140.40
           retention applications.
02/14/20   Emails to J. Carr (KDW) regarding UST             ERW       0.40     336.60
           connections, debtor FA and director conflicts.
02/14/20   Emails to and from J. Dutson (KS), debtors'       JSC       0.20     171.00
           counsel, regarding disclosure requirements
           (.1); emails to and from the US Trustee
           regarding same (.1).
02/14/20   Review local rules regarding expense              KGH       1.20     561.60
           reimbursement (.5); email summary to E.
           Wilson and M. McLoughlin (both of KDW)
           regarding same (.3); emails with J. Carr and
           M.McLoughlin (both of KDW) regarding
           retention application disclosures and retention
           application (.4).
02/17/20   Email from S. Kulka (AG) regarding retention      ERW       0.40     336.60
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Krystal Company Committee
Client 027768
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March 17, 2020
Page 3



  Date     Description                                        Tkpr   Hours     Amount

           application (.1); review form application (.2);
           forward to K. Hines (KDW) with instruction
           (.1).
02/18/20   Review local rules for deadline to file            KGH       0.60     280.80
           retention application (.4); conference with M.
           McLoughlin (KDW) regarding status of same
           (.2).
02/19/20   Emails with K. Hines (KDW) regarding nunc          ERW       0.20     168.30
           pro tunc retention, conflicts.
02/19/20   Phone conference with S. Kulka (AG)                KGH       1.40     655.20
           regarding retention application local rules and
           timeline for filing KDW retention application
           (.2); draft conflicts list (.2); emails with S.
           Kulka and D. Laddin (both of AG) regarding
           conflicts list for same (.4); email to E. Wilson
           (KDW) regarding conflicts and timeline for
           filing retention application (.4); phone
           conference with M.McLoughlin (KDW)
           regarding timing and requirements for filing
           retention application (.2).
02/19/20   Conference with K. Hines (KDW) regarding           MJM       0.20     140.40
           timing and requirements for filing retention
           application.
02/20/20   Email from S. Kulka (AG) regarding complex         ERW       1.30    1,093.95
           case procedures (.1); review same (.2);
           conference call (.5) and emails (.2) with S.
           Kulka and D. Laddin (both of AG) regarding
           debtor retention review, case status; emails
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Krystal Company Committee
Client 027768
Matter 0003
March 17, 2020
Page 4



  Date     Description                                        Tkpr   Hours     Amount

           with K. Hines (KDW) regarding retention
           application, conflicts (.3).
02/20/20   Draft and revise conflicts list (1.3); multiple    KGH       4.10    1,918.80
           conferences and emails with conflicts
           department regarding same and conferences
           with conflicts (1.5); conference with M.
           McLoughlin (KDW) regarding same (.2);
           emails with E. Wilson, J. Carr, and M.
           McLoughlin (all of KDW) regarding conflicts
           list (.4); emails to S. Kulka (AG) and M. Kuan
           (2x) (FTI) regarding same (.4); review
           disclosure required for Wells Fargo in
           connection with same (.3).
02/20/20   Review conflicts list (.2) and email with K.       MJM       0.30     210.60
           Hines (KDW) (.1) regarding adverse parties.
02/21/20   Review conflicts report in preparation for         KGH       0.50     234.00
           drafting retention application (.3); email to J.
           Carr, E. Wilson, and M.McLoughlin (all of
           KDW) regarding details of same (.2).
02/23/20   Preliminary review of conflicts report.            MJM       0.30     210.60
02/24/20   Review D. Laddin (AG) analysis of debtor           ERW       1.00     841.50
           professional retentions (.3); emails with D.
           Laddin (AG) regarding same, next steps (.3):
           emails with D. Laddin (AG) and M.
           McLoughlin (KDW) regarding status of
           retention applications (.2); emails with K.
           Hines (KDW) and C. Zucker (FTI) regarding
           retention status (.2).
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Krystal Company Committee
Client 027768
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March 17, 2020
Page 5



  Date    Description                                        Tkpr   Hours     Amount

02/24/20 Emails with E. Wilson and K. Hines (both of         MJM       0.20     140.40
         KDW) and D. Laddin (AG) regarding filing of
         retention applications.
02/25/20 Emails with D. Laddin (AG) regarding K&S            ERW       0.60     504.90
         preference liability and A&M success fee (.2);
         review committee preservation of rights
         regarding A&M compensation fee (.2); emails
         with D. Laddin and S. Kulka (both of AG)
         regarding same (.2).
02/25/20 Emails with S. Ivanova (KDW) regarding              KGH       4.30    2,012.40
         percentage of revenue for certain clients for
         use KDW retention application (.3); draft
         KDW retention application (3.8); email to
         M.McLoughlin for review and comment with
         comments regarding same (.2).
02/26/20 Finish drafting KDW retention application,          KGH       1.60     748.80
         including conflicts disclosures (1.0); emails
         with M.McLoughlin regarding same (.2);
         phone conference and emails with S.Kulka
         and D.Laddin (AG) regarding necessity of
         budget and staffing plan (.4).
02/27/20 Emails with J. Carr, K. Hines, M. McLoughlin        ERW       1.10     925.65
         (all of KDW), D. Laddin (AG) regarding
         retentions, pro hacs (.3); briefly review KDW
         retention application (.2), pro hacs (.1); emails
         with S. Kulka (AG) regarding side letter with
         K&S reserving rights (.2); review side letter
         (.2); email from S. Kulka (AG) regarding
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Krystal Company Committee
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March 17, 2020
Page 6



  Date    Description                                       Tkpr   Hours     Amount

         resolution of Piper objection (.1)
02/27/20 Conference with M.McLoughlin (.3);                 KGH       1.00     468.00
         regarding comments to KDW retention
         application (.2); review of retention
         application (.3); email to J. Carr and E. Wilson
         (both of KDW) for review (.2).
02/27/20 Further revise retention application (.4);         MJM       0.50     351.00
         confer with K. Hines (KDW) regarding same
         (.1).
02/28/20 Emails with J. Carr and K. Hines (both of          ERW       0.40     336.60
         KDW) and S. Kulka (AG) regarding retention
         status, pro hacs (.2); emails with M.
         McLoughlin and M. Vicinanza (both of KDW)
         regarding pro hac applications (.2).
02/28/20 Prepare retention application for filing (.3);     KGH       1.30     608.40
         emails with K. Carson with KDW and FTI
         retention applications for approval and
         signature (.3); prepare KDW retention
         application for filing including attachments
         thereto (.3); emails with S. Kulka (AG) (.2)
         and J. Carr, and M. McLoughlin (both of
         KDW) (.2) regarding timing for filing same.
02/28/20 Call with S. Kulka (AG) regarding                  MJM       0.70     491.40
         timing/filing of retention applications (.2);
         revise pro hac applications (.3); emails with E.
         Wilson (KDW) regarding same (.2).
02/28/20 Prepare pro hac application (.6); emails with      MMV       0.90     247.05
         local counsel regarding procedures and filing
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Krystal Company Committee
Client 027768
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March 17, 2020
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  Date   Description                              Tkpr      Hours     Amount

         (.3).
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Krystal Company Committee
Client 027768
Matter 0003
March 17, 2020
Page 8




Total Original Fees for this Matter:                                                 $20,637.50

Less 10% Discount:                                                                    $2,063.75

Total Fees Due:                                                                      $18,573.75

Total For This Matter:                                                               $18,573.75
Total this Invoice                                                                   $18,573.75
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                  PARSIPPANY
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Krystal Company Committee
Client 027768
Matter 0003
March 17, 2020
Page 9




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         5.80         841.50              $4,880.70
JRA           Adams, Jason                         0.40         729.00                 291.60
JSC           Carr, James S                        4.00         855.00               3,420.00
KGH           Hines, Kayci                        17.20         468.00               8,049.60
MJM           McLoughlin, Maeghan J                2.40         702.00               1,684.80
MMV           Vicinanza, Marie M                   0.90         274.50                 247.05




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785658

 027768           Krystal Company Committee
 0004             Fee Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                                $2,033.00

Less 10% Discount:                                                                             ($203.30)

Total Fees Due:                                                                                $1,829.70

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $1,829.70

                        Terms: Payment Due on or Before April 16, 2020
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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
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     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                    March 17, 2020
                                                                               Invoice No. 2785658

Client 027768
Matter 0004 Fee Matters (Applications & Objections)

Attorney: 01118                                                                                  Page 1

  Date   Description                                      Tkpr   Hours     Amount

02/14/20 Emails with and M.McLoughlin (KDW)               KGH       0.60    $280.80
         regarding disclosures fee guidelines (.2);
         review local rules regarding same (.4).
02/20/20 Emails with S. Kulka (AG) regarding fee          ERW       0.20     168.30
         statements.
02/20/20 Emails with D. Laddin (AG) regarding             MJM       0.60     421.20
         monthly fee statements (.2); review interim
         comp procedures in complex case procedures
         (.3); email with K. Hines (KDW) regarding
         same (.1).
02/24/20 Review local rules regarding fee procedures      KGH       0.40     187.20
         (.2); calendar objection deadlines for interim
         fee applications (.2).
02/26/20 Review retention application (.8); emails with   MJM       1.10     772.20
         D. Laddin and S. Kulka (both AG) regarding
         UST guidelines (.3).
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Krystal Company Committee
Client 027768
Matter 0004
March 17, 2020
Page 2




Total Original Fees for this Matter:                                                  $2,033.00

Less 10% Discount:                                                                      $203.30

Total Fees Due:                                                                       $1,829.70

Total For This Matter:                                                                $1,829.70
Total this Invoice                                                                    $1,829.70
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Krystal Company Committee
Client 027768
Matter 0004
March 17, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.20         841.50               $168.30
KGH           Hines, Kayci                         1.00         468.00                468.00
MJM           McLoughlin, Maeghan J                1.70         702.00              1,193.40




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 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        March 17, 2020
                                                                                   Invoice No. 2785659

 027768           Krystal Company Committee
 0005             Financing and Cash Collateral


                                Account Summary and Remittance Form


Legal Services:                                                                               $62,985.50

Less 10% Discount:                                                                            ($6,298.55)

Total Fees Due:                                                                               $56,686.95

Disbursements and Other Charges:                                                                     $0.00

                            Total Amount Due:                                                $56,686.95

                        Terms: Payment Due on or Before April 16, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                   PAYMENT BY CHECK:
 ABA #: 021-000-021                                            KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                          ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                        101 PARK AVENUE
 ACCOUNT #:135-046110                                          NEW YORK, NEW YORK 10178
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 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 17, 2020
                                                                                 Invoice No. 2785659

Client 027768
Matter 0005 Financing and Cash Collateral

Attorney: 01118                                                                                   Page 1

  Date   Description                                       Tkpr   Hours     Amount

02/12/20 Review revised interim cash collateral order to   JRA       0.80    $583.20
         identify any potential objectionable issues
         prior to tomorrow's hearing (.4); review US
         Foods vendor support interim order (.2) and
         proposed revisions to same from debtors (.2).
02/12/20 Conference and emails with M. Reining             KGH       0.40     187.20
         (KDW) regarding landlord issues with cash
         collateral.
02/12/20 Review updated US Foods vendor support            MJM       0.30     210.60
         order.
02/13/20 Begin review cash collateral motion (.3) and      ERW       1.60    1,346.40
         Wells Fargo objection (.3); review and analyze
         second interim budget (.3); email to M.
         McLoughlin (KDW) regarding basis for
         objection (.3); read U.S. Foods vendor motion
         (.4).
02/13/20 Introduction call with J. Feldsher (ML)           JRA       0.50     364.50
         regarding case background and path forward.
02/13/20 Follow up conference with J. Carr and J.          MJM       0.20     140.40
         Adams (both KDW) regarding discussions
         with lenders.
02/17/20 Email from M. McLoughlin (KDW) regarding          ERW       1.10     925.65
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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Krystal Company Committee
Client 027768
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  Date   Description                                   Tkpr     Hours     Amount

         U.S. Foods order (.1); review final order
         approving vendor agreement (.3); review
         second cash collateral order (.5); emails with
         J. Carr (KDW) and V. Golistra (PM) regarding
         cash reporting, budget projections (.2).
02/18/20 Emails with S. Borders (KS) regarding DIP        ERW      2.00    1,683.00
         order (.1) and M. Elliot, Agonne (.2); initial
         review of financing order (.5); email from S.
         Borders (KS) regarding final cash collateral
         order (.1), DIP term sheet (.1); initial review
         same (.8); emails with M. McLoughlin
         (KDW) and S. Borders (KS) regarding DIP
         status, hearing and budget (.2).
02/18/20 Emails with S. Borders (KS) regarding            MJM      1.40     982.80
         proposed cash collateral order, DIP term sheet,
         DIP order (.2); initial review of DIP term sheet
         (.5) and DIP order (.7).
02/19/20 Outline issues with cash collateral order (.3)   ERW      3.70    3,113.55
         and U.S. Foods program (.3); emails with S.
         Borders (KDW) regarding DIP status (.2);
         review and comment on proposed cash
         collateral order (1.1); emails with S. Border
         (KDW) and M. McLoughlin (KDW) regarding
         same (.3); review and analyze latest proposed
         budget (.6); emails with M. Kuan (FTI)
         regarding same (.2); confer with M.
         McLoughlin (KDW) regarding same (.2);
         emails with S. Borders (KS) and J. Feldsher
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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Krystal Company Committee
Client 027768
Matter 0005
March 17, 2020
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  Date   Description                                    Tkpr     Hours     Amount

         (ML) regarding WFB loan documents (.2);
         emails with M. McLoughlin (KDW) and C.
         Liu (ML) regarding loan file (.2); instruction
         to M. McLoughlin (KDW) regarding same (.1)
02/19/20 Review (1.9) and comment on (.6) cash             MJM      3.10    2,176.20
         collateral order; confer with E. Wilson
         regarding terms of same (.2); initial review of
         financing documents (.3); emails with C. Liu
         (ML) regarding same (.1).
02/20/20 Review of WF liens, including review of           BDF      3.60    2,575.80
         Vucksich declaration and analysis of same
         (.5); review of first day declaration and
         analysis of same (.6); review of WF loan and
         security documents and analysis of same (2.3);
         confer with M. McLoughlin (KDW) regarding
         lien review (.2).
02/20/20 Emails to M. McLoughlin (KDW) regarding           ERW      2.10    1,767.15
         local precedent on stub rent 503b9 (.2); emails
         with M. Kuan (FTI) regarding budget detail
         (.3); review and analyze detail (.5); confer
         with M. McLoughlin (KDW) regarding
         disposition of call with Morgan Lewis (.2);
         further emails with J. Feldsher (ML) regarding
         financing, status call (.2); conference call with
         M. McLoughlin (KDW) and C. Zucker (FTI)
         regarding cash collateral, budget (.3); emails
         with M. McLoughlin and J. Carr (both of
         KDW) regarding lien review (.2); emails with
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           J. Feldsher (ML) regarding loan file, call to
           discuss (.2).
02/20/20   Calls with C. Liu (ML) (.4) and S. Kulka (AG)     MJM       6.20    4,352.40
           (.3) regarding status of DIP financing and
           timing for hearing on same; send E. Wilson
           (KDW) update of conversations (.2); review
           complex case procedures on cash collateral
           requirements (.3); call with E. Wilson (KDW)
           and C. Zucker (FTI) regarding cash collateral
           vs DIP (.3); mark up cash collateral order
           (1.3); begin draft of cash collateral objection
           (2.9); emails with C. Liu (ML) regarding
           credit documents (.1); confer with E. Wilson
           (KDW) regarding same (.2); confer with B.
           Feder (KDW) regarding lien review (.2).
02/21/20   Outline (1.3) and begin to draft (4.3) memo       BDF       5.60    4,006.80
           summarizing lien review analysis.
02/21/20   Confer with M. McLoughlin (KDW) regarding         ERW       2.00    1,683.00
           DIP, sales procedures (.2); conference call
           with M. McLoughlin (KDW) and S. Borders
           (KS) regarding status of financing (.5);
           conference call with C. Zucker (FTI), et al.
           regarding financing, sales procedures (.8);
           review M. McLoughlin (KDW) mark-up of
           cash collateral order (.5).
02/21/20   Call with E. Wilson regarding cash collateral     MJM       2.60    1,825.20
           objection (.2); call with E. Wilson (KDW) and
           S. Borders (KS) regarding DIP financing
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           proposal (.5); follow up call with E. Wilson
           (KDW) and C. Zucker (FTI) regarding cash
           collateral budget and DIP budget (.8);
           continue draft of cash collateral objection
           (1.1).
02/22/20   Review 11th circuit decisions on stub rent (.9);    MJM       2.00    1,404.00
           emails with E. Wilson (KDW) regarding same
           (.2); continue draft of cash collateral objection
           (.9).
02/23/20   Conference with M. McLoughlin (KDW)                 KGH       0.20      93.60
           regarding open tasks for week in light of
           potential DIP financing.
02/23/20   Continue to review 11th circuit decisions on        MJM       3.40    2,386.80
           503(b)(9) claims (.6); continue draft of cash
           collateral objection (1.2); draft preliminary
           statement for same (1.4); confer with K. Hines
           (KDW) regarding same (.2).
02/24/20   Continue draft memo summarizing lien review         BDF       2.60    1,860.30
           analysis.
02/24/20   Call with M. McLoughlin (KDW), C. Liu and           ERW       2.30    1,935.45
           J. Feldsher (both of ML) regarding financing
           (1.0); emails to M. McLoughlin (KDW)
           regarding financing objection, stub rent and
           DIP term sheet (.4); initial review and
           comment on cash collateral objection (.9).
02/24/20   Call with E. Wilson (KDW), J. Feldsher (ML)         MJM       3.10    2,176.20
           and C. Liu (ML) regarding DIP financing
           proposal (1.0); follow up conference with E.
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           Wilson (KDW) regarding same (.2); revise
           cash collateral objection (1.9).
02/25/20   Continue draft memo regarding lien review          BDF       0.40     286.20
           analysis.
02/25/20   Review and comment on revised cash                 ERW       1.20    1,009.80
           collateral objection (.8); conferences (2x) with
           M. McLoughlin (KDW) regarding same (.3);
           instruction to M. McLoughlin (KDW)
           regarding FTI analysis of U.S. Foods financing
           (.1).
02/25/20   Incorporate E. Wilson (KDW) comments to            MJM       3.00    2,106.00
           cash collateral objection (1.4); check citations
           (.6); incorporate additional arguments (.7);
           conferences (2x) with E. Wilson (KDW)
           regarding same (.3).
02/26/20   Continue review DIP term sheet (.6); review        ERW       3.00    2,524.50
           various iterations of cash collateral objection
           (1.6); confer and emails with S. Kulka (AG)
           (.4) and M. McLoughlin (KDW) (.4) regarding
           same.
02/26/20   Calls (multiple) with E. Wilson (KDW) to           MJM       4.70    3,299.40
           discuss cash collateral objection (.4);
           incorporate E. Wilson (KDW) comments to
           cash collateral objection (1.4); research local
           precedent on administrative solvency and liens
           on avoidance actions (1.9); calls, emails with
           S. Kulka (AG) regarding additional revisions
           to objection (.3) and incorporate S. Kulka's
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         (AG) changes into the objection (.7).
02/27/20 Continue draft memo regarding lien review          BDF       1.20     858.60
         analysis.
02/27/20 Final revisions to cash collateral objection       ERW       3.70    3,113.55
         prior to filing (.5); emails with M.
         McLoughlin (KDW), P. Rosenblatt (KT), C.
         Zucker (FTI) and D. Laddin (AG) regarding
         same (.8); read Manis Lumber decision (.3),
         select sections of Atlantis transcript (.3);
         emails with M. McLoughlin (KDW), S.
         Borders (KS), and S. Willet (ML) regarding
         financing status, budget (.8); emails with C.
         Liu (ML) regarding declaration (.1) review
         same (.3); calls with M. McLoughlin (KDW)
         (.3) and C. Zucker (FTI) (.3) regarding
         settlement.
02/27/20 Prepare exhibits to DIP objection for filing.      KGH       0.70      327.60
02/27/20 Incorporate (.6) additional comments from and      MJM       4.50    3,159.00
         call (.6) with E. Wilson (KDW); research case
         law on timing/payment of 503(b)(9) claims
         (.8); update law on investigation budget (.4),
         administrative solvency (.3) and liens on
         avoidance actions (.4); finalize objection (.9);
         confer with K. Hines (KDW) regarding
         exhibits (.2); calls (multiple) with S. Kulka
         (AG) regarding objection, timing for filing
         same (.3).
02/28/20 Continue draft memo summarizing lien               BDF       2.40    1,717.20
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         review.
02/28/20 Emails with S. Willet (ML), R. Williamson   ERW        0.60     504.90
         (SW) regarding cash collateral, budget.
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Total Original Fees for this Matter:                                                 $62,985.50

Less 10% Discount:                                                                    $6,298.55

Total Fees Due:                                                                      $56,686.95

Total For This Matter:                                                               $56,686.95
Total this Invoice                                                                   $56,686.95
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Tkpr          Timekeeper                         Hours            Rate              Amount

BDF           Feder, Benjamin D                   15.80         715.50         $11,304.90
ERW           Wilson, Eric                        23.30         841.50          19,606.95
JRA           Adams, Jason                         1.30         729.00             947.70
KGH           Hines, Kayci                         1.30         468.00             608.40
MJM           McLoughlin, Maeghan J               34.50         702.00          24,219.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785660

 027768           Krystal Company Committee
 0006             Asset Analysis, Recovery and Disposition


                                Account Summary and Remittance Form


Legal Services:                                                                              $29,483.50

Less 10% Discount:                                                                           ($2,948.35)

Total Fees Due:                                                                              $26,535.15

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $26,535.15

                        Terms: Payment Due on or Before April 16, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 17, 2020
                                                                                 Invoice No. 2785660

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Matter 0006 Asset Analysis, Recovery and Disposition

Attorney: 01118                                                                                   Page 1

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02/12/20 Preliminary review of bid procedures motion       JRA       0.40    $291.60
         (.3) and K. Hines (KDW) summary of critical
         dates (.1).
02/12/20 Initial review of bid procedures.                 KGH       0.20      93.60
02/12/20 Preliminary review of the bid procedures order    MJM       0.90     631.80
         (.4); review K. Hines sale timeline summary
         (.2) and revise summary (.3).
02/13/20 Begin read bid procedures (.4); review            ERW       0.70     589.05
         proposed procedures (.3).
02/13/20 Review analysis of the sale procedures motion     JSC       0.30     256.50
         and proposed timeline to conduct an auction.
02/14/20 Met with M. McLoughlin (KDW) regarding            KGH       0.20      93.60
         bid procedures.
02/14/20 Meet with K. Hines (KDW) to discuss bid           MJM       0.50     351.00
         procedures (.2); begin review of same (.3).
02/15/20 Review bid procedures motion (.6); bid            MJM       3.40    2,386.80
         procedures (.9); and bid procedures order (.8);
         draft issues list (1.1).
02/17/20 Review bid procedures motion (.4), bidding        KGH       2.10     982.80
         procedures (1.2), and proposed order
         approving same for objectionable issues (.5).
02/18/20 Continue review and analysis of proposed bid      ERW       0.90     757.35
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           procedures (.4); emails from S. Borders (KS)
           regarding form APA (.1); review same (.3);
           forward to M. McLoughlin (KDW) with
           instruction (.1).
02/18/20   Emails with M. McLoughlin (KDW) regarding         KGH       2.30    1,076.40
           bid procedures motion (.4); email to debtors
           counsel, J. Dutson, S. Borders, and L.
           Shermohammed (all of KS) regarding word
           version of bid procedures (.2); review FTI bid
           procedures analysis (.2); begin drafting
           comments to bid procedures order (1.5).
02/18/20   Review CIM.                                       MJM       0.30     210.60
02/19/20   Outline issues with bid procedures (.3); emails   ERW       0.70     589.05
           with S. Borders (KS) regarding CIM for sale
           (.2); emails with M. Duedall (BC) regarding
           sale (.2).
02/19/20   Draft comments to bid procedures proposed         KGH       1.90     889.20
           order (1.7); conference with M. McLoughlin
           (KDW)regarding same (.2).
02/19/20   Revise bid procedures (1.4) and bid               MJM       2.80    1,965.60
           procedures order (1.1); emails with E. Wilson
           (KDW) and K. Hines (KDW) regarding
           changes to same (.3).
02/20/20   Emails with M. McLoughlin (KDW) regarding         ERW       1.40    1,178.10
           revised bid procedures (.2); review revised
           procedures; review revised bid procedures
           order (.3); continue review revised bid
           procedures (.3); conference call with M.
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         McLoughlin (KDW) and S. Borders (KS)
         regarding same (5); follow-up call with M.
         McLoughlin (KDW) regarding same (.1).
02/20/20 Conference with M.McLoughlin (KDW)             KGH      0.20      93.60
         regarding status of debtors incorporating
         committee bid procedures comments.
02/20/20 Emails with S. Borders and J. Dutson (both     MJM      1.00     702.00
         KS) regarding bid procedures (.2); confer with
         K. Hines (KDW) regarding same (.2); call
         with S. Borders (KS) and E. Wilson (KDW) to
         discuss bid procedures and bid procedures
         order (.5); follow up call with E. Wilson
         (KDW) to discuss accepted changes (.1).
02/24/20 Confer with M. McLoughlin (KDW) regarding ERW           2.50    2,103.75
         status of bid procedures, financing (.6);
         conference call with M. McLoughlin (KDW),
         J. Feldsher and C. Liu (both of ML) regarding
         financing (.6); follow-up call with M.
         McLoughlin (KDW) regarding next steps (.2);
         emails with K. Hines (KDW) regarding credit
         bid issues, Nuo Therapeutics (.2); review Nuo
         transcript (.3); emails with M. McLoughlin
         (KDW) and S. Borders (KS) regarding bid
         procedures, extension (.2); emails with M.
         McLoughlin (KDW) and J. Feldsher (ML)
         regarding same (.3); update from M.
         McLoughlin (KDW) regarding disposition of
         call, credit bid (.1).
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02/24/20 Review status of resolving bid procedures          KGH       0.20      93.60
         issues.
02/24/20 Call with E. Wilson (KDW) to discuss case          MJM       1.50    1,053.00
         status, upcoming deadlines (.3); emails with S.
         Borders (KS) regarding bid procedures (.2);
         call with E. Wilson (KDW) and J. Feldsher
         (ML) regarding bid procedures (.6); follow up
         calls (.2) and emails (.2) with E. Wilson
         (KDW) regarding bid timeline.
02/25/20 Emails from C. Liu (ML) regarding revised          ERW       1.30    1,093.95
         bid procedures (.1); review same revised by
         company (.2) and lenders (.3); confer with M.
         McLoughlin (KDW) regarding same (.2);
         emails with M. McLoughlin (KDW) and S.
         Borders (KS) regarding same (.2); emails with
         M. McLoughlin (KDW) regarding status of
         bid dates (.1); review M. McLoughlin (KDW)
         analysis of same (.2).
02/25/20 Review lenders comments to bid procedures          MJM       1.90    1,333.80
         (.4) and emails with E. Wilson (KDW) and S.
         Borders (KS) on debtors comment to same
         (.2); review Piper presentation on sale process
         (.2); further revise bid procedures (.7); emails
         with T. Atkinson (UB) regarding bid
         procedures (.2); confer with E. Wilson (KDW)
         regarding procedures (.2).
02/26/20 Review and analysis of revised bid procedures      ERW       1.30    1,093.95
         (.4); confer with M. McLoughlin (KDW)
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           regarding same (.3); emails with M.
           McLoughlin (KDW), T. Atkinson (UB) and S.
           Borders (KS) regarding further revisions to bid
           procedures (.2); emails with T. Atkinson (UB),
           M. McLoughlin (KDW) and C. Liu (ML)
           regarding status of bid procedures (.2); review
           lender revisions (.2).
02/26/20   Review status of resolving bid procedures         KGH       0.30     140.40
           issues and outstanding issues in advance of
           tomorrow's objection deadline.
02/26/20   Calls (multiple) with E. Wilson (KDW) to          MJM       0.90     631.80
           discuss bid procedures revisions (.3); update
           bid procedures order (.2) and emails with S.
           Borders (KS) regarding same (.2); further
           emails with T. Atkinson (UB) and C. Liu
           (ML) regarding revised procedures (.2).
02/27/20   Further emails with M. McLoughlin (KDW),          ERW       1.40    1,178.10
           T. Atkinson (UB), J. Feldsher (ML), S.
           Borders (KS) regarding revised bidding
           procedures, call to discuss extension of
           objection deadline and open items (.8); review
           and analyze revised bid procedures (.4);
           review and comment on draft bid procedures
           objection (.2).
02/27/20   Outline remaining issues with bid procedures      MJM       3.20    2,246.40
           (.3) and order (.3); emails with E. Wilson
           regarding same (.3); prepare for call with
           debtors and lenders regarding same (.2); draft
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         bid procedures objection (2.1).
02/28/20 Further emails with M. McLoughlin (KDW),        ERW      1.30    1,093.95
         H. Uricchio (PBGC), J. Feldsher (ML) and S.
         Borders (KS) regarding bid procedures,
         adequate protection and objection (.6); call
         (.2) and emails (.2) with M. McLoughlin
         (KDW) regarding revised timeline; review
         further revised procedures (.3).
02/28/20 Call with S. Borders (KS) regarding bid         MJM      1.90    1,333.80
         procedures (.4); draft updated sale timeline
         (.3); email E. Wilson (KDW) update (.2); call
         with E. Wilson regarding revised timeline (.2);
         call with S. Borders (KS) and J. Feldsher
         (ML) regarding bid procedures and order (.5);
         further update bid procedures timeline (.3).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 278 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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     CHICAGO                                 PARSIPPANY
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Krystal Company Committee
Client 027768
Matter 0006
March 17, 2020
Page 7




Total Original Fees for this Matter:                                                 $29,483.50

Less 10% Discount:                                                                    $2,948.35

Total Fees Due:                                                                      $26,535.15

Total For This Matter:                                                               $26,535.15
Total this Invoice                                                                   $26,535.15
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 279 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
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March 17, 2020
Page 8




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                        11.50         841.50              $9,677.25
JRA           Adams, Jason                         0.40         729.00                 291.60
JSC           Carr, James S                        0.30         855.00                 256.50
KGH           Hines, Kayci                         7.40         468.00               3,463.20
MJM           McLoughlin, Maeghan J               18.30         702.00              12,846.60




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785661

 027768           Krystal Company Committee
 0007             Executory Contracts and Leases


                                Account Summary and Remittance Form


Legal Services:                                                                                $2,589.00

Less 10% Discount:                                                                             ($258.90)

Total Fees Due:                                                                                $2,330.10

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $2,330.10

                        Terms: Payment Due on or Before April 16, 2020
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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     March 17, 2020
                                                                                Invoice No. 2785661

Client 027768
Matter 0007 Executory Contracts and Leases

Attorney: 01118                                                                                  Page 1

  Date   Description                                       Tkpr   Hours     Amount

02/12/20 Review revised proposed language for lease        JRA       0.20    $145.80
         rejection order.
02/13/20 Review 4 separate drafts of rejection orders      JRA       0.80     583.20
         from debtors following today's hearing (.3);
         prepare revised language for same (.2); email
         correspondence with J. Carr (KDW) (.1) and
         L. Shermohammed (KS) regarding comments
         (.2).
02/13/20 Brief review of the 4 proposed lease rejection    JSC       0.80     684.00
         orders (.6); provide comments to J. Adams
         (KDW) regarding abandonment of equipment
         and retention of jurisdiction to resolve 365(h)
         sub-tenant issues (.2).
02/18/20 Review updated rejection language (.2) and        MJM       0.30     210.60
         emails with L. Shermohammed (KS) regarding
         same (.1).
02/24/20 Review motion to compel                           KGH       0.40     187.20
         assumption/rejection of lease (.2); email M.
         McLoughlin and E. Wilson (both of KDW)
         with summary of same (.2).
02/24/20 Review 182 Emmerson's motion to compel            MJM       0.20     140.40
         assumption/rejection.
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    HOUSTON                                      BRUSSELS




Krystal Company Committee
Client 027768
Matter 0007
March 17, 2020
Page 2



  Date   Description                                    Tkpr   Hours     Amount

02/25/20 Review K. Hines (KDW) analysis of 182          ERW       0.20     168.30
         Emerson motion to compel.
02/26/20 Review rejection notice (.2) and confer with   MJM       0.30     210.60
         D. Katsionis (KDW) (.1) regarding same.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0007
March 17, 2020
Page 3




Total Original Fees for this Matter:                                                  $2,589.00

Less 10% Discount:                                                                      $258.90

Total Fees Due:                                                                       $2,330.10

Total For This Matter:                                                                $2,330.10
Total this Invoice                                                                    $2,330.10
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0007
March 17, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.20         841.50              $168.30
JRA           Adams, Jason                         1.00         729.00               729.00
JSC           Carr, James S                        0.80         855.00               684.00
KGH           Hines, Kayci                         0.40         468.00               187.20
MJM           McLoughlin, Maeghan J                0.80         702.00               561.60




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 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
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                                  KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


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     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         March 17, 2020
                                                                                    Invoice No. 2785662

 027768           Krystal Company Committee
 0009             Claims Administration, Analysis & Objection


                                Account Summary and Remittance Form


Legal Services:                                                                                  $6,903.50

Less 10% Discount:                                                                               ($690.35)

Total Fees Due:                                                                                  $6,213.15

Disbursements and Other Charges:                                                                      $0.00

                            Total Amount Due:                                                  $6,213.15

                        Terms: Payment Due on or Before April 16, 2020
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 BANK: JP MORGAN CHASE, N.A.                                    PAYMENT BY CHECK:
 ABA #: 021-000-021                                             KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                           ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                         101 PARK AVENUE
 ACCOUNT #:135-046110                                           NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER              (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     March 17, 2020
                                                                                Invoice No. 2785662

Client 027768
Matter 0009 Claims Administration, Analysis & Objection

Attorney: 01118                                                                                  Page 1

  Date   Description                                       Tkpr   Hours     Amount

02/12/20 Review debtors' motion (.3) and proposed          JRA       0.70    $510.30
         order (.2) to establish 503(b)(9) claims bar
         date and reconciliation procedures; review
         lender comments to same (.1); instruction to
         M. McLoughlin (KDW) regarding same (.1).
02/17/20 Emails to M. McLoughlin (KDW) and J.              ERW       0.10      84.15
         Dutson (KS) regarding 503b9 claim form.
02/18/20 Emails with M. McLoughlin (KDW) and B.            ERW       0.60     504.90
         Baker (KS) regarding bar date motion (.1);
         initial review of same (.2); forward to M.
         McLoughlin (KDW) with instruction (.1);
         emails with M. McLoughlin and K. Hines
         (both of KDW) regarding 503b9 claim form
         (.2).
02/18/20 Review draft bar date motion for initial impact   KGH       1.30     608.40
         (.5); review optimal administrative expense
         claim form (.6); email to M. McLoughlin
         (KDW) with draft administrative expense
         proof of claim form for providing comments
         to debtors (.2).
02/18/20 Emails with B. Baker (KS) regarding bar date      MJM       0.70     491.40
         motion (.1); follow up emails with K. Hines
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
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    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
Matter 0009
March 17, 2020
Page 2



  Date     Description                                      Tkpr   Hours     Amount

           (KDW) regarding same (.1); review potential
           503(b)(9) claim forms (.3) and emails with E.
           Wilson (KDW) J. Dutson (KS) regarding
           updated form and additional comments to
           503(b)(9) order (.2).
02/19/20   Emails with S. Kulka (AG) regarding stub rent    ERW       0.50     420.75
           and 503b9 claims (.2); review S. Kulka (AG)
           analysis of local precedent CTI acquisitions
           (.3).
02/20/20   Emails with M. McLoughlin (KDW) and B.           ERW       0.20     168.30
           Baker (KS) regarding bar date motion (.1);
           instruction to M. McLoughlin (KDW)
           regarding same (.1).
02/21/20   Review bar date motion (.4), schedules (.3),     KGH       1.90     889.20
           statements (.5); draft email to committee
           regarding impact (.5); conference with M.
           McLoughlin (KDW) regarding same (.2).
02/21/20   Review filed bar date motion (.3) and revise     MJM       0.70     491.40
           K. Hines (KDW) summary of same (.2);
           confer with K. Hines (KDW) regarding same
           (.2).
02/24/20   Continue review bar date motion (.4); draft      KGH       1.20     561.60
           comments to same (.4); email to M.
           McLoughlin (KDW) for review and further
           comment (.2); calendar objection deadline and
           hearing date review docket for bar date motion
           (.2).
02/25/20   Emails to M. McLoughlin (KDW) and J.             ERW       0.20     168.30
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
                                   Document    Page 288 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                              MUMBAI, INDIA
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    HOUSTON                                    BRUSSELS




Krystal Company Committee
Client 027768
Matter 0009
March 17, 2020
Page 3



  Date   Description                                     Tkpr   Hours     Amount

         Dutson (KS) regarding 503b9 order.
02/26/20 Review revised 503b9 claim form (.1);           ERW       0.20     168.30
         forward to M. McLoughlin (KDW) with
         instruction (.1).
02/27/20 Emails with M. McLoughlin (KDW) and L.          ERW       0.20     168.30
         Shermohammed (KS) regarding revised 503b9
         order.
02/27/20 Review revised 503(b)(9) order (.2) and claim   MJM       0.50     351.00
         form (.2); emails with K. Shermohammed
         (KS) (.1) regarding same.
02/28/20 Emails with M. McLoughlin and K. Hines          ERW       0.30     252.45
         (both of KDW) regarding review of schedules
         (.2); email from M. Kuan (FTI) regarding
         unpaid taxes (.1).
02/28/20 Review schedules for committee member           KGH       0.80     374.40
         impact (.4); email summary of same to E.
         Wilson and M. McLoughlin (both of KDW)
         for use in committee email (.4).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0009
March 17, 2020
Page 4




Total Original Fees for this Matter:                                                  $6,903.50

Less 10% Discount:                                                                      $690.35

Total Fees Due:                                                                       $6,213.15

Total For This Matter:                                                                $6,213.15
Total this Invoice                                                                    $6,213.15
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 290 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
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Krystal Company Committee
Client 027768
Matter 0009
March 17, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         2.30         841.50              $1,935.45
JRA           Adams, Jason                         0.70         729.00                 510.30
KGH           Hines, Kayci                         5.20         468.00               2,433.60
MJM           McLoughlin, Maeghan J                1.90         702.00               1,333.80




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                                   Document    Page 291 of 749
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785663

 027768           Krystal Company Committee
 0011             Committee and Creditor Communications


                                Account Summary and Remittance Form


Legal Services:                                                                              $39,133.50

Less 10% Discount:                                                                           ($3,913.35)

Total Fees Due:                                                                              $35,220.15

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $35,220.15

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                                   KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 17, 2020
                                                                                 Invoice No. 2785663

Client 027768
Matter 0011 Committee and Creditor Communications

Attorney: 01118                                                                                   Page 1

  Date   Description                                       Tkpr   Hours     Amount

02/12/20 Participate with J. Carr (KDW) on initial UCC     JRA       1.00    $729.00
         call following selection as counsel (.4);
         organize follow up call for FA interviews (.3);
         prepare email update report on initial
         discussions with debtors (.3).
02/12/20 Initial email to the committee (.2); initial      JSC       2.20    1,881.00
         committee meeting (.4); emails to and from P.
         Rosenblatt, counsel to committee member
         Flowers Foods regarding initial administrative
         issues and potential financial advisors to
         interview (.2); telephone call with T. Meyers,
         counsel to committee member Flowers Foods
         regarding same (.2); emails to and from
         committee member M. Strollo of PBGC
         regarding same (.1); emails to and from T.
         Atkinson, counsel to committee member NCR
         regarding same (.1); telephone call with
         committee member K. Carson of Realty
         Income regarding same (.2); emails to and
         from committee member A. Matthews of
         Charles Tombras Advertising (.1); emails to
         and from committee member M. Rogers of
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0011
March 17, 2020
Page 2



  Date     Description                                  Tkpr     Hours     Amount

           NCR regarding same (.1); emails to and from
           committee member C. Marshall of Coca Cola
           (.1); emails to and from R. Lemisch, counsel
           to committee member SLM Waste (.2);
           follow-up email to the committee regarding
           potential financial advisors to interview (.3).
02/12/20   Initial case preparations, including            KGH      2.40    1,123.20
           coordinations of interviews of financial
           advisors (1.1), which included various
           communications with committee members
           (1.2) regarding same; conference with
           M.McLoughlin (KDW) regarding preparing
           bylaws (.1).
02/13/20   Emails with K. Hines (KDW) regarding            ERW      0.80     673.20
           bylaws and contacts (.2); review bylaws (.3),
           contact sheet (.2); Emails with T. Meyers (KT)
           regarding case contacts (.1).
02/13/20   Prepare email update to committee regarding     JRA      0.40     291.60
           today's hearing and sale procedures motion.
02/13/20   Revise email to the committee regarding the     JSC      3.30    2,821.50
           results of the court hearing and the sale
           procedures motion (.2); respond to the email
           of committee member K. Carson of Realty
           Income (.1); respond to the email of M.
           Duedall, counsel to committee member
           Charles Tombras Advertising (.1); emails to
           the financial advisors making a presentation to
           the committee today (.4); telephone call with
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
Client 027768
Matter 0011
March 17, 2020
Page 3



  Date     Description                                        Tkpr   Hours     Amount

           FTI regarding the presentations (.3); telephone
           call with Glass Ratner regarding same (.2);
           preside over the committee meeting (.4);
           interview financial advisors with the
           committee members (.8);
           deliberations/selection of a financial advisor
           for the committee (.4); emails to/from the
           financial advisors regarding the committee's
           selection of a financial advisor (.4).
02/13/20   Email to J. Carr and E. Wilson (both of KDW)       KGH       0.20      93.60
           with bylaws for review.
02/14/20   Further emails with J. Carr and K. Hines (both     ERW       0.40     336.60
           of KDW) and D. Laddin (AG) regarding
           bylaws, case contacts and next committee
           meeting (.3); review revised contact sheet (.1).
02/14/20   Review and comment on email to client              JDR       0.70     371.70
           regarding interim cash collateral order and
           payment of rent.
02/14/20   Telephone call with P. Rosenblatt, counsel to      JSC       0.20     171.00
           committee member Flowers Foods.
02/14/20   Emails with E. Wilson (KDW) regarding              KGH       0.50     234.00
           bylaws (.3); emails and conference with
           M.McLoughlin (KDW) regarding same (.2).
02/16/20   Emails with N. Gold (CAB/DTIQ) regarding           ERW       0.70     589.05
           committee formation, next steps (.2); emails
           with B. Mittledorf, N. Gold (both of CAB)
           regarding committee appointment, DTIQ
           claim (.2); emails with S. Simms and M.
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                     KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


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    CHICAGO                                        PARSIPPANY
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  Date     Description                                        Tkpr   Hours     Amount

           Zucker (both of FTI) and M. McLoughlin
           (KDW) regarding materials for Wednesday's
           call (.3).
02/16/20   Outline to do items in advance of Wednesday's      KGH       0.20      93.60
           committee call.
02/16/20   Follow up emails regarding weekly committee        MJM       0.20     140.40
           call.
02/17/20   Emails with P. Rosenblatt (KB) (.1), C.            ERW       0.40     336.60
           Marshall (Coca-Cola) (.1), K. Carson (Realty)
           (.1) and H. Uricchio (PBGC) (.1) regarding
           case status.
02/17/20   Email to committee member M. Rogers of             JSC       1.00     855.00
           NCR and his counsel, T. Atkinson to schedule
           an initial call (.1); telephone call with
           committee member M. Rogers of NCR
           regarding NCR's interests and goals (.3);
           emails to/from committee members H.
           Uricchio and M. Strollo of PBGC to schedule
           an initial call (.2); emails to/from committee
           member A. Matthews of Charles Tombras
           Advertising and her counsel, M. Duedall
           regarding same (.1); telephone call with
           committee member K. Carson of Realty
           Income regarding the remaining Realty
           Income locations (.3).
02/17/20   Emails with K. Hines (KDW) regarding               MJM       1.90    1,333.80
           contact sheet, attendance list (.2); review same
           (.1); draft talking points for 12-19 committee
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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  Date   Description                                 Tkpr     Hours     Amount

         call (1.6).
02/18/20 Conference call with J. Carr (KDW) and K.      ERW      4.40    3,702.60
         Carson (Realty) regarding case status, sale
         process (.3); telephone call with C. Zucker
         (FTI) regarding tomorrow's call (.3); review
         and revise talking points preparatory to
         tomorrow's call (.8); confer with M.
         McLoughlin (KDW) (.3) regarding same;
         conference call with J. Carr (KDW) and C.
         Marshall (Coca-Cola) regarding case status,
         tomorrow's call (.4); conference call with J.
         Carr (KDW) and M. Strollo (PBGC), et al.
         regarding case status, tomorrow's call (.3);
         conference call with P. Rosenblatt (KL) and C.
         Tucker (FTI) regarding case status tomorrow's
         call (.4); emails with K. Carson (Realty)
         regarding store closures (.2); review agenda
         for tomorrow's call (.1); instruction to M.
         McLoughlin (KDW) regarding same (.1);
         review FTI (.3) and Piper (.3) materials
         preparatory to tomorrow's call (.6).
02/18/20 Participate, along with E. Wilson (KDW), in a JSC       1.30    1,111.50
         conference call with committee members H.
         Uricchio and M. Strollo of PBGC regarding
         PBGC's interests and goals in the bankruptcy
         case (.3); participate, along with E. Wilson
         (KDW), in a follow-up call with committee
         member K. Carson of Realty Income regarding
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  Date   Description                                    Tkpr     Hours     Amount

         Realty Income's interests and goals in the
         bankruptcy case (.3); participate, along with E.
         Wilson (KDW), in a conference call with
         committee member C. Marshall of Coca-Cola
         regarding Coca-Cola's interests and goals in
         the bankruptcy case (.4); email to committee
         member A. Matthews of Charles Tombras
         Advertising regarding scheduling a call (.1);
         follow-up call with T. Atkinson, counsel to
         committee member NCR regarding case issues
         (.2).
02/18/20 Emails (.2) and confer (.3) with E. Wilson        MJM      1.10     772.20
         (KDW) regarding agenda for UCC call; follow
         up emails with M. Kuan (FTI) regarding same
         (.2); revise talking points (.4).
02/19/20 Prepare for (.3) and conduct (.8) today's         ERW      1.90    1,598.85
         committee call; follow-up calls with M.
         McLoughlin (.2) and J. Carr (.2) (both of
         KDW) regarding next steps; emails with H.
         Uricchio (PBGC) and S. Borders (KS)
         regarding confidentiality (.2); emails with N.
         Gold (CAB) regarding creditor DTIQ status
         (.2).
02/19/20 Prepare for the committee call (.4); participate, JSC      1.50    1,282.50
         along with E. Wilson and M. McLoughlin
         (both of KDW), in the committee call (.8);
         telephone call with M. Duedall, counsel to
         committee member Charles Tombras
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  Date     Description                                      Tkpr   Hours     Amount

           Advertising regarding Charles Tombras
           Advertising's claims and the debtors'
           advertising budget (.3).
02/19/20   Instruction to M. Vicinanza (KDW) regarding      KGH       0.20      93.60
           setting up committee distribution list.
02/19/20   Prepare for (.2) and participate in committee    MJM       1.40     982.80
           call (.8); emails with M. Duedall (BC) and C.
           Marshall (Coca-Cola) regarding contact sheet
           (.2); follow up conference with E. Wilson
           (KDW) regarding next steps (.2).
02/20/20   Telephone calls (2x) (.3) and emails (.2) with   ERW       1.40    1,178.10
           W. Hannah (PBGC) regarding confidentiality
           provisions; emails with S. Borders (KS)
           regarding same (.3); update from J. Carr
           (KDW) regarding disposition of call with
           Charles Tombras (.1); review form bylaws
           regarding PBGC confidentiality request (.3);
           further emails with S. Borders (KS) and H.
           Urrichio (PBGC) regarding bylaws,
           confidentiality (.2).
02/20/20   Telephone call with committee member A.          JSC       0.30     256.50
           Matthews of Charles Tombras Advertising and
           her counsel, M. Duedall (BC) regarding case
           issues.
02/21/20   Further emails with M. McLoughlin (KDW)          ERW       0.30     252.45
           and H. Uricchio (PBGC) regarding bylaws.
02/21/20   Revise bylaws with PBGC updates (.2) ;           MJM       1.30     912.60
           emails with H. Uricchio (PBGC) regarding
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  Date   Description                                   Tkpr     Hours     Amount

         updated bylaws (.2); draft committee update
         on financing and bid procedures negotiations
         (.9).
02/24/20 Review and comment on committee update           ERW      0.80     673.20
         and agenda for tomorrow's call (.4);
         instruction to M. McLoughlin (KDW)
         regarding same (.2); emails with M.
         McLoughlin (KDW), C. Cromer (Flocorp) and
         K. Carson (Realty) regarding execution of
         retention application (.2).
02/24/20 Revise, send committee update (.3); emails       MJM      1.80    1,263.60
         with K. Carson (RIC) and C. Cromer (FF)
         regarding retention applications (.2); draft
         talking points (1.1) and proposed agenda (.2).
02/25/20 Further emails with M. McLoughlin (KDW)          ERW      3.30    2,776.95
         and D. Laddin (AG) regarding agenda for
         tomorrow's call (.2); review revised agenda
         (.1); emails with M. McLoughlin (KDW)
         regarding talking points for tomorrow's call
         (.2); review and revise talking points (.5);
         emails from M. Kuan (FTI) regarding
         presentation materials for tomorrow's call (.1);
         review Piper (.3) and FTI materials (.4)
         preparatory to call; further emails with M.
         McLoughlin (KDW) and D. Laddin (AG)
         regarding agenda for tomorrow's call (.2);
         review revised agenda (.1); instruction to M.
         McLoughlin (KDW) regarding same (.1);
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  Date   Description                                    Tkpr     Hours     Amount

         emails with M. McLoughlin (KDW) and C.
         Zucker (FTI) regarding disposition of
         meetings with company (.2); conference call
         with M. McLoughlin (KDW) and C. Zucker
         (FTI) regarding same, next steps (.7);
         follow-up with M. McLoughlin (KDW)
         regarding same (.2).
02/25/20 Update agenda (.1) and emails with FTI team MJM            2.40    1,684.80
         (.1) and AGG team (.1) on same; revise
         talking points for committee call (.8); call with
         E. Wilson (KDW), C. Zucker and M. Kuan
         (both FTI) to prepare for committee call (.7)
         and follow up conference with E. Wilson
         regarding same (.2); emails with E. Wilson
         and C. Zucker (FTI) regarding FTI meeting
         with company (.2); email committee regarding
         committee call (.2).
02/26/20 Prepare for call (.3) and call (.6) with UCC;     ERW      1.70    1,430.55
         follow-up call with M. McLoughlin (KDW)
         and C. Zucker (FTI), et al. regarding next steps
         (.3); review and comment on update to
         committee (.2); emails with C. Zucker (FTI),
         M. McLoughlin (KDW) and K. Carson (RI)
         regarding update tax obligations (.3).
02/26/20 Prepare for (.2) and participate in committee     MJM      1.70    1,193.40
         call (.6); follow up with E. Wilson (KDW) and
         C. Zucker (FTI) (.3); call with T. Atkinson
         (Ulmer) regarding bid procedures order (.2);
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  Date     Description                                        Tkpr   Hours     Amount

           draft committee update regarding cash
           collateral objection (.4).
02/27/20   Further emails with M. McLoughlin (KDW),           ERW       0.40     336.60
           M. Kuan (FTI), J. Feldsher (ML) and K.
           Carson (RI) regarding prepaid tax obligations.
02/27/20   Call with K. Carson (RI) regarding tax             MJM       0.60     421.20
           obligations (.1); follow up call with C. Zucker
           (FTI) (.1); call with P. Rosenblatt (Kilpatrick)
           regarding cash collateral objection (.2); emails
           with T. Atkinson (Ulmer) regarding adequate
           assurance issues (.1); call with P. Rosenblatt
           (Kilpatrick) regarding 503(b)(9) claims (.1).
02/28/20   Review and comment on committee update             ERW       0.20     168.30
           (.1); instruction to M. McLoughlin (KDW)
           regarding same (.;1).
02/28/20   Emails with C. Ganz (BS) regarding bid             MJM       1.50    1,053.00
           procedures (.2); emails with H. Urrichio
           (PBGC) regarding additional language (.1) and
           review same (.1); emails with T. Atkinson
           (Ulmer) regarding updated sale order (.2);
           draft committee update on sale process and
           cash collateral (.9).
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Total Original Fees for this Matter:                                                 $39,133.50

Less 10% Discount:                                                                    $3,913.35

Total Fees Due:                                                                      $35,220.15

Total For This Matter:                                                               $35,220.15
Total this Invoice                                                                   $35,220.15
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Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                        16.70         841.50         $14,053.05
JDR           Raviele, Jennifer D                  0.70         531.00             371.70
JRA           Adams, Jason                         1.40         729.00           1,020.60
JSC           Carr, James S                        9.80         855.00           8,379.00
KGH           Hines, Kayci                         3.50         468.00           1,638.00
MJM           McLoughlin, Maeghan J               13.90         702.00           9,757.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785664

 027768           Krystal Company Committee
 0012             Business Operations


                                Account Summary and Remittance Form


Legal Services:                                                                                $7,865.50

Less 10% Discount:                                                                             ($786.55)

Total Fees Due:                                                                                $7,078.95

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $7,078.95

                        Terms: Payment Due on or Before April 16, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785664

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Matter 0012 Business Operations

Attorney: 01118                                                                                    Page 1

  Date    Description                                        Tkpr   Hours     Amount

02/12/20 Review proposed language changes to order           JRA       0.30    $218.70
         regarding utilities and PACA payments from
         M. McLoughlin (KDW) (.2) and circulate to
         debtors for review (.1).
02/13/20 Review the first weekly cash report.                JSC       0.20     171.00
02/14/20 Emails with C. Zucker (FTI) regarding case          ERW       0.40     336.60
         status, call to discuss (.2); emails with M.
         McLoughlin (KDW) regarding investment
         bankers (.2).
02/17/20 Conference call with C. Zucker, et al. (FTI)        ERW       0.90     757.35
         and M. McLoughlin (KDW) regarding case
         status, next steps (.7); follow-up call with M.
         McLoughlin (KDW) (.2).
02/17/20 Call with C. Zucker and M. Kuan (both FTI)          MJM       0.90     631.80
         regarding sale, cash collateral, next steps (.7);
         follow up with E. Wilson (KDW) (.2).
02/18/20 Emails with M. Kuan (FTI) regarding                 ERW       0.40     336.60
         information request (.2); review request (.2).
02/18/20 Review status of OCP information requests           KGH       0.20      93.60
         from the debtors.
02/18/20 Revise FTI presentation on business                 MJM       0.50     351.00
         operations and cash flow.
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  Date   Description                                     Tkpr   Hours     Amount

02/19/20 Further emails with S. Borders (KS) regarding   ERW       0.20     168.30
         board composition.
02/19/20 Email to email to L. Shermohammed (K&S)         KGH       0.20      93.60
         regarding OCP and cash management
         proposed orders.
02/19/20 Review independent director resolution.         MJM       0.30     210.60
02/20/20 Emails with L. Shermohammed (KS)                ERW       0.20     168.30
         regarding cash management and OCP orders.
02/20/20 Review (.4) and provide comments to (.5)        KGH       1.70     795.60
         OCP order; email to L. Shermohammed
         (K&S) regarding comments and questions to
         OCP (.3); Review (.3) and provide comments
         to (.2) cash management order.
02/20/20 Review OCP motion (.2) and review changes       MJM       0.60     421.20
         to OCP order (.2) and cash management order
         (.2).
02/21/20 Emails from J. Simpson (AM) regarding           ERW       0.20     168.30
         weekly cash flow (.1); briefly review same
         (.1).
02/21/20 Preliminary review of TKC filed schedules.      MJM       0.30     210.60
02/23/20 Follow up emails (2x) debtors counsel, L.       KGH       0.60     280.80
         Shermohammed (KS), regarding OCP and
         budget (.4); emails with M. McLoughlin
         (KDW) regarding status of same (.2).
02/24/20 Emails with debtors counsel,                    KGH       0.20      93.60
         L.Shermohammed (KS), regarding OCP and
         budget concerns.
02/25/20 Confer with M. McLoughlin (KDW) regarding       ERW       0.60     504.90
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  Date   Description                                Tkpr     Hours     Amount

         ordinary course professionals analysis (.2);
         emails with S. Kulka (AG) regarding
         extension of procedures deadline, OCP motion
         (.2); review OCP budget detail (.2).
02/25/20 Review OCP spreadsheet (.2) and email S.      MJM      0.80     561.60
         Kulka (AG) regarding review of same and
         OCP motion (.2); follow up conference with
         E. Wilson regarding OCP analysis (.2); review
         FTI presentation on budget to actual variance
         (.2).
02/27/20 Emails with S. Kulka (AG) and L.              ERW      0.60     504.90
         Shermohammed and J. Dutson (both of KS)
         regarding compromise regarding OCP motion
         (.3); email from J. Simpson (AM) regarding
         cash flow report (.1); review report (.2).
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     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




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Page 4




Total Original Fees for this Matter:                                                  $7,865.50

Less 10% Discount:                                                                      $786.55

Total Fees Due:                                                                       $7,078.95

Total For This Matter:                                                                $7,078.95
Total this Invoice                                                                    $7,078.95
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
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Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         3.50         841.50              $2,945.25
JRA           Adams, Jason                         0.30         729.00                 218.70
JSC           Carr, James S                        0.20         855.00                 171.00
KGH           Hines, Kayci                         2.90         468.00               1,357.20
MJM           McLoughlin, Maeghan J                3.40         702.00               2,386.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
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 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
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     CHICAGO                                  PARSIPPANY
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c/o James Carr
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New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785665

 027768           Krystal Company Committee
 0013             Court Hearings


                                Account Summary and Remittance Form


Legal Services:                                                                                $6,777.50

Less 10% Discount:                                                                             ($677.75)

Total Fees Due:                                                                                $6,099.75

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $6,099.75

                        Terms: Payment Due on or Before April 16, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                   Document    Page 311 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                   March 17, 2020
                                                                              Invoice No. 2785665

Client 027768
Matter 0013 Court Hearings

Attorney: 01118                                                                                 Page 1

  Date   Description                                  Tkpr     Hours     Amount

02/12/20 Conference with J. Adams (KDW) regarding        KGH      0.60    $280.80
         coordination of call in for tomorrow's hearing
         (.2); arrange same with chambers and courtcall
         (.4).
02/13/20 Conference with S. Kulka (AG) following         JRA      2.30    1,676.70
         today's hearing on immediate next steps in
         case (.3); strategy conference with D. Laddin
         and S. Kulka (both AG) regarding this
         morning's hearing (.3); follow up conference
         with J. Carr and M. McLoughlin (both KDW)
         and D. Laddin and S. Kulka (both AG) follow
         discussions with lenders regarding this
         mornings hearing (.3); follow up conference
         with J. Carr and M. McLoughlin (both KDW)
         regarding same (.2); prepare for (.2) and
         telephonically appear at today's hearing (1.0).
02/13/20 Participate, along with J. Adams and M.         JSC      0.50     427.50
         McLoughlin (both KDW), in a conference call
         with D. Laddin and S. Kulka (both of AG),
         regarding this morning's hearing and what
         needs to be accomplished (.3); follow up
         conference with J. Adams and M. McLoughlin
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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Krystal Company Committee
Client 027768
Matter 0013
March 17, 2020
Page 2



  Date   Description                                     Tkpr   Hours     Amount

         (both KDW) regarding same (.2).
02/13/20 Conference with J. Carr and J. Adams (both      MJM       0.30     210.60
         KDW) regarding discussions with lenders
         regarding this morning's hearing (.3); follow
         up conference with J. Carr and J. Adams (both
         KDW) regarding discussions with lenders(.2).
02/16/20 Emails with D. Laddin (AG) regarding            ERW       0.20     168.30
         Wednesday's hearing.
02/20/20 Confer with M. McLoughlin (KDW) and K.          ERW       0.50     420.75
         Hines (KDW) regarding open items,
         objections preparatory to March 3 hearing.
02/20/20 Phone conference with M. McLoughlin and E.      KGH       0.50     234.00
         Wilson (both of KDW) regarding items
         preparatory to March 3 hearing.
02/20/20 Call with E. Wilson and K. Hines (both          MJM       0.50     351.00
         KDW) to discuss open matters for March 3
         hearing.
02/24/20 Emails with D. Laddin and S. Kulka (both of     ERW       0.30     252.45
         AG) regarding next week's hearing.
02/25/20 Prepare materials for March 3 hearing.          MJM       0.60     421.20
02/28/20 Emails with M. McLoughlin (KDW) and D.          ERW       0.30     252.45
         Laddin (AG) regarding next week's hearing,
         coverage and argument outline.
02/28/20 Call with E. Wilson to discuss March 3          MJM       1.80    1,263.60
         hearing (.2); begin draft of hearing outline
         (1.4); emails with S. Kulka to coordinate
         logistics for hearing (,2).
02/29/20 Emails with E. Wilson (KDW) regarding           MJM       0.20     140.40
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
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March 17, 2020
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  Date   Description                                    Tkpr   Hours    Amount

         talking points, open issues for 3/2 hearing.
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0013
March 17, 2020
Page 4




Total Original Fees for this Matter:                                                  $6,777.50

Less 10% Discount:                                                                      $677.75

Total Fees Due:                                                                       $6,099.75

Total For This Matter:                                                                $6,099.75
Total this Invoice                                                                    $6,099.75
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
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March 17, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.30         841.50              $1,093.95
JRA           Adams, Jason                         2.30         729.00               1,676.70
JSC           Carr, James S                        0.50         855.00                 427.50
KGH           Hines, Kayci                         1.10         468.00                 514.80
MJM           McLoughlin, Maeghan J                3.40         702.00               2,386.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


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     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785666

 027768           Krystal Company Committee
 0014             Relief From Stay/Adequate Protection


                                Account Summary and Remittance Form


Legal Services:                                                                                  $514.50

Less 10% Discount:                                                                               ($51.45)

Total Fees Due:                                                                                  $463.05

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $463.05

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     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 17, 2020
                                                                                 Invoice No. 2785666

Client 027768
Matter 0014 Relief From Stay/Adequate Protection

Attorney: 01118                                                                                   Page 1

  Date    Description                                       Tkpr   Hours     Amount

02/25/20 Review Plair draft stipulation to modify the       ERW       0.30    $252.45
         stay (.2); email to M. McLoughlin (KDW)
         regarding same (.1).
02/25/20 Review stay relief stipulation for A. Plair (.2)   MJM       0.30     210.60
         and comment on same (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0014
March 17, 2020
Page 2




Total Original Fees for this Matter:                                                    $514.50

Less 10% Discount:                                                                        $51.45

Total Fees Due:                                                                         $463.05

Total For This Matter:                                                                  $463.05
Total this Invoice                                                                      $463.05
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
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     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0014
March 17, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.30         841.50              $252.45
MJM           McLoughlin, Maeghan J                0.30         702.00               210.60




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785667

 027768           Krystal Company Committee
 0019             Meetings/Communications with Debtors


                                Account Summary and Remittance Form


Legal Services:                                                                                $4,880.00

Less 10% Discount:                                                                             ($488.00)

Total Fees Due:                                                                                $4,392.00

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $4,392.00

                        Terms: Payment Due on or Before April 16, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                  Document    Page 321 of 749
                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                               STAMFORD                              MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                 March 17, 2020
                                                                            Invoice No. 2785667

Client 027768
Matter 0019 Meetings/Communications with Debtors

Attorney: 01118                                                                                Page 1

  Date   Description                                Tkpr     Hours     Amount

02/12/20 Preliminary conference with S. Borders (KS)   JRA      0.60    $437.40
         and M. McLoughlin (KDW) on case overview
         (.4); follow up conference with M.
         McLoughlin (KDW) regarding next steps
         based on discussions (.2).
02/12/20 Call with J. Adams (KDW) and S. Roberts       MJM      0.60     421.20
         (KS) (.4); follow up discussion with J. Adams
         (KDW) (.2).
02/13/20 Email correspondence with J. Dutson (KS)      JRA      0.40     291.60
         and J. Carr and M. McLoughlin (both KDW)
         regarding requested language changes to
         orders for motions preceding today and
         agreement to continue US Foods vendor
         arrangement.
02/13/20 Email correspondence with J. Dutson (KS)      MJM      0.50     351.00
         and J. Carr and M. McLoughlin (both KDW)
         regarding requested language changes to
         orders for motions preceding today and
         agreement to continue US Foods vendor
         arrangement.
02/17/20 Conference call with M. McLoughlin (KDW) ERW           1.60    1,346.40
         and S. Borders (KS) regarding case status,
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0019
March 17, 2020
Page 2



  Date   Description                                   Tkpr     Hours     Amount

         next steps (.8); follow-up call with M.
         McLoughlin (KDW) regarding same (.3);
         outline open items for call (.3); emails with M.
         McLoughlin (KDW) and S. Borders (KS)
         regarding confidentiality agreement (.2).
02/17/20 Call with E. Wilson (KDW) and S. Border          MJM      1.30     912.60
         (KS) to discuss case status (.8); follow up
         conference with E. Wilson (KDW) (.3); emails
         with E. Wilson (KDW) and S. Borders (KS)
         regarding confidentiality provisions of bylaws
         (.2).
02/18/20 Call with J. Dutson (K&S) regarding vendor       MJM      0.70     491.40
         financing agreement and sale procedures (.2);
         email E. Wilson (KDW) regarding same (.2);
         emails with L. Shermohammed (KS) regarding
         rejection order (.2) and review proposed
         language (.1).
02/19/20 Emails with S. Borders (KS) regarding PBGC MJM            0.20     140.40
         bylaw provisions.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 323 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0019
March 17, 2020
Page 3




Total Original Fees for this Matter:                                                  $4,880.00

Less 10% Discount:                                                                      $488.00

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       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0019
March 17, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.60         841.50              $1,346.40
JRA           Adams, Jason                         1.00         729.00                 729.00
MJM           McLoughlin, Maeghan J                3.30         702.00               2,316.60




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 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 17, 2020
                                                                                  Invoice No. 2785668

 027768           Krystal Company Committee
 0020             Insider Investigation


                                Account Summary and Remittance Form


Legal Services:                                                                                  $846.00

Less 10% Discount:                                                                               ($84.60)

Total Fees Due:                                                                                  $761.40

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $761.40

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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                 March 17, 2020
                                                                            Invoice No. 2785668

Client 027768
Matter 0020 Insider Investigation

Attorney: 01118                                                                                 Page 1

  Date    Description                               Tkpr     Hours      Amount

02/17/20 Emails with D. Laddin (AG), J. Carr (KDW), ERW          0.30    $252.45
         C. Zucker (FTI) regarding M. Elliot, Argonne.
02/17/20 Telephone conference with D. Laddin and S.    JSC       0.30     256.50
         Kulka (both of AGG) regarding obtaining
         information about the alleged independent
         director of the debtors' board.
02/20/20 Review board resolution regarding             ERW       0.30     252.45
         independent director, sale.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0020
March 17, 2020
Page 2




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Krystal Company Committee
Client 027768
Matter 0020
March 17, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.60         841.50              $504.90
JSC           Carr, James S                        0.30         855.00               256.50




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
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                                                          KELLEY DRYE & WARREN LLP
                                             ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **


RUN DATE: March 17, 2020 14:52:04                            DATE THRU: February 29, 2020                                                  Page: 1
Billing Timekeeper: 01118 - Carr, James S                                                           Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1696043                                                                                                           FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration




c/o James Carr
101 Park Avenue
New York, NY 10128


                                                        Other Charges/Disbursements
                                                                                                             Bill
 Atty ID    Attorney              Date         Description                                                 Amount          Disp.       Disb Id
                                  02/24/20     Duplication                                                        22.90   H T W         8664942

 07036      Adams , J.R.          02/19/20     VENDOR: CourtCall, LLC-6383 Arizona Circle INVOICE#:               44.00   H T W         8664268
                                               CCDA0724891-2-19-20 DATE: 2/19/2020
                                               Telephonic Court Appearance (CCID #10382465)/ Telephone
 07383      McLoughlin , M.J.     02/25/20     2 - 1' inch binders cost $9.00/ Binding                             9.98   H T W         8667776

 07626      Hines , K.G.          02/19/20     Lexis Research                                                     34.60   H T W         8666781

                                                                                               Totals:         $111.48
                        Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                                         KELLEY DRYE & WARREN LLP
                                            ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **


RUN DATE: March 17, 2020 14:52:04                        DATE THRU: February 29, 2020                                              Page: 2
Billing Timekeeper: 01118 - Carr, James S                                                   Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1696043                                                                                                   FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration



            Other Charges Summary                              Amount Disp
 000203     Duplication                                            22.90   H   T   W
 000204     Telephone                                              44.00   H   T   W
 000227     Binding                                                 9.98   H   T   W
 000256     Lexis Research                                         34.60   H   T   W
            Total                                                 111.48
Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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               Kelley Drye & Warren LLP Total February Fees & Expenses Due


    Total February Fees Due:                                    $180,097.65
    Total February Expenses Due:                                    $111.48
    Total February Fees and Expenses Due:                       $180,209.13


               Kelley Drye & Warren LLP Payment Information – Wire or ACH


    Bank Name:                                         JPMorgan Chase Bank
    ABA No.:                                                    021-000-021
                                                           270 Park Avenue
    Bank Address:
                                                        New York, NY 10017
    Account Name:                                  Kelley Drye & Warren LLP
    Account No.:                                                 135046110
    SWIFT Code:                                                 CHASUS33




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        Kelley Drye & Warren LLP February Fee Summary Breakdown By Matter

 Matter 0001: Case Administration
    Timekeeper Code                  Timekeeper            Hours      Amount
            JSC             Carr, James S.                   2.2     $1,881.00
           ERW              Wilson, Eric R.                  3.5     $2,945.25
            JRA             Adams, Jason R.                  0.5      $364.50
            MJM             McLoughlin, Maeghan J.           5.2     $3,650.40
            KGH             Hines, Kayci G.                  6.8     $3,182.40
           MMV              Vicinanza, Marie M.              1.6      $439.20
 Totals for Matter 0001: Case Administration                19.8    $12,462.75

 Matter 0002: Pleadings Review
    Timekeeper Code                 Timekeeper             Hours     Amount
            MJM             McLoughlin, Maeghan J.          0.4      $187.20
            KGH             Hines, Kayci G.                 1.8     $1,263.60
 Totals for Matter 0002: Pleadings Review                   2.2     $1,450.80

 Matter 0003: Retention Matters (Applications & Objections)
    Timekeeper Code                  Timekeeper             Hours     Amount
            JSC             Carr, James S.                    4.0    $3,420.00
           ERW              Wilson, Eric R.                   5.8    $4,880.70
            JRA             Adams, Jason R.                   0.4     $291.00
            MJM             McLoughlin, Maeghan J.            2.4    $1,684.80
            KGH             Hines, Kayci G.                  17.2    $8,049.60
           MMV              Vicinanza, Marie M.               0.9     $247.05
 Totals for Matter 0003: Retention Matters                   30.7   $18,573.75

 Matter 0004: Fee Matters (Applications & Objections)
    Timekeeper Code                 Timekeeper             Hours     Amount
           ERW                    Wilson, Eric R.           0.2      $168.30
            MJM               McLoughlin, Maeghan J.        1.7     $1,193.40
            KGH                   Hines, Kayci G.           1.0      $468.00
 Totals for Matter 0004: Fee Matters                        2.9     $1,829.70

 Matter 0005: Financing and Cash Collateral
    Timekeeper Code                 Timekeeper             Hours     Amount
           ERW              Wilson, Eric R.                 23.3    $19,606.95
            JRA             Adams, Jason, R.                 1.3     $947.70
            BDF             Feder, Benjamin D.              15.8    $11,304.90
            MJM             McLoughlin, Maeghan J.          34.5    $24,219.00
            KGH             Hines, Kayci G.                  1.3     $608.40
 Totals for Matter 0005: Financing and Cash Collateral      76.2    $56,686.95




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 Matter 0006: Asset Analysis, Recovery and Disposition
    Timekeeper Code                  Timekeeper             Hours     Amount
            JSC             Carr, James S.                    0.3     $256.50
           ERW              Wilson, Eric R.                  11.5    $9,677.25
            JRA             Adams, Jason A.                   0.4     $291.60
            MJM             McLoughlin, Maeghan J.           18.3   $12,846.60
            KGH             Hines, Kayci G.                   7.4    $3,463.20
 Totals for Matter 0006:
 Asset Analysis, Recovery and Disposition                   37.9    $26,535.15

 Matter 0007: Executory Contracts and Leases
    Timekeeper Code                Timekeeper               Hours    Amount
            JSC           Carr, James S.                     0.8     $684.00
           ERW            Wilson, Eric R.                    0.2      $68.30
            JRA           Adams, Jason R.                    1.0     $729.00
            MJM           McLoughlin, Maeghan J.             0.8     $561.60
            KGH           Hines, Kayci G.                    0.4     $187.20
 Totals for Matter 0007:
 Executory Contracts and Leases                              2.8    $2,330.10

 Matter 0008: Claims Administration, Analysis & Objection
    Timekeeper Code                Timekeeper               Hours    Amount
           ERW             Wilson, Eric R.                   2.3    $1,935.45
            JRA            Adams, Jason R.                   0.7     $510.30
            MJM            McLoughlin, Maeghan J.            1.9    $1,333.80
            KGH            Hines, Kayci G.                   5.2    $2,433.60
 Totals for Matter 0008:
 Claims Administration, Analysis & Objection                10.1    $6,213.15

 Matter 0011: Committee and Creditor Communications
    Timekeeper Code                Timekeeper               Hours     Amount
            JSC           Carr, James S.                      9.8    $8,379.00
           EWR            Wilson, Eric R.                    16.7   $14,053.05
            JRA           Adams, Jason R.                     1.4    $1,020.60
            MJM           McLoughlin, Maeghan J.             13.9    $9,757.80
            JDR           Raviele, Jennifer D.                0.7     $371.70
            KGH           Hines, Kayci G.                     3.5    $1,638.00
 Totals for Matter 0011:
 Committee and Creditor Communications                      46.0    $35,220.15




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Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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 Matter 0012: Business Operations
    Timekeeper Code                  Timekeeper        Hours         Amount
            JSC             Carr, James S.               0.2         $171.00
           ERW              Wilson, Eric R.              3.5        $2,945.25
            JRA             Adams, Jason R.              0.3         $218.00
            MJM             McLoughlin, Maeghan J.       3.4        $2,386.80
            KGH             Hines, Kayci G.              2.9        $1,357.20
 Totals for Matter 0012: Business Operations            10.3        $7,078.95

 Matter 0013: Court Hearings
    Timekeeper Code                  Timekeeper        Hours         Amount
            JSC             Carr, James S.              0.5          $427.50
           ERW              Wilson, Eric R.             1.3         $1,093.95
            JRA             Adams, Jason R.             2.3         $1,676.70
            MJM             McLoughlin, Maeghan J.      3.4         $2,386.80
            KGH             Hines, Kayci G.             1.1          $514.80
 Totals for Matter 0013: Business Operations            8.6         $6,099.75

 Matter 0014: Relief From Stay/Adequate Protection
     Timekeeper Code               Timekeeper          Hours         Amount
           ERW             Wilson, Eric R.              0.3          $252.45
            MJM            McLoughlin, Maeghan J.       0.3          $210.60
 Totals for Matter 0014:
 Relief From Stay/Adequate Protection                   0.6          $463.05

 Matter 0019: Meetings/Communications with Debtors
    Timekeeper Code              Timekeeper            Hours         Amount
           ERW                  Wilson, Eric R.         1.6         $1,346.40
            JRA                Adams, Jason R.          1.0          $729.00
            MJM            McLoughlin, Maeghan J.       3.3         $2,316.60
 Totals for Matter 0019:
 Meetings/Communications with Debtors                   5.9         $4,392.00

 Matter 0020: Insider Investigation
    Timekeeper Code                   Timekeeper       Hours         Amount
            JSC              Carr, James S.              0.3         $256.50
           ERW               Wilson, Eric R.            10.6         $504.90
 Totals for Matter 0020: Insider Investigation          10.9         $761.40




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                    Kelley Drye & Warren LLP February Expense Breakdown


                Binding                                           $9.98
                Duplication                                      $22.90
                Legal Research                                   $34.60
                Telephone                                        $44.00
                Total Expenses:                                 $111.48




4826-2005-0359v.2                              5
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786544

 027768           Krystal Company Committee
 0001             Case Administration


                                Account Summary and Remittance Form


Legal Services:                                                                                $1,044.50

Less 10% Discount:                                                                             ($104.45)

Total Fees Due:                                                                                  $940.05

Disbursements and Other Charges:                                                               $2,100.23

                            Total Amount Due:                                                $3,040.28

                        Terms: Payment Due on or Before April 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 337 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                    March 31, 2020
                                                                               Invoice No. 2786544

Client 027768
Matter 0001 Case Administration

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

03/03/20 Emails to M. McLoughlin and K. Hines (both       ERW       0.20    $168.30
         of KDW) regarding update timeline (.1);
         review same (.1).
03/03/20 Review (.2) and comment on (.1) critical dates   MJM       0.30     210.60
         chart.
03/16/20 Outline upcoming case issues regarding           ERW       0.50     420.75
         budget, data room, lien review, taxes and
         cash collateral.
03/17/20 Update critical dates chart.                     MJM       0.20     140.40
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 31, 2020
Page 2




Total Original Fees for this Matter:                                                  $1,044.50

Less 10% Discount:                                                                    ($104.45)

Total Fees Due:                                                                         $940.05



Other Charges:

  Color Duplication                                               $0.00
  Duplication                                                     99.60
  Telephone                                                       72.00
  Courier                                                         27.68
  Long Distance Travel                                           774.90
  Cab Service                                                    214.41
  Meals                                                            9.62
  Lodging                                                        541.62
  Search                                                         360.40

Total Other Charges for this Matter:                                                    2,100.23

Total this Invoice                                                                    $3,040.28
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
March 31, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.70         841.50              $589.05
MJM           McLoughlin, Maeghan J                0.50         702.00               351.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00            Desc Main
                                   Document    Page 340 of 749
                                  KELLEY DRYE & WARREN LLP                             FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                                AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                                  MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                           March 31, 2020
                                                                                      Invoice No. 2786545

 027768           Krystal Company Committee
 0003             Retention Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                                    $5,788.00

Less 10% Discount:                                                                                 ($578.80)

Total Fees Due:                                                                                    $5,209.20

Disbursements and Other Charges:                                                                        $0.00

                            Total Amount Due:                                                    $5,209.20

                        Terms: Payment Due on or Before April 30, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                      PAYMENT BY CHECK:
 ABA #: 021-000-021                                               KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                             ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                           101 PARK AVENUE
 ACCOUNT #:135-046110                                             NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER                (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 341 of 749
                                  KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                               MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     March 31, 2020
                                                                                Invoice No. 2786545

Client 027768
Matter 0003 Retention Matters (Applications & Objections)

Attorney: 01118                                                                                  Page 1

  Date    Description                                   Tkpr     Hours     Amount

03/02/20 Emails to M. McLoughlin (KDW) regarding           ERW      0.10     $84.15
         pro hac applications.
03/02/20 Review/revise the draft KDW retention             JSC      1.70    1,453.50
         application (.3), the draft order (.2), and the
         draft Carr declaration (.6); review the
         proposed exhibit to the Carr declaration
         addressing potential conflicts (.1); review the
         revised KDW retention application (.2), the
         revised order (.1) and the Carr declaration (.2).
03/02/20 Conference with J. Carr (KDW) regarding           KGH      3.20    1,497.60
         Wells Fargo waiver for inclusion in KDW
         retention application (.2); revise retention
         application to incorporate J. Carr (KDW)
         comments (1.7); revise proposed order to same
         to incorporate negative notice provisions per
         local rules in the order (.4); finalize same for
         circulation to committee (.3); emails with K.
         Carson (Realty) regarding same (.2); phone
         conference with S. Kulka (AAG) regarding
         timeline for filing and service of same (.2);
         phone call to K. Carson (Realty) regarding
         signature pages to FTI's retention application
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                    Document    Page 342 of 749
                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                              MUMBAI, INDIA
    CHICAGO                                     PARSIPPANY
    HOUSTON                                      BRUSSELS




Krystal Company Committee
Client 027768
Matter 0003
March 31, 2020
Page 2



  Date   Description                                       Tkpr   Hours     Amount

         (.2).
03/02/20 Revise retention application (.4); discuss open   MJM       0.90     631.80
         issues with J. Carr (KDW) (.3); finalize pro
         hac applications (.2).
03/02/20 Arrange for filing of pro hac applications.       MMV       0.30      82.35
03/03/20 Multiple Emails with S. Kulka (AAG)               KGH       1.80     842.40
         regarding K. Carson signature page for FTI
         retention application (.2); and related tasks
         (.3); conference with M. McLoughlin
         regarding timing of filing FTI retention
         application (.2); phone conference with K.
         Carson regarding same (.2); prepare same for
         filing (.3); review KDW retention order (.2);
         email same to J. Carr (KDW) for circulation to
         Wells Fargo pursuant to Wells Fargo waiver
         requirements (.2); phone conference with S.
         Kulka (AAG) confirming service of entry of
         order today (.2).
03/03/20 Discuss status of FTI retention application       MJM       0.30     210.60
         with K. Hines (KDW) (.2); review entered
         KDW order (.1).
03/04/20 Emails with S. Kulka (AG) regarding               ERW       0.20     168.30
         disposition of pro hacs.
03/11/20 Emails with K. Hines (KDW) and L.                 ERW       0.20     168.30
         Shermohammed (KS) regarding Edelmen
         retention.
03/26/20 Emails with D. Laddin (AAG) regarding             MJM       0.10      70.20
         retention order.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 343 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0003
March 31, 2020
Page 3




Total Original Fees for this Matter:                                                  $5,788.00

Less 10% Discount:                                                                      $578.80

Total Fees Due:                                                                       $5,209.20

Total For This Matter:                                                                $5,209.20
Total this Invoice                                                                    $5,209.20
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
                                      Document    Page 344 of 749
                                     KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                    MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0003
March 31, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.50         841.50               $420.75
JSC           Carr, James S                        1.70         855.00              1,453.50
KGH           Hines, Kayci                         5.00         468.00              2,340.00
MJM           McLoughlin, Maeghan J                1.30         702.00                912.60
MMV           Vicinanza, Marie M                   0.30         274.50                 82.35




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 345 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786546

 027768           Krystal Company Committee
 0004             Fee Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                              $12,962.50

Less 10% Discount:                                                                           ($1,296.25)

Total Fees Due:                                                                              $11,666.25

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $11,666.25

                        Terms: Payment Due on or Before April 30, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 346 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                    March 31, 2020
                                                                               Invoice No. 2786546

Client 027768
Matter 0004 Fee Matters (Applications & Objections)

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

03/06/20 Review K&S fee statement (.2) and emails         MJM       0.30    $210.60
         with E. Wilson (KDW) regarding same (.1).
03/10/20 Emails with D. Laddin (AG) regarding fee         ERW       0.80     673.20
         statements (.2); review February invoices for
         reasonableness preparatory to March fee
         statement (.6).
03/12/20 Emails with M. Kuan (FTI) and K. Hines           MJM       0.20     140.40
         (KDW) regarding process for fee applications.
03/13/20 Emails to M. McLoughlin (KDW) regarding          ERW       0.30     252.45
         A&M fee statement (.2); briefly review same
         (.1).
03/13/20 Correspondence with C. Liu regarding A&Ms        MJM       0.50     351.00
         fee statement (.2) and review same (.2);
         review terms of A&M retention order (.1).
03/16/20 Review Scroggins February statement (.1);        ERW       0.60     504.90
         forward to FTI team (.1); review FTI
         statement (.1); forward to M. McLoughlin
         (KDW) with instruction (.1); review FTI
         professional fee analysis (.2).
03/16/20 Emails with M. McLoughlin (KDW) regarding        KGH       0.20      93.60
         timeline for service of monthly fee statement.
03/16/20 Review AGG and FTI fee statements (.3);          MJM       1.40     982.80
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         follow up emails with K. Hines regarding
         status of KDW statement (.2); further emails
         with M. Kuan (FTI) and E. Wilson (KDW)
         regarding K&S and A&M fee
         statements,deadlines for objecting to same
         (.3); review fee comparison (.2) and emails
         with M. Kuan regarding corrected amounts
         (.2); review Scroggins fee statement (.1) and
         follow up emails with E. Wilson (KDW)
         regarding same (.1).
03/17/20 Emails with K. Hines (KDW) regarding             ERW      0.30     252.45
         February fee statement (.2); instruction to M.
         McLoughlin (KDW) regarding February fee
         statement (.1).
03/17/20 Email to E. Wilson (KDW) regarding timeline KGH           2.60    1,216.80
         for finalizing February bills (.2); emails with
         M. McLoughlin (both of KDW) regarding
         summary of February fees (.3); instruction
         (2x) to M. Vicinanza (KDW) regarding
         preparing summary chart (.4); revise same
         (.6); draft cover letter for February invoices
         (.6); preparation same for service (.5).
03/17/20 Review bills for redactions, accuracy (1.4);     MJM      2.10    1,474.20
         emails with E. Wilson, K. Hines (both KDW)
         regarding fee statement requirements (.3);
         follow up emails with E. Wilson (KDW)
         regarding updates to the bills (.2) and K. Hines
         regarding fee chart (.2).
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03/17/20 Review statements for February (.6); prepare     MMV       2.50     686.25
         summary of fees and expenses for 1st interim
         fee statement (1.9).
03/18/20 Emails with M. McLoughlin (KDW) regarding        ERW       0.80     673.20
         Scroggins invoice (.2); emails with K. Hines
         and M. McLoughlin (both of KDW) and D.
         Laddin (AG) regarding February statement
         (.2); final review of February statement prior
         to service (.2); emails with M. McLoughlin
         (KDW) regarding invoice redaction (.2).
03/18/20 Confirm completeness and correctness of          KGH       3.30    1,544.40
         February fee amounts (.4); revise fee and
         expense summary to account for revised
         invoices (.4); emails (2x) with M. McLoughlin
         regarding further comments to cover letter and
         expense summary (.4); revise cover letter and
         expense summary in accordance with M.
         McLoughlin comments (.5); prepare cover
         letter, fee and expense summary, and invoices
         for service. (1.0); email same to S. Kulka
         (AGG) with same for service (.2); Emails with
         M. McLoughlin (KDW) regarding revisions to
         February summary sheet in light of bill
         revisions (.2); emails with J. Amandro
         regarding timeline for completing same (.2).
03/18/20 Review fee letter (.2), fee chart (.2), and      MJM       1.30     912.60
         invoices (.2); follow up emails with K. Hines
         regarding summary page, changes to fee letter,
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           and invoices (.3); review AGG form in
           connection with same (.2); follow up emails
           with E. Wilson (KDW) regarding redactions to
           KDW application and Scroggins fee letter (.2).
03/19/20   Briefly review AG (.1) and FTI (.1) fee            ERW       0.40     336.60
           statements; emails with M. McLoughlin
           (KDW), FTI and AG regarding Scroggins
           statement (.2).
03/19/20   Email to S. Kulka (AGG) regarding form of          KGH       0.20      93.60
           interim fee application.
03/19/20   Prepare fee statement worksheet for February       MMV       1.60     439.20
           2020.
03/23/20   Emails with S. Kulka (AGG) and K. Hines            MJM       0.50     351.00
           (KDW) regarding filing of interim fee
           applications (.2); review form application (.2);
           follow up with E. Wilson regarding same (.1).
03/30/20   Emails with S. Kulka (AG), M. McLoughlin           ERW       0.40     336.60
           (KDW) and C. Zucker (FTI) regarding March
           fee estimates.
03/30/20   Emails with E. Wilson (KDW) and S. Kulka           MJM       0.20     140.40
           (AGG) regarding March fees.
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Total Original Fees for this Matter:                                                 $12,962.50

Less 10% Discount:                                                                    $1,296.25

Total Fees Due:                                                                      $11,666.25

Total For This Matter:                                                               $11,666.25
Total this Invoice                                                                   $11,666.25
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Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         3.60         841.50              $3,029.40
KGH           Hines, Kayci                         6.30         468.00               2,948.40
MJM           McLoughlin, Maeghan J                6.50         702.00               4,563.00
MMV           Vicinanza, Marie M                   4.10         274.50               1,125.45




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        March 31, 2020
                                                                                   Invoice No. 2786547

 027768           Krystal Company Committee
 0005             Financing and Cash Collateral


                                Account Summary and Remittance Form


Legal Services:                                                                               $59,877.00

Less 10% Discount:                                                                            ($5,987.70)

Total Fees Due:                                                                               $53,889.30

Disbursements and Other Charges:                                                                     $0.00

                            Total Amount Due:                                                $53,889.30

                        Terms: Payment Due on or Before April 30, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                   PAYMENT BY CHECK:
 ABA #: 021-000-021                                            KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                          ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                        101 PARK AVENUE
 ACCOUNT #:135-046110                                          NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER             (212) 808-7800
 AS PAYMENT REFERENCE
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 31, 2020
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Attorney: 01118                                                                                   Page 1

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03/01/20 Confer (.3) and emails (.2); with C. Zucker       ERW       2.10   $1,767.15
         (FTI) regarding budget, data room access;
         review and analyze further revised cash
         collateral order (.3) and updated budget (.3);
         emails with R. Williamson (SW), S. Willet
         (ML) and S. Kulka (AG) regarding same, open
         issues (.5); review and analyze WFB cash
         collateral objection (.4); instruction to M.
         McLoughlin (KDW) regarding same (.1).
03/01/20 Review lenders objection to cash collateral.      MJM       0.30     210.60
03/02/20 Draft revisions to lien review memo (.3);         BDF       0.40     286.20
         email communication with E. Wilson (KDW)
         regarding same (.1).
03/02/20 Conference calls (2x) (.8) and emails (.6) with   ERW       5.00    4,207.50
         S. Willet (ML), R. Williamson (SW) and S.
         Kulka (AG), et al. regarding open cash
         collateral items; review and analyze WFB
         multiple revisions to the proposed third
         interim cash collateral order (.8); emails with
         M. Kuan (FTI) regarding budget concerns (.2);
         call with C. Zucker (FTI) regarding same (.5)
         review and analyze FTI budget analysis (.3);
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           review C. Vuksich (WFB) declaration in
           support of liens, claim (.2); email from S.
           Kulka (AG) regarding same (.1); emails with
           B. Feder (KDW) regarding status of lien
           review (.2); review draft memo regarding
           same (.3); emails with C. Liu (ML) regarding
           lien review, reservation (.1); review and
           analysis of lien memo (.9).
03/02/20   Review filed third interim cash collateral         MJM       1.40     982.80
           budget (.3) and compare to previously
           circulated draft (.3); analyze accrued/unpaid
           report and professional fee budget (.3); review
           B. Feder (KDW) memo on lien analysis (.5).
03/03/20   Emails with R. Williamson (SW) and S.              ERW       0.20     168.30
           Willet (ML) regarding cash management
           system issues.
03/03/20   Emails with R. Sabin (ML), R. Williamson           MJM       0.30     210.60
           (SL), S. Kulka (AGG) and E. Wilson (KDW)
           regarding lender revisions to cash collateral
           order and challenge deadline.
03/04/20   Emails with C. Zucker (FTI) and S. Kulka           ERW       0.50     420.75
           (AG) regarding fee estimates (.2); briefly
           review as entered cash collateral order (.1) and
           sale order (.1); emails with M. McLoughlin
           (KDW) regarding same (.1).
03/05/20   Confer with E. Wilson (KDW) regarding lien         BDF       0.40     286.20
           analysis memo (.2); further analysis of issues
           regarding same (.2).
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03/05/20 Order lien searches per B. Feder's (KDW)            DMK       0.50     137.25
         request (.3); discuss same with B. Feder
         (KDW) (.2).
03/05/20 Instruction to B. Feder (KDW) regarding             ERW       1.60    1,346.40
         status of lien review, tax issues (.2);
         conference call with C. Zucker (FTI), S. Kulka
         (AG), and M. McLoughlin (KDW) regarding
         case status, next steps (.3); outline open issues
         for call (.3); emails with L. Fiorenza (SC)
         regarding court approval, administrative
         solvency (.2); email from J. Chapman (YC)
         regarding lender invoice (.1); forward with
         instruction to M. McLoughlin (KDW) (.1);
         email to J. Dutson (KS) regarding February
         invoice (.1); review same (.1); instruction to
         M. McLoughlin (KDW) regarding budget (.1);
         emails with M. Kuan (FTI) regarding same
         (.1).
03/06/20 Emails to M. McLoughlin (KDW) regarding             ERW       0.20     168.30
         budget issues.
03/09/20 Review lien search results for The Krystal          DMK       0.40     109.80
         Company (.3); send same to B. Feder (KDW)
         (.1).
03/09/20 Emails with M. McLoughlin (KDW) and M.              ERW       0.20     168.30
         Kuan (FTI) regarding data room, tax liability.
03/09/20 Emails with M. Kuan (FTI) and E. Wilson             MJM       0.20     140.40
         (KDW) regarding tax liability.
03/10/20 Emails to E. Wilson and B. Feder (both KDW)         MJM       0.40     280.80
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           regarding lien memo (.2) and briefly review
           same (.2).
03/11/20   Analysis of                                         BDF       3.30    2,361.15
           (1.2); analysis of lien search report (.7); draft
           revisions to lien analysis of memo regarding
           same (1.4).
03/11/20   Emails with S. Kulka (KS) and C. Zucker             ERW       0.80     673.20
           (FTI) regarding budget (.2); review latest
           budget (.2); email to B. Feder and M.
           McLoughlin (both of KDW) regarding lien
           memo (.2); emails with B. Feder (KDW)
           regarding claim calculation (.2).
03/11/20   Review current draft of lien memo.                  MJM       0.30     210.60
03/12/20   Review US Foods motion and order for                MJM       0.50     351.00
           payment terms (.2) and confer with E. Wilson
           (KDW) regarding same (.1); review cash
           variance (.2).
03/13/20   Continued draft revisions to lien analysis          BDF       1.70    1,216.35
           memo (1.3); draft email to C. Liu (ML)
           regarding request for additional docs (.4).
03/13/20   Emails with M.McLoughlin (KDW) regarding            ERW       0.20     168.30
           U,S. Foods settlement.
03/13/20   Call with J. Dutson (KS) regarding USF              MJM       0.30     210.60
           motion (.1); follow up emails with KDW and
           FTI teams regarding same (.2).
03/16/20   Emails with M. McLoughlin (KDW), M. Kuan            ERW       0.30     252.45
           (FTI), S. Kulka and D. Laddin (both of AG)
           regarding budget, fee statements.
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03/16/20 Emails with E. Wilson (KDW), S. Kulka          MJM       0.20     140.40
         (AGG), and M. Kuan (FTI) regarding budgets.
03/17/20 Draft further revisions to lien review memo    BDF       1.90    1,359.45
         (1.6); email communications with C. Liu (ML)
         regarding same (.3).
03/17/20 Instruction to B. Feder (KDW) regarding lien   ERW       0.20     168.30
         review memo.
03/17/20 Review lien memo (.4) and comment on same      MJM       0.60     421.20
         (.2).
03/19/20 Review of revised lien analysis memo (.3);     ERW       0.90     757.35
         emails with M. McLoughlin (KDW) regarding
         same, next week's call (.4); emails with M.
         McLoughlin (KDW) and L. Shermohammed
         (KS) regarding U.S. Foods, preference waiver
         (.2).
03/19/20 Review schedules for potential unencumbered    MJM       2.40    1,684.80
         causes of action (.3); call with E. Wilson
         (KDW) regarding lien memo (.2); revise lien
         memo (1.7); Emails with L. Shermohammed
         (KS) regarding preference waiver for USF
         (.1); follow up with E. Wilson (KDW)
         regarding same (.1).
03/20/20 Revise lien memo (2.4); cross check with       MJM       3.30    2,316.60
         credit agreement (.9).
03/23/20 Review additional documentation provided by    BDF       1.60    1,144.80
         WF counsel (1.2); draft further revisions to
         lien review memo (.4).
03/24/20 Continued analysis of issues regarding         BDF       0.30     214.65
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03/24/20 Further emails to B. Feder (KDW) regarding         ERW       0.20     168.30
         lien review.
03/25/20 Draft chart regarding list of                      BDF       0.80     572.40
                  .
03/25/20 Confer with M. McLoughlin (KDW) regarding          ERW       0.40     336.60
         cash collateral objection (.2); emails with M.
         McLoughlin (KDW) and S. Borders (KS)
         regarding further cash collateral order (.2).
03/25/20 Confer with E. Wilson (KDW) on 4th interim         MJM       0.30     210.60
         cash collateral order (.2) and follow up with S.
         Borders (KS) regarding same (.1).
03/26/20 Email communications with E. Wilson                BDF       0.60     429.30
         (KDW) regarding impact of
         on lien analysis (.2); analysis of issues
         regarding same (.4).
03/26/20 Review and comment on revised lien review          ERW       2.00    1,683.00
         memo (.4); emails to M. McLoughlin (KDW)
         regarding same (.2); confer with M.
         McLoughlin (KDW) regarding objection (.2);
         emails with M. McLoughlin (KDW) and M.
         Kuan (FTI) regarding latest budget (.3); emails
         with B. Feder (KDW) and M. Kuan (FTI)
         regarding DACAs, account balances and tax
         claim (.2); emails with M. Zucker (FTI)
         regarding limited cash collateral objection
         (.3); review updated budget (.2); emails with
         M. McLoughlin (KDW) and S. Borders (KS)
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         regarding updated cash collateral order (.2).
03/26/20 Call with E. Wilson (KDW) to discuss second MJM            4.80    3,369.60
         cash collateral objection (.2); follow up email
         with S. Borders (KS) regarding cash collateral
         order (.1); begin draft cash collateral objection
         (3.7); review further amended proposed
         budget (.3) and send follow up questions to E,
         Wilson (KDW) and M. Kuan (FTI) (.2);
         analyze weekly DIP variance reporting (.3).
03/27/20 Initial review and revise supplemental cash       ERW      2.30    1,935.45
         collateral objection (.5); confer with M.
         McLoughlin (KDW) regarding same (.2);
         confer with S. Kulka (AG) regarding budget
         and supplemental objection (.3); confer (.2)
         and emails (.3) with C. Zucker and M. Kuan
         (both of KDW) regarding budget and fee
         allocation; further emails with M. McLoughlin
         (KDW) and M. Kuan (FTI) regarding budget
         (.3); conference call with C. Zucker (FTI) and
         S. Kulka (AG) regarding same (.3); emails
         with J. Dutson (KS) regarding cash collateral
         stipulation (.2).
03/27/20 Confer with E. Wilson (KDW) (.2) regarding MJM             4.40    3,088.80
         revisions to cash collateral objection; revise
         objection (1.4); review professional fees
         estimate and actuals in connection with same
         (.3); follow up emails with E. Wilson (KDW)
         and M. Kuan (FTI) regarding final budget (.2);
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           emails with J. Dutson (KS) regarding 4th
           cash collateral order (.2); call with M. Kuan
           (FTI) regarding budget comparison (.2) and
           review same (.2); analyze filed fourth cash
           collateral budget (.3); follow up emails with E.
           Wilson regarding updated budget and
           objection (.2); revise lien memo to incorporate
           E. Wilson comments (1.2).
03/28/20   Emails with S. Kulka (AG) C. Zucker (FTI)          ERW       1.00     841.50
           regarding fourth interim budget, cash
           collateral stipulation and next steps (.4);
           emails with A. Ray (SW) and S. Kulka (AG)
           regarding cash collateral stipulation (.2);
           review stipulation (.2); revised as filed budget
           (.2).
03/29/20   Review fourth interim budget (.3); review FTI      ERW       1.30    1,093.95
           analysis of same (.2); conference call with D.
           Laddin (AG) and C Zucker (FTI) regarding
           same, next steps (.7); review email from S.
           Kulka (AG) regarding same (.1).
03/29/20   Revise updated FTI budget comparison (.3);         MJM       1.80    1,263.60
           revise cash collateral objection with updated
           amounts and percentages (1.3); further emails
           with M. Kuan (FTI) regarding same (.2).
03/30/20   Conference call with S. Kulka (AG) and C.          ERW       5.50    4,628.25
           Zucker (FTI) regarding budget (.3); review
           various iterations of revised cash collateral
           objection (.9); outline talking points for
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                  KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0005
March 31, 2020
Page 9



  Date   Description                                    Tkpr     Hours     Amount

         hearing (.8) telephone calls (.5) and emails (.3)
         with S. Kulka (AG) regarding same, multiple
         telephone calls (.4) and emails (.2) with M.
         McLoughlin (KDW) regarding same; review
         lien memo revised per my instruction (.5);
         final instructions to M. McLoughlin (KDW)
         regarding same (.1); review FTI fee analysis
         (.2); telephone call (.3) and multiple emails
         (.3) with C. Zucker (FTI) regarding same (.2);
         emails with S. Borders (KS) regarding cash
         collateral, extension (.2); emails with
         regarding                           (.2); review
         further revised cash collateral stipulation order
         (.1).
03/30/20 Revisions (multiple) to cash collateral           MJM      5.60    3,931.20
         objection (2.2); analyze multiple drafts of fee
         spreadsheet (1.1); assemble exhibits (.3); call
         (multiple) with E. Wilson (KDW) to discuss
         objection (.4); emails with S. Kulka (AGG)
         regarding negotiations with debtors' counsel
         (.3); draft fee chart with proposed fee
         payments (.5); follow up emails with C.
         Zucker (FTI) regarding updated exhibit,
         professional fee chart (.3) and cross check
         revised amounts against professional fee chart
         (.3); Emails with E. Wilson (KDW) regarding
         updates to lien review memo (.2).
03/31/20 Telephone calls (.5) and emails (.3) with S.      ERW      4.80    4,039.20
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
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Page 10



  Date    Description                                        Tkpr   Hours     Amount

         Kulka and D. Laddin (both of AG) and M.
         McLoughlin (KDW) regarding cash collateral
         objection; review reservation of rights revised
         per my instruction (.4); review complex case
         procedures order (.4), various prior budgets
         (.5) and FTI analysis regarding same (.4);
         telephone call with M. McLoughlin regarding
         same (.2); emails with AG, Scoggins and
         Morgan Lewis regarding consent order (.7);
         review various iterations of same (.6);
         multiple emails with S. Kulka (AG) and R.
         Williamson (SW) regarding settlement of
         objection (.8).
03/31/20 Revise (.5) and finalize (.7) reservation of        MJM       2.50    1,755.00
         rights to cash collateral order; emails with C.
         Zucker (FTI) on final allocations (.3); emails
         with D. Laddin, S. Kulka (both AGG) and E.
         Wilson (KDW) regarding same (.3); review
         cash collateral stipulations (.3); confer with E.
         Wilson (KDW) regarding objection (.2);
         emails with B. Feder (KDW) on lien memo
         and excluded assets (.2).
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Page 11




Total Original Fees for this Matter:                                                 $59,877.00

Less 10% Discount:                                                                    $5,987.70

Total Fees Due:                                                                      $53,889.30

Total For This Matter:                                                               $53,889.30
Total this Invoice                                                                   $53,889.30
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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Tkpr          Timekeeper                         Hours            Rate               Amount

BDF           Feder, Benjamin D                   11.00         715.50              $7,870.50
DMK           Kubel, Diane M                       0.90         274.50                 247.05
ERW           Wilson, Eric                        29.70         841.50              24,992.55
MJM           McLoughlin, Maeghan J               29.60         702.00              20,779.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786548

 027768           Krystal Company Committee
 0006             Asset Analysis, Recovery and Disposition


                                Account Summary and Remittance Form


Legal Services:                                                                                $7,977.50

Less 10% Discount:                                                                             ($797.75)

Total Fees Due:                                                                                $7,179.75

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $7,179.75

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 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      March 31, 2020
                                                                                 Invoice No. 2786548

Client 027768
Matter 0006 Asset Analysis, Recovery and Disposition

Attorney: 01118                                                                                   Page 1

  Date   Description                                       Tkpr   Hours     Amount

03/01/20 Emails from C. Liu and J. Feldsher (both of       ERW       1.00    $841.50
         ML) and S. Borders (KS) regarding revised
         bidding procedures (.3); review further revised
         procedures (.2); further emails with M.
         McLoughlin (KDW) regarding revised bidding
         procedures (.2); emails with M. McLoughlin
         (KDW) and C. Zucker (FTI) regarding
         assumed liabilities under APA (.3).
03/01/20 Review (.3) and comment on (.2); revised          MJM       1.30     912.60
         procedures; draft revised bid procedures
         timeline (.3); review redline of 3rd interim
         order and 2nd interim order (.3); emails with
         E. Wilson (KDW) regarding same (.2).
03/02/20 Emails with M. McLoughlin (KDW), J.               ERW       1.60    1,346.40
         Feldsher and C. Liu (both of ML) and S.
         Borders (KS) regarding revised bidding
         procedures (.6); review various iterations of
         revised bidding procedures (.6) and proposed
         order (.4).
03/02/20 Review form APA for liabilities (.3) and          MJM       1.80    1,263.60
         emails with E. Wilson (KDW) regarding same
         (.1); review lenders' comments (multiple
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   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0006
March 31, 2020
Page 2



  Date     Description                                     Tkpr   Hours     Amount

           versions) (.4) and debtors comments (multiple
           version (.4) to bid procedures and bid
           procedures order; revise same (.3); review
           filed bid procedures order to confirm changes
           (.3).
03/03/20   Emails with M. McLoughlin (KDW) and H.          ERW       0.20     168.30
           Urrichio (PBGC) regarding bidding
           procedures.
03/03/20   Revise critical dates chart to include sale     KGH       1.40     655.20
           deadlines (1.0); calendar same (.4).
03/04/20   Emails with M. McLoughlin (KDW) regarding       ERW       0.40     336.60
           committee update (.2); emails with C. Ganz
           (BS) regarding adequate protection deadlines
           (.2).
03/04/20   Review entered bid procedures order to          MJM       0.30     210.60
           confirm deal reached.
03/10/20   Emails with M. Kuan (FTI) regarding data        ERW       0.20     168.30
           room issues.
03/10/20   Emails with M. Kuan (FTI) regarding royalty     MJM       0.20     140.40
           payments to trademark entity.
03/11/20   Emails with M. McLoughlin (KDW) and M.          ERW       0.50     420.75
           Kuan (FTI) regarding royalty payments (.3);
           review schedule (.2).
03/11/20   Call with C. Liu (ML) regarding sale process.   MJM       0.30     210.60
03/12/20   Emails with M. Kuan (FTI) regarding royalty     ERW       0.20     168.30
           payments.
03/23/20   Emails to M. McLoughlin (KDW) regarding         ERW       0.20     168.30
           royalty payments.
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Krystal Company Committee
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March 31, 2020
Page 3



  Date   Description                              Tkpr      Hours      Amount

03/24/20 Further emails to M. McLoughlin (KDW)    ERW           0.20     168.30
         regarding royalty payments.
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Client 027768
Matter 0006
March 31, 2020
Page 4




Total Original Fees for this Matter:                                                  $7,977.50

Less 10% Discount:                                                                      $797.75

Total Fees Due:                                                                       $7,179.75

Total For This Matter:                                                                $7,179.75
Total this Invoice                                                                    $7,179.75
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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Krystal Company Committee
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March 31, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         4.50         841.50              $3,786.75
KGH           Hines, Kayci                         1.40         468.00                 655.20
MJM           McLoughlin, Maeghan J                3.90         702.00               2,737.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786549

 027768           Krystal Company Committee
 0007             Executory Contracts and Leases


                                Account Summary and Remittance Form


Legal Services:                                                                                $1,699.00

Less 10% Discount:                                                                             ($169.90)

Total Fees Due:                                                                                $1,529.10

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $1,529.10

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 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
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     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                 PARSIPPANY
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                 March 31, 2020
                                                                            Invoice No. 2786549

Client 027768
Matter 0007 Executory Contracts and Leases

Attorney: 01118                                                                                Page 1

  Date   Description                                   Tkpr   Hours     Amount

03/02/20 Emails with M. McLoughlin (KDW) and C.        ERW       0.20    $168.30
         Ganz (BS) regarding adequate assurance.
03/24/20 Review correspondence from Krystal to         ERW       0.20     168.30
         landlords regarding April rent.
03/25/20 Emails with M. McLoughlin (KDW) regarding     ERW       0.20     168.30
         April rent.
03/26/20 Emails with L. Shermohammed (KS)              ERW       0.40     336.60
         regarding lease amendment (.1); review same
         (.1); emails with M. McLoughlin (KDW
         regarding same, order on consent (.2).
03/26/20 Review lease amendments (.3); follow up       MJM       0.50     351.00
         emails with E. Wilson (KDW) regarding
         amendments and process for implementing
         same (.2).
03/27/20 Emails with L. Shermohammed (KS)              ERW       0.30     252.45
         regarding lease amendment.
03/30/20 Email to K. Carson (Realty) regarding April   ERW       0.10      84.15
         rent.
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0007
March 31, 2020
Page 2




Total Original Fees for this Matter:                                                  $1,699.00

Less 10% Discount:                                                                      $169.90

Total Fees Due:                                                                       $1,529.10

Total For This Matter:                                                                $1,529.10
Total this Invoice                                                                    $1,529.10
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0007
March 31, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.40         841.50              $1,178.10
MJM           McLoughlin, Maeghan J                0.50         702.00                 351.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
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                                  KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                              AFFILIATE OFFICE:
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     CHICAGO                                  PARSIPPANY
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         March 31, 2020
                                                                                    Invoice No. 2786550

 027768           Krystal Company Committee
 0009             Claims Administration, Analysis & Objection


                                Account Summary and Remittance Form


Legal Services:                                                                                  $7,626.50

Less 10% Discount:                                                                               ($762.65)

Total Fees Due:                                                                                  $6,863.85

Disbursements and Other Charges:                                                                      $0.00

                            Total Amount Due:                                                  $6,863.85

                        Terms: Payment Due on or Before April 30, 2020
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 BANK: JP MORGAN CHASE, N.A.                                    PAYMENT BY CHECK:
 ABA #: 021-000-021                                             KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                           ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                         101 PARK AVENUE
 ACCOUNT #:135-046110                                           NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER              (212) 808-7800
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                  KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     March 31, 2020
                                                                                Invoice No. 2786550

Client 027768
Matter 0009 Claims Administration, Analysis & Objection

Attorney: 01118                                                                                  Page 1

  Date   Description                                      Tkpr   Hours     Amount

03/02/20 Conference with M. McLoughlin (KDW)              KGH       0.20     $93.60
         regarding timing of sending committee
         members information regarding schedules.
03/03/20 Emails with M.McLoughlin (KDW) regarding         KGH       0.90     421.20
         status of comments to bar date order (.2);
         calendar proposed bar date (.2); draft form
         email to committee members regarding
         scheduled claim and preference exposure (.3);
         emails with M.McLoughlin regarding
         comments to same (.2).
03/03/20 Review bar date motion, order, notice, form      MJM       1.60    1,123.20
         and publication notice (.9); comment on same
         (.4); review 503(b)(9) order and form (.2);
         emails with E. Wilson (KDW) regarding same
         (.1).
03/04/20 Email from K. Hines (KDW) regarding bar          ERW       0.40     336.60
         date (.1); review claim forms (.2); forward to
         M. McLoughlin (KDW) with instruction (.1).
03/04/20 Conference with M. McLoughlin (KDW)              KGH       1.60     748.80
         regarding comments to bar date order and
         proof of claim form (.2); incorporate same
         (.8); email to E. Wilson (KDW) with
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0009
March 31, 2020
Page 2



  Date     Description                                     Tkpr   Hours     Amount

           recommendation regarding same (.2); email to
           E. Wilson (KDW) with draft email to
           individual committee members regarding
           scheduled claim and and preference exposure
           (.4).
03/04/20   Emails with L. Shermohammed (KS)                MJM       0.40     280.80
           regarding 503(b)(9) form (.2); confer with K.
           Hines (KDW) regarding changes to bar date
           motion (.2).
03/05/20   Review K. Hines (KDW) email to committee        ERW       0.70     589.05
           regarding SOFA/schedules (.1); instruction to
           K. Hines (KDW) regarding same (.1); review
           bar date order and exhibits revised per my
           instruction (.3); emails with L.
           Shermohammed (KS) and K. Hines (KDW)
           regarding same, timing (.2).
03/05/20   Emails (2x) with E. Wilson (KDW) regarding      KGH       0.80     374.40
           comments to bar date motion (.4); email to L.
           Shermohammed (K&S) regarding questions
           and committee comments to same (.4).
03/09/20   Emails with M. McLoughlin and K. Hines          ERW       0.20     168.30
           (both of KDW) and L. Shermohammed (KS)
           regarding revision to bar date order.
03/09/20   Follow up emails with L. Shermohammed           KGH       1.20     561.60
           (K&S) regarding incorporation of committee
           comments to proposed bar date order (.3);
           emails with M. McLoughlin and E. Wilson
           (both of KDW) with recommendation
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                           AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0009
March 31, 2020
Page 3



  Date     Description                                Tkpr    Hours     Amount

           regarding same (.7); conference with M.
           McLoughlin regarding same (.2).
03/09/20   Emails, call with K. Hines (KDW) on bar date MJM      0.40     280.80
           changes (.2); follow up call with S. Kulka
           (AGG) regarding same (.2).
03/10/20   Emails with L. Shermohammed (K&S)            KGH      0.20      93.60
           regarding incorporation of committee
           comments to bar date order.
03/10/20   Emails with E. Wilson (KDW) regarding        MJM      0.20     140.40
           revised bar date order.
03/11/20   Email from B. Baker (KS) regarding revised   ERW      0.40     336.60
           bar date order and claim form (.1); review
           same (.2); instruction to M. McLoughlin
           (KDW) regarding same (.1).
03/11/20   Review debtors further revisions to proposed KGH      0.20      93.60
           bar date order to confirm incorporation of
           Committee comments.
03/11/20   Emails with K. Hines (KDW) regarding bar     MJM      0.30     210.60
           date order and notice (.1) and review same
           (.2).
03/12/20   Further emails from S. Kulka (AG) M.         ERW      0.20     168.30
           McLoughlin and K. Hines (both of KDW)
           and B. Baker (KS) regarding bar date order
           (.1); review revised order (.1).
03/12/20   Further review of minor change to bar date   KGH      0.40     187.20
           order wording (.2); email to S. Kulka (AGG)
           regarding no objection to bar date order in
           advance of next week's hearing (.2).
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   LOS ANGELES                                    STAMFORD                             MUMBAI, INDIA
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Krystal Company Committee
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Page 4



  Date    Description                                      Tkpr   Hours     Amount

03/12/20 Emails (2x) with M. Kuan (FTI) regarding          KGH       0.30     140.40
         form for monthly fee statements.
03/12/20 Emails with S. Kulka (AGG) regarding bar          MJM       0.20     140.40
         date hearing.
03/16/20 Review filed redline of bar date order, notice,   MJM       0.20     140.40
         and form.
03/17/20 Review order and notice setting bar date.         KGH       0.20      93.60
03/25/20 Emails with K. Carson (RIC) on bar date,          MJM       0.20     140.40
         claim process.
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   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
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Page 5




Total Original Fees for this Matter:                                                  $7,626.50

Less 10% Discount:                                                                      $762.65

Total Fees Due:                                                                       $6,863.85

Total For This Matter:                                                                $6,863.85
Total this Invoice                                                                    $6,863.85
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
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Page 6




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.90         841.50              $1,598.85
KGH           Hines, Kayci                         6.00         468.00               2,808.00
MJM           McLoughlin, Maeghan J                3.50         702.00               2,457.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786551

 027768           Krystal Company Committee
 0011             Committee and Creditor Communications


                                Account Summary and Remittance Form


Legal Services:                                                                              $27,683.00

Less 10% Discount:                                                                           ($2,768.30)

Total Fees Due:                                                                              $24,914.70

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $24,914.70

                        Terms: Payment Due on or Before April 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
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     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                              MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     March 31, 2020
                                                                                Invoice No. 2786551

Client 027768
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Attorney: 01118                                                                                  Page 1

  Date   Description                                       Tkpr   Hours     Amount

03/01/20 Revise/update talking points (1.1); emails with   MJM       1.30    $912.60
         E. Wilson (KDW) regarding same (.2).
03/02/20 Review and comment on update to committee         ERW       0.80     673.20
         (.1); review and comment on talking points
         (.6); instruction to M. McLoughlin (KDW)
         regarding same (.1).
03/02/20 Prepare fully executed bylaws.                    KGH       0.30     140.40
03/02/20 Draft committee update on cash collateral         MJM       1.20     842.40
         order and bid procedures (.8); emails with T.
         Atkinson (Ulmer) (.2) and H. Urrichio
         (PBGC) (.2) regarding requested revisions to
         bid procedures.
03/03/20 Emails to M. McLoughlin (KDW) regarding           ERW       0.40     336.60
         cancellation of tomorrow's call (.2); review
         committee update (.1); instruction to M.
         McLoughlin (KDW) regarding same (.1).
03/03/20 Draft hearing summary regarding contested         MJM       1.40     982.80
         hearing (.9) and revise same (.3); emails with
         C. Zucker (FTI) regarding committee update
         (.2).
03/04/20 Review M. McLoughlin (KDW) update to              ERW       0.20     168.30
         committee (.1); instruction to M. McLoughlin
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   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
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Page 2



  Date    Description                                       Tkpr   Hours     Amount

         (KDW) regarding same (.1).
03/04/20 Revise individual emails to UCC members            MJM       1.50    1,053.00
         (.3); draft committee update on bar date, sale,
         entered orders (.9); revise and send same (.3).
03/05/20 Emails with K. Hines (KDW) (.1), A.                ERW       1.00     841.50
         Matthews (Tombras) (.1), J. Stauffer (SLM)
         (.1), H. Urrichio (PBGC) (.1), C. Marshall
         (Coca-Cola) (.1), M. Rogers (NCR) (.1), C.
         Cromer (Flowers) (.1), K. Carson (Realty) (.2)
         and P. Rosenblatt (KT) (.1) regarding claims
         bar date.
03/05/20 Individual emails to each committee member         KGH       2.50    1,170.00
         regarding scheduled claim and preference
         exposure (1.6); follow up emails with Flowers,
         Realty Income, and NRC regarding same (.6);
         conferences (3x) with M. McLoughlin about
         responses to individual creditor inquiries (.3).
03/05/20 Call with E. Wilson (KDW), S. Kulka (AGG),         MJM       1.10     772.20
         and C. Zucker (FTI) regarding committee
         update, next hearing, next steps (.4); follow up
         call with S. Kulka (AGG) regarding same (.4);
         conferences with K. Hines (KDW) (multiple)
         over individual creditor emails and responses
         to same (.3).
03/09/20 Emails with M. McLoughlin (KDW), D.                ERW       1.20    1,009.80
         Laddin (AG) and C. Zucker (FTI) regarding
         rescheduling committee call (.2); conference
         (.2) and emails (.2) with M. McLoughlin
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   WASHINGTON                                        NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
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  Date     Description                                         Tkpr   Hours     Amount

           (KDW) regarding talking points for
           Thursday's call and hearing; review talking
           points (.4); instruction to M. McLoughlin
           (KDW) regarding same (.2).
03/09/20   Draft committee update on weekly call (.2);         MJM       2.70    1,895.40
           follow up emails with FTI and AGG regarding
           same (.1); call with E. Wilson regarding
           talking points (.2) and follow up emails
           regarding same (.2); email with R. Lemisch
           (BF) regarding timing of call (.1); draft talking
           points for committee call (1.9);
03/10/20   Revise talking points (.3); emails with E.          MJM       0.60     421.20
           Wilson (KDW) regarding agenda and talking
           points (.3).
03/11/20   Review agenda for tomorrow's call (.1);             ERW       1.20    1,009.80
           instruction to M. McLoughlin (KDW)
           regarding same (.1); emails with M.
           McLoughlin (KDW) regarding talking points
           for Thursday's call and FTI materials (.2);
           review and revise talking points (.7); update to
           committee regarding tomorrow's call (.1).
03/11/20   Calls with C. Zucker and M. Kuan (both FTI)         MJM       0.80     561.60
           to prepare for tomorrow's call (.1); emails with
           E. Wilson regarding talking points and lien
           review (.2); correspondence on lien review
           with B. Feder (KDW) (.2); draft agenda for
           call (.1); emails with the committee on
           tomorrow's call (.2).
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  Date    Description                                         Tkpr   Hours     Amount

03/12/20 Emails with C. Marshall (Coca-Cola)                  ERW       1.90    1,598.85
         regarding case issues, set-off concerns, claims
         issues and today's call (.4); confer with M.
         McLoughlin (KDW) and C. Zucker (FTI)
         preparatory to today's call (.3); prepare for (.3)
         and conduct (.5) today's committee call;
         follow-up with M. McLoughlin (KDW)
         regarding next steps (.2); emails to M.
         McLoughlin (KDW) regarding today's call
         (.2).
03/12/20 Call with E. Wilson (KDW) and FTI team               MJM       1.40     982.80
         preparatory to committee call (.3) and attend
         committee call (.5); follow up conference with
         E. Wilson (KDW) (.1); call with M. Rogers
         (NCR) to summarize committee call (.2);
         emails with P. Rosenblatt (KTS) regarding
         committee call, sale process update (.3).
03/16/20 Conference call (.3) and emails (.2) with C.         ERW       1.00     841.50
         Marshall (Coca-Cola) regarding case status,
         claim and U.S. Foods program; briefly review
         transaction documents (.3); emails with M.
         McLoughlin (KDW) regarding this week's
         committee call (.2).
03/16/20 Emails with E. Wilson regarding UCC call,            MJM       0.20     140.40
         agenda for same.
03/17/20 Review update to committee regarding                 ERW       0.40     336.60
         tomorrow's call (.1); email to M. McLoughlin
         (KDW) regarding same (.1); emails with C.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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March 31, 2020
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  Date     Description                                       Tkpr   Hours     Amount

           Marshall (Coca-Cola) regarding sale update
           (.2).
03/17/20   Call with E. Wilson (KDW) regarding hearing       MJM       1.30     912.60
           update (.2); draft committee update on sale
           process, sales, cash flow, and bar dates (.9);
           revise and send same (.2).
03/19/20   Emails with C. Marshall (Coca-Cola)               ERW       0.20     168.30
           regarding U.S. Foods payments.
03/23/20   Instruction to M. McLoughlin (KDW)                ERW       0.10      84.15
           regarding Wednesday's call.
03/23/20   Call with E. Wilson (KDW), C. Zucker, and         MJM       2.80    1,965.60
           M. Kuan (both FTI) preparatory to weekly
           committee call (.3); draft talking points for
           committee call (2.2); review lien memo in
           connection with same (.3).
03/24/20   Review and revise talking points for              ERW       2.00    1,683.00
           tomorrow's call (.8); confer with M.
           McLoughlin (KDW) regarding same, FTI
           materials (.2); emails with K. Carsons (RI) and
           J. Carr (KDW) regarding rent relief (.3);
           review and comment on agenda for
           tomorrow's call (.1); instruction to M.
           McLoughlin (KDW) regarding same (.1);
           emails with M. Kuan (FTI) regarding
           presentation for tomorrow's call (.1); review
           same (.1); emails with M. McLoughlin
           (KDW) and M. Kuan (FTI) regarding
           committee update (.1); review FTI report (.2).
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
Client 027768
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March 31, 2020
Page 6



  Date    Description                                       Tkpr   Hours     Amount

03/24/20 Revise talking points (.3) and draft agenda        MJM       1.00     702.00
         (.2); emails with C. Zucker and M. Kuan (both
         FTI) regarding committee update and agenda
         (.1); follow up call with E. Wilson (KDW)
         regarding committee call (.2) and email
         committee (.2).
03/25/20 Call with S. Simms (FTI) regarding today's         ERW       1.60    1,346.40
         committee call (.3); conduct today's call (.7);
         follow-up call (.3) and emails (.2) with S.
         Simms (FTI), K. Carson (Realty) and C.
         Marshall (Coca-Cola) regarding same next
         steps; update to committee regarding clams
         bar date (.1).
03/25/20 Participate in professionals call preparatory to   MJM       1.40     982.80
         UCC call (.3); participate in UCC call (.7) and
         follow up call with C. Marshall (Coke) and K.
         Carson (RIC) (.4).
03/31/20 Emails to M. McLoughlin (KDW) regarding            ERW       0.20     168.30
         cancellation of tomorrow's call.
03/31/20 Draft committee update cancelling call.            MJM       0.30     210.60
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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Krystal Company Committee
Client 027768
Matter 0011
March 31, 2020
Page 7




Total Original Fees for this Matter:                                                 $27,683.00

Less 10% Discount:                                                                    $2,768.30

Total Fees Due:                                                                      $24,914.70

Total For This Matter:                                                               $24,914.70
Total this Invoice                                                                   $24,914.70
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 390 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
March 31, 2020
Page 8




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                        12.20         841.50         $10,266.30
KGH           Hines, Kayci                         2.80         468.00           1,310.40
MJM           McLoughlin, Maeghan J               19.00         702.00          13,338.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786552

 027768           Krystal Company Committee
 0012             Business Operations


                                Account Summary and Remittance Form


Legal Services:                                                                                $9,450.00

Less 10% Discount:                                                                             ($945.00)

Total Fees Due:                                                                                $8,505.00

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $8,505.00

                        Terms: Payment Due on or Before April 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     March 31, 2020
                                                                                Invoice No. 2786552

Client 027768
Matter 0012 Business Operations

Attorney: 01118                                                                                  Page 1

  Date   Description                                      Tkpr   Hours     Amount

03/05/20 Review schedules (.9) and SOFAs (1.2);           MJM       2.60   $1,825.20
         review reporting arrangement between K.
         Schnuabelt and Province team (.3); follow up
         emails regarding same (.2).
03/06/20 Review amended OCP list for added locations      KGH       0.40     187.20
         (.2); phone call with M. McLoughlin (KDW)
         regarding same (.2).
03/09/20 Emails with L. Shermohammed (KS), M.             ERW       0.50     420.75
         McLoughlin (KDW) and S. Kulka (AG)
         regarding debtors' OCP request (.2); briefly
         review schedules (.3).
03/09/20 Review adequate assurance letter and deposit     MJM       0.60     421.20
         request (.2); review amended OCP list and
         emails with S. Kulka regarding same (.2);
         emails with L. Shermohammed (KS) regarding
         Edelman OCP declaration and review same
         (.2).
03/10/20 Emails with M. McLoughlin (KDW) and S.           ERW       0.20     168.30
         Kulka (AG) regarding OCPs, claim waivers.
03/10/20 Phone conference with L. Shermohammed            KGH       0.60     280.80
         (K&S) regarding proposed OCP, Edelman,
         retention (.2); review bankruptcy code 327 (a)
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    HOUSTON                                         BRUSSELS




Krystal Company Committee
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Page 2



  Date     Description                                        Tkpr   Hours     Amount

           in connection with same (.2); review
           declaration in support of Edelman retention
           (.2)
03/10/20   Emails with S. Kulka (AGG) and E. Wilson           MJM       0.40     280.80
           (KDW) regarding additional OCPs (.2); emails
           with M. Kuan and E. Wilson (KDW)
           regarding financial report (.2).
03/11/20   Email from M. Kuan (FTI) regarding financial       ERW       0.70     589.05
           report (.1); review same (.3); instruction to M.
           McLoughlin (KDW) regarding same (.1);
           review revised report (.2).
03/11/20   Email to M. McLoughlin regarding signoff on        KGH       0.40     187.20
           OCP (.2); email to L. Shermohammed (K&S)
           regarding same (.2).
03/11/20   Review FTI materials on budget variances,          MJM       0.70     491.40
           schedules/SOFA review (.5); emails with M.
           Kuan (FTI) regarding additional changes (.2).
03/12/20   Emails from J. Simpson (AM) regarding              ERW       0.30     252.45
           weekly cash report (.1); review report (.2).
03/16/20   Update from S. Kulka (AG) regarding                ERW       0.90     757.35
           disposition of call with J. Tibus (AM) (.2);
           conference call with M. McLoughlin (KDW),
           S. Kulka (AG) and C. Zucker (FTI) regarding
           same (.5); emails with M. Kuan (FTI)
           regarding cash report (.2).
03/16/20   Call with FTI and AGG teams to discuss sales,      MJM       0.50     351.00
           sale process, and cash flow.
03/18/20   Confer with E. Wilson on case status (.1);         MJM       0.20     140.40
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Krystal Company Committee
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  Date     Description                                     Tkpr   Hours     Amount

           emails with S Border (KS) regarding financing
           and sales (.1).
03/19/20   Emails with J. Simpson (AM) regarding           ERW       0.40     336.60
           weekly cash report (.1); review same (.2);
           forward to C. Zucker (FTI) with inquiry (.1).
03/19/20   Analyze DIP variance reports.                   MJM       0.30     210.60
03/20/20   Emails with S. Borders (KS), E. Wilson          MJM       0.30     210.60
           (KDW), and S. Kulka (AGG) regarding sales
           and cash collateral budget.
03/23/20   Email from M. Kuan (FTI) regarding A&M          ERW       0.40     336.60
           report regarding cash flow, business update
           (.1); review report (.3).
03/23/20   Review A&M sales and operations report (.5);    MJM       0.70     491.40
           emails with M. Kuan (FTI) and E. Wilson
           (KDW) regarding royalty payments to affiliate
           (.2).
03/24/20   Review status of Debtors payment of monthly     KGH       0.20      93.60
           rent for impact on cases.
03/24/20   Review (.1) and comment on (.2) FTI weekly      MJM       0.30     210.60
           report of business operations.
03/26/20   Email from J. Simpson (AM) regarding            ERW       0.20     168.30
           weekly cash report (.1); forward to FTI with
           instruction (.1).
03/31/20   Review status of sale and debtors budget for    KGH       0.20      93.60
           impact on cases.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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Krystal Company Committee
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Page 4




Total Original Fees for this Matter:                                                  $9,450.00

Less 10% Discount:                                                                      $945.00

Total Fees Due:                                                                       $8,505.00

Total For This Matter:                                                                $8,505.00
Total this Invoice                                                                    $8,505.00
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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Krystal Company Committee
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Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         3.60         841.50              $3,029.40
KGH           Hines, Kayci                         1.80         468.00                 842.40
MJM           McLoughlin, Maeghan J                6.60         702.00               4,633.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786553

 027768           Krystal Company Committee
 0013             Court Hearings


                                Account Summary and Remittance Form


Legal Services:                                                                              $25,498.50

Less 10% Discount:                                                                           ($2,549.85)

Total Fees Due:                                                                              $22,948.65

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $22,948.65

                        Terms: Payment Due on or Before April 30, 2020
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 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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c/o James Carr
101 Park Avenue
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Client 027768
Matter 0013 Court Hearings

Attorney: 01118                                                                                  Page 1

  Date   Description                                    Tkpr     Hours     Amount

03/01/20 Emails to M. McLoughlin (KDW) regarding           ERW      2.20   $1,851.30
         hearing outline (.2); calls with S. Borders (KS)
         (.3), S. Kulka (AG) (.5) and C. Zucker (FTI)
         (.4) regarding Tuesday's hearing, open items;
         review and revise hearing outline (.8).
03/02/20 Call with M. McLoughlin (KDW), S. Kulka           ERW      7.60    6,395.40
         (AG), C. Zucker and M. Kuan (both of FTI)
         regarding open issues for Tuesday's hearing,
         next steps (.8); follow-up calls (2x) with S.
         Kulka (AG) regarding same (.5); emails with
         P. Rosenblatt (KT) regarding tomorrow's
         hearing, solvency (.2); review and comment
         on update to committee regarding tomorrow's
         hearing (.2); further review and revise talking
         points for tomorrow's hearing (1.4); review the
         following preparatory to tomorrow's hearing:
         committee cash collateral objection (.3), WFB
         cash collateral objection (.3), latest budget
         (.3), latest bid procedures (.2), cash collateral
         order (.2) and further revised third interim
         order (.3); travel to Atlanta for hearing (2.9).
03/02/20 Call with E. Wilson (KDW), S. Kulka (AGG), MJM             1.40     982.80
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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Krystal Company Committee
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  Date     Description                                      Tkpr   Hours     Amount

           and C. Zucker (FTI) regarding open items for
           March 3 hearing (.8); follow up call with S.
           Kulka (AGG) regarding March 3 hearing (.3);
           draft talking points for March 3 hearing (.3).
03/03/20   Prepare for (1.4) and attend (2.9) omnibus       ERW      11.10    9,340.65
           hearing; follow-up meeting with S. Kulka
           (AG), WFB counsel and debtors' counsel
           regarding revised bid and cash collateral
           orders (1.2); follow-up call with M.
           McLoughlin (KDW) regarding disposition of
           hearing and next steps (.2); emails with S.
           Kulka (AG) regarding hearing transcript (.2);
           return travel to New York (5.2).
03/03/20   Prepare for (.2) and participate in contested    MJM       2.70    1,895.40
           hearing (2.2); follow up conference with E.
           Wilson (KDW) regarding hearing outcome
           (.3).
03/04/20   Telephone calls with C. Zucker (FTI) (.2), S.    ERW       0.40     336.60
           Kulka (AG) (.2) regarding yesterday's hearing,
           budget, next steps.
03/05/20   Further emails with S. Kulka (AG) regarding      ERW       0.20     168.30
           hearing transcript.
03/06/20   Telephone calls with L. Fiorenza (BC) (.3) and   ERW       0.60     504.90
           C. Marshall (Coca-Cola) (.3) regarding
           disposition of hearing, next steps.
03/13/20   Emails with L. Shermohammed (KS), D.             ERW       0.20     168.30
           Laddin (AG) and M. McLoughlin (KDW)
           regarding telephonic appearance next week.
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Krystal Company Committee
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  Date   Description                                      Tkpr   Hours     Amount

03/16/20 Review agenda for hearing (.1); emails with E.   MJM       0.30     210.60
         Wilson regarding hearing (.2).
03/17/20 Review bar date papers preparatory to today's    ERW       0.70     589.05
         hearing (.3); participate telephonically on
         today's hearing (.2); follow-up call with M.
         McLoughlin (KDW) regarding next steps,
         UCC update (.2).
03/24/20 Email from S. Kulka (AG) regarding               ERW       0.10      84.15
         rescheduling hearing.
03/24/20 Emails with S. Kulka regarding updated           MJM       0.20     140.40
         hearing time and update calendar.
03/30/20 Emails with E. Wilson (KDW) regarding            MJM       0.40     280.80
         April 1 hearing (.2) and begin preparation for
         same (.2).
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Krystal Company Committee
Client 027768
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March 31, 2020
Page 4




Total Original Fees for this Matter:                                                 $25,498.50

Less 10% Discount:                                                                    $2,549.85

Total Fees Due:                                                                      $22,948.65

Total For This Matter:                                                               $22,948.65
Total this Invoice                                                                   $22,948.65
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0013
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Page 5




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                        23.10         841.50         $19,438.65
MJM           McLoughlin, Maeghan J                5.00         702.00           3,510.00




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 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786554

 027768           Krystal Company Committee
 0014             Relief From Stay/Adequate Protection


                                Account Summary and Remittance Form


Legal Services:                                                                                  $499.00

Less 10% Discount:                                                                               ($49.90)

Total Fees Due:                                                                                  $449.10

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $449.10

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 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                  March 31, 2020
                                                                             Invoice No. 2786554

Client 027768
Matter 0014 Relief From Stay/Adequate Protection

Attorney: 01118                                                                                Page 1

  Date   Description                                  Tkpr     Hours     Amount

03/16/20 Emails with S. Kulka (AG) and J. Dutson         ERW      0.20    $168.30
         (KS) regarding Plair's lift stay motion.
03/16/20 Review Plair stay relief motion (.3) and emails MJM      0.40     280.80
         with S. Kulka (AGG) regarding same (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0014
March 31, 2020
Page 2




Total Original Fees for this Matter:                                                    $499.00

Less 10% Discount:                                                                        $49.90

Total Fees Due:                                                                         $449.10

Total For This Matter:                                                                  $449.10
Total this Invoice                                                                      $449.10
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0014
March 31, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.20         841.50              $168.30
MJM           McLoughlin, Maeghan J                0.40         702.00               280.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       March 31, 2020
                                                                                  Invoice No. 2786555

 027768           Krystal Company Committee
 0019             Meetings/Communications with Debtors


                                Account Summary and Remittance Form


Legal Services:                                                                                $2,665.50

Less 10% Discount:                                                                             ($266.55)

Total Fees Due:                                                                                $2,398.95

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $2,398.95

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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
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 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        March 31, 2020
                                                                                   Invoice No. 2786555

Client 027768
Matter 0019 Meetings/Communications with Debtors

Attorney: 01118                                                                                     Page 1

  Date    Description                                        Tkpr   Hours     Amount

03/01/20 Emails with S. Borders (KS) regarding status        ERW       0.20    $168.30
         call (.1); emails from S. Willet (ML), S. Kulka
         (AG) and R. Williamson (SW) regarding open
         issues (.1).
03/18/20 Emails with S. Borders (KS) regarding case          ERW       0.20     168.30
         status.
03/18/20 Emails with S. Borders regarding case status,       MJM       0.20     140.40
         scheduling conference call.
03/19/20 Further emails with S. Borders (KS) regarding       ERW       0.20     168.30
         case status.
03/20/20 Further emails with S. Borders (KS) regarding       ERW       0.20     168.30
         status.
03/23/20 Prepare issues list for today's call with S.        ERW       1.30    1,093.95
         Borders (KS) (.3); conference call with M.
         McLoughlin (KDW) and S. Borders (KS)
         regarding status, next steps (.4); follow-up call
         with M. McLoughlin (KDW) regarding same
         (.3); emails with M. Kuan and C. Zucker (both
         of FTI) regarding same (.3).
03/23/20 Calls with E. Wilson (KDW) and S, Borders           MJM       0.70     491.40
         (KS) regarding sale process, impact of
         coronavirus (.4); follow up conference with E.
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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Krystal Company Committee
Client 027768
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Page 2



  Date   Description                                Tkpr      Hours     Amount

         Wilson (KDW) (.3).
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
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March 31, 2020
Page 3




Total Original Fees for this Matter:                                                  $2,665.50

Less 10% Discount:                                                                      $266.55

Total Fees Due:                                                                       $2,398.95

Total For This Matter:                                                                $2,398.95
Total this Invoice                                                                    $2,398.95
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0019
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Page 4




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         2.10         841.50              $1,767.15
MJM           McLoughlin, Maeghan J                0.90         702.00                 631.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
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 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
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                            Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                 Desc Main
                                                         Document    Page 412 of 749
                                                           KELLEY DRYE & WARREN LLP
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RUN DATE: April 2, 2020 17:10:37                              DATE THRU: March 31, 2020                                                          Page: 1
Billing Timekeeper: 01118 - Carr, James S                                                                 Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1697520                                                                                                                 FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration




c/o James Carr
101 Park Avenue
New York, NY 10128


                                                          Other Charges/Disbursements
                                                                                                                   Bill
 Atty ID    Attorney               Date         Description                                                      Amount          Disp.       Disb Id
                                   03/02/20     Duplication                                                             90.60   H T W         8667015

                                   03/09/20     Duplication                                                              7.60   H T W         8668076

                                   03/16/20     Duplication                                                              1.40   H T W         8669242

 07383      McLoughlin , M.J.      03/09/20     VENDOR: CourtCall, LLC-6383 Arizona Circle INVOICE#:                    72.00   H T W         8667917
                                                CCDA072481-3-9-20 DATE: 3/9/2020
                                                Telephonic Court Appearance (CCID #10420312, )/
                                                Telephone
 04057      Vicinanza , M.M.       03/09/20     FEDEX Invoice # 695143894 027768-0001 SHIPPED ON                        27.68   H T W         8669556
                                                03/02/2020 FROM: Marie Vicinanza 29th Floor NEW YORK
                                                NY 10178, TO: Amber Deese, Arnall Golden Gregory LLP,
                                                171 17th Street NW Suite 2100 ATLANTA, GA 30363
                                                USCourier
 05395      Wilson , E.R.          03/02/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                     536.20   H T W         8670246
                                                DATE: 3/23/2020
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/02/20;
                                                Flight to Atlanta to attend omnibus hearing; 03/02/2020 -
                                                03/03/2020; Atlanta/ Long Distance Travel
 05395      Wilson , E.R.          03/03/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                     238.70   H T W         8670247
                                                DATE: 3/23/2020
                            Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                   Desc Main
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                                                           KELLEY DRYE & WARREN LLP
                                              ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: April 2, 2020 17:10:37                               DATE THRU: March 31, 2020                                                           Page: 2
Billing Timekeeper: 01118 - Carr, James S                                                                   Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1697520                                                                                                                   FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration

                                                          Other Charges/Disbursements
                                                                                                                     Bill
 Atty ID    Attorney               Date         Description                                                        Amount          Disp.       Disb Id
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/03/20;
                                                Flight to NY from Atlanta after attending omnibus hearing
                                                (since there were delays with the flight to Westchester, Eric
                                                flew into LaGuardia - fare price was same as Westchester);
                                                03/02/2020 - 03/03/2020; Atlanta/NY/ Long Distance Travel
 05395      Wilson , E.R.          03/02/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                        38.52   H T W         8670250
                                                DATE: 3/23/2020
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/02/20;
                                                Cab from Atlanta airport to hotel in connection with attending
                                                omnibus hearing; Airport/Hotel/ Cab Service
 05395      Wilson , E.R.          03/03/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                        31.89   H T W         8670251
                                                DATE: 3/23/2020
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/03/20;
                                                Cab from restaurant to airport in connection with attending
                                                omnibus hearing; To Atlanta Airport/ Cab Service
 05395      Wilson , E.R.          03/03/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                       144.00   H T W         8670252
                                                DATE: 3/23/2020
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/03/20;
                                                Cab from airport to home in connection with attending
                                                omnibus hearing; LGA/Home/ Cab Service
 05395      Wilson , E.R.          03/03/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                         9.62   H T W         8670249
                                                DATE: 3/23/2020
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/03/20;
                                                Meals in connection with attending omnibus hearing; Eric
                                                Wilson/ Meals
 05395      Wilson , E.R.          03/03/20     VENDOR: Wilson, Eric R. INVOICE#: 4094745203232108                       541.62   H T W         8670248
                                                DATE: 3/23/2020
                                                Attend omnibus hearing in AtlantaTransaction Date: 03/03/20;
                                                Hotel in Atlanta in connection with attending omnibus hearing;
                                                03/02/2020 - 03/03/2020; Twelve/ Lodging
                            Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                  Desc Main
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                                                           KELLEY DRYE & WARREN LLP
                                              ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: April 2, 2020 17:10:37                              DATE THRU: March 31, 2020                                                           Page: 3
Billing Timekeeper: 01118 - Carr, James S                                                                  Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1697520                                                                                                                  FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration

                                                          Other Charges/Disbursements
                                                                                                                    Bill
 Atty ID    Attorney               Date         Description                                                       Amount          Disp.       Disb Id
 05395      Wilson , E.R.          03/09/20     VENDOR: CT Lien Solutions INVOICE#: 03244299 DATE:                     360.40    H T W         8669058
                                                3/9/2020
                                                Search Fees re Krystal Holdings Inc., K-Square Acquisition Co
                                                LLC and The Krystal Company/ Search
                                                                                                      Totals:        $2,100.23
                        Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                                         KELLEY DRYE & WARREN LLP
                                            ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: April 2, 2020 17:10:37                          DATE THRU: March 31, 2020                                                Page: 4
Billing Timekeeper: 01118 - Carr, James S                                                   Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1697520                                                                                                   FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration



            Other Charges Summary                              Amount Disp

 000203     Duplication                                            99.60   H   T   W
 000204     Telephone                                              72.00   H   T   W
 000206     Courier                                                27.68   H   T   W
 000212     Long Distance Travel                                  774.90   H   T   W
 000225     Cab Service                                           214.41   H   T   W
 000226     Meals                                                   9.62   H   T   W
 000247     Lodging                                               541.62   H   T   W
 000248     Search                                                360.40   H   T   W
            Total                                               2,100.23
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              Kelley Drye & Warren LLP Total March 2020 Fees & Expenses Due


     Total March Fees Due:                                       $146,493.90
     Total February Expenses Due:                                  $2,100.23
     Total February Fees and Expenses Due:                       $148,594.13


               Kelley Drye & Warren LLP Payment Informati on – Wire or ACH


     Bank Name:                                  JP Morgan Chase Bank, N.A.
     ABA No.:                                                   021-000-021

     Bank Address:                                         270 Park Avenue
                                                        New York, NY 10017
     Account Name:                                 Kelley Drye & Warren LLP
     Account No.:                                                135046110
     SWIFT Code:                                                 CHASUS33




 4826-2005-0359v.3
Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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       Kelley Drye & Warren LLP March 2020 Fee Summary Breakdown By Matter

  Matter 0001: Case Administration
     Timekeeper Code                 Timekeeper             Hours      Amount
            ERW              Wilson, Eric R.                 0.7       $589.05
            M JM             M cLoughlin, M aeghan J.        0.5       $351.00
  Totals for Matter 0001: Case Administration                1.2       $940.05

  Matter 0003: Retention Matters (Applications & Objections)
     Timekeeper Code                 Timekeeper              Hours     Amount
             JSC             Carr, James S.                   1.7     $1,453.50
            ERW              Wilson, Eric R.                  0.5      $420.75
            M JM             M cLoughlin, M aeghan J.         1.3      $912.60
            KGH              Hines, Kayci G.                  5.0     $2,340.00
            MMV              Vicinanza, M arie M .            0.3      $82.35
  Totals for Matter 0003: Retention Matters                   8.8     $5,209.20

  Matter 0004: Fee Matters (Applications & Objections)
     Timekeeper Code                Timekeeper              Hours       Amount
            ERW                    Wilson, Eric R.            3.6      $3,029.40
            M JM               M cLoughlin, M aeghan J.       6.5      $4,563.00
            KGH                    Hines, Kayci G.            6.3      $2,948.40
            MMV                 Vicinanza, M arie M .         4.1      $1,125.45
  Totals for Matter 0004: Fee Matters                        20.5     $11,666.25

  Matter 0005: Financing and Cash Collateral
     Timekeeper Code                 Timekeeper             Hours       Amount
            ERW              Wilson, Eric R.                 29.7     $24,992.55
             BDF             Feder, Benjamin D.              11.0      $7,870.50
            M JM             M cLoughlin, M aeghan J.        29.6     $20,779.20
            DM K             Kubel, Diane M                   0.9       $247.05
  Totals for Matter 0005: Financing and Cash Collateral      71.2     $53,889.30

  Matter 0006: Asset Analysis, Recovery and Disposition
     Timekeeper Code                 Timekeeper             Hours      Amount
            ERW              Wilson, Eric R.                 4.5      $3,786.75
            M JM             M cLoughlin, M aeghan J.        3.9      $2,737.80
            KGH              Hines, Kayci G.                 1.4       $655.20
  Totals for Matter 0006:
  Asset Analysis, Recovery and Disposition                   9.8      $7,179.75

  Matter 0007: Executory Contracts and Leases
     Timekeeper Code                Timekeeper              Hours      Amount
            ERW             Wilson, Eric R.                  1.4      $1,178.10
            M JM            M cLoughlin, M aeghan J.         0.5       $351.00
  Totals for Matter 0007:
  Executory Contracts and Leases                             1.9      $1,529.10




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  Matter 0009: Claims Administration, Analysis & Objection
     Timekeeper Code               Timekeeper                Hours     Amount
            ERW            Wilson, Eric R.                    1.9     $1,598.85
            M JM           M cLoughlin, M aeghan J.           3.5     $2,457.00
            KGH            Hines, Kayci G.                    6.0     $2,808.00
  Totals for Matter 0009:
  Claims Administration, Analysis & Objection                11.4     $6,863.85

  Matter 0011: Committee and Creditor Communications
     Timekeeper Code               Timekeeper                Hours      Amount
            EWR            Wilson, Eric R.                    12.2    $10,266.30
            M JM           M cLoughlin, M aeghan J.           19.0    $13,338.00
            KGH            Hines, Kayci G.                     2.8     $1,310.40
  Totals for Matter 0011:
  Committee and Creditor Communications                      34.0     $24,914.70

  Matter 0012: Business Operations
     Timekeeper Code                 Timekeeper              Hours     Amount
            ERW              Wilson, Eric R.                   3.6    $3,029.40
            M JM             M cLoughlin, M aeghan J.          6.6    $4,633.20
            KGH              Hines, Kayci G.                   1.8     $842.40
  Totals for Matter 0012: Business Operations                 12.0    $8,505.00

  Matter 0013: Court Hearings
     Timekeeper Code                Timekeeper               Hours      Amount
            ERW             Wilson, Eric R.                   23.1    $19,438.65
            M JM            M cLoughlin, M aeghan J.           5.0     $3,510.00
  Totals for Matter 0013: Court Hearings                      28.1    $22,948.65

  Matter 0014: Relief From S tay/Adequate Protection
     Timekeeper Code                 Timekeeper              Hours     Amount
            ERW              Wilson, Eric R.                  0.2      $168.30
            M JM             M cLoughlin, M aeghan J.         0.4      $280.80
  Totals for Matter 0014:
  Relief From S tay/Adequate Protection                       0.6      $449.10

  Matter 0019: Meetings/Communications with Debtors
     Timekeeper Code             Timekeeper                  Hours     Amount
            ERW                 Wilson, Eric R.               2.1     $1,767.15
            M JM            M cLoughlin, M aeghan J.          0.9      $631.80
  Totals for Matter 0019:
  Meetings/Communications with Debtors                        3.0     $2,398.95




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                     Kelley Drye & Warren LLP March 2020 Expense Breakdown


                 Courier                                          $27.68
                 Duplication                                      $99.60
                 Lodging                                         $541.62
                 Travel                                          $989.31
                 Meals                                             $9.62
                 UCC/Lien Search                                 $360.40
                 Telephone                                        $72.00
                 Total Expenses:                               $2,100.23




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              Kelley Drye & Warren LLP Total April 2020 Fees & Expenses Due


    Total April Fees Due:                                       $122,505.30
    Total April Expenses Due:                                         $0.00
    Total April Fees and Expenses Due:                          $122,505.30


               Kelley Drye & Warren LLP Payment Information – Wire or ACH


    Bank Name:                                   JP Morgan Chase Bank, N.A.
    ABA No.:                                                   021-000-021
                                                           270 Park Avenue
    Bank Address:
                                                        New York, NY 10017
    Account Name:                                  Kelley Drye & Warren LLP
    Account No.:                                                 135046110
    SWIFT Code:                                                 CHASUS33




4836-7682-7323v.2
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       Kelley Drye & Warren LLP April 2020 Fee Summary Breakdown By Matter

 Matter 0002: Pleadings Review
    Timekeeper Code                 Timekeeper              Hours    Amount
           ERW              Wilson, Eric R.                  0.8     $673.20
            MJM             McLoughlin, Maeghan J.           1.1     $772.20
            KGH             Hines, Kayci G.                  0.2      $93.60
 Totals for Matter 0001: Pleadings Review                    2.1    $1,539.00


 Matter 0004: Fee Matters (Applications & Objections)
    Timekeeper Code                 Timekeeper              Hours    Amount
           ERW              Wilson, Eric R.                  1.5    $1,262.25
            MJM             McLoughlin, Maeghan J.           1.3     $912.60
            KGH             Hines, Kayci G.                  4.0    $1,872.00
           MMV              Vicinanza, Marie M.              2.3     $631.35
 Totals for Matter 0004: Fee Matters                         9.1    $4,678.20

 Matter 0005: Financing and Cash Collateral
    Timekeeper Code                 Timekeeper              Hours    Amount
           ERW              Wilson, Eric R.                  12.4   $10,434.60
            BDF             Feder, Benjamin D.               2.4    $1,717.20
            MJM             McLoughlin, Maeghan J.           11.2   $7,862.40
 Totals for Matter 0005: Financing and Cash Collateral       26.0   $20,014.20

 Matter 0006: Asset Analysis, Recovery and Disposition
    Timekeeper Code                 Timekeeper              Hours    Amount
           ERW              Wilson, Eric R.                  23.3   $19,606.95
            JRA             Adams, Jason R.                  18.0   $13,122.00
            MJM             McLoughlin, Maeghan J.           37.5   $26,325.00
            KGH             Hines, Kayci G.                  0.8     $374.40
 Totals for Matter 0006:
 Asset Analysis, Recovery and Disposition                   79.6    $59,428.35

 Matter 0007: Executory Contracts and Leases
    Timekeeper Code                Timekeeper               Hours    Amount
           ERW            Wilson, Eric R.                    1.0     $841.50
            MJM           McLoughlin, Maeghan J.             1.3     $912.60
            KGH           Hines, Kayci G.                    3.6    $1,684.80
           MMV            Vicinanza, Marie M.                0.1      $27.45
 Totals for Matter 0007:
 Executory Contracts and Leases                              6.0    $3,466.35

 Matter 0009: Claims Administration, Analysis & Objection
    Timekeeper Code                Timekeeper               Hours    Amount
           ERW             Wilson, Eric R.                   0.6     $504.90
            MJM            McLoughlin, Maeghan J.            0.3     $210.60
 Totals for Matter 0009:
 Claims Administration, Analysis & Objection                 0.9     $715.50


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Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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 Matter 0011: Committee and Creditor Communications
    Timekeeper Code               Timekeeper          Hours          Amount
           EWR            Wilson, Eric R.              10.7         $9,004.05
            JRA           Adams, Jason R.              0.3           $218.70
            MJM           McLoughlin, Maeghan J.       22.2         $15,584.40
            KGH           Hines, Kayci G.              1.2           $561.60
 Totals for Matter 0011:
 Committee and Creditor Communications                34.4          $25,368.75

 Matter 0012: Business Operations
    Timekeeper Code                 Timekeeper        Hours          Amount
           ERW              Wilson, Eric R.            1.4          $1,178.10
            MJM             McLoughlin, Maeghan J.     0.7           $491.40
 Totals for Matter 0012: Business Operations           2.1          $1,669.50

 Matter 0013: Court Hearings
    Timekeeper Code                 Timekeeper        Hours          Amount
           ERW              Wilson, Eric R.            5.1          $4,291.65
            MJM             McLoughlin, Maeghan J.     1.9          $1,333.80
 Totals for Matter 0013: Court Hearings                7.0          $5,625.45




4836-7682-7323v.2                             3
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789037

 027768           Krystal Company Committee
 0002             Pleadings Review


                                Account Summary and Remittance Form


Legal Services:                                                                                $1,710.00

Less 10% Discount:                                                                             ($171.00)

Total Fees Due:                                                                                $1,539.00

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $1,539.00

                        Terms: Payment Due on or Before May 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 424 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     April 30, 2020
                                                                               Invoice No. 2789037

Client 027768
Matter 0002 Pleadings Review

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

04/07/20 Review sale assumption notice for committee      KGH       0.20     $93.60
         member impact.
04/07/20 Emails with E. Wilson (KDW) on                   MJM       0.20     140.40
         tax/indemnity issue and hearing on stay relief
         motion.
04/08/20 Emails with M. McLoughlin (KDW) regarding        ERW       0.10      84.15
         critical upcoming dates.
04/08/20 Draft critical dates chart with April/May        MJM       0.20     140.40
         deadlines.
04/15/20 Emails with M. McLoughlin and K. Hines           ERW       0.20     168.30
         (both of KDW) regarding exclusivity and lease
         extensions.
04/15/20 Review exclusivity extension motion.             MJM       0.30     210.60
04/16/20 Review M. McLoughlin and K. Hines (both of       ERW       0.40     336.60
         KDW) regarding summary of exclusivity and
         lease extension motion; emails with S. Kulka
         (SG) and L. Shermohammed (KS) regarding
         Moses lift stay consent order (.1); briefly
         review same (.1).
04/26/20 Instruction to M. McLoughlin (KDW)               ERW       0.10      84.15
         regarding motion to terminate pension plan,
         Nashville bid.
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                             MUMBAI, INDIA
    CHICAGO                                   PARSIPPANY
    HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0002
April 30, 2020
Page 2



  Date   Description                                 Tkpr    Hours      Amount

04/26/20 Review distess termination motion.          MJM         0.40     280.80
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0002
April 30, 2020
Page 3




Total Original Fees for this Matter:                                                  $1,710.00

Less 10% Discount:                                                                      $171.00

Total Fees Due:                                                                       $1,539.00

Total For This Matter:                                                                $1,539.00
Total this Invoice                                                                    $1,539.00
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 427 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0002
April 30, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.80         841.50              $673.20
KGH           Hines, Kayci                         0.20         468.00                93.60
MJM           McLoughlin, Maeghan J                1.10         702.00               772.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 428 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789038

 027768           Krystal Company Committee
 0004             Fee Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                                $5,198.00

Less 10% Discount:                                                                             ($519.80)

Total Fees Due:                                                                                $4,678.20

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $4,678.20

                         Terms: Payment Due on or Before May 30, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 429 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     April 30, 2020
                                                                               Invoice No. 2789038

Client 027768
Matter 0004 Fee Matters (Applications & Objections)

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

04/01/20 Emails with M. McLoughlin and K. Hines           ERW       0.20    $168.30
         (both of KDW) regarding April fee statement.
04/01/20 Emails with M. McLoughlin (KDW) regarding        KGH       0.70     327.60
         timing of February fee statement (.2);
         instruction to M. Vicinanza (KDW) regarding
         same (.3); draft March cover letter for fees
         (.2).
04/02/20 Emails with M. Kuan (FTI) and D. Laddin          ERW       0.30     252.45
         (AG) regarding fee statement (.1); emails with
         K. Hines, M. Vicinanza and M. McLoughlin
         (all of KDW) regarding fee statement (.2).
04/02/20 Review status of fee statement finalization      KGH       0.90     421.20
         (.2); emails with E. Wilson and M.
         McLoughlin (both KDW) regarding same (.2);
         review fee worksheet for correctness and
         completeness (.5).
04/02/20 Emails with K. Hines and M. Vicinanza (both      MJM       1.30     912.60
         KDW) to discuss fee statement (.2); prepare
         invoices (.2); review invoices for redaction
         (.9).
04/02/20 Review March invoices (.3) prepare fee           MMV       1.10     301.95
         statement worksheet (.8)
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
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    HOUSTON                                     BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
April 30, 2020
Page 2



  Date   Description                                      Tkpr   Hours     Amount

04/03/20 Emails with K. Hines (KDW) and D. Laddin         ERW       0.40     336.60
         (AG) regarding April fee statement (.2);
         review fee statement prior to service (.2).
04/03/20 Emails (2x) with M. Vicinanza (KDW)              KGH       2.00     936.00
         regarding timing of fee summary completion
         (.4); emails with M. McLoughlin and E.
         Wilson (2x) (both of KDW) regarding
         preparations for finalizing March fee
         statement (.4); revise fee summary (.7); email
         to S. Kulka (AG) with KDW March fee
         statement for service (.2); review case
         regarding fee statement objection deadline
         (.2); calendar objection deadline (.1).
04/03/20 Prepare 2nd fee statement (March) exhibit.       MMV       1.20     329.40
04/26/20 Emails with D. Laddin and S, Kulka (both of      ERW       0.40     336.60
         AG), C. Zucker (FTI) and S. Kulka regarding
         fee estimate for carve-out.
04/28/20 Emails to M. McLoughlin and M. Vicinanza         ERW       0.20     168.30
         (both of KDW) regarding May fee statement.
04/29/20 Emails with M. McLoughlin (KDW) regarding        KGH       0.40     187.20
         timing for filing third monthly fee statement
         (.2); instruction to M. Vicinanza (KDW)
         regarding preparations for same (.2).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
Client 027768
Matter 0004
April 30, 2020
Page 3




Total Original Fees for this Matter:                                                  $5,198.00

Less 10% Discount:                                                                      $519.80

Total Fees Due:                                                                       $4,678.20

Total For This Matter:                                                                $4,678.20
Total this Invoice                                                                    $4,678.20
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0004
April 30, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.50         841.50              $1,262.25
KGH           Hines, Kayci                         4.00         468.00               1,872.00
MJM           McLoughlin, Maeghan J                1.30         702.00                 912.60
MMV           Vicinanza, Marie M                   2.30         274.50                 631.35




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                  KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                           AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         April 30, 2020
                                                                                   Invoice No. 2789039

 027768           Krystal Company Committee
 0005             Financing and Cash Collateral


                                Account Summary and Remittance Form


Legal Services:                                                                               $22,238.00

Less 10% Discount:                                                                            ($2,223.80)

Total Fees Due:                                                                               $20,014.20

Disbursements and Other Charges:                                                                     $0.00

                            Total Amount Due:                                                $20,014.20

                         Terms: Payment Due on or Before May 30, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                   PAYMENT BY CHECK:
 ABA #: 021-000-021                                            KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                          ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                        101 PARK AVENUE
 ACCOUNT #:135-046110                                          NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER             (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                      PARSIPPANY
     HOUSTON                                       BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         April 30, 2020
                                                                                   Invoice No. 2789039

Client 027768
Matter 0005 Financing and Cash Collateral

Attorney: 01118                                                                                     Page 1

  Date    Description                                        Tkpr   Hours     Amount

04/01/20 Draft email to debtors' counsel regarding           BDF       0.50    $357.75
         DACA agreements (.3); confer with E. Wilson
         (KDW) regarding same (.2).
04/01/20 Review proposed revised form of order (.1);         ERW       0.30     252.45
         emails with M. McLoughlin (KDW) and S.
         Kulka (AG) regarding lien review memo and
         second lien review (.2).
04/01/20 Review 3rd interim cash collateral order for        MJM       2.50    1,755.00
         challenge provisions (.2); call with R. Dorsey
         (PH) regarding same (.1); research scope of
         debtors' obligations (.9) and summarize same
         (.5); revise (.5) and finalize lien memo (.3).
04/02/20 Begin draft of lender stipulation for excluded      MJM       0.30     210.60
         collateral.
04/03/20 Email from R. Williamson (SW) regarding             ERW       0.70     589.05
         debtors' lien analysis (.1); review debtor's lien
         analysis (.3); emails with S. Kulka (AG) and
         M. McLoughlin (KDW) regarding same (.3).
04/03/20 Review case law on                                  MJM       1.10     772.20
                   (.4) and emails with E. Wilson
         (KDW) regarding same (.1); review and
         analyze debtors' statement on lenders' lien (.5);
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


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    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 2



  Date    Description                                        Tkpr   Hours     Amount

         follow up emails with E. Wilson (KDW) (.1).
04/06/20 Review memo from debtor's counsel regarding         BDF       0.60     429.30
         lien analysis (.3); analysis of issues regarding
         same (.3).
04/06/20 Conference call with C. Zucker (FTI)                ERW       0.60     504.90
         regarding NOLs, exclusion from liens, APA
         (.4); follow-up call with M. McLoughlin
         (KDW) regarding same (.2).
04/06/20 Further analyze debtors' statement regarding        MJM       0.80     561.60
         lenders liens (.4) and compare DACA
         schedule to schedules (.3); follow up with E.
         Wilson (KDW) regarding same (.1).
04/07/20 Conference call with E. Wilson (KDW), D.            BDF       1.30     930.15
         Laddin and S. Kulka (both of AG) regarding
         lien analysis (1.0); review Scraggins memo
         regarding same (.3).
04/07/20 Emails with S. Kulka (AG) regarding further         ERW       1.80    1,514.70
         lien analysis, NOLs, next steps (.2); review
         research regarding                          (.2);
         emails with M. McLoughlin (KDW) regarding
         same (.2); conference call with B. Feder, M.
         McLoughlin (both of KDW), D. Laddin and S.
         Kulka (both of AG) regarding bank lien (1.0);
         follow up call with M McLoughlin (KDW)
         regarding same (.2).
04/07/20 Call with E. Wilson, B. Feder (both KDW)            MJM       1.90    1,333.80
         and D. Laddin and S. Kulka (both AG)
         regarding debtors' statement on lender liens
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                    KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
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    CHICAGO                                      PARSIPPANY
    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 3



  Date     Description                                      Tkpr   Hours     Amount

           (1.0); follow up call with E. Wilson (KDW)
           regarding same (.2); research             and
           send same to E. Wilson (KDW) (.7).
04/08/20   Emails with M. McLoughlin (KDW) and C.           ERW       0.40     336.60
           Zucker (FTI) regarding budget (.1); emails
           with S. Kulka (AG) regarding
           research (.3).
04/08/20   Review prior cash collateral order (.1) and      MJM       0.20     140.40
           emails with C. Zucker (FTI) regarding next
           budget (.1).
04/10/20   Emails with D. Laddin and S. Kulka (both of      ERW       0.40     336.60
           AG) regarding adequate protection issues (.2);
           emails with D. Laddin (AG) regarding
           demand, standing (.2).
04/10/20   Review sample standing motions (.2 and           MJM       0.40     280.80
           demand letters (.2) and send to S. Kulka and
           D. Laddin (both AG).
04/13/20   Multiple emails with D. Laddin and S. Kulka      ERW       1.80    1,514.70
           (both of AG), M. McLoughlin (KDW) and R.
           Williamson (SW) regarding further extension
           of cash collateral (1.2); emails with M.
           McLoughlin (KDW) and M. Kuan (FTI)
           regarding 5-week budget (.2); review same
           and detail (.4).
04/14/20   Confer with M. McLoughlin (KDW) regarding        ERW       1.80    1,514.70
           cash collateral budget, hearing (.2); emails
           with M. McLoughlin (KDW), S. Kulka (AG),
           R. Williamson (SW) and M. Kuan (FTI)
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                    KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 4



  Date     Description                                      Tkpr   Hours     Amount

           regarding budget, April rent (.5); emails with
           S. Kulka, D. Laddin (both of AG) and R.
           Dorsey (PH) regarding stipulated cash
           collateral order (.3); review and comment on
           same, reservation (.2); email from D. Laddin
           (AG) regarding standing motion (.1); initial
           review of same (.3); instruction to M.
           McLoughlin (KDW) regarding same (.1);
           review revised budget (.1).
04/14/20   Review interim budget (.3) and related backup    MJM       1.60    1,123.20
           (.2); emails with C. Zucker (FTI) regarding
           rent payments, budget concerns (.2); call with
           E. Wilson regarding updated budget (.2);
           review stipulation resolving cash collateral
           order (.2); review standing motion (.4) and
           emails with D. Laddin (AG) (.1) regarding
           same.
04/15/20   Emails with R. Williamson (SW), R. Dorsey        ERW       1.20    1,009.80
           (PH) and S. Kulka (AG) regarding stipulated
           order and budget, committee signoff (.8);
           emails with M. McLoughlin (KDW) regarding
           revisions to standing motion (.2); preliminary
           review of same (.2).
04/15/20   Emails with E. Wilson (KDW) regarding            MJM       0.20     140.40
           changes to standing motion.
04/16/20   Review revised motion for standing (.3);         ERW       0.50     420.75
           emails with S. Kulka (AG) and M.
           McLoughlin (KDW) regarding same (.2).
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 5



  Date   Description                                       Tkpr   Hours     Amount

04/16/20 Analyze standing motion (.4); call with S.        MJM       1.30     912.60
         Kulka (AG) regarding same (.2); draft
         committee update on same (.2); make
         additional changes to standing motion before
         sending to Committee (.2) and emails with S.
         Kulka (AG) regarding same (.1); review DIP
         variance report (.2).
04/17/20 Further emails with S. Kulka (AG) regarding       ERW       0.30     252.45
         standing motion (.1); review revised motion
         (.2).
04/20/20 Emails with S. Kulka (AG) regarding standing      ERW       0.20     168.30
         motion.
04/20/20 Revise (.3), finalize (.2) standing motion.       MJM       0.50     351.00
04/21/20 Emails with J. Adams and M. McLoughlin            ERW       0.50     420.75
         (both of KDW) regarding APA revisions,
         administrative liabilities.
04/28/20 Email with M. Kuan (FTI) regarding two week       ERW       0.20     168.30
         budget (.1); review same (.1).
04/28/20 Review updated cash collateral budget.            MJM       0.20     140.40
04/29/20 Emails with S. Borders (KS), S. Kulka (AG),       ERW       0.80     673.20
         R. Williamson (SW) and C. Zucker (FTI)
         regarding latest budget (.3); emails with S.
         Kulka (AG), A. Ray (SW) and J. Edwards
         (AB) regarding stipulated cash collateral order
         (.4); review same (1).
04/29/20 Review budget and cash collateral stipulation.    MJM       0.20     140.40
04/30/20 Further emails with A. Ray (KS), M.               ERW       0.90     757.35
         McLoughlin (KDW) and S. Edwards (AB)
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 439 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                         AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                          MUMBAI, INDIA
    CHICAGO                                       PARSIPPANY
    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 6



  Date   Description                                        Tkpr   Hours   Amount

         regarding final revised cash collateral order
         (.3); review stipulated final order (.1); emails
         with S. Edwards (AB), J. Dutson (KS), M.
         McLoughlin (KDW) regarding 9019 motion
         (.2); review same (.2); instruction to M.
         McLoughlin (KDW) regarding same (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 7




Total Original Fees for this Matter:                                                 $22,238.00

Less 10% Discount:                                                                    $2,223.80

Total Fees Due:                                                                      $20,014.20

Total For This Matter:                                                               $20,014.20
Total this Invoice                                                                   $20,014.20
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 441 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0005
April 30, 2020
Page 8




Tkpr          Timekeeper                         Hours            Rate               Amount

BDF           Feder, Benjamin D                    2.40         715.50              $1,717.20
ERW           Wilson, Eric                        12.40         841.50              10,434.60
MJM           McLoughlin, Maeghan J               11.20         702.00               7,862.40




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 442 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789045

 027768           Krystal Company Committee
 0006             Asset Analysis, Recovery and Disposition


                                Account Summary and Remittance Form


Legal Services:                                                                              $66,031.50

Less 10% Discount:                                                                           ($6,603.15)

Total Fees Due:                                                                              $59,428.35

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $59,428.35

                         Terms: Payment Due on or Before May 30, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
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     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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     CHICAGO                                      PARSIPPANY
     HOUSTON                                       BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789045

Client 027768
Matter 0006 Asset Analysis, Recovery and Disposition

Attorney: 01118                                                                                    Page 1

  Date    Description                                        Tkpr   Hours     Amount

04/13/20 Emails with M. McLoughlin (KDW) and C.              ERW       0.70    $589.05
         Zucker (FTI) regarding latest budget, sale
         process (.2); confer (.2) and emails (.2) with J.
         Feldsher (ML) regarding sale status; update to
         M. McLoughlin (KDW) (.1).
04/13/20 Emails with C. Zucker (FTI) on status of sale       MJM       0.20     140.40
         process.
04/14/20 Emails with S. Kulka (AG) and C. Zucker             MJM       0.20     140.40
         (FTI) regarding sale process.
04/16/20 Emails with K. Carson (RI) regarding claim          MJM       0.40     280.80
         (.2); follow up with M. Vicinanza (KDW)
         regarding same (.2).
04/17/20 Emails with E. Wilson (KDW) regarding               MJM       0.20     140.40
         amended sale notice.
04/18/20 Confer with C. Zucker (FTI) (.2) and S.             ERW       0.90     757.35
         Borders (KS) (.2) regarding stalking horse bid;
         email from J. Dutson (KS) regarding
         bid (.1); briefly review APA (.2); emails with
         M. McLoughlin (KDW) regarding same (.2).
04/19/20 Confer with M. McLoughlin (KDW) regarding           ERW       0.80     673.20
         APA (.3); outline open issues (.3); emails with
         J. Dutson (KDS) (.1) and C. Zucker (FTI) (.1)
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


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         regarding same.
04/19/20 Review APA (1.3); call with E. Wilson               MJM       2.60    1,825.20
         (KDW) to discuss same (.3); emails with C.
         Zucker (FTI) to discuss same (.3); and draft
         list of questions for the debtors with respect to
         the APA (.7).
04/20/20 Conference call with M. McLoughlin (KDW)            ERW       2.60    2,187.90
         and C. Zucker (FTI) regarding               APA
         (.3); call with M. McLoughlin (KDW)
         regarding same (.3); conference call with M.
         McLoughlin (KDW), C. Zucker (FTI), S.
         Borders (KS), J. Tibus (AM) and K. Hosty
         (Piper) regarding same (.4); outline remaining
         issues with              APA (.3); conference
         call with D. Laddin (AG), C. Zucker (FTI) and
         M. McLoughlin (KDW) regarding same (.6);
         review and analyze FTI administrative
         liabilities projection (.3); emails with J.
         Dutson (KS) regarding updated APA (.2);
         emails to M. McLoughlin and J. Adams (both
         of KDW) regarding revisions to APA (.2).
04/20/20 Emails with M. McLoughlin (KDW) regarding           KGH       0.60     280.80
         cure amounts due (.2); review debtors cure
         schedule (.4).
04/20/20 Call with E. Wilson (KDW), C. Zucker, and           MJM       4.90    3,439.80
         M. Kuan (both of FTI) regarding stalking
         horse APA (.3); follow up call with E. Wilson
         (KDW) (.3); follow up email with S. Borders
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         (KS), T. Stratton (PSC), and J. Tibus (AM)
         regarding APA (.1) emails with K. Carson
         (RI), K. Hines and M. Vicinanza (both KDW)
         regarding cure amounts (.3); call with S.
         Borders (KS), T. Stratton (PSC), and J. Tibus
         (AM), E. Wilson (KDW), C. Zucker (FTI)
         regarding draft APA (.4); follow up call with
         E. Wilson (KDW), C. Zucker and M. Kuan
         (both of FTI), and D. Laddin and S. Kulka
         (both AG) regarding next steps (.6); follow up
         call with E. Wilson (KDW) (.2); review
         disclosure schedules (.5); compare admin caps
         to debtors estimates (.3) mark up APA (1.7);
         email E. Wilson (KDW) regarding same (.2).
04/21/20 Email correspondence with E. Wilson (KDW)        JRA       5.60    4,082.40
         regarding bids and assistance on sale process
         (.2); conference with M. McLoughlin (KDW)
         regarding same and APA analysis (.5); review
         draft of APA incorporating M. McLoughlin
         (KDW) initial comments (.9); review admin
         and cure claim chart from FTI in connection
         with assumed liabilities under APA and
         proposed assumption cap (.4); prepare notes
         with respect to further comments to draft
         stalking horse APA (1.8); email
         correspondence with E. Wilson (KDW)
         regarding same (.2); conference with M.
         McLoughlin (KDW) regarding same (.9);
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         follow up correspondence with E. Wilson
         (KDW) regarding assumed liabilities (.2);
         email correspondence from M. McLoughlin
         (KDW) regarding filing of stalking horse
         approval motion and hearing timing (.1);
         review M. McLoughlin (KDW) revisions to
         APA prior to sending to debtors (.3) and
         provide additional comments to same (.1).
04/21/20 Call with J. Adams (KDW) to discuss APA,          MJM      4.90    3,439.80
         sale timeline, terms of bid (.5): analyze further
         revised APA (.3); call with J. Adams (KDW)
         to discuss revisions to APA (.9); analyze
         execution version of the APA (.4); analyze
         motion to approve SHB and break up fee (.3);
         incorporate comments to APA (2.2); follow up
         emails with E. Wilson and J. Adams (both
         KDW) regarding same (.3).
04/22/20 Review APA schedules (.4) and filed version       JRA      1.00     729.00
         of stalking horse APA (.2); email
         correspondence with M. McLoughlin (KDW)
         regarding same and follow up with debtors on
         UCC comments to stalking horse agreement
         (.1); update E. Wilson (KDW) regarding same
         (.2); conference with M. McLoughlin (KDW)
         regarding status of APA comments (.1).
04/22/20 Call with J. Adams (KDW) regarding status of MJM           0.30     210.60
         APA comments (.1) and follow up with J.
         Dutson (KS) regarding same (.1); email with
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           L. Shermohammed (KS) regarding cure
           reconciliation (.1).
04/23/20   Update from M. McLoughlin (KDW)                   JRA       0.20     145.80
           regarding results of call with debtors on
           stalking horse issues and next steps.
04/23/20   Review debtors' total cure costs for impact on    KGH       0.20      93.60
           estates.
04/23/20   Review numerous filed cure objections (.3);       MJM       4.20    2,948.40
           prepare for (.2) and call with J. Dutson (KS)
           regarding comments to APA (.3); follow up
           call with J. Adams (KDW) (.1); draft stalking
           horse/bid protections objection (2.1); analyze
           cases cited by debtors in support (.7) and
           conduct additional research (.5).
04/24/20   Emails with M. McLoughlin (KDW) and G.            ERW       0.30     252.45
           Richards (RJ) regarding overbid (.2); review
           update to UCC regarding break up fee
           objection (.1).
04/24/20   Review (.2) and revise (.2) limited objection     JRA       0.60     437.40
           to break up fee from M. McLoughlin (KDW);
           email correspondence with M. McLoughlin
           (KDW) regarding same and alternative
           potential bidder (.2).
04/24/20   Call with P. Sigerman (BS) and G. Richards to     MJM       1.70    1,193.40
           discuss potential competing bid (.5); follow up
           emails with E. Wilson and J. Adams (both
           KDW) (.2); finalize bid protections objection
           (.3); emails with S. Kulka (AG) regarding
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         same (.2); call with C. Zucker (FTI) regarding
         potential bid (.1); follow up emails with P.
         Sigerman (BS) regarding timing for APA (.2);
         emails with R. LeHane (KDW) regarding cure
         process (.2).
04/25/20 Review              APA (.3); review committee ERW      2.60    2,187.90
                    stalking horse bid objection (.3);
         emails with M. McLoughlin and J. Adams
         (both of KDW) regarding same (.3);
         conference call with J. Edwards (AB), D.
         Laddin and S. Kulka (both of AG) regarding
                  bid (.6); notes to file regarding
         disposition of call (.2); emails with J. Edwards
         (AB), D. Laddin and S. Kulka (both of AG)
         regarding audit bill (.3); emails with M.
         McLoughlin (KDW) and P. Singerman (BS)
         regarding           bid (.2); further emails with
         P. Singerman (BS) regarding              bid, call
         to discuss (.2); emails with J. Adams (KDW),
         S. Borders (KS) and D. Laddin (AG), et al.
         regarding            bid (.2).
04/25/20 Email correspondence with E. Wilson and M. JRA          0.40     291.60
         McLoughlin (both KDW) regarding
         competing stalking horse possibility and how
         to address (.1); review email correspondence
         regarding same (.1); email from E. Wilson
         (KDW) regarding likely credit bid (.1) and
         follow up correspondence with E. Wilson and
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         M. McLoughlin (both KDW) and S. Borders
         (KS) regarding same and call to discuss (.1).
04/25/20 Emails with E. Wilson and J. Adams (both             MJM       0.30     210.60
         KDW) and P. Sigerman (BS) regarding
         competing bid and terms of same.
04/26/20 Further emails with J. Adams and M.                  ERW       2.60    2,187.90
         McLoughlin (both of KDW) regarding
         bid, status (.2); emails with J. Dutson (KS), S.
         Kulka (AG) and J. Adams (KDW) regarding
                   APA (.2); initial review of
         APA (.3); review M. McLoughlin (KDW)
         summary of             bid (.2); initial review of
         settlement agreement (.4); prepare for call (.3)
         and call (.3) with S. Borders (KS), M.
         McLoughlin (KDW), J. Tibus (AM) and D.
         Laddin (AG) regarding               credit bid;
         follow up call with M. McLoughlin (KDW)
         regarding same (.2); confer with J. Adams
         (KDW) regarding               APA markup (.2);
         review select provisions of APA (.3).
04/26/20 Conference with E. Wilson and M.                     JRA       3.60    2,624.40
         McLoughlin (both KDW) regarding credit bid
         and analysis (.2); review credit bid APA (1.3)
         and prepare issues list for same (.5); review
         related settlement agreement (.4) and prepare
         comments to same (.2); conference with M.
         McLoughlin (KDW) on APA, settlement and
         revisions (.6); review revised draft for M.
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         McLoughlin (KDW) (.2); conference with E.
         Wilson (KDW) regarding same (.2).
04/26/20 Call with S. Border, J. Dutson (both KS), J.    MJM      5.10    3,580.20
         Tibus (AM), D. Laddin, S. Kulka (both AG),
         and E. Wilson (KDW) regarding credit bid
         and sale process (.3); follow up call with E.
         Wilson and J. Adams (both KDW) regarding
         response to same (.4); analyze revised APA
         (.9) and comment on same (.8); analyze
         settlement agreement between debtors and
         lenders (.3) and revise same (.6); call with J.
         Adams (KDW) regarding APA and settlement
         agreement (.6); incorporate comments to APA
         (.4) and settlement agreement (.3); emails with
         E.Wilson and J. Adams (both KDW) with
         comments to the APA and settlement
         agreement (.2); draft email to J. Dutson (KS)
         regarding committee comments to documents
         (.3).
04/27/20 Confer with M. McLoughlin (.2) and J. Adams ERW          4.90    4,123.35
         (both of KDW) (.2) regarding revised
         APA; emails with J. Dutson (KS) and S.
         Kulka (AG) regarding same (.3); outline open
         issues with          APA and settlement (.3);
         review latest revisions to the APA (.3),
         settlement agreement (.2); emails with S.
         Kulka (AG) and J. Dutson (KS) regarding
         same (.2); review M. McLoughlin (KDW)
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         summary of issues of            APA (.3);
         emails with J. Edwards (AB) regarding same
         (.1); emails with C. Zucker and M. Kuan (both
         of FTI) regarding administrative solvency and
                  bid (.2); emails with J. Adams
         (KDW) regarding settlement agreement (.3);
         conference call with C. Zucker (FTI) regarding
         disposition of call with A&M and
         administrative solvency (.5); follow up with J.
         Adams (KDW) regarding same (.2); Call with
         M. McLoughlin and J. Adams (both of KDW)
         preparatory to call with debtors (.3);
         conference call with J. Dutson (KS), M.
         McLoughlin (KDW), J. Tibus (AM), D.
         Laddin (AG) regarding revisions to APA and
         settlement agreement (1.1); follow up call with
         M. McLoughlin (KDW) regarding next steps
         (.2).
04/27/20 Review updated draft of APA from J. Dutson      JRA      3.00    2,187.00
         (KS) (.2) and email correspondence to E.
         Wilson and M. McLoughlin (both KDW)
         regarding same (.1); conference with E.
         Wilson (KDW) regarding same (.3); update
         conference with E. Wilson and M.
         McLoughlin (both KDW) regarding same
         terms and settlement with lenders (.2); review
         further revised draft of settlement agreement
         and compare to prior versions (.3); revise
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         same (1.3); conference with M. McLoughlin
         (KDW) regarding same (.2); extensive email
         correspondence with J. Dutson (KS), J.
         Edwards (AB) and E. Wilson and M.
         McLoughlin (both KDW) regarding same and
         purchase agreement (.4).
04/27/20 Call with C. Zucker (FTI) to discuss             MJM      4.10    2,878.20
         bid (.2); analyze further revised APA (.3) and
         settlement agreement (.2); draft remaining
         issues list (.4); call with J. Dutson (KS), E.
         Wilson (KDW), D. Laddin and S. Kulka (both
         AG), and J. Tibus (AM) regarding revised
         APA (1.1); follow up call with E. Wilson (.2)
         and J. Adams (KDW) (.2); numerous emails
         with S. Kulka (AG) regarding comments to
         settlement agreement and APA (.3); revise
         settlement agreement (.4); call with J. Adams
         (KDW) to discuss same (.2); emails with J.
         Dutson (KS) regarding committee comments
         (.2); initial review of further revised APA (4th
         draft) (.2) and comment on adequate assurance
         provisions (.2).
04/28/20 Multiple emails with S. Borders, L.              ERW      6.10    5,133.15
         Shermohammed and J. Dutson (all of KS), J.
         Edwards (AB) and M. McLoughlin (KDW)
         regarding open issues with APA, settlement
         and administrative solvency (1.1); review
         various iterations of the revised APA (1.1);
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         instruction to M. McLoughlin (KDW)
         regarding same (.1) and settlement (.8); confer
         with J. Adams (KDW) (.2) and S. Kulka (AG)
         (.2) regarding sales status, settlement; emails
         with S. Kulka and D. Laddin (both of AG)
         regarding same (.2); telephone call with M.
         McLoughlin (KDW) regarding settlement
         status, committee approval (.2); review sale
         notice (.1), assumption of contracts (.1); Calls
         (2x) (.3) and emails (.2) with C. Zucker (FTI)
         regarding claims pool, tax refund budget;
         email from C. Zucker (FTI) regarding
         liability schedule (.1); review same (.2);
         forward to J. Adams (KDW) with instruction
         (.1); emails with M. McLoughlin and J.
         Adams (both of KDW) regarding assumed
         liabilities (.2); conference call with M.
         McLoughlin (KDW) and C. Zucker (FTI)
         regarding auction, alternative buyers (.4);
         conference call with M.. McLoughlin (KDW)
         and S. Kulka (AG) regarding same, tax refund
         (.5).
04/28/20 Review updated assumed liabilities schedule      JRA      3.60    2,624.40
         in connection with APA assumed liabilities
         (.2); review draft APA schedules (.2); brief
         review of revised APA from debtors to
         incorporate UCC comments (.3); review
         revised draft of proposed settlement agreement
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         from Alston (.4) and email correspondence
         with E. Wilson and M. McLoughlin (both
         KDW) regarding same (.1); review follow up
         email correspondence from J. Edwards (AB)
         regarding true up of retained cash (.1);
         conference with E. Wilson (KDW) on
         revisions to documents (.2); conferences with
         M. McLoughlin (KDW) regarding revisions to
         APA and settlement (.4); review S. Kulka
         (AG) email and comments to settlement
         agreement (.2) and email to M. McLoughlin
         (KDW) regarding same (.1); email
         correspondence with M. McLoughlin (KDW),
         J. Dutson (KS), J. Edwards (AB) and S. Kulka
         (AG) regarding further revisions to settlement
         and wind down (.4); review proposed
         revisions to same and draft of wind down
         tasks and budget (.2); review further revised
         comments to settlement agreement from J.
         Edwards (AB) and debtors (.3); review M.
         McLoughlin (KDW) revisions to same to
         incorporate global comments from all parties
         and local counsel (.3); conference with M.
         McLoughlin (KDW) regarding same (.2).
04/28/20 Review updated draft of the APA sent by J.     MJM      5.80    4,071.60
         Dutson (KS (.3); review updated settlement
         agreements (2 versions) sent by J. Edwards
         (AB) (.2); conference with J. Adams (KDW)
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         to discuss changes to both documents (.2);
         review 503(b)(9) procedures order (.3) and
         incorporate 503(b)(9) reconciliation process
         into APA (.3); incorporate additional
         comments to APA (.4); emails (.1) and call
         (.1) with J. Dutson (KS) regarding same;
         further emails with J. Dutson (KS) and J.
         Edwards (JB) regarding changes to settlement
         agreement (.2); review next draft of settlement
         agreement (.2) and discuss changes with J.
         Adams (KDW) (.2) and S. Kulka (AG) (.2);
         revise settlement agreement (.5); email J.
         Dutson (KS) and J. Edwards (JB) explanation
         of committee comments to SA (.3); analyze
         continued revisions to APA (.3) and
         settlement agreement (.4) and comment on
         same (.5); call with J. Edwards (AB) (.1); call
         with E. Wilson (KDW) and C. Zucker (FTI) to
         prepare for committee call (.4); call with E.
         Wilson (KDW) and S. Kulka (AG)
         preparatory to committee call (.4); review
         purchaser and debtors changes to closing cash
         backstop provisions (.2).
04/29/20 Review of various changes to APA (.6) and       ERW      1.80    1,514.70
         settlement agreement (.3); emails with J.
         Edwards (AB), D. Laddin (AG), M.
         McLoughlin (KDW) and J. Dutson (KS)
         regarding same (.7); emails with M.
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         McLoughlin (KDW), P. Rosenblatt (KP) and
         K. Carson (RI) regarding execution of
         settlement (.2).
04/29/20 Review final comments to settlement             MJM      2.20    1,544.40
         agreement (.2) and APA (.2); calls (2x) with J.
         Edwards (AB) regarding same (.2); further
         emails with D. Laddin (AG) regarding
         designation rights (.2); review 503(b)(9)
         procedures for timing (.3); prepare UCC
         signatures pages (.3); review and signoff on
         execution versions of APA (.3), exhibits to
         same (.2), and settlement agreement (.3).
04/30/20 Emails with J. Dutson (KS) on 9019 motion       MJM      0.40     280.80
         (.1); emails with J. Edwards (AB) regarding
         release of signature pages (.2); emails with S.
         Kulka (AG) regarding hearing (.1)
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Total Original Fees for this Matter:                                                 $66,031.50

Less 10% Discount:                                                                    $6,603.15

Total Fees Due:                                                                      $59,428.35

Total For This Matter:                                                               $59,428.35
Total this Invoice                                                                   $59,428.35
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     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
April 30, 2020
Page 16




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                        23.30         841.50         $19,606.95
JRA           Adams, Jason                        18.00         729.00          13,122.00
KGH           Hines, Kayci                         0.80         468.00             374.40
MJM           McLoughlin, Maeghan J               37.50         702.00          26,325.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789040

 027768           Krystal Company Committee
 0007             Executory Contracts and Leases


                                Account Summary and Remittance Form


Legal Services:                                                                                $3,851.50

Less 10% Discount:                                                                             ($385.15)

Total Fees Due:                                                                                $3,466.35

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $3,466.35

                        Terms: Payment Due on or Before May 30, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      April 30, 2020
                                                                                Invoice No. 2789040

Client 027768
Matter 0007 Executory Contracts and Leases

Attorney: 01118                                                                                  Page 1

  Date   Description                                      Tkpr   Hours     Amount

04/03/20 Review filed rejection motion for rejection      MJM       0.20    $140.40
         dates.
04/06/20 Emails with E. Wilson (KDW) regarding lease      MJM       0.20     140.40
         amendments.
04/07/20 Email from S. Kulka (AG) regarding cure          ERW       0.30     252.45
         notice (.1); review same (.1); forward to M.
         McLoughlin (KDW) with instruction (.1).
04/07/20 Review cure notice for impact on committee       MJM       0.50     351.00
         member claims.
04/08/20 Further emails with M. McLoughlin (KDW)          ERW       0.10      84.15
         and L. Shermohammed (KS) regarding lease
         amendments.
04/08/20 Emails with L. Shermohammed (KS)                 MJM       0.10      70.20
         regarding lease amendment consent.
04/15/20 Emails to K. Hines and M. McLoughlin (both       ERW       0.20     168.30
         KDW) regarding comments to 365(d)(4)
         motion.
04/15/20 Review Bankruptcy Code section 365(d)(4)         KGH       2.80    1,310.40
         (.2); draft comments to proposed order
         extending 364(d)(4) assumption/rejection
         deadline (.4); email redline of comments to L.
         Shermohammed (K&S) (.2); review other
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0007
April 30, 2020
Page 2



  Date     Description                                       Tkpr   Hours     Amount

           landlord objections regarding same (.2);
           calendar objection and hearing deadlines for
           same (.2); emails with M. McLoughlin
           regarding same (.2); review motion to extend
           365(d)(4) deadline (.7); review motion to
           extend exclusive filing and solicitation period
           (.7).
04/15/20   Initial review of 354(d)(4) extension motion      MJM       0.30     210.60
           (.2) and emails with K. Hines (KDW)
           regarding same (.1).
04/16/20   Emails to M. McLoughlin (KDW) and K.              ERW       0.40     336.60
           Carson (RI) regarding cure issues (.2); further
           emails with M. McLoughlin and K. Hines
           (both of KDW) regarding revised language for
           365(d)(4) order (.2).
04/17/20   Call with M. McLoughlin (KDW) regarding           MMV       0.10      27.45
           debtors' cure amounts.
04/20/20   Follow up emails with J. Dutson and L.            KGH       0.20      93.60
           Shermohammed (both of KS) regarding
           comments to proposed order extending lease
           assumption/rejection deadline.
04/22/20   Follow up emails with J. Dutson and L.            KGH       0.60     280.80
           Shermohammed (both of KS) regarding
           markup of proposed order on motion to extend
           lease assumption/rejection deadline (.2);
           review same for incorporation of committee
           comments (.2); emails with M. McLoughlin
           (KDW) recommending sign off on same (.2).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0007
April 30, 2020
Page 3




Total Original Fees for this Matter:                                                  $3,851.50

Less 10% Discount:                                                                      $385.15

Total Fees Due:                                                                       $3,466.35

Total For This Matter:                                                                $3,466.35
Total this Invoice                                                                    $3,466.35
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
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                                     KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
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     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0007
April 30, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         1.00         841.50               $841.50
KGH           Hines, Kayci                         3.60         468.00              1,684.80
MJM           McLoughlin, Maeghan J                1.30         702.00                912.60
MMV           Vicinanza, Marie M                   0.10         274.50                 27.45




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
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                                  KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                              AFFILIATE OFFICE:
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     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          April 30, 2020
                                                                                    Invoice No. 2789041

 027768           Krystal Company Committee
 0009             Claims Administration, Analysis & Objection


                                Account Summary and Remittance Form


Legal Services:                                                                                    $795.00

Less 10% Discount:                                                                                 ($79.50)

Total Fees Due:                                                                                    $715.50

Disbursements and Other Charges:                                                                      $0.00

                            Total Amount Due:                                                     $715.50

                        Terms: Payment Due on or Before May 30, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                    PAYMENT BY CHECK:
 ABA #: 021-000-021                                             KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                           ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                         101 PARK AVENUE
 ACCOUNT #:135-046110                                           NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER              (212) 808-7800
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     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                             MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
    HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                   April 30, 2020
                                                                             Invoice No. 2789041

Client 027768
Matter 0009 Claims Administration, Analysis & Objection

Attorney: 01118                                                                                Page 1

  Date   Description                                    Tkpr   Hours     Amount

04/02/20 Emails with C. Zucker (FTI) regarding claims   ERW       0.20    $168.30
         reconciliation.
04/20/20 Emails with R. Lemisch (KH) on 503b9 claim     MJM       0.30     210.60
         issues (.1) and follow up emails with S.
         Borders (KS) regarding ability to email file
         claim (.2),
04/29/20 Emails with M. McLoughlin (KDW), C.            ERW       0.40     336.60
         Zucker (FTI) and L. Shermohammed (KS)
         regarding 503(b)(9) claims (.2); review
         register (.2).
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0009
April 30, 2020
Page 2




Total Original Fees for this Matter:                                                    $795.00

Less 10% Discount:                                                                        $79.50

Total Fees Due:                                                                         $715.50

Total For This Matter:                                                                  $715.50
Total this Invoice                                                                      $715.50
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0009
April 30, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.60         841.50              $504.90
MJM           McLoughlin, Maeghan J                0.30         702.00               210.60




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 468 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789042

 027768           Krystal Company Committee
 0011             Committee and Creditor Communications


                                Account Summary and Remittance Form


Legal Services:                                                                              $28,187.50

Less 10% Discount:                                                                           ($2,818.75)

Total Fees Due:                                                                              $25,368.75

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $25,368.75

                        Terms: Payment Due on or Before May 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 469 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     April 30, 2020
                                                                               Invoice No. 2789042

Client 027768
Matter 0011 Committee and Creditor Communications

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

04/01/20 Update to committee regarding today's            ERW       0.30    $252.45
         hearing, lien review (.2); emails with K.
         Carson (RI) regarding claim (.1).
04/01/20 Draft committee update on today's hearing and    MJM       0.60     421.20
         lien analysis.
04/07/20 Emails with M. McLoughlin (KDW) regarding        ERW       0.30     252.45
         cancelling tomorrow's call (.1); review
         committee update (.1); instruction to M.
         McLoughlin (KDW) (.1).
04/07/20 Draft committee update on sales, sale process,   MJM       0.90     631.80
         and lien review.
04/08/20 Emails with M. McLoughlin (KDW) (.1), T.         ERW       0.50     420.75
         Atkinson (NCR) (.1), C. Marshall (Coca-Cola)
         (.1), R. Lemisch (SLM) (.1), K. Carson
         (Realty), M. Duedall (CT) (.1) regarding cure.
04/08/20 Emails with K. Carson (RIC) (.3); P.             MJM       1.10     772.20
         Rosenblatt (KT) (.2); T. Atkinson (Ulmer)
         (.2), C. Marshall (Coca-Cola) (.2); and R.
         Lemisch (SLM) regarding cure claims; call
         with M. Duedall (BC) regarding cure amounts
         (.2).
04/13/20 Emails with M. McLoughlin (KDW) regarding        ERW       0.20     168.30
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                   KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                               MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 2



  Date    Description                                       Tkpr   Hours     Amount

         committee call.
04/13/20 Draft talking points for committee call (1.6);     MJM       1.90    1,333.80
         call with S. Kulka (AG) regarding talking
         points (.3).
04/14/20 Review talking points preparatory to               ERW       1.50    1,262.25
         tomorrow's call (.3); instruction to M.
         McLoughlin (KDW) regarding same (.1);
         instruction to M. McLoughlin (KDW)
         regarding rescheduling tomorrow's call (.1);
         emails with D. Laddin (AG) and C. Zucker
         (FTI) regarding same (.1); review agenda for
         tomorrow's call (.1); review FTI materials
         preparatory to tomorrow's call (.2); instruction
         to M. McLoughlin (KDW) regarding same
         (.1); email from M. Kuan (FTI) regarding
         same (.1); emails with M. McLoughlin
         (KDW) and C. Marshall (Coca-Cola)
         regarding tomorrow's call (.2); emails with M.
         McLoughlin (KDW) and S. Kulka (AG)
         regarding administrative expenses, sale status
         (.2).
04/14/20 Draft agenda (.2) for tomorrow's call; and         MJM       1.00     702.00
         committee update (.2); update talking points
         with additional information and send to E.
         Wilson (KDW) (.5); email with C. Marshall
         (Coca-Cola) regarding committee call (.1).
04/15/20 Call with KDW, AG, FTI teams preparatory to        ERW       1.10     925.65
         today's call (.4); review revised talking points
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                       NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                      STAMFORD                                MUMBAI, INDIA
    CHICAGO                                         PARSIPPANY
    HOUSTON                                          BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 3



  Date     Description                                         Tkpr   Hours     Amount

           preparatory to today's call (.2); conduct today's
           committee call (.4); update to committee
           regarding FTI materials (.1).
04/15/20   Draft committee email with summary and              KGH       0.60     280.80
           recommendation regarding 365(d)(4).
04/15/20   Email committee members with FTI                    MJM       1.50    1,053.00
           presentation (.2); send E. Wilson (KDW) high
           level summary of recently filed pleadings for
           committee call (.3); participate in
           professionals call preparatory to committee
           call (.3); participate in committee call (.4);
           follow up emails with C. Marshall
           (Coca-Cola) (.1); emails with K. Carson (RI)
           regarding cure notice, timing for filing same
           (.2).
04/16/20   Review and comment on update and                    ERW       0.40     336.60
           recommendation to UCC regarding exclusivity
           and lease extension motions (.1); instruction to
           M. McLoughlin (KDW) regarding same (.1);
           emails with C. Zucker (FTI) and S. Marshall
           (Coca-Cola) regarding case update (.2).
04/16/20   Revise committee update on extension                MJM       0.50     351.00
           motions (.4); emails with C. Marshall
           (Coca-Cola) regarding update call (.1).
04/17/20   Conference call with C. Marshall (Coca-Cola),       ERW       0.50     420.75
           M. McLoughlin (KDW) and C. Zucker (FTI)
           regarding case status, next steps.
04/17/20   Call with C. Marshall (Coca-Cola) regarding         MJM       0.50     351.00
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                              MUMBAI, INDIA
    CHICAGO                                     PARSIPPANY
    HOUSTON                                      BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 4



  Date   Description                                      Tkpr   Hours     Amount

         sale process, operations, cash flow.
04/20/20 Review draft update to UCC regarding             ERW       0.20     168.30
                    APA.
04/20/20 Conference with K. Carson (RI) regarding         KGH       0.40     187.20
         cure (.1); email to K. Carson (RI) with same
         (.3).
04/20/20 Draft committee update on APA and                MJM       2.70    1,895.40
         committee call (.4); follow up emails with C.
         Marshall (Coke) (.1); T. Meyers (KS) (.1); M.
         Rogers (NCR) (.1); M. Duedall (BC) (.1);
         draft talking points for committee call (1.9).
04/21/20 Prepare for call (.4) and call (.6) with         ERW       1.10     925.65
         committee regarding                      bid;
         instruction to M. McLoughlin (KDW)
         regarding same (.1).
04/21/20 Emails with K. Carson (RI) regarding             MJM       1.00     702.00
         committee call (.1); emails with E. Wilson
         (KDW) preparatory to call (.1); participate in
         committee call (6); draft committee update
         regarding stalking horse motion (.2).
04/22/20 Emails with T. Huang (KDW) amount                KGH       0.20      93.60
         amending committee group email to add J.
         Adams (KDW).
04/22/20 Review filed stalking horse motion for           MJM       0.20     140.40
         schedules and send committee update
         regarding same.
04/24/20 Draft committee email on bid protections         MJM       0.40     280.80
         objection.
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                                   KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                               MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 5



  Date    Description                                       Tkpr   Hours     Amount

04/26/20 Review update to committee regarding               ERW       0.20     168.30
                    pension plan (.1); instruction to M.
         McLoughlin (KDW) regarding same (.1).
04/26/20 Draft committee update on credit bid offer and     MJM       2.10    1,474.20
         pension plan termination (.6); follow up
         emails with M. Strollo (PBHC) and C.
         Marshall (Coca-Cola) (.2); draft talking points
         for committee call (1.3).
04/27/20 Conference call with M. McLoughlin (KDW),          ERW       1.60    1,346.40
         D. Laddin, S. Kulka (both of AG) and C.
         Zucker (FTI) regarding today's committee call
         (.4); prepare for (.3) and conduct (.8) today's
         call; instruction to M. McLoughlin (KDW)
         regarding today's pre-call with FTI (.1).
04/27/20 Conference with E. Wilson and M.                   JRA       0.30     218.70
         McLoughlin (both KDW) regarding results of
         today's UCC call and next steps.
04/27/20 Participate in professionals call preparatory to   MJM       1.40     982.80
         committee (.4); participate in committee call
         (.7); and follow up call with E. Wilson and J.
         Adams (both KDW) (.3).
04/28/20 Instruction to M. McLoughlin (KDW) and             ERW       1.20    1,009.80
         revise tomorrow's committee call (.1); review
         and revise talking points for call (.4); emails
         with M. Duedall (BC) regarding Fortress
         APA, committee vote (.3); confer with M.
         McLoughlin (KDW) regarding same (.2);
         emails with M. McLoughlin (KDW), M.
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                      Document    Page 474 of 749
                                     KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                       NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                                MUMBAI, INDIA
    CHICAGO                                        PARSIPPANY
    HOUSTON                                         BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 6



  Date     Description                                        Tkpr   Hours     Amount

           Rogers (NCR) and M. Duedall (BC) regarding
                     bid, contracts.
04/28/20   Draft committee update on APA and                  MJM       4.90    3,439.80
           settlement terms (.9) and revise same (.4);
           outline new terms for committee update (.3)
           and draft follow up committee email on
           updated terms of APA and settlement (.5);
           emails with E. Wilson (KDW) regarding same
           (.1); emails with M. Rogers (NCR) (.2) and M.
           Duedall (BS) (.2) regarding same; discuss
           responses with E. Wilson (.2); draft talking
           points and outline for committee call (1.9);
           emails with J. Edwards (AB) regarding
           committee member signatures (.2).
04/29/20   Call with FTI and AG preparatory to today's        ERW       1.40    1,178.10
           committee call (.3); prepare for (.4) and
           conduct today's committee call (.5); follow up
           call with M. McLoughlin (KDW) regarding
           next steps (.2).
04/29/20   Participate in professionals call to prepare for   MJM       1.50    1,053.00
           committee call (.3); participate in committee
           call (.6); follow up call with E. Wilson (KDW)
           (.1); draft co-chair update on signatures to
           settlement (.3); call with P. Rosenblatt (KT)
           regarding committee signoff (.1) and follow
           up emails regarding same (.1).
04/30/20   Review and comment on update to committee          ERW       0.20     168.30
           (.1) instruction to M. McLoughlin (KDW)
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                      Document    Page 475 of 749
                                     KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                               MUMBAI, INDIA
    CHICAGO                                   PARSIPPANY
    HOUSTON                                    BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 7



  Date   Description                                  Tkpr      Hours     Amount

         regarding same (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 476 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 8




Total Original Fees for this Matter:                                                 $28,187.50

Less 10% Discount:                                                                    $2,818.75

Total Fees Due:                                                                      $25,368.75

Total For This Matter:                                                               $25,368.75
Total this Invoice                                                                   $25,368.75
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 477 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
April 30, 2020
Page 9




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                        10.70         841.50              $9,004.05
JRA           Adams, Jason                         0.30         729.00                 218.70
KGH           Hines, Kayci                         1.20         468.00                 561.60
MJM           McLoughlin, Maeghan J               22.20         702.00              15,584.40




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 478 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789043

 027768           Krystal Company Committee
 0012             Business Operations


                                Account Summary and Remittance Form


Legal Services:                                                                                $1,855.00

Less 10% Discount:                                                                             ($185.50)

Total Fees Due:                                                                                $1,669.50

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $1,669.50

                        Terms: Payment Due on or Before May 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     April 30, 2020
                                                                               Invoice No. 2789043

Client 027768
Matter 0012 Business Operations

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

04/02/20 Email from M. Shank (AM) regarding account       ERW       0.10     $84.15
         closure.
04/02/20 Review cash collateral variance report (.2);     MJM       0.40     280.80
         emails with M. Shenk (AM) regarding bank
         account closures (.2).
04/06/20 Emails with M. Shank (AM), C. Zucker (FTI)       ERW       0.20     168.30
         and S. Kulka (AG) regarding account closures.
04/07/20 Email from M. Kuan (FTI) regarding weekly        ERW       0.30     252.45
         cash report (.1); email from J. Simpson (AM)
         regarding cash flow report (.1); forward to C.
         Zucker (FTI) with inquiry (1.).
04/09/20 Emails with J. Simpson (AM) regarding            ERW       0.30     252.45
         weekly cash reporting (.1); review same (.1);
         forward to FTI with inquiry (.1).
04/14/20 Review cash flow and operations report.          MJM       0.30     210.60
04/16/20 Email from J. Simpson (AM) regarding cash        ERW       0.30     252.45
         report (.1); review same (.1); forward to FTI
         with instruction (.1).
04/23/20 Email from J. Simpson (AM) regarding             ERW       0.20     168.30
         weekly cash report (.1); review same (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 480 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0012
April 30, 2020
Page 2




Total Original Fees for this Matter:                                                  $1,855.00

Less 10% Discount:                                                                      $185.50

Total Fees Due:                                                                       $1,669.50

Total For This Matter:                                                                $1,669.50
Total this Invoice                                                                    $1,669.50
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0012
April 30, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.40         841.50              $1,178.10
MJM           McLoughlin, Maeghan J                0.70         702.00                 491.40




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 482 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        April 30, 2020
                                                                                  Invoice No. 2789044

 027768           Krystal Company Committee
 0013             Court Hearings


                                Account Summary and Remittance Form


Legal Services:                                                                                $6,250.50

Less 10% Discount:                                                                             ($625.05)

Total Fees Due:                                                                                $5,625.45

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $5,625.45

                        Terms: Payment Due on or Before May 30, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
                                    Document    Page 483 of 749
                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                              MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      April 30, 2020
                                                                                Invoice No. 2789044

Client 027768
Matter 0013 Court Hearings

Attorney: 01118                                                                                  Page 1

  Date   Description                                      Tkpr   Hours     Amount

04/01/20 Prepare outline for (.8) and telephonic          ERW       2.80   $2,356.20
         participation (.4) in today's hearing;
         conference call with S. Kulka and D. Laddin
         (both of AG) preparatory to today's hearing
         (.3); telephone call with S. Kulka (AG)
         regarding complex case procedures (.2);
         conference call with S. Kulka annd D. Laddin
         (both of AG) regarding today's hearing,
         revised order and budget (.4); review third
         interim cash colalteral order (.2) and complex
         case procedures preparatory to hearing (.2);
         emails with R. Dorsey (PH), S. Kulka (AG)
         and R Williamson (SW) regarding form order
         (.3).
04/01/20 Participate in hearing (.4) and follow up with   MJM       0.60     421.20
         E. Wilson (KDW) regarding same (.2).
04/06/20 Emails with M. McLoughlin (KDW) and J.           ERW       0.20     168.30
         Dutson (AG) regarding tomorrow's hearing.
04/14/20 Emails with S. Kulka (AG) regarding              MJM       0.20     140.40
         Thursday's hearing.
04/15/20 Emails with A. Ray (SW) regarding                ERW       0.20     168.30
         cancellation of tomorrow's hearing.
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 484 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
    CHICAGO                                    PARSIPPANY
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Krystal Company Committee
Client 027768
Matter 0013
April 30, 2020
Page 2



  Date   Description                                      Tkpr   Hours     Amount

04/16/20 Further emails with M. McLoughlin (KDW)          ERW       0.20     168.30
         and S. Kulka (AG) regarding cancellation of
         today's hearing.
04/16/20 Email with S. Kulka regarding cancelation of     MJM       0.10      70.20
         omnibus hearing.
04/25/20 Emails to M. McLoughlin (KDW) regarding          ERW       0.30     252.45
         coverage at Monday's hearing, talking points
         (.2); instruction to M. McLoughlin (KDW)
         regarding Monday's hearing (.1).
04/26/20 Emails with S. Borders (KS) regarding            ERW       0.10      84.15
         tomorrow's hearing.
04/27/20 Review objection to break up fee (.2);           ERW       0.80     673.20
         participate on today's telephonic hearing
         regarding Nashville bid (.3); Emails with S.
         Borders (KS), D. Laddin (AG) regarding
         today's hearing (.2); call with M. McLoughlin
         (KDW) to discuss (.1).
04/27/20 Call with E. Wilson (KDW) to discuss today's     MJM       0.10      70.20
         hearing.
04/28/20 Participate on today's hearing                   ERW       0.20     168.30
04/29/20 Attend court hearing on stalking horse motion.   MJM       0.20     140.40
04/30/20 Telephonic participation at continued hearing    ERW       0.30     252.45
         on Nashville bid (.2); emails with S. Kulka
         (AG) regarding same (.1).
04/30/20 Attend omnibus hearing (.2) and draft hearing    MJM       0.70     491.40
         summary (.5).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
Client 027768
Matter 0013
April 30, 2020
Page 3




Total Original Fees for this Matter:                                                  $6,250.50

Less 10% Discount:                                                                      $625.05

Total Fees Due:                                                                       $5,625.45

Total For This Matter:                                                                $5,625.45
Total this Invoice                                                                    $5,625.45
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 486 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0013
April 30, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         5.10         841.50              $4,291.65
MJM           McLoughlin, Maeghan J                1.90         702.00               1,333.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
                              Document    Page 487 of 749



               Kelley Drye & Warren LLP Total May 2020 Fees & Expenses Due


    Total May Fees Due:                                          $75,871.35
    Total May Expenses Due:                                         $739.57
    Total May Fees and Expenses Due:                             $76,610.92


               Kelley Drye & Warren LLP Payment Information – Wire or ACH


    Bank Name:                                   JP Morgan Chase Bank, N.A.
    ABA No.:                                                   021-000-021
                                                          270 Park Avenue
    Bank Address:
                                                       New York, NY 10017
    Account Name:                                 Kelley Drye & Warren LLP
    Account No.:                                                 135046110
    SWIFT Code:                                                 CHASUS33




4831-9225-9263v.2
Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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        Kelley Drye & Warren LLP May 2020 Fee Summary Breakdown By Matter

 Matter 0004: Fee Matters (Applications & Objections)
    Timekeeper Code                 Timekeeper              Hours     Amount
           ERW              Wilson, Eric R.                   2.1    $1,767.15
            MJM             McLoughlin, Maeghan J.            5.5    $3,861.00
            KGH             Hines, Kayci G.                  11.6    $5,428.80
           MMV              Vicinanza, Marie M.               1.1     $301.95
 Totals for Matter 0004: Fee Matters                         20.3   $11,358.90

 Matter 0005: Financing and Cash Collateral
    Timekeeper Code                 Timekeeper              Hours    Amount
           ERW              Wilson, Eric R.                   5.5   $4,628.25
            MJM             McLoughlin, Maeghan J.            6.6   $4,633.20
 Totals for Matter 0005: Financing and Cash Collateral       12.1   $9,261.45

 Matter 0006: Asset Analysis, Recovery and Disposition
    Timekeeper Code                 Timekeeper              Hours    Amount
           ERW              Wilson, Eric R.                  12.8   $10,771.20
            MJM             McLoughlin, Maeghan J.           20.0   $14,040.00
            KGH             Hines, Kayci G.                   0.4    $187.20
 Totals for Matter 0006:
 Asset Analysis, Recovery and Disposition                   33.2    $24,998.40

 Matter 0007: Executory Contracts and Leases
    Timekeeper Code                Timekeeper               Hours    Amount
           ERW            Wilson, Eric R.                    1.3    $1,093.95
            MJM           McLoughlin, Maeghan J.             4.1    $2,878.20
            KGH           Hines, Kayci G.                    0.9     $421.20
 Totals for Matter 0007:
 Executory Contracts and Leases                              6.3    $4,393.35

 Matter 0009: Claims Administration, Analysis & Objection
    Timekeeper Code                Timekeeper               Hours    Amount
           ERW             Wilson, Eric R.                   0.1      $84.15
            MJM            McLoughlin, Maeghan J.            0.6     $421.20
            KGH            Hines, Kayci G.                   2.0     $936.00
 Totals for Matter 0009:
 Claims Administration, Analysis & Objection                 2.7    $1,441.35

 Matter 0011: Committee and Creditor Communications
    Timekeeper Code               Timekeeper                Hours    Amount
           EWR            Wilson, Eric R.                     7.0   $5,890.50
            MJM           McLoughlin, Maeghan J.             11.3   $7,932.60
            KGH           Hines, Kayci G.                     0.4    $187.20
           MMV            Vicinanza, Marie M.                 0.2     $54.90
 Totals for Matter 0011:
 Committee and Creditor Communications                      18.9    $14,065.20


4831-9225-9263v.2                              2
Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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 Matter 0012: Business Operations
    Timekeeper Code                 Timekeeper       Hours           Amount
           ERW              Wilson, Eric R.           0.6            $504.90
            MJM             McLoughlin, Maeghan J.    0.4            $280.80
 Totals for Matter 0012: Business Operations          1.0            $785.70

 Matter 0013: Court Hearings
    Timekeeper Code                 Timekeeper       Hours           Amount
           ERW              Wilson, Eric R.            3.8          $3,197.10
            MJM             McLoughlin, Maeghan J.     7.9          $5,545.80
            KGH             Hines, Kayci G.            0.8           $374.40
 Totals for Matter 0013: Court Hearings               12.5          $9,117.90

 Matter 0014: Relief from Stay
    Timekeeper Code                  Timekeeper      Hours           Amount
           ERW              Wilson, Eric R.           0.2            $168.30
            MJM             McLoughlin, Maeghan J.    0.4            $280.80
 Totals for Matter 0014: Relief from Stay             0.6            $449.10




4831-9225-9263v.2                             3
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 490 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791918

 027768           Krystal Company Committee
 0001             Case Administration


                                Account Summary and Remittance Form


Legal Services:                                                                                     $0.00

Less 10% Discount:                                                                                ($0.00)

Total Fees Due:                                                                                     $0.00

Disbursements and Other Charges:                                                                 $739.57

                            Total Amount Due:                                                   $739.57

                         Terms: Payment Due on or Before July 9, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                    Document    Page 491 of 749
                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                               STAMFORD                               MUMBAI, INDIA
     CHICAGO                                PARSIPPANY
     HOUSTON                                 BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     June 9, 2020
                                                                             Invoice No. 2791918

Client 027768
Matter 0001 Case Administration

Attorney: 01118                                                                                  Page 1



Other Charges:

  Westlaw Research                                             $739.57

Total Other Charges for this Matter:                                                     739.57

Total this Invoice                                                                     $739.57
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 492 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791919

 027768           Krystal Company Committee
 0004             Fee Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                              $12,621.00

Less 10% Discount:                                                                           ($1,262.10)

Total Fees Due:                                                                              $11,358.90

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $11,358.90

                         Terms: Payment Due on or Before July 9, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 493 of 749
                                  KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                               MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        June 9, 2020
                                                                                Invoice No. 2791919

Client 027768
Matter 0004 Fee Matters (Applications & Objections)

Attorney: 01118                                                                                  Page 1

  Date   Description                                      Tkpr   Hours     Amount

05/01/20 Review AG fee statement (.1); emails with J.     ERW       0.40    $336.60
         Tibus (AM) regarding same, KDW invoice
         (.1); review KS (.1) and SW (.1) fee letters.
05/01/20 Instruction to M. Vicinanza (KDW) regarding      KGH       2.60    1,216.80
         status of finalizing April fee worksheet (.2);
         draft cover letter (.3); review and redact
         invoices (1.0); review fee statement summary
         for completeness and correctness (.5); revise
         summary sheet (.4); email to M.McLoughlin
         and E. Wilson (both of KDW) for review (.2).
05/01/20 Review April invoices and prepare fee            MMV       1.10     301.95
         statement worksheet.
05/02/20 Review KDW fee statement, letter (.2); emails    ERW       0.30     252.45
         with M. McLoughlin and K. Hines (both of
         KDW) regarding same (.1).
05/02/20 Review, finalize April fee statement and serve   MJM       0.70     491.40
         same.
05/04/20 Emails with D. Laddin (KS) and M.                ERW       0.30     252.45
         McLoughlin (KDW) regarding KCC invoice
         (.1); review same (.1); emails with D. Laddin
         (AG) regarding interim fee application (.1).
05/04/20 Call with S. Kulka (AG) regarding fee            MJM       0.60     421.20
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
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    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
June 9, 2020
Page 2



  Date     Description                                       Tkpr   Hours     Amount

           statement and final fee application (.1);
           coordinate service of April fee statement (.2);
           review AG and FTI fee statements (.3).
05/05/20   Emails with S. Kulka (AG) and J. Dutson           ERW       0.40     336.60
           (KS) regarding KCC bill (.2); email from S.
           Kulka (AG) regarding final fee application
           (.1); forward to M. McLoughlin (KDW) with
           instruction (.1).
05/05/20   Review AG draft final fee application.            MJM       0.30     210.60
05/06/20   Instruction to M. McLoughlin (KDW)                ERW       0.50     420.75
           regarding final fee application (.1); review AG
           form of application (.1); further emails with
           M. McLoughlin (KDW) and S. Kulka (AG),
           C. Katz (FTI) and J. Edwards (AB) regarding
           KCC invoice (.3).
05/06/20   Emails with M. McLoughlin (KDW) regarding         KGH       0.20      93.60
           timeline for preparing final fee application.
05/06/20   Emails with E. Wilson and K. Hines (both          MJM       0.70     491.40
           KDW) regarding filing of final fee application
           and timing for doing same (.3); call with C.
           Zucker regarding debtors' professionals fee
           statements (.2); email update to E. Wilson
           (KDW) regarding same (.2).
05/07/20   Emails with J. Edwards (AB) regarding KCC         ERW       0.10      84.15
           fees, non-opposition.
05/08/20   Email from J. Edwards (AB) regarding KCC          ERW       0.10      84.15
           charge.
05/08/20   Begin drafting final fee application.             KGH       1.10     514.80
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
June 9, 2020
Page 3



  Date    Description                                      Tkpr   Hours     Amount

05/10/20 Continue drafting final fee application.          KGH       3.30    1,544.40
05/13/20 Continue drafting final fee application.          KGH       4.40    2,059.20
05/15/20 Emails with K. Hines (KDW) regarding final        MJM       0.40      280.80
         fee application (.2) and begin review of same
         (.2).
05/18/20 Review (.8), revise (.4); and draft sections of   MJM       2.80    1,965.60
         fee applications responsive to the Johnson
         factors (1.6).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0004
June 9, 2020
Page 4




Total Original Fees for this Matter:                                                 $12,621.00

Less 10% Discount:                                                                    $1,262.10

Total Fees Due:                                                                      $11,358.90

Total For This Matter:                                                               $11,358.90
Total this Invoice                                                                   $11,358.90
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0004
June 9, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         2.10         841.50              $1,767.15
KGH           Hines, Kayci                        11.60         468.00               5,428.80
MJM           McLoughlin, Maeghan J                5.50         702.00               3,861.00
MMV           Vicinanza, Marie M                   1.10         274.50                 301.95




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                  KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                           AFFILIATE OFFICE:
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     HOUSTON                                      BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                           June 9, 2020
                                                                                   Invoice No. 2791920

 027768           Krystal Company Committee
 0005             Financing and Cash Collateral


                                Account Summary and Remittance Form


Legal Services:                                                                               $10,290.50

Less 10% Discount:                                                                            ($1,029.05)

Total Fees Due:                                                                                 $9,261.45

Disbursements and Other Charges:                                                                     $0.00

                            Total Amount Due:                                                 $9,261.45

                         Terms: Payment Due on or Before July 9, 2020
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 ABA #: 021-000-021                                            KELLEY DRYE & WARREN LLP
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 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                        101 PARK AVENUE
 ACCOUNT #:135-046110                                          NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER             (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                               MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791920

Client 027768
Matter 0005 Financing and Cash Collateral

Attorney: 01118                                                                                    Page 1

  Date    Description                                       Tkpr   Hours     Amount

05/11/20 Review revised cash collateral order (.3);         ERW       0.60    $504.90
         emails with R. Williamson (SW) and M.
         McLoughlin (KDW) regarding same, revisions
         (.3).
05/12/20 Email from R. Williamson (SW) regarding            ERW       1.70    1,430.55
         revised cash collateral order (.1); review
         various iterations of revised order (.4);
         conference call with M. McLoughlin (KDW)
         and D. Laddin (AG) regarding same (.5);
         extensive emails with M. McLoughlin
         (KDW), D. Laddin and S. Kulka (both of AG)
         R. Williamson (SW) regarding revisions to
         same (.7).
05/12/20 Call with E. Wilson (KDW) and D. Laddin            MJM       1.70    1,193.40
         (AG) regarding cash collateral issues (.5);
         review (.3) and revise cash collateral order
         (.7); confer with S. Kulka (AG) regarding
         payment of professional fees (.2).
05/13/20 Further emails with R. Williamson (SW), S.         ERW       0.90     757.35
         Borders (KS), J. Edwards (AB), M.
         McLoughlin (KDW) and D. Laddin (AG)
         regarding cash collateral order, revisions (.6);
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                                    KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                              MUMBAI, INDIA
     CHICAGO                                      PARSIPPANY
    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0005
June 9, 2020
Page 2



  Date    Description                                       Tkpr   Hours     Amount

         review various iterations of cash collateral
         order (.3).
05/13/20 Emails with J. Edwards (AB) and R.                 MJM       2.20    1,544.40
         Williamson (SW) regarding 506(c) waiver
         (.2); review filed cash collateral motion for
         506(c) request (.2); review filed final cash
         collateral order (.2); further emails with R.
         Williamson (SW) regarding amending final
         order (.2); follow up emails with same
         regarding terms of interim order (.2); review
         draft interim order (several times) (.5) and
         comment on same (.3); follow up emails with
         E. Wilson (KDW) and D. Laddin (AG)
         regarding changes (.2); follow up emails with
         J. Edwards (AB) regarding scope of
         reservation of rights (.2).
05/14/20 Confer (2X) with M. McLoughlin (KDW)               ERW       0.90     757.35
         regarding further revisions to cash collateral
         order (.2); review revised order (.2); emails
         with M. McLoughlin (KDW), S. Kulka (AG),
         R. Williamson (SW) and J. Edwards (AB)
         regarding same and April deposit (.5).
05/14/20 Calls (4X) with S. Kulka (AG) (.5) regarding       MJM       2.30    1,614.60
         cash collateral order; revise order numerous
         times (.7); emails with R. Williamson (SW)
         regarding ROR (.2); review his comments to
         order (.3); calculate unpaid April fees (.2) and
         emails with J. Edwards (AB) regarding fees
     Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                        NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                      STAMFORD                               MUMBAI, INDIA
    CHICAGO                                         PARSIPPANY
    HOUSTON                                          BRUSSELS




Krystal Company Committee
Client 027768
Matter 0005
June 9, 2020
Page 3



  Date     Description                                         Tkpr   Hours     Amount

           and RoR (.2); follow up calls (2X) with E.
           Wilson (KDW) regarding cash collateral order
           (.2).
05/19/20   Review final cash collateral order (.2); emails     ERW       0.40     336.60
           with A. Ray (SW), M. McLoughlin (KDW)
           and S. Kulka (AG) regarding same (.2).
05/20/20   Further emails with J. Edwards (AB), S.             ERW       0.40     336.60
           Borders (KS) and S. Kulka (AG) regarding
           cash collateral.
05/20/20   Review and comment on final cash collateral         MJM       0.40     280.80
           order.
05/21/20   Review critical dates chart (.1); update task       ERW       0.20     168.30
           list (.1).
05/22/20   Emails from J. Edwards (AB) and L.                  ERW       0.40     336.60
           Shermohammed (KS) regarding rejection, sale
           and substantial contribution orders (.1); briefly
           review orders on rejection (.1), sale (.1) and
           contribution (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
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Krystal Company Committee
Client 027768
Matter 0005
June 9, 2020
Page 4




Total Original Fees for this Matter:                                                 $10,290.50

Less 10% Discount:                                                                    $1,029.05

Total Fees Due:                                                                       $9,261.45

Total For This Matter:                                                                $9,261.45
Total this Invoice                                                                    $9,261.45
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 503 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
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     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0005
June 9, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         5.50         841.50              $4,628.25
MJM           McLoughlin, Maeghan J                6.60         702.00               4,633.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791921

 027768           Krystal Company Committee
 0006             Asset Analysis, Recovery and Disposition


                                Account Summary and Remittance Form


Legal Services:                                                                              $27,776.00

Less 10% Discount:                                                                           ($2,777.60)

Total Fees Due:                                                                              $24,998.40

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $24,998.40

                         Terms: Payment Due on or Before July 9, 2020
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      June 9, 2020
                                                                              Invoice No. 2791921

Client 027768
Matter 0006 Asset Analysis, Recovery and Disposition

Attorney: 01118                                                                                 Page 1

  Date   Description                                     Tkpr   Hours     Amount

05/01/20 Further emails with J. Edwards (AB)             ERW       1.00    $841.50
         regarding revisions to release language (.2);
         emails with J. Edwards (AB), M. McLoughlin
         (KDW), L. Shermohammed (KS) and S.
         Kulka (AG) regarding 9019 motion (.4); final
         review of same prior to circulation (.3);
         instruction to M. McLoughlin (KDW)
         regarding same (.1).
05/01/20 Review sale status for impact.                  KGH       0.20      93.60
05/01/20 Review 9019 motion (.4) and comment on          MJM       0.90     631.80
         same (.3); emails with J. Edwards (AB)
         regarding proposed order (.2).
05/05/20 Emails from J. Edwards (AB) regarding           ERW       0.30     252.45
         Fortress bid and adequate assurance (.1);
         review revised bid (.2).
05/05/20 Review updated credit bid package (.3);         MJM       1.10     772.20
         review adequate assurance package (.3); call
         with J. Edwards (AB) regarding same (.1);
         review sale timeline (.2) and update closing
         timeline/process (.2).
05/06/20 Emails with M. McLoughlin (KDW) and C.          ERW       0.80     673.20
         Marshall (Coca-Cola) regarding cancellation
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
Client 027768
Matter 0006
June 9, 2020
Page 2



  Date     Description                                       Tkpr   Hours     Amount

           of auction (.1); review notice of cancellation
           (.1); emails with M. McLoughlin (KDW) and
           K. Carson (RI) regarding sale, closing and
           designation rights period (.2); emails with M.
           McLoughlin (KDW) regarding sale objection
           (.1); emails with J. Edwards (AB), L.
           Shermohammed (KS) regarding Fortress bid,
           notice of no auction (.2); emails from A.
           LaVasseur (AB) regarding execution version
           of credit bid (.1).
05/06/20   Review status of sale, including auction          KGH       0.20      93.60
           cancellation.
05/06/20   Emails with E. Wilson (KDW) regarding             MJM       0.70     491.40
           possible sale issues (.2); emails with J.
           Edwards (AB) regarding executed APA (.2);
           review notice of no auction (.2) and send same
           to C. Marshall (Coca Cola) (.1).
05/07/20   Email from M. McLoughlin (KDW) regarding          ERW       0.20     168.30
           MetroAir sale objection (.1); review same (.1).
05/07/20   Review MetroAir sale objection (.2) and           MJM       0.50     351.00
           summarize same for E. Wilson (.2); call to J.
           Duston (KS) regarding status of sale order
           (.1).
05/08/20   Emails with M. McLoughlin and S. Borders          ERW       0.20     168.30
           (KS) regarding sale order.
05/08/20   Review and analyze substantial contribution       ERW       1.20    1,009.80
           motion (.3); emails with M. McLoughlin
           (KDW) regarding same, committee call (.2);
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                               MUMBAI, INDIA
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    HOUSTON                                        BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
June 9, 2020
Page 3



  Date     Description                                       Tkpr   Hours     Amount

           confer (.2) and emails (.3) with M.
           McLoughlin (KDW) regarding same; emails
           with S. Borders (KS) regarding substantial
           contribution, back-up (.2).
05/08/20   Emails with S. Borders (KS) regarding draft of    MJM       0.20     140.40
           sale order and timing for filing same.
05/08/20   Review draft substantial contribution motion      MJM       1.00     702.00
           (.4); and motion to shorten notice (.2); emails
           with E. Wilson (KDW) regarding response to
           same (.2); email with S. Borders (KS)
           regarding committee review rights (.1); call
           with E. Wilson (KDW) regarding same (.1).
05/09/20   Emails from S. Borders (KS) regarding sale        ERW       0.50     420.75
           order (.1); review same (.3); instruction to M.
           McLoughlin (KDW) regarding same (.1).
05/11/20   Review draft sale order (.6); emails with S.      ERW       2.20    1,851.30
           Borders (KS), J. Edwards (AB) and M.
           McLoughlin (KDW) regarding same, call to
           discuss (.3); conference call with M.
           McLoughlin (KDW) and D. Laddin (AG)
           regarding disposition of call to discuss sale
           order, revised order (.6); review revised sale
           order (.3); confer with M. McLoughlin (KDW)
           regarding sale order, Nashville claim (.2);
           review Nashville invoice (.1); emails with M.
           McLoughlin (KDW) and C. Zucker (FTI)
           regarding same (.1).
05/11/20   Call with E. Wilson (KDW) to discuss sale         MJM       5.50    3,861.00
     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                NEW YORK                           AFFILIATE OFFICE:
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    CHICAGO                                 PARSIPPANY
    HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
June 9, 2020
Page 4



  Date   Description                                Tkpr     Hours     Amount

         order (.2); review sale order (1.1) and
         comment on same (3.2); emails with E.
         Wilson (KDW) regarding same (.1) and
         incorporate his comments (.2); review
         supplemental cure notice (.3); review
         substantial contribution claim backup (.2);
         review wind down budget for cushion
         amounts (.2); follow up emails with S.
         Borders (KS) regarding amounts being used to
         fund substantial contribution claim (.2); emails
         with J. Tibus (AM) and E. Wilson (KDW)
         regarding same (.2); conference call with E.
         Wilson (KDW) and D. Laddin (AG) regarding
         sale order (.6).
05/12/20 Calls (.5) and emails (.3) with M. McLoughlin ERW      3.10    2,608.65
         (KDW) regarding sale order; review multiple
         revisions to sale order (1.1); multiple emails
         with J. Edwards (AB), M. McLoughlin
         (KDW), D. Laddin and S. Kulka (both of AG)
         and S. Border (KS) regarding same (.5);
         emails with M. McLoughlin (KDW), L.
         Shermohammed and S. Borders (both of KS)
         and J. Edwards (AB) regarding call to discuss
         cash collateral order, sale order (.3); email
         from A. Ray (SW) regarding amendment to
         APA (.1); review same (.1); further emails to
         M. McLoughlin (KDW) regarding Nashville
         motion, impact (.2).
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0006
June 9, 2020
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  Date   Description                                     Tkpr     Hours     Amount

05/12/20 Call with S. Kulka (AG) regarding sale issues MJM           5.70    4,001.40
         and substantial contribution claim (.4); review
         substantial contribution claim objection (.2)
         and email with E. Wilson (KDW) regarding
         same (.1); follow up call with S. Kulka (AG)
         regarding open sale issues (.3) and calls with
         E. Wilson (KDW) regarding same (.5); review
         purchaser's comments to sale order (.6) and
         compare to KDW comments (.3); prepare for
         all hands call (.3); call with D. Laddin to
         prepare for all hands call (.4); call with S.
         Borders, L. Shermohammed (KS), J. Edwards
         (AB), and D. Laddin (AG) regarding
         remaining sale order issues (1.0); analyze
         amendment to APA (.3) and compare to APA
         terms (.3); revise debtors' draft sale order (.5);
         call with S. Kulka (AG) to discuss outcome of
         sale order and APA amendment (.5).
05/13/20 Emails with S. Kulka (AG), M. McLoughlin           ERW      1.10     925.65
         (KDW and S. Borders (KS) regarding
         settlement (.2); review various iterations of
         revised sale order (.5); emails with S. Borders
         (KS), R. Williamson (SW), D. Laddin (AG)
         and M. McLoughlin (KDW) regarding same
         (.4).
05/13/20 Review final draft of sale order (.3): call with MJM        2.60    1,825.20
         S. Borders (KS) regarding same (.1); emails
         with J. Edwards (AB) regarding payment of
     Case 20-61065-pwb           Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
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  Date     Description                                         Tkpr   Hours     Amount

           MetroAir secured claim (.2) and review
           MetroAir motion (.2); follow up call with S.
           Kulka regarding Retained Cash (.4); emails
           with S. Borders (KS), R Williamson (SW), E.
           Wilson (KDW), D. Laddin, S. Kulka (both
           AG), and J. Edwards (AB) regarding sale
           order and sale hearing (.4); post-hearing
           review of sale order of several drafts of sale
           order (.5); call with C. Zucker (FTI) regarding
           terms of sale order (.3); review entered sale
           order (.1) and settlement agreement (.1).
05/18/20   Emails with M. McLoughlin (KDW), J.                 ERW       0.20     168.30
           Edwards (AB) and J. Borders (KS) regarding
           closing.
05/18/20   Emails with S. Borders (KS) and J. Edwards          MJM       0.20     140.40
           (AB) regarding sale closing.
05/20/20   Review as entered sale order (.2), settlement       ERW       0.40     336.60
           order (.1) and wind down budget (.1).
05/20/20   Initial review of designation rights assets list.   MJM       0.20     140.40
05/21/20   Emails with J. Edwards (AB) and M.                  ERW       0.30     252.45
           McLoughlin (KDW) regarding status of
           landlord objections (.1); review status report
           (.2).
05/21/20   Emails with J. Edwards (AB) regarding KRY           ERW       0.40     336.60
           settlement and Realty Income (.2); review
           landlord objection (.2).
05/21/20   Review designation rights/assigned contracts        MJM       0.50     351.00
           list (.3); review for UCC member impact (.2).
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Krystal Company Committee
Client 027768
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June 9, 2020
Page 7



  Date   Description                                       Tkpr   Hours     Amount

05/22/20 Review numerous landlord cure objections          MJM       0.50     351.00
         (.3); review revised substantial contribution
         order (.2).
05/23/20 Emails with C. Marshall (coca-cola) regarding     MJM       0.40     280.80
         designation rights notice (.1); review current
         notice and prior cure list (.2); emails with J.
         Edwards (AB) regarding same (.1).
05/26/20 Emails with J. Edwards (AB) and M.                ERW       0.20     168.30
         McLoughlin (KDW) regarding lease
         negotiations, contracts assumptions.
05/28/20 Emails with L. Shermohammed (KS), M.              ERW       0.70     589.05
         McLoughlin (KDW), K. Carson (RI) and J.
         Edwards (AB) regarding assumption, rejection
         and payment for June rent (.4); confer with M.
         McLoughlin (KDW) regarding same (.2);
         review amended order (.1).
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Krystal Company Committee
Client 027768
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June 9, 2020
Page 8




Total Original Fees for this Matter:                                                 $27,776.00

Less 10% Discount:                                                                    $2,777.60

Total Fees Due:                                                                      $24,998.40

Total For This Matter:                                                               $24,998.40
Total this Invoice                                                                   $24,998.40
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
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June 9, 2020
Page 9




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                        12.80         841.50         $10,771.20
KGH           Hines, Kayci                         0.40         468.00             187.20
MJM           McLoughlin, Maeghan J               20.00         702.00          14,040.00




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791922

 027768           Krystal Company Committee
 0007             Executory Contracts and Leases


                                Account Summary and Remittance Form


Legal Services:                                                                                $4,881.50

Less 10% Discount:                                                                             ($488.15)

Total Fees Due:                                                                                $4,393.35

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $4,393.35

                         Terms: Payment Due on or Before July 9, 2020
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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       June 9, 2020
                                                                               Invoice No. 2791922

Client 027768
Matter 0007 Executory Contracts and Leases

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

05/05/20 Review KRY and Tenn Partners objections to       MJM       0.30    $210.60
         motion to extend assumption/rejection period.
05/11/20 Emails with K. Hines (KDW), S. Borders and       ERW       0.40     336.60
         L. Shermohammed (both of KS) regarding
         rejection order (.1); review same (.1); review
         supplemental cure notice (.1); email from M.
         McLoughlin (KDW) regarding same (.1).
05/11/20 Review upcoming objection deadline for           KGH       0.90     421.20
         365(d)(4) extension and deadline (.2); review
         status of comments to proposed order
         365(d)(4) (.2); emails with L. Shermohammed
         (.2) and S. Borders (.2) confirming whether
         any other; emails with M. McLoughlin
         regarding signoff on same (.1).
05/11/20 Emails with K. Hines (KDW) and K.                MJM       0.20     140.40
         Shermohammed (KS) regarding revised
         365(d)(4) order.
05/12/20 Review various cure objections, Colluro          ERW       0.40     336.60
         family (.3); forward to M. McLoughlin
         (KDW) with instruction (.1).
05/13/20 Emails with K. Carson (RI) regarding             ERW       0.40     336.60
         supplemental cure notice (.1); email from L.
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   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
Client 027768
Matter 0007
June 9, 2020
Page 2



  Date     Description                                      Tkpr   Hours     Amount

           Shermohammed (KS) regarding lease
           assumption order (.1); review same (.1);
           instruction to M. McLoughlin (KDW)
           regarding same (.1).
05/13/20   Review (.2) and comment on (.2) revised          MJM       0.60     421.20
           365(d)(4) order; call with L. Shermohammed
           (KS) regarding same (.1); emails with E.
           Wilson (KDW) regarding scope of relief (.1).
05/19/20   Emails with S. Borders (KS) and J. Edwards       MJM       1.10     772.20
           (AB) regarding 5/21 hearing on 365(d)(4)
           motion (.2); follow up emails with D. Laddin
           (AG) regarding same (.1); prepare for (.2) and
           call with S. Borders (KS) and J. Edwards (AB)
           (.2); follow up call with S. Kulka (AG) (.2);
           summarize same for E. Wilson (KDW) (.2).
05/22/20   Review, comment on 365(d)(4) order.              MJM       0.20     140.40
05/27/20   Review rejection notice.                         ERW       0.10      84.15
05/27/20   Review entered 365(d)(4) order (.2) and          MJM       0.60     421.20
           assumption/rejection procedures order (.2);
           analyze rejection notice (.2).
05/28/20   Calls with J. Edwards (AB) regarding             MJM       1.10     772.20
           365(d)(4) order (.3); review same (.2); follow
           up calls with K. Carson (RIC) regarding terms
           of order (.3); follow up emails regarding same
           (.3).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0007
June 9, 2020
Page 3




Total Original Fees for this Matter:                                                  $4,881.50

Less 10% Discount:                                                                      $488.15

Total Fees Due:                                                                       $4,393.35

Total For This Matter:                                                                $4,393.35
Total this Invoice                                                                    $4,393.35
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0007
June 9, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.30         841.50              $1,093.95
KGH           Hines, Kayci                         0.90         468.00                 421.20
MJM           McLoughlin, Maeghan J                4.10         702.00               2,878.20




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 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                            June 9, 2020
                                                                                    Invoice No. 2791923

 027768           Krystal Company Committee
 0009             Claims Administration, Analysis & Objection


                                Account Summary and Remittance Form


Legal Services:                                                                                  $1,601.50

Less 10% Discount:                                                                               ($160.15)

Total Fees Due:                                                                                  $1,441.35

Disbursements and Other Charges:                                                                      $0.00

                            Total Amount Due:                                                  $1,441.35

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 ABA #: 021-000-021                                             KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                           ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                         101 PARK AVENUE
 ACCOUNT #:135-046110                                           NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      June 9, 2020
                                                                              Invoice No. 2791923

Client 027768
Matter 0009 Claims Administration, Analysis & Objection

Attorney: 01118                                                                                 Page 1

  Date   Description                                     Tkpr   Hours     Amount

05/04/20 Emails with M. McLoughlin (KDW) regarding       KGH       0.20     $93.60
         upcoming bar date.
05/05/20 Instruction to M. Vicinanza (KDW) regarding     KGH       1.20     561.60
         items in advance of May 19 bar date (.7);
         follow up emails regarding same (.3); emails
         with M. McLoughlin (KDW) regarding status
         of same (.2).
05/05/20 Emails with K. Hines (KDW) regarding            MJM       0.20     140.40
         general bar date and claims process.
05/07/20 Review claims status in light of May 19         KGH       0.60     280.80
         claims bar date (.4); instruction to M.
         Vicinanza (KDW) regarding same (.2).
05/13/20 Emails with M. McLoughlin (KDW) regarding       ERW       0.10      84.15
         claims bar date.
05/13/20 Emails with E. Wilson (KDW) regarding           MJM       0.20     140.40
         general bar date and update to committee
         regarding same.
05/19/20 Review stipulations allowing filing of claims   MJM       0.20     140.40
         past the bar date.
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Krystal Company Committee
Client 027768
Matter 0009
June 9, 2020
Page 2




Total Original Fees for this Matter:                                                  $1,601.50

Less 10% Discount:                                                                      $160.15

Total Fees Due:                                                                       $1,441.35

Total For This Matter:                                                                $1,441.35
Total this Invoice                                                                    $1,441.35
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0009
June 9, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.10         841.50               $84.15
KGH           Hines, Kayci                         2.00         468.00               936.00
MJM           McLoughlin, Maeghan J                0.60         702.00               421.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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     CHICAGO                                 PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791924

 027768           Krystal Company Committee
 0011             Committee and Creditor Communications


                                Account Summary and Remittance Form


Legal Services:                                                                              $15,628.00

Less 10% Discount:                                                                           ($1,562.80)

Total Fees Due:                                                                              $14,065.20

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                               $14,065.20

                         Terms: Payment Due on or Before July 9, 2020
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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
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     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       June 9, 2020
                                                                               Invoice No. 2791924

Client 027768
Matter 0011 Committee and Creditor Communications

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

05/01/20 Emails with M. McLoughlin (KDW) and T.           ERW       0.40    $336.60
         Atkinson (PA) regarding cure objection (.2);
         emails with K. Carson (RI) regarding
         Nashville break-up fee (.2).
05/01/20 Emails with T. Atkinson (NCR) regarding          MJM       0.20     140.40
         cure objection and contact information for
         debtors.
05/05/20 Confer with M. McLoughlin (KDW) regarding        ERW       0.60     504.90
         revised Fortress bid, committee update, KCC
         invoice (.2); instruction to M. McLoughlin
         (KDW) regarding tomorrow's committee call
         (.1); emails to C. Zucker (FTI) regarding same
         (.1); update to committee regarding same (.1);
         email from S. Marshall (Coca-Cola) regarding
         same (.1).
05/05/20 Draft committee update on bid deadline,          MJM       1.00     702.00
         updated credit bid adequate assurance
         information (.5); confer (.2) and emails (.1)
         with E. Wilson (KDW) regarding same; revise
         same (.2).
05/05/20 Respond to creditor inquiries regarding bar      MMV       0.20      54.90
         date and filing of same.
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
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Krystal Company Committee
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Page 2



  Date   Description                                       Tkpr   Hours     Amount

05/06/20 Emails with C. Marshall (Coca-Cola)               ERW       0.10      84.15
         regarding cancellation of auction.
05/06/20 Emails with C. Marshall (Coca Cola)               MJM       0.90     631.80
         regarding sale update (.2) and review docket in
         response to questions (.1); emails with K.
         Carson (RIC) and review designation rights
         procedures in connection with same (.3);
         review email correspondence between K.
         Carson and A&M (.1) and further emails with
         K. Carson regarding amended cure amounts
         (.2).
05/07/20 Emails with K. Carson (RIC) regarding             MJM       0.20     140.40
         general bar date.
05/08/20 Emails with P. Rosenblatt (KL) and C. Zucker      ERW       0.70     589.05
         (FTI) regarding administrative solvency (.2);
         emails with M. McLoughlin (KDW) and R.
         Lemisch (SC) regarding sale, assumption (.1);
         email with M. McLoughlin (KDW) regarding
         rescheduling Wednesday's call (.2); review
         and revise update (.2).
05/08/20 Emails and call with R. Lemisch (KH)              MJM       1.10     772.20
         regarding SLM claim and go-forward
         business; draft and revise committee update on
         substantial contribution motion (.7); emails
         with K. Carson (RIC) and E. Wilson (KDW)
         regarding same (.2).
05/09/20 Emails with K. Carson (RI) regarding              ERW       0.20     168.30
         substantial contribution claim.
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Krystal Company Committee
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Page 3



  Date   Description                                     Tkpr   Hours     Amount

05/11/20 Emails with K. Carson (RI) and J. Edwards       ERW       0.30     252.45
         (AB) regarding Nashville claim (.1); review
         agenda for tomorrow's )hearing (.1); forward
         to M. McLoughlin (KDW) with instruction
         (.1).
05/11/20 Draft committee update regarding                MJM       0.30     210.60
         supplemental cure notice.
05/12/20 Emails with C. Marshall (Coca-Cola) and S.      ERW       0.20     168.30
         Simms (FTI) regarding management turnover.
05/12/20 Email with M. Rogers (NCR) regarding            MJM       0.30     210.60
         tomorrow's hearing (.1); email with R.
         Lemisch (KH) regarding cure objection
         deadline (.1); email with K. Carson (RIC)
         regarding supplemental cure notice (.1).
05/13/20 Draft committee update on sale hearing (.4);    MJM       0.60     421.20
         revise, send same (.2).
05/14/20 Conference call (.2) and emails (.2); with M.   ERW       0.40     336.60
         Roger (NCR) regarding cure, resignation.
05/15/20 Review cure notice and supplemental cure        MJM       0.30     210.60
         notice (.2) and call with C. Level (KH)
         regarding changes between such documents
         (.1).
05/18/20 Emails with M. McLoughlin (KDW) regarding       ERW       0.20     168.30
         next committee call.
05/18/20 Emails with E. Wilson (KDW) (.1) and C.         MJM       1.80    1,263.60
         Zucker (FTI) (.1) regarding committee call;
         review docket and sale documents for
         upcoming dates/deadlines (.3) and draft
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  Date   Description                                 Tkpr     Hours     Amount

         talking points (1.1) and agenda (.2) for same.
05/19/20 Emails with M. McLoughlin (KDW) and C.         ERW      1.20    1,009.80
         Zucker (FTI) regarding talking points for
         tomorrow's call (.2); review and comment on
         same (.3); emails with T. Atkinson (UB) and
         M Rogers (NCR) regarding resignation from
         UCC (.2); instruction to M. McLoughlin
         (KDW) regarding same (.4); update to
         committee regarding tomorrow's call (.1);
         confer with M. McLoughlin (KDW) regarding
         tomorrow's call (.2)
05/19/20 Coordinate removal from committee member KGH            0.20      93.60
         emails of Mark Rogers and counsel in light of
         CNA committee member resignation.
05/19/20 Draft, send committee update (.2); update      MJM      1.40     982.80
         talking points (.5); emails with E. Wilson
         (KDW) regarding committee call (.1); emails
         with M. Rogers (NCR) regarding resignation
         (.1) and follow up regarding removal from
         distribution list (.1); call with E. Wilson
         (KDW) to prepare for same (.2); call with K.
         Carson (RIC) regarding 365(d)(4) motion (.2).
05/20/20 Prepare for call (.2) and call (.3) with       ERW      0.90     757.35
         committee regarding case status, next steps;
         review and comment on update to committee
         (.2); further emails to M. McLoughlin (KDW)
         regarding NCR resignation from committee
         (.2).
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  Date   Description                                       Tkpr   Hours     Amount

05/20/20 Prepare for (.1) and participate in (.3)          MJM       0.70     491.40
         committee call; draft committee update with
         relevant orders/dates (.3).
05/21/20 Emails with M. McLoughlin (KDW) regarding         ERW       0.30     252.45
         NCR resignation (.1); review and comment on
         committee update (.2).
05/21/20 Draft update to UST regarding NCR's               MJM       0.50     351.00
         resignation (.2); draft committee update on
         designation rights notice and NCR's
         resignation (.3).
05/22/20 Further emails to M. McLoughlin (KDW)             ERW       0.20     168.30
         regarding NCR resignation.
05/22/20 Review and comment on committee update            ERW       0.50     420.75
         regarding designation rights (.1); email to UST
         regarding NCR (.1); emails with M.
         McLoughlin (KDW) and K. Carson (RI)
         regarding comments to orders (.2); update to
         committee regarding designation rights, sale
         closing (.1).
05/22/20 Send committee email regarding designation        MJM       0.30     210.60
         rights list and next steps.
05/23/20 Emails with M. McLoughlin (KDW) and C.            ERW       0.40     336.60
         Marshall (Coca-Cola) regarding designation
         issues (.2); further emails with M.
         McLoughlin (KDW) and K. Carson (RI)
         regarding form of orders (.2).
05/23/20 Emails with K. Carson (RIC) regarding             MJM       0.20     140.40
         revisions to 365(d)(4) order.
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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Krystal Company Committee
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Page 6



  Date   Description                                       Tkpr   Hours     Amount

05/26/20 Call with K. Carson (RIC) regarding 365(d)(4)     MJM       0.50     351.00
         order and rent relief negotiations (.2); emails
         with C. Marshall (Coca Cola) and J. Edwards
         (AB) regarding status of rejected contracts
         (.2); follow up emails with M. Bordwin (KS)
         regarding rent relief (.1).
05/27/20 Emails with K. Carson (RI) (.1) and C.            ERW       0.40     336.60
         Marshall (Coca-Cola) (.1) regarding order,
         contract disposition; emails from M.
         McLoughlin (KDW) and M. Duedall (BC)
         regarding rejection (.1); emails from M.
         McLoughlin (KDW) and C. Marshall
         (Coca-Cola) regarding rejection (.1).
05/27/20 Email S. Kulka (AGG) fully executed               KGH       0.20      93.60
         committee bylaws.
05/27/20 Emails with S. Kulka (AG) regarding bylaws        MJM       1.00     702.00
         and confidentiality agreement (.2); review
         emails for executed drafts of same (.2); draft
         committee update on rejection notice (.2);
         emails with C. Marshal (Coca Cola) (.2) and
         M. Duedall (.2) regarding impact of rejection.
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Page 7




Total Original Fees for this Matter:                                                 $15,628.00

Less 10% Discount:                                                                    $1,562.80

Total Fees Due:                                                                      $14,065.20

Total For This Matter:                                                               $14,065.20
Total this Invoice                                                                   $14,065.20
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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Krystal Company Committee
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Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         7.00         841.50              $5,890.50
KGH           Hines, Kayci                         0.40         468.00                 187.20
MJM           McLoughlin, Maeghan J               11.30         702.00               7,932.60
MMV           Vicinanza, Marie M                   0.20         274.50                  54.90




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791925

 027768           Krystal Company Committee
 0012             Business Operations


                                Account Summary and Remittance Form


Legal Services:                                                                                  $873.00

Less 10% Discount:                                                                               ($87.30)

Total Fees Due:                                                                                  $785.70

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $785.70

                         Terms: Payment Due on or Before July 9, 2020
                        Please Return This Page With Your Payment




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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
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     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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   WASHINGTON                                    NEW YORK                          AFFILIATE OFFICE:
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      June 9, 2020
                                                                              Invoice No. 2791925

Client 027768
Matter 0012 Business Operations

Attorney: 01118                                                                                  Page 1

  Date   Description                                     Tkpr   Hours     Amount

05/07/20 Email from J. Simpson (A&M) regarding           ERW       0.20    $168.30
         weekly cash reporting (.1); review same (.1).
05/07/20 Review cash variance report.                    MJM       0.20     140.40
05/14/20 Email from J. Simpson (AM) regarding cash       ERW       0.20     168.30
         report (.1); review same (.1).
05/14/20 Review cash flow report.                        MJM       0.20     140.40
05/20/20 Email from M. Kuan (FTI) regarding budget       ERW       0.20     168.30
         report (.1); review same (.1).
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Krystal Company Committee
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June 9, 2020
Page 2




Total Original Fees for this Matter:                                                    $873.00

Less 10% Discount:                                                                        $87.30

Total Fees Due:                                                                         $785.70

Total For This Matter:                                                                  $785.70
Total this Invoice                                                                      $785.70
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0012
June 9, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.60         841.50              $504.90
MJM           McLoughlin, Maeghan J                0.40         702.00               280.80




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 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
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 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791926

 027768           Krystal Company Committee
 0013             Court Hearings


                                Account Summary and Remittance Form


Legal Services:                                                                              $10,131.00

Less 10% Discount:                                                                           ($1,013.10)

Total Fees Due:                                                                                $9,117.90

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $9,117.90

                         Terms: Payment Due on or Before July 9, 2020
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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
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 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
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     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         June 9, 2020
                                                                                 Invoice No. 2791926

Client 027768
Matter 0013 Court Hearings

Attorney: 01118                                                                                   Page 1

  Date   Description                                       Tkpr   Hours     Amount

05/11/20 Review telephonic call in information for         KGH       0.60    $280.80
         Judge Bonapfel (.2); emails regarding same
         (.2); review agenda for tomorrow's hearing in
         light of same (.2).
05/11/20 Review hearing agenda for 5/12 hearing (.2)       MJM       0.50     351.00
         and brief review of objections to 365(d)(4)
         motion (.3).
05/12/20 Emails with M. McLoughlin (KDW) and M.            ERW       0.40     336.60
         Rogers (NCR) regarding sale hearing (.1);
         conference call with M. McLoughlin (KDW)
         regarding disposition of todays hearing,
         break-up fee and sale order (.3).
05/12/20 Review and circulate agenda for tomorrow's        KGH       0.20      93.60
         sale hearing.
05/12/20 Prepare for today's hearing (.3) and emails       MJM       3.10    2,176.20
         with S. Kulka (AG) regarding same (.1);
         participate in omnibus hearing (1.3); discuss
         hearing outcome with E. Wilson (KDW) (.3);
         prepare for tomorrow's sale and cash collateral
         hearing (.5); review agenda (.1) and amended
         agenda (.1); review objections to sale/adequate
         assurance in preparation for tomorrow's
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0013
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Page 2



  Date    Description                                        Tkpr   Hours     Amount

         hearing (.4).
05/13/20 Partial telephonic participation on sale,           ERW       1.20    1,009.80
         settlement hearing (.8); conference call with
         M. McLoughlin (KDW) regarding disposition
         of today's hearing (.3); review and comment
         on hearing update to committee (.1).
05/13/20 Prepare for hearing (.4); participate in            MJM       2.50    1,755.00
         sale/cash collateral hearing (1.7); follow up
         calls with S. Kulka (AG) (.2) and E. Wilson
         (KDW) (.2) regarding hearing outcome.
05/18/20 Confer with M. McLoughlin (KDW) regarding           ERW       0.20     168.30
         Thursday's hearing.
05/18/20 Call with E. Wilson to discuss this week's          MJM       0.20     140.40
         hearing and preparation for same.
05/19/20 Emails with S. Borders (KS), D. Laddin (AG)         ERW       0.40     336.60
         and J. Edwards (AB) regarding hearing.
05/20/20 Review agenda for 5/21 hearing.                     MJM       0.20     140.40
05/21/20 Confer with M. McLoughlin (KDW) regarding           ERW       1.00     841.50
         today's hearing (.2); partial participation on
         today's hearing (.5); follow-up call (.2) and
         email (.1) with M. McLoughlin (KDW)
         regarding same.
05/21/20 Participate in 5/21 hearing (1.0); calls (.2) and   MJM       1.40     982.80
         emails (.2) with E. Wilson (KDW) regarding
         outcome, next steps.
05/22/20 Emails to M. McLoughlin (KDW) regarding             ERW       0.40     336.60
         disposition of yesterday's hearing, update to
         committee (.2); emails with S. Kulka (AG)
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
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Page 3



  Date   Description                                  Tkpr   Hours     Amount

         regarding Tuesday's hearing (.2).
05/26/20 Emails with S. Kulka (AG) regarding          ERW       0.20     168.30
         disposition of today's hearing.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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Krystal Company Committee
Client 027768
Matter 0013
June 9, 2020
Page 4




Total Original Fees for this Matter:                                                 $10,131.00

Less 10% Discount:                                                                    $1,013.10

Total Fees Due:                                                                       $9,117.90

Total For This Matter:                                                                $9,117.90
Total this Invoice                                                                    $9,117.90
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 541 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0013
June 9, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         3.80         841.50              $3,197.70
KGH           Hines, Kayci                         0.80         468.00                 374.40
MJM           McLoughlin, Maeghan J                7.90         702.00               5,545.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 542 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          June 9, 2020
                                                                                  Invoice No. 2791927

 027768           Krystal Company Committee
 0014             Relief From Stay/Adequate Protection


                                Account Summary and Remittance Form


Legal Services:                                                                                  $499.00

Less 10% Discount:                                                                               ($49.90)

Total Fees Due:                                                                                  $449.10

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $449.10

                         Terms: Payment Due on or Before July 9, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                             MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      June 9, 2020
                                                                              Invoice No. 2791927

Client 027768
Matter 0014 Relief From Stay/Adequate Protection

Attorney: 01118                                                                                 Page 1

  Date   Description                                     Tkpr   Hours     Amount

05/05/20 Review KRY stay relief/adequate protection      MJM       0.40    $280.80
         motion and related documents.
05/08/20 Review KRY lift stay motion (.1); instruction   ERW       0.20     168.30
         to M. McLoughlin (KDW) regarding same
         (.1).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
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Krystal Company Committee
Client 027768
Matter 0014
June 9, 2020
Page 2




Total Original Fees for this Matter:                                                    $499.00

Less 10% Discount:                                                                        $49.90

Total Fees Due:                                                                         $449.10

Total For This Matter:                                                                  $449.10
Total this Invoice                                                                      $449.10
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0014
June 9, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.20         841.50              $168.30
MJM           McLoughlin, Maeghan J                0.40         702.00               280.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
                         Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
                                                        Document    Page 546 of 749
                                                          KELLEY DRYE & WARREN LLP
                                             ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: June 8, 2020 17:53:35                             DATE THRU: May 31, 2020                                                  Page: 1
Billing Timekeeper: 01118 - Carr, James S                                                     Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1708176                                                                                                     FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration


                                                       Other Charges/Disbursements
                                                                                                       Bill
 Atty ID    Attorney              Date         Description                                           Amount          Disp.       Disb Id
 07383      McLoughlin , M.J.     04/01/20     Westlaw Research                                           569.05    H T W         8674518

 07383      McLoughlin , M.J.     04/23/20     Westlaw Research                                             83.03   H T W         8674519

 07383      McLoughlin , M.J.     05/21/20     Westlaw Research                                             87.49   H T W         8676820

                                                                                         Totals:         $739.57
                           Case 20-61065-pwb          Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                                             KELLEY DRYE & WARREN LLP
                                                ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: June 8, 2020 17:53:35                                     DATE THRU: May 31, 2020                                               Page: 2
Billing Timekeeper: 01118 - Carr, James S                                                          Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1708176                                                                                                          FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration




              Other Charges Summary                                      Amount Disp
 000254       Westlaw Research                                              739.57   H T W
              Total                                                         739.57


                                                                        Bill Summary:


Total Disbursements:                                                                                                                      739.57
Total Due:                                                                                                                               $739.57




Attorney Instructions:
                                                                                              Amount To
      /       /    Bill Total Time & Expenses at Standard Amount.                             be billed.     $
                                                                                                                 .
      /       /    Bill Total Time & Expenses as specified by Amount to be billed.            Approved by    $

      /       /    Write Off as Unbillable.
      /       /    Hold, do not Bill
Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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              Kelley Drye & Warren LLP Total June 2020 Fees & Expenses Due


    Total June Fees Due:                                         $12,021.75
    Total June Expenses Due:                                         $98.40
    Total June Fees and Expenses Due:                            $12,120.15


               Kelley Drye & Warren LLP Payment Information – Wire or ACH


    Bank Name:                                   JP Morgan Chase Bank, N.A.
    ABA No.:                                                   021-000-021
                                                          270 Park Avenue
    Bank Address:
                                                       New York, NY 10017
    Account Name:                                 Kelley Drye & Warren LLP
    Account No.:                                                 135046110
    SWIFT Code:                                                 CHASUS33




4820-6455-3666v.2
Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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        Kelley Drye & Warren LLP June 2020 Fee Summary Breakdown By Matter

 Matter 0004: Fee Matters
    Timekeeper Code                 Timekeeper           Hours       Amount
           ERW              Wilson, Eric R.               3.5       $2,945.25
            MJM             McLoughlin, Maeghan J.        1.1        $772.20
            KGH             Hines, Kayci G.               4.7       $2,199.60
           MMV              Vicinanza, Marie M.           2.3        $631.35
 Totals for Matter 0004: Fee Matters                      11.6      $6,548.40


 Matter 0006: Asset Analysis, Recovery and Disposition
    Timekeeper Code                 Timekeeper           Hours       Amount
           ERW              Wilson, Eric R.               0.8        $673.20
            MJM             McLoughlin, Maeghan J.        1.6       $1,123.20
 Totals for Matter 0006:
 Asset Analysis, Recovery and Disposition                 2.4       $1,796.40


 Matter 0010: Disclosure Statement & Plan
     Timekeeper Code                Timekeeper           Hours       Amount
           ERW              Wilson, Eric R.               0.2        $168.30
            MJM             McLoughlin, Maeghan J.        0.2        $140.40
 Totals for Matter 0010:
 Disclosure Statement & Plan                              0.4        $308.70


 Matter 0011: Committee and Creditor Communications
    Timekeeper Code               Timekeeper             Hours       Amount
           EWR            Wilson, Eric R.                 0.3        $252.45
            MJM           McLoughlin, Maeghan J.          0.4        $280.80
 Totals for Matter 0011:
 Committee and Creditor Communications                    0.7        $533.25


 Matter 0013: Court Hearings
    Timekeeper Code                 Timekeeper           Hours       Amount
           ERW              Wilson, Eric R.               1.2       $1,009.80
            MJM             McLoughlin, Maeghan J.        2.6       $1,825.20
 Totals for Matter 0013: Court Hearings                   3.8       $2,835.00




4820-6455-3666v.2                              2
Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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                    Kelley Drye & Warren LLP June 2020 Expense Breakdown


                Duplication                                    $98.40
                Total Expenses:                                $98.40




4820-6455-3666v.2                            3
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 8, 2020
                                                                                  Invoice No. 2793936

 027768           Krystal Company Committee
 0001             Case Administration


                                Account Summary and Remittance Form


Legal Services:                                                                                     $0.00

Less 10% Discount:                                                                                ($0.00)

Total Fees Due:                                                                                     $0.00

Disbursements and Other Charges:                                                                   $98.40

                            Total Amount Due:                                                    $98.40

                        Terms: Payment Due on or Before August 7, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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     CHICAGO                                PARSIPPANY
     HOUSTON                                 BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                     July 8, 2020
                                                                             Invoice No. 2793936

Client 027768
Matter 0001 Case Administration

Attorney: 01118                                                                                  Page 1



Other Charges:

  Duplication                                                   $98.40

Total Other Charges for this Matter:                                                       98.40

Total this Invoice                                                                       $98.40
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 8, 2020
                                                                                  Invoice No. 2793937

 027768           Krystal Company Committee
 0004             Fee Matters (Applications & Objections)


                                Account Summary and Remittance Form


Legal Services:                                                                                $7,276.00

Less 10% Discount:                                                                             ($727.60)

Total Fees Due:                                                                                $6,548.40

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $6,548.40

                        Terms: Payment Due on or Before August 7, 2020
                         Please Return This Page With Your Payment




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 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
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 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                   KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                              MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
     HOUSTON                                      BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         July 8, 2020
                                                                                 Invoice No. 2793937

Client 027768
Matter 0004 Fee Matters (Applications & Objections)

Attorney: 01118                                                                                   Page 1

  Date    Description                                       Tkpr   Hours     Amount

06/01/20 Emails with S. Kulka (AG) regarding final fee      ERW       0.40    $336.60
         applications (.2); emails with J. Tibus (AM)
         regarding June fee statement (.2).
06/02/20 Emails with M. McLoughlin and K. Hines             ERW       0.50     420.75
         (both of KDW) and S. Kulka (AG) regarding
         monthly fee statement, final fee statement (.3);
         emails with J. Tibus (AM) regarding May fees
         (.2).
06/02/20 Review timeline to file final fee application.     KGH       0.20      93.60
06/02/20 Emails with E. Wilson (KDW) and S. Kulka           MJM       0.20     140.40
         (AG) regarding final fee application.
06/04/20 Review pre-bills preparatory to June               ERW       0.60     504.90
         statement, reasonableness.
06/05/20 Follow up email to M. McLoughlin (KDW)             KGH       0.10      46.80
         regarding timing for filing final fee
         application.
06/08/20 Email from A. Deese (AG) regarding June fee        ERW       0.20     168.30
         statement (.1); review statement (.1).
06/09/20 Emails to K. Hines and M. Vicinanza (both of       ERW       0.30     252.45
         KDW) regarding June fee statement.
06/09/20 Instruction (2x) to M. Vicinanza (KDW)             KGH       1.70     795.60
         regarding preparing final fee worksheet (.4);
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                     Document    Page 555 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                               MUMBAI, INDIA
    CHICAGO                                      PARSIPPANY
    HOUSTON                                       BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 8, 2020
Page 2



  Date     Description                                    Tkpr     Hours     Amount

           review April fee worksheet for completeness
           and correctness (.6); phone conference with
           M. Vicinanza regarding timing for filing same
           (.1); review and revise fee statement (.6).
06/09/20   Organize May invoices (.2); prepare May fee MMV            2.30     631.35
           statement worksheet (.9); prepare interim fee
           statement worksheet (.7); prepare summary of
           May exhibit of fees (.5)
06/10/20   Emails to K. Hines and M. Vicinanza (both of ERW           0.20     168.30
           KDW) regarding fee statements.
06/10/20   Review May fee statement worksheet for            KGH      1.10     514.80
           completeness and correctness (.5); review and
           revise fee statement (.6).
06/11/20   Emails with K. Hines and M. McLoughlin            ERW      0.40     336.60
           (both of KDW) regarding June fee statement
           (.2); review and comment on fee statement
           (.2).
06/11/20   Review updated timeline for filing final fee      KGH      1.60     748.80
           application (.2); draft cover letter (.2); review
           invoices for redaction (.7); compile May
           invoices for same (.3); email to E. Wilson and
           M. McLoughlin for review (.2).
06/11/20   Review May fee statement and invoices (.4);       MJM      0.50     351.00
           email E. Wilson (KDW) regarding same (.1).
06/12/20   Email from L. Forster (SW) regarding SW           ERW      0.50     420.75
           June statement (.1); review same (.1); forward
           to M. McLoughlin (KDW) (.1); email from C.
           Pope-Koch (KS) regarding K&S June
     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                             MUMBAI, INDIA
    CHICAGO                                  PARSIPPANY
    HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 8, 2020
Page 3



  Date   Description                                   Tkpr   Hours     Amount

         statement (.1); review same (.1).
06/15/20 Finalize, send KDW May fee statement.         MJM       0.20     140.40
06/17/20 Email from A. Deese (FTI) regarding FTI fee   ERW       0.20     168.30
         statement (.1); review same (.1).
06/26/20 Emails with M. McLoughlin (KDW), J. Tibus     ERW       0.20     168.30
         (A&M) regarding June statement.
06/26/20 Email with J. Tibus (AG) regarding payment    MJM       0.20     140.40
         of KDW May fees.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 557 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 8, 2020
Page 4




Total Original Fees for this Matter:                                                  $7,276.00

Less 10% Discount:                                                                      $727.60

Total Fees Due:                                                                       $6,548.40

Total For This Matter:                                                                $6,548.40
Total this Invoice                                                                    $6,548.40
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 558 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 8, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         3.50         841.50              $2,945.25
KGH           Hines, Kayci                         4.70         468.00               2,199.60
MJM           McLoughlin, Maeghan J                1.10         702.00                 772.20
MMV           Vicinanza, Marie M                   2.30         274.50                 631.35




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 559 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
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     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 8, 2020
                                                                                  Invoice No. 2793938

 027768           Krystal Company Committee
 0006             Asset Analysis, Recovery and Disposition


                                Account Summary and Remittance Form


Legal Services:                                                                                $1,996.00

Less 10% Discount:                                                                             ($199.60)

Total Fees Due:                                                                                $1,796.40

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $1,796.40

                        Terms: Payment Due on or Before August 7, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
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 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                    Document    Page 560 of 749
                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
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     CHICAGO                                    PARSIPPANY
     HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                        July 8, 2020
                                                                                Invoice No. 2793938

Client 027768
Matter 0006 Asset Analysis, Recovery and Disposition

Attorney: 01118                                                                                  Page 1

  Date   Description                                       Tkpr   Hours     Amount

06/01/20 Review assignment notice (.2); email C.           MJM       0.30    $210.60
         Marshall (Coca-Cola) regarding same (.1).
06/02/20 Review list of assigned contracts (.1.); emails   ERW       0.20     168.30
         with M. McLoughlin (KDW) and C. Marshall
         (Coca-Cola) regarding same (.1).
06/03/20 Review today's assumption notice.                 MJM       0.20     140.40
06/10/20 Review rejection (.1) and assumption (.1)         MJM       0.20     140.40
         notices.
06/16/20 Emails with M. McLoughlin (KDW) and C.            ERW       0.20     168.30
         Marshall (Coca-Cola) regarding assumption
         notices.
06/16/20 Review assumption notice (.1) and email E.        MJM       0.30     210.60
         Wilson (KDW) (.1) status of same; follow up
         email with C. Marshall (Coca-Cola) (.1).
06/24/20 Calls (2X) and emails with S. Wagner (EEOC)       MJM       0.30     210.60
         regarding distributions and sale order.
06/30/20 Emails with K. Carson (RI), R. Lemisch (KH)       ERW       0.40     336.60
         and C. Marshall (Coca-Cola) regarding
         assumption (.3); review assumption notice
         (.1).
06/30/20 Review assumption and rejection notices.          MJM       0.30     210.60
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
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     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
July 8, 2020
Page 2




Total Original Fees for this Matter:                                                  $1,996.00

Less 10% Discount:                                                                      $199.60

Total Fees Due:                                                                       $1,796.40

Total For This Matter:                                                                $1,796.40
Total this Invoice                                                                    $1,796.40
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00          Desc Main
                                      Document    Page 562 of 749
                                     KELLEY DRYE & WARREN LLP                           FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                    MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
July 8, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.80         841.50               $673.20
MJM           McLoughlin, Maeghan J                1.60         702.00              1,123.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 563 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 8, 2020
                                                                                  Invoice No. 2793939

 027768           Krystal Company Committee
 0010             Disclosure Statement/Plan Issues


                                Account Summary and Remittance Form


Legal Services:                                                                                  $343.00

Less 10% Discount:                                                                               ($34.30)

Total Fees Due:                                                                                  $308.70

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $308.70

                        Terms: Payment Due on or Before August 7, 2020
                         Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                   Document    Page 564 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                          AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                            MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                    July 8, 2020
                                                                            Invoice No. 2793939

Client 027768
Matter 0010 Disclosure Statement/Plan Issues

Attorney: 01118                                                                                 Page 1

  Date   Description                                  Tkpr   Hours      Amount

06/11/20 Emails with M. McLoughlin (KDW) and S.       ERW        0.20    $168.30
         Kulka (AG) regarding case dismissal, A&M.
06/11/20 Emails with S. Kulka (AG) regarding          MJM        0.20     140.40
         dismissal motion.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 565 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
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Krystal Company Committee
Client 027768
Matter 0010
July 8, 2020
Page 2




Total Original Fees for this Matter:                                                    $343.00

Less 10% Discount:                                                                        $34.30

Total Fees Due:                                                                         $308.70

Total For This Matter:                                                                  $308.70
Total this Invoice                                                                      $308.70
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
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     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0010
July 8, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.20         841.50              $168.30
MJM           McLoughlin, Maeghan J                0.20         702.00               140.40




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 567 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 8, 2020
                                                                                  Invoice No. 2793940

 027768           Krystal Company Committee
 0011             Committee and Creditor Communications


                                Account Summary and Remittance Form


Legal Services:                                                                                  $592.50

Less 10% Discount:                                                                               ($59.25)

Total Fees Due:                                                                                  $533.25

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                   $533.25

                        Terms: Payment Due on or Before August 7, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                               STAMFORD                             MUMBAI, INDIA
     CHICAGO                                PARSIPPANY
    HOUSTON                                  BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                   July 8, 2020
                                                                           Invoice No. 2793940

Client 027768
Matter 0011 Committee and Creditor Communications

Attorney: 01118                                                                                Page 1

  Date   Description                                  Tkpr   Hours     Amount

06/01/20 Further emails with M. McLoughlin (KDW)      ERW       0.10     $84.15
         and M. Rogers (NCR) regarding resignation.
06/01/20 Emails with M. Rogers (NCR) regarding        MJM       0.20     140.40
         resignation email to UST.
06/23/20 Emails (.1) and instruction (.1) to M.       ERW       0.20     168.30
         McLoughlin (KDW) regarding EEOC inquiry.
06/30/20 Emails with C. Marshall (Coca-Cola) and J.   MJM       0.20     140.40
         Stauffer (SLM) regarding disposition of
         contracts.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
July 8, 2020
Page 2




Total Original Fees for this Matter:                                                    $592.50

Less 10% Discount:                                                                        $59.25

Total Fees Due:                                                                         $533.25

Total For This Matter:                                                                  $533.25
Total this Invoice                                                                      $533.25
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 570 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
July 8, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.30         841.50              $252.45
MJM           McLoughlin, Maeghan J                0.40         702.00               280.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 8, 2020
                                                                                  Invoice No. 2793941

 027768           Krystal Company Committee
 0013             Court Hearings


                                Account Summary and Remittance Form


Legal Services:                                                                                $3,150.00

Less 10% Discount:                                                                             ($315.00)

Total Fees Due:                                                                                $2,835.00

Disbursements and Other Charges:                                                                    $0.00

                            Total Amount Due:                                                $2,835.00

                        Terms: Payment Due on or Before August 7, 2020
                        Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                   Document    Page 572 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
    HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                       July 8, 2020
                                                                               Invoice No. 2793941

Client 027768
Matter 0013 Court Hearings

Attorney: 01118                                                                                 Page 1

  Date   Description                                      Tkpr   Hours     Amount

06/01/20 Emails with M. McLoughlin (KDW) regarding        ERW       0.20    $168.30
         tomorrow's continued cash collateral hearing.
06/01/20 Call with S. Kulka (AG) regarding tomorrow's     MJM       0.20     140.40
         hearing (.1) and emails with E. Wilson
         (KDW) regarding same (.1).
06/02/20 Emails with M. McLoughlin (KDW) regarding        ERW       0.20     168.30
         disposition of today's hearing.
06/02/20 Prepare for (.1), participate in (.6); and       MJM       0.80     561.60
         summarize (.1) outcome of cash collateral
         hearing.
06/03/20 Confer with M. McLoughlin (KDW) regarding        ERW       0.20     168.30
         disposition of hearing.
06/03/20 Call with E. Wilson (KDW) regarding June 2       MJM       0.20     140.40
         hearing and June 17 hearing.
06/15/20 Confer with M. McLoughlin (KDW) regarding        ERW       0.20     168.30
         Thursday's hearing.
06/15/20 Call with E. Wilson (KDW) to prepare for         MJM       0.90     631.80
         Wednesday's hearing (.2); call with S. Borders
         (KS) to discuss the agenda for Wednesday's
         hearing (.2); follow up call with S. Kulka
         (AG) to discuss the hearing and related
         matters (.5).
     Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                 KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                               STAMFORD                              MUMBAI, INDIA
    CHICAGO                                  PARSIPPANY
    HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0013
July 8, 2020
Page 2



  Date   Description                                   Tkpr   Hours     Amount

06/17/20 Emails with M. McLoughlin (KDW) regarding     ERW       0.20     168.30
         disposition of today's hearing.
06/17/20 Participate in omnibus hearing (.2) and       MJM       0.30     210.60
         summarize outcome of same for E. Wilson
         (KDW) (,1).
06/18/20 Confer with M. McLoughlin (KDW) regarding     ERW       0.20     168.30
         disposition of yesterday's hearing.
06/18/20 Discuss outcome of yesterday's hearing with   MJM       0.20     140.40
         E. Wilson (KDW).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0013
July 8, 2020
Page 3




Total Original Fees for this Matter:                                                  $3,150.00

Less 10% Discount:                                                                      $315.00

Total Fees Due:                                                                       $2,835.00

Total For This Matter:                                                                $2,835.00
Total this Invoice                                                                    $2,835.00
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
                                      Document    Page 575 of 749
                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0013
July 8, 2020
Page 4




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.20         841.50              $1,009.80
MJM           McLoughlin, Maeghan J                2.60         702.00               1,825.20




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
                        Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
                                                        Document    Page 576 of 749
                                                          KELLEY DRYE & WARREN LLP
                                             ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: July 8, 2020 15:33:46                              DATE THRU: June 30, 2020                                                Page: 1
Billing Timekeeper: 01118 - Carr, James S                                                     Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1711844                                                                                                     FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration




c/o James Carr
101 Park Avenue
New York, NY 10128


                                                        Other Charges/Disbursements
                                                                                                       Bill
 Atty ID    Attorney              Date         Description                                           Amount          Disp.       Disb Id
                                  06/15/20     Duplication                                                  98.40   H T W         8678195

                                                                                         Totals:           $98.40
                          Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                                       Document    Page 577 of 749
                                                         KELLEY DRYE & WARREN LLP
                                            ** CONFIDENTIAL WORK SHEET FOR INTERNAL USE ONLY **



RUN DATE: July 8, 2020 15:33:46                           DATE THRU: June 30, 2020                                                 Page: 2
Billing Timekeeper: 01118 - Carr, James S                                                   Responsible Timekeeper: 01118 - Carr, James S
Prebill #: 1711844                                                                                                   FORMAT 021DISC10
027768 - Krystal Company Committee
0001 - Case Administration


            Other Charges Summary                              Amount Disp
 000203     Duplication                                           98.40   H T W
            Total                                                 98.40
Case 20-61065-pwb     Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                            Document    Page 578 of 749



          Kelley Drye & Warren LLP Total July 2020 Fees & Expenses Due


   Total July Fees Due:                                        $8,276.40
   Total July Expenses Due:                                        $0.00
   Total July Fees and Expenses Due:                           $8,276.40


          Kelley Drye & Warren LLP Payment Information – Wire or ACH


   Bank Name:                                 JP Morgan Chase Bank, N.A.
   ABA No.:                                                 021-000-021
                                                        270 Park Avenue
   Bank Address:
                                                     New York, NY 10017
   Account Name:                                Kelley Drye & Warren LLP
   Account No.:                                               135046110
   SWIFT Code:                                               CHASUS33
Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
                             Document    Page 579 of 749



      Kelley Drye & Warren LLP July 2020 Fee Summary Breakdown By Matter

 Matter 0001: Case Administration
    Timekeeper Code                 Timekeeper          Hours        Amount
           ERW              Wilson, Eric R.              0.3         $252.45
 Totals for Matter 0001: Case Administration             0.3         $252.45


 Matter 0004: Fee Matters (Applications & Orders)
     Timekeeper Code                Timekeeper          Hours        Amount
           ERW              Wilson, Eric R.              1.8        $1,514.70
            MJM             McLoughlin, Maeghan J.       0.4         $280.80
            KGH             Hines, Kayci G.              8.9        $4,165.20
           MMV              Vicinanza, Marie M.          2.2         $603.90
 Totals for Matter 0004:
 Fee Matters (Applications & Orders)                    13.3        $6,564.60


 Matter 0006: Asset Analysis Recovery and Disposition
    Timekeeper Code                Timekeeper           Hours        Amount
            MJM             McLoughlin, Maeghan J.       0.2         $140.40
 Totals for Matter 0006:
 Asset Analysis Recovery and Disposition                 0.2         $140.40


 Matter 0007: Executory Contracts & Leases
    Timekeeper Code               Timekeeper            Hours        Amount
            MJM           McLoughlin, Maeghan J.         0.4         $280.80
 Totals for Matter 0007:
 Executory Contracts & Leases                            0.4         $280.80


 Matter 0010: Disclosure Statement & Plan
     Timekeeper Code                Timekeeper          Hours        Amount
           ERW              Wilson, Eric R.              0.4         $336.60
 Totals for Matter 0010:
 Disclosure Statement & Plan                             0.4         $336.60


 Matter 0011: Committee and Creditor Communications
    Timekeeper Code               Timekeeper            Hours        Amount
           EWR            Wilson, Eric R.                0.5         $420.75
            MJM           McLoughlin, Maeghan J.         0.4         $280.80
 Totals for Matter 0011:
 Committee and Creditor Communications                   0.9         $701.55




                                                 2
      Case 20-61065-pwb      Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                   Document    Page 580 of 749
                                  KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
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     CHICAGO                                   PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         July 31, 2020
                                                                                  Invoice No. 2795801

027768            Krystal Company Committee
0001              Case Administration


                                Account Summary and Remittance Form


Legal Services:                                                                                  $280.50

Less 10% Discount:                                                                               ($28.05)

Total Fees Due:                                                                                  $252.45

Disbursements and Other Charges:                                                                    $0.00

                           Total Amount Due:                                                  $252.45

                        Terms: Payment Due on or Before August 30, 2020
                          Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                    Document    Page 581 of 749
                                   KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                         AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                           MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
     HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                    July 31, 2020
                                                                             Invoice No. 2795801

Client 027768
Matter 0001 Case Administration

Attorney: 01118                                                                                  Page 1

  Date   Description                                   Tkpr   Hours     Amount

07/10/20 Confer (.2) and emails (.1) with K. Hines     ERW       0.30    $252.45
         (KDW) regarding case status, next steps.
      Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                      Document    Page 582 of 749
                                     KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                               MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
July 31, 2020
Page 2




Total Original Fees for this Matter:                                                     $280.50

Less 10% Discount:                                                                         $28.05

Total Fees Due:                                                                          $252.45

Total For This Matter:                                                                   $252.45
Total this Invoice                                                                       $252.45
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 583 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
       CHICAGO                                PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0001
July 31, 2020
Page 3




Tkpr         Timekeeper                          Hours           Rate               Amount

ERW          Wilson, Eric                          0.30         841.50              $252.45




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                     Document    Page 584 of 749
                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                              MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
     HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 31, 2020
                                                                                   Invoice No. 2795802

027768            Krystal Company Committee
0004              Fee Matters (Applications & Objections)


                                 Account Summary and Remittance Form


Legal Services:                                                                                 $7,294.00

Less 10% Discount:                                                                              ($729.40)

Total Fees Due:                                                                                 $6,564.60

Disbursements and Other Charges:                                                                     $0.00

                           Total Amount Due:                                                 $6,564.60

                        Terms: Payment Due on or Before August 30, 2020
                          Please Return This Page With Your Payment




 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                   PAYMENT BY CHECK:
 ABA #: 021-000-021                                            KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                          ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                        101 PARK AVENUE
 ACCOUNT #:135-046110                                          NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER             (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
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                                    KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                     NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                    STAMFORD                               MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         July 31, 2020
                                                                                  Invoice No. 2795802

Client 027768
Matter 0004 Fee Matters (Applications & Objections)

Attorney: 01118                                                                                       Page 1

  Date    Description                                       Tkpr   Hours     Amount

07/01/20 Emails with M. McLoughlin (KDW) regarding          ERW       0.20    $168.30
         final fee application.
07/01/20 (2x) Emails with M. McLoughlin and M.              KGH       0.40     187.20
         Vicinanza (both of KDW) regarding timeline
         for filing final fee application (.3); circulate
         calendar invite for same (.1).
07/06/20 Review June prebills preparatory to July           ERW       0.40     336.60
         statement.
07/07/20 Email from C. Pope-Koch (K&S) regarding            ERW       0.40     336.60
         June invoice (.1); review same (.1); email
         from A. Deese (AG) regarding July statement
         (.1); review July statement (.1).
07/08/20 Instruction to M. Vicinanza (KDW) regarding        KGH       0.20      93.60
         final fee worksheet.
07/08/20 Review invoices (.2); prepare fee statement        MMV       1.00     274.50
         worksheet (.8)
07/09/20 Draft June fee statement cover letter (.2);        KGH       0.40     187.20
         instruction to M. Vicinanza (KDW) regarding
         drafting fee statement summary (.2).
07/09/20 Prepare exhibit fee statement to be attached to    MMV       0.50     137.25
         letter regarding fees.
07/10/20 Review and revise June fee statement (.4);         KGH       0.90     421.20
     Case 20-61065-pwb           Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                      KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                         NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                        STAMFORD                               MUMBAI, INDIA
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    HOUSTON                                           BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 31, 2020
Page 2



 Date      Description                                          Tkpr   Hours     Amount

           draft cover letter for same (.2); review
           invoices for redaction (.3).
07/13/20   Email from K. Hines (KDW) regarding June             ERW       0.60     504.90
           fee statement (.1); review June fee statement
           (.2); provide my comments to M. McLoughlin
           (KDW) regarding same (.1); final review of
           June fee statement prior to circulation (.1);
           email to M. McLoughlin (KDW) regarding
           same (.1).
07/13/20   Emails with J. Amandro (KDW) regarding               KGH       0.90     421.20
           revisions to matter 6 invoice (.3); revise fee
           statement to reflect same (.4); emails with M.
           McLoughlin (KDW) regarding status of
           finalizing same (.2).
07/13/20   Emails (2x) with M. McLoughlin (KDW)                 KGH       0.80     374.40
           regarding signoff on June fee statement (.2)
           and estimated July fees (.2); emails with J.
           Amandro (KDW) regarding details regarding
           June expenses (.2); circulate same to service
           group (.2).
07/13/20   Review June fee statement and invoices.              MJM       0.40     280.80
07/15/20   Revise final fee statement worksheet to              KGH       0.70     327.60
           account for revisions to June invoices; emails
           with J. Amandro (KDW) regarding inquiries
           about expenses.
07/16/20   Review final fee worksheet (.7) and                  KGH       4.30    2,012.40
           February-June invoices to ensure final
           accurate final fee calculation (1.2); revise final
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
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                                   KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                             MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
     HOUSTON                                     BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 31, 2020
Page 3



 Date    Description                                     Tkpr   Hours     Amount

         fee application to include final fee amounts,
         including an estimate for July fees (2.4).
07/17/20 Prepare exhibit D to final fee application.     KGH       0.30     140.40
07/27/20 Emails with M. McLoughlin (KDW) and J.          ERW       0.20     168.30
         Tibus (AM) regarding fee statements.
07/27/20 Review payment received (June) and allocate     MMV       0.70     192.15
         the amount and determine outstanding
         amounts (.3); emails and call with accounting
         regarding all payments received (.2); update
         fee statement worksheet accordingly (.2).
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


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   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
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     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 31, 2020
Page 4




Total Original Fees for this Matter:                                                  $7,294.00

Less 10% Discount:                                                                      $729.40

Total Fees Due:                                                                       $6,564.60

Total For This Matter:                                                                $6,564.60
Total this Invoice                                                                    $6,564.60
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00           Desc Main
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                                     KELLEY DRYE & WARREN LLP                            FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                   AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                     MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0004
July 31, 2020
Page 5




Tkpr          Timekeeper                         Hours            Rate               Amount

ERW           Wilson, Eric                         1.80         841.50              $1,514.70
KGH           Hines, Kayci                         8.90         468.00               4,165.20
MJM           McLoughlin, Maeghan J                0.40         702.00                 280.80
MMV           Vicinanza, Marie M                   2.20         274.50                 603.90




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                     Document    Page 590 of 749
                                    KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                              MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
     HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                          July 31, 2020
                                                                                   Invoice No. 2795803

027768            Krystal Company Committee
0006              Asset Analysis, Recovery and Disposition


                                 Account Summary and Remittance Form


Legal Services:                                                                                   $156.00

Less 10% Discount:                                                                                ($15.60)

Total Fees Due:                                                                                   $140.40

Disbursements and Other Charges:                                                                     $0.00

                           Total Amount Due:                                                   $140.40

                        Terms: Payment Due on or Before August 30, 2020
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 BANK: JP MORGAN CHASE, N.A.                                   PAYMENT BY CHECK:
 ABA #: 021-000-021                                            KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                          ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                        101 PARK AVENUE
 ACCOUNT #:135-046110                                          NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER             (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00      Desc Main
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                                  KELLEY DRYE & WARREN LLP                       FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                              MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                    July 31, 2020
                                                                             Invoice No. 2795803

Client 027768
Matter 0006 Asset Analysis, Recovery and Disposition

Attorney: 01118                                                                                  Page 1

  Date   Description                                   Tkpr   Hours     Amount

07/06/20 Review final assumption and rejection notices. MJM      0.20    $140.40
      Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
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                                     KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                               MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
July 31, 2020
Page 2




Total Original Fees for this Matter:                                                     $156.00

Less 10% Discount:                                                                         $15.60

Total Fees Due:                                                                          $140.40

Total For This Matter:                                                                   $140.40
Total this Invoice                                                                       $140.40
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 593 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0006
July 31, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

MJM           McLoughlin, Maeghan J                0.20         702.00              $140.40




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                    Document    Page 594 of 749
                                   KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                      NEW YORK                           AFFILIATE OFFICE:
   LOS ANGELES                                     STAMFORD                             MUMBAI, INDIA
     CHICAGO                                       PARSIPPANY
     HOUSTON                                       BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                           July 31, 2020
                                                                                    Invoice No. 2795804

027768            Krystal Company Committee
0007              Executory Contracts and Leases


                                 Account Summary and Remittance Form


Legal Services:                                                                                    $312.00

Less 10% Discount:                                                                                 ($31.20)

Total Fees Due:                                                                                    $280.80

Disbursements and Other Charges:                                                                      $0.00

                           Total Amount Due:                                                    $280.80

                        Terms: Payment Due on or Before August 30, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                    PAYMENT BY CHECK:
 ABA #: 021-000-021                                             KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                           ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                         101 PARK AVENUE
 ACCOUNT #:135-046110                                           NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER              (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                    Document    Page 595 of 749
                                   KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                   NEW YORK                            AFFILIATE OFFICE:
   LOS ANGELES                                  STAMFORD                              MUMBAI, INDIA
     CHICAGO                                    PARSIPPANY
     HOUSTON                                     BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                      July 31, 2020
                                                                               Invoice No. 2795804

Client 027768
Matter 0007 Executory Contracts and Leases

Attorney: 01118                                                                                    Page 1

  Date   Description                                     Tkpr   Hours     Amount

07/01/20 Review rejection and assumption notices (.2);   MJM       0.40    $280.80
         follow up with R. LeHane (KDW) to discuss
         cure reconcilations (.2).
      Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                      Document    Page 596 of 749
                                     KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                               MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0007
July 31, 2020
Page 2




Total Original Fees for this Matter:                                                     $312.00

Less 10% Discount:                                                                         $31.20

Total Fees Due:                                                                          $280.80

Total For This Matter:                                                                   $280.80
Total this Invoice                                                                       $280.80
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 597 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0007
July 31, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

MJM           McLoughlin, Maeghan J                0.40         702.00              $280.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
      Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
                                     Document    Page 598 of 749
                                    KELLEY DRYE & WARREN LLP                         FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                    NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                   STAMFORD                               MUMBAI, INDIA
     CHICAGO                                     PARSIPPANY
     HOUSTON                                         BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                           July 31, 2020
                                                                                    Invoice No. 2795805

027768            Krystal Company Committee
0010              Disclosure Statement/Plan Issues


                                 Account Summary and Remittance Form


Legal Services:                                                                                    $374.00

Less 10% Discount:                                                                                 ($37.40)

Total Fees Due:                                                                                    $336.60

Disbursements and Other Charges:                                                                      $0.00

                           Total Amount Due:                                                    $336.60

                        Terms: Payment Due on or Before August 30, 2020
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 BANK: JP MORGAN CHASE, N.A.                                    PAYMENT BY CHECK:
 ABA #: 021-000-021                                             KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                           ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                         101 PARK AVENUE
 ACCOUNT #:135-046110                                           NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER              (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                   Document    Page 599 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                          AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                            MUMBAI, INDIA
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Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                   July 31, 2020
                                                                            Invoice No. 2795805

Client 027768
Matter 0010 Disclosure Statement/Plan Issues

Attorney: 01118                                                                                 Page 1

  Date   Description                                  Tkpr   Hours     Amount

07/27/20 Emails with S. Kulka (AG) regaridng exit     ERW       0.20    $168.30
         strategy.
07/29/20 Emails with S. Borders (KS) regarding        ERW       0.20     168.30
         dismissal, fees.
      Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                      Document    Page 600 of 749
                                     KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                               MUMBAI, INDIA
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Krystal Company Committee
Client 027768
Matter 0010
July 31, 2020
Page 2




Total Original Fees for this Matter:                                                     $374.00

Less 10% Discount:                                                                         $37.40

Total Fees Due:                                                                          $336.60

Total For This Matter:                                                                   $336.60
Total this Invoice                                                                       $336.60
       Case 20-61065-pwb        Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00         Desc Main
                                      Document    Page 601 of 749
                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0010
July 31, 2020
Page 3




Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.40         841.50              $336.60




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
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      Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00       Desc Main
                                    Document    Page 602 of 749
                                   KELLEY DRYE & WARREN LLP                        FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                               MUMBAI, INDIA
     CHICAGO                                   PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                         July 31, 2020
                                                                                  Invoice No. 2795806

027768            Krystal Company Committee
0011              Committee and Creditor Communications


                                Account Summary and Remittance Form


Legal Services:                                                                                  $779.50

Less 10% Discount:                                                                               ($77.95)

Total Fees Due:                                                                                  $701.55

Disbursements and Other Charges:                                                                    $0.00

                           Total Amount Due:                                                  $701.55

                        Terms: Payment Due on or Before August 30, 2020
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 PAYMENT BY WIRE OR ACH IS PREFERRED:
 BANK: JP MORGAN CHASE, N.A.                                  PAYMENT BY CHECK:
 ABA #: 021-000-021                                           KELLEY DRYE & WARREN LLP
 SWIFT CODE: CHASUS33                                         ATTN: TREASURER’S DEPARTMENT
 ACCOUNT NAME: KELLEY DRYE & WARREN LLP                       101 PARK AVENUE
 ACCOUNT #:135-046110                                         NEW YORK, NEW YORK 10178
 PLEASE INDICATE CLIENT, MATTER AND INVOICE NUMBER            (212) 808-7800
 AS PAYMENT REFERENCE
     Case 20-61065-pwb       Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                   Document    Page 603 of 749
                                  KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                          AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                            MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
    HOUSTON                                    BRUSSELS




Krystal Company Committee
c/o James Carr
101 Park Avenue
New York, NY 10128
                                                                                   July 31, 2020
                                                                            Invoice No. 2795806

Client 027768
Matter 0011 Committee and Creditor Communications

Attorney: 01118                                                                                 Page 1

  Date   Description                                  Tkpr   Hours     Amount

07/01/20 Further emails with M. McLoughlin (KDW)      ERW       0.30    $252.45
         and K. Carson (RI) regarding assumption,
         closing and next steps.
07/01/20 Emails with K. Carson (RIC) regarding cure   MJM       0.40     280.80
         notice (.2); emails with S. Ramsey (NM)
         regarding payment of administrative claims
         (.2).
07/14/20 Emails with K. Carson (RI) regarding         ERW       0.20     168.30
         resignation from committee.
     Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00     Desc Main
                                     Document    Page 604 of 749
                                    KELLEY DRYE & WARREN LLP                      FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                 NEW YORK                             AFFILIATE OFFICE:
   LOS ANGELES                                STAMFORD                               MUMBAI, INDIA
     CHICAGO                                 PARSIPPANY
     HOUSTON                                  BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
July 31, 2020
Page 2




Total Original Fees for this Matter:                                                    $779.50

Less 10% Discount:                                                                        $77.95

Total Fees Due:                                                                         $701.55

Total For This Matter:                                                                  $701.55
Total this Invoice                                                                      $701.55
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                                     KELLEY DRYE & WARREN LLP                          FEDERAL ID NO. XX-XXXXXXX


   WASHINGTON                                  NEW YORK                                  AFFILIATE OFFICE:
   LOS ANGELES                                 STAMFORD                                   MUMBAI, INDIA
     CHICAGO                                  PARSIPPANY
     HOUSTON                                   BRUSSELS




Krystal Company Committee
Client 027768
Matter 0011
July 31, 2020
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Tkpr          Timekeeper                         Hours            Rate              Amount

ERW           Wilson, Eric                         0.50         841.50              $420.75
MJM           McLoughlin, Maeghan J                0.40         702.00               280.80




PAYMENT BY CHECK:                                               PAYMENT BY WIRE:
 KELLEY DRYE & WARREN LLP                                        JP MORGAN CHASE, N.A.
 ATTN: TREASURER'S DEPARTMENT                                   ABA #:021-000-021
 101 PARK AVENUE                                                SWIFT CODE: CHASUS33
 NEW YORK, NEW YORK 10178                                       ACCOUNT NAME:KELLEY DRYE & WARREN LLP
 (212) 808-7800                                                 ACCOUNT #:135-046110
                                                                PLEASE INDICATE CLIENT, MATTER AND
                                                                INVOICE NUMBER AS PAYMENT REFERENCE
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                                  EXHIBIT D-6

                           Detailed Time Entries/Invoices

                        First and Final Application Period
                      January 19, 2020 Through July 31, 2020
                           Arnall Golden Gregory LLP




                                        10
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The Official Committee of Unsecured Creditors of The Krystal Company, et al.       March 11, 2020
Kirk R. Carson Committee Co-Chair                                                  Invoice #792263
11995 El Camino Real                                                               Darryl S. Laddin
San Diego, CA 92130

For Legal Services Rendered In Connection With:

Client/Matter #37781-1
The Krystal Company Bankruptcy


Date       Timekeeper    Hours     Amount         Task   Activity   Description of Services
                                                  Code   Code

02/12/20   S. Kulka         0.40      $250.00 B110        A103      Prepare notice of appearance for Committee
                                                                    counsel

02/14/20   S. Kulka         0.50      $312.50 B110        A103      Prepare memo regarding key players in cases

02/14/20   D. Laddin        0.20      $134.00 B110        A103      Reviewed and revised information on key parties

02/19/20   S. Kulka         0.20      $125.00 B110        A104      Review January monthly operating report

02/20/20   S. Kulka         0.10        $62.50 B110       A104      Review multiple COS's filed by KCC

02/21/20   S. Kulka         0.10        $62.50 B110       A107      Emails with Kelley Drye team regarding Section
                                                                    341 meeting

02/24/20   S. Kulka         0.30      $187.50 B110        A104      Review Debtors' Schedules and SOFAs

02/25/20   S. Kulka         0.30      $187.50 B110        A101      Review Schedules and SOFAs to prepare for
                                                                    Section 341 Meeting

02/25/20   S. Kulka         0.40      $250.00 B110        A107      Emails with Kelley Drye team regarding SOFAs,
                                                                    Schedules, and 341 Meeting (.20); emails with
                                                                    Debtor's counsel regarding service issues (.20)

02/26/20   S. Kulka         2.00     $1,250.00 B110       A109      Attend Section 341 meeting of creditors

02/27/20   S. Kulka         0.20      $125.00 B110        A104      Attention to service issues related to objections
                                                                    and retention applications

02/28/20   S. Kulka         0.20      $125.00 B110        A104      Attention to service issues related to Committee
                                                                    professional retention applications and proposed
                                                                    orders

02/28/20   S. Kulka         0.20      $125.00 B110        A107      Call with Maeghan McLoughlin regarding pro
                                                                    hac applications and telephonic appearance for
                                                                    March 3 hearing
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                                             Code   Code

02/28/20   D. Laddin      0.10        $67.00 B110    A107      Telephone conference with Judge Bonapfel's
                                                               Chambers regarding Tuesday hearing, and
                                                               correspondence with M. McLoughlin regarding
                                                               same

                                            Subtotal Hours                                             Subtotal
 TOTALS FOR B110: Case Administration             5.20                                                $3,263.50



02/13/20   S. Kulka       0.40      $250.00 B130     A104      Review bidding procedures motion and proposed
                                                               sale timeline

02/17/20   S. Kulka       0.20      $125.00 B130     A107      Conference with Jim Carr and Darryl Laddin
                                                               regarding bidding procedures and sale issues

02/17/20   S. Kulka       0.10        $62.50 B130    A104      Review notice of hearing related to bidding
                                                               procedures

02/17/20   D. Laddin      0.20      $134.00 B130     A107      Conference with J. Carr regarding sale issues

02/19/20   S. Kulka       0.20      $125.00 B130     A105      Conference with Darryl Laddin regarding sale
                                                               timeline, Piper Sandler marketing effort, and
                                                               financing issues to get to sale

02/19/20   D. Laddin      0.20      $134.00 B130     A105      Conference with S. Kulka regarding sale
                                                               timeline, Piper Sandler marketing effort, and
                                                               financing issues to get to sale

02/25/20   S. Kulka       0.20      $125.00 B130     A107      Emails with Eric Wilson regarding bidding
                                                               procedures motion

02/25/20   S. Kulka       0.20      $125.00 B130     A104      Review FTI report on sale process and interested
                                                               parties

02/26/20   D. Laddin      0.10        $67.00 B130    A104      Reviewed materials on sale process and budget
                                                               distributed to Committee

02/27/20   S. Kulka       0.10        $62.50 B130    A105      Conference with Darryl Laddin regarding
                                                               bidding procedures issues

02/27/20   S. Kulka       0.20      $125.00 B130     A107      Call with Maeghan McLoughlin regarding
                                                               bidding procedures issues and potential objection

02/27/20   D. Laddin      0.10        $67.00 B130    A105      Conference with S. Kulka regarding bid
                                                               procedures issues

02/28/20   S. Kulka       0.20      $125.00 B130     A104      Review revised sales timeline and related emails

02/28/20   D. Laddin      0.10        $67.00 B130    A104      Reviewed correspondence regarding bid
                                                               procedures

                                            Subtotal Hours                                             Subtotal
 TOTALS FOR B130: Asset Disposition               2.50                                                $1,594.00
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                                            Code   Code


02/12/20   D. Laddin      0.50      $335.00 B150    A107      Two telephone conferences with J. Carr
                                                              regarding Committee representation and plan for
                                                              Thursday (.3); correspondence with J. Carr
                                                              regarding Committee formation and hearing
                                                              matters (.2)

02/12/20   D. Laddin      0.10       $67.00 B150    A106      Correspondence with Committee members
                                                              regarding initial matters

02/13/20   S. Kulka       1.30      $812.50 B150    A106      Committee call with full Committee and full legal
                                                              team regarding sale issues and financial advisor
                                                              retention

02/13/20   D. Laddin      1.30      $871.00 B150    A106      Committee call regarding financial advisors and
                                                              case issues

02/18/20   S. Kulka       0.30      $187.50 B150    A101      Prepare for Committee call, including review of
                                                              agenda and attachments related to sales process
                                                              and FTI budget analysis

02/19/20   S. Kulka       0.80      $500.00 B150    A106      Committee status call to discuss multiple case
                                                              issues

02/19/20   S. Kulka       0.20      $125.00 B150    A107      Call with Mark Duedall regarding outcome of
                                                              Committee group call and Committee expense
                                                              reimbursement issues

02/25/20   S. Kulka       0.10       $62.50 B150    A104      Review agenda for Committee call

02/26/20   D. Laddin      0.60      $402.00 B150    A106      Participated in Committee conference call
                                                              regarding budgets, cash collateral/DIP financing,
                                                              professionals, sale process

                                           Subtotal Hours                                             Subtotal
 TOTALS FOR B150: Meetings of and                5.20                                                $3,362.50
 Communications with Creditors


02/12/20   D. Laddin      0.20      $134.00 B160    A104      Reviewed information associated with retention
                                                              of AGG

02/12/20   D. Laddin      0.10       $67.00 B160    A104      Revised Committee Notice of Appearance

02/13/20   S. Kulka       0.30      $187.50 B160    A103      Prepare AGG retention application

02/13/20   D. Laddin      0.60      $402.00 B160    A103      Prepare AGG retention application

02/14/20   S. Kulka       3.10    $1,937.50 B160    A103      Draft AGG retention application, accompanying
                                                              affidavit, and proposed order approving the
                                                              application

02/14/20   D. Laddin      0.10       $67.00 B160    A103      Worked on AGG retention application
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                                            Code   Code

02/17/20   S. Kulka       1.80    $1,125.00 B160    A103      Review and revise AGG retention application and
                                                              accompanying affidavit and proposed order
                                                              approving application

02/17/20   D. Laddin      0.30      $201.00 B160    A103      Worked on AGG retention application

02/18/20   S. Kulka       1.10      $687.50 B160    A103      Review conflict reports and review and revise
                                                              AGG retention application to add additional
                                                              connection disclosures

02/19/20   S. Kulka       0.20      $125.00 B160    A107      Call and emails with Kayci Hines regarding Kelly
                                                              Drye and FTI retention applications, and
                                                              appropriate conflict searches

02/19/20   S. Kulka       0.30      $187.50 B160    A103      Review and revise AGG retention application to
                                                              address conflict searches

02/20/20   S. Kulka       2.00    $1,250.00 B160    A103      Work on conflict reports and continue to review
                                                              and revise AGG retention applications to address
                                                              connections (.30); draft Kelley Drye retention
                                                              application, accompanying affidavit, and
                                                              proposed order approving application (1.70)

02/20/20   D. Laddin      0.30      $201.00 B160    A104      Reviewed issues relating to retention and billing

02/20/20   D. Laddin      0.10       $67.00 B160    A107      Correspondence with M. McLoughlin regarding
                                                              procedures for statements

02/24/20   S. Kulka       0.20      $125.00 B160    A103      Review and revise AGG retention application to
                                                              incorporate Laddin comments

02/24/20   S. Kulka       0.30      $187.50 B160    A104      Review additional conflict and connection
                                                              searches to finalize AGG retention application

02/24/20   D. Laddin      0.60      $402.00 B160    A103      Reviewed and revised AGG retention application

02/24/20   D. Laddin      0.10       $67.00 B160    A107      Correspondence with E. Wilson, J. Carr
                                                              regarding retention applications

02/25/20   S. Kulka       0.20      $125.00 B160    A103      Finalize AGG retention application

02/26/20   S. Kulka       0.30      $187.50 B160    A107      Calls and emails with Kayci Hines and Darryl
                                                              Laddin regarding UST large case budgeting and
                                                              staffing requirements related to retention
                                                              applications

02/27/20   S. Kulka       0.30      $187.50 B160    A105      Conference with Darryl Laddin regarding
                                                              finalizing Committee professionals retention
                                                              applications

02/27/20   S. Kulka       0.20      $125.00 B160    A103      Finalize AGG retention application, supporting
                                                              affidavit, and proposed order
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                                            Code   Code

02/27/20   D. Laddin      0.30      $201.00 B160    A105      Conference with S. Kulka regarding finalizing
                                                              Committee professional retention applications

02/27/20   D. Laddin      0.10       $67.00 B160    A103      Revised AGG retention application

02/27/20   D. Laddin      0.20      $134.00 B160    A104      Reviewed draft of FTI retention application

02/28/20   S. Kulka       0.30      $187.50 B160    A103      Review and revise proposed order approving
                                                              AGG retention

02/28/20   S. Kulka       0.10       $62.50 B160    A107      Emails with Kelly Drye team related to
                                                              Committee professional retention applications

02/28/20   D. Laddin      0.10       $67.00 B160    A107      Correspondence regarding retention applications

02/28/20   D. Laddin      0.20      $134.00 B160    A104      Attention to finalizing AGG retention application

                                           Subtotal Hours                                              Subtotal
 TOTALS FOR B160: Fee/Employment                14.00                                                 $8,898.50
 Applications


02/13/20   S. Kulka       0.20      $125.00 B170    A105      Conference with Darryl Laddin regarding Debtor
                                                              professional retention applications

02/13/20   S. Kulka       0.50      $312.50 B170    A104      Review orders approving retention of Debtors'
                                                              professionals and email co-counsel related to the
                                                              same and objection deadline

02/13/20   D. Laddin      0.30      $201.00 B170    A107      Telephone conference with J. Carr regarding
                                                              Debtor retention applications

02/13/20   D. Laddin      0.20      $134.00 B170    A105      Conference with S. Kulka regarding Debtor
                                                              retention applications

02/13/20   D. Laddin      0.20      $134.00 B170    A108      Telephone conference with C. Zucker regarding
                                                              FA's

02/17/20   S. Kulka       0.50      $312.50 B170    A105      Conference with Darryl Laddin concerning
                                                              professional retention issues (.20); follow up
                                                              conference with Darryl Laddin concerning
                                                              professional retention issues (.30)

02/17/20   S. Kulka       0.30      $187.50 B170    A104      Review Piper Sandler retention application

02/17/20   D. Laddin      0.50      $335.00 B170    A105      Conference with S. Kulka regarding retention
                                                              issues (.2); conference with S. Kulka concerning
                                                              professional retention issues (.3)

02/17/20   D. Laddin      0.20      $134.00 B170    A104      Analysis of i-banker retention issues

02/20/20   S. Kulka       0.60      $375.00 B170    A105      Conference with Darryl Laddin regarding
                                                              potential objections to retention applications
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Date       Timekeeper   Hours    Amount     Task   Activity   Description of Services
                                            Code   Code

02/20/20   S. Kulka       2.00    $1,250.00 B170    A104      Analyze retention applications for all Debtor
                                                              professionals and comparison of applications in
                                                              other restaurant cases

02/20/20   D. Laddin      0.60      $402.00 B170    A105      Conference with S. Kulka regarding potential
                                                              objections to retention applications

02/20/20   D. Laddin      0.50      $335.00 B170    A104      Analysis of issues relating to retention
                                                              applications

02/21/20   S. Kulka       0.30      $187.50 B170    A107      Emails with Mark Duedall regarding potential
                                                              objections to retention applications

02/21/20   S. Kulka       0.60      $375.00 B170    A103      Review and revise memo to Kelley Drye
                                                              regarding potential professional fee retention
                                                              application objections and related claims, and
                                                              emails and call with Darryl Laddin regarding the
                                                              same

02/21/20   D. Laddin      1.50    $1,005.00 B170    A103      Analyzed professional application issues and
                                                              drafted analysis thereof

02/24/20   S. Kulka       0.30      $187.50 B170    A105      Review of issues relating to professionals, and
                                                              conference with Darryl Laddin regarding
                                                              decisions with respect to same

02/24/20   S. Kulka       0.80      $500.00 B170    A103      Draft reservation of rights related to A&M
                                                              retention

02/24/20   S. Kulka       0.30      $187.50 B170    A107      Calls with Mark Duedall regarding potential
                                                              objections to various retention applications

02/24/20   S. Kulka       0.80      $500.00 B170    A102      Research regarding res judicata and collateral
                                                              estoppel impact of retention applications on
                                                              potential preference exposure

02/24/20   D. Laddin      0.20      $134.00 B170    A107      Telephone conference with J. Dutson regarding
                                                              professional fee applications

02/24/20   D. Laddin      0.30      $201.00 B170    A105      Review of issues relating to professionals, and
                                                              conference with S. Kulka regarding decisions
                                                              with respect to same

02/25/20   S. Kulka       0.30      $187.50 B170    A107      Emails with Kelly Drye team regarding Ordinary
                                                              Course Professional Motion and potential
                                                              objections to the same (.20); email to Jeff Dutson
                                                              regarding extension of objection deadline related
                                                              to Ordinary Course Professional Motion (.10)

02/26/20   S. Kulka       0.40      $250.00 B170    A107      Calls and emails with Jeff Dutson regarding K&S
                                                              and Piper retention application
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                                            Code   Code

02/26/20   S. Kulka       0.40      $250.00 B170    A105      Call with Darryl Laddin regarding Debtor
                                                              professional retention applications and OCP
                                                              motion (.20); follow up call with Darryl Laddin
                                                              regarding status of discussions related to Piper
                                                              and K&S retention applications (.20)

02/26/20   S. Kulka       0.60      $375.00 B170    A104      Analyze OCP motion and procedures and prepare
                                                              memo regarding the same and potential
                                                              objections

02/26/20   D. Laddin      0.40      $268.00 B170    A105      Call with S. Kulka regarding Debtor professional
                                                              retention applications and OCP motion (.2);
                                                              follow-up call with S. Kulka regarding status of
                                                              discussions related to Piper and K&S retention
                                                              applications (.2)

02/27/20   S. Kulka       1.70    $1,062.50 B170    A107      Multiple emails with Jeff Dutson to resolve
                                                              potential objections to Debtor's retention
                                                              applications and ordinary course professional
                                                              procedures (1.30); emails with Eric Wilson and
                                                              Kelly Drye team regarding the same and
                                                              Committee sign-off on proposed resolutions (.40)

02/27/20   S. Kulka       0.50      $312.50 B170    A103      Review and revise A&M application reservation
                                                              of rights and finalize for filing (.30); review and
                                                              comment on OCP procedure order (.20)

02/27/20   S. Kulka       0.30      $187.50 B170    A105      Conference with Darryl Laddin regarding Debtor
                                                              professional retention applications and
                                                              resolutions to potential objections (.20);
                                                              conference with Darryl Laddin regarding
                                                              ordinary course professional motion (.10)

02/27/20   D. Laddin      0.30      $201.00 B170    A105      Conference with S. Kulka regarding finalizing
                                                              issues with Debtor retention applications (.2);
                                                              conference with S. Kulka regarding ordinary
                                                              course professional motion (.1)

02/27/20   D. Laddin      0.30      $201.00 B170    A104      Reviewed and commented on letter from K&S
                                                              regarding retention application (.1); reviewed
                                                              ordinary course professional motion (.1);
                                                              reviewed Piper modification to engagement letter
                                                              (.1)

02/28/20   S. Kulka       2.70    $1,687.50 B170    A103      Review and revise FTI retention application,
                                                              proposed order, and supporting declaration

02/28/20   S. Kulka       0.20      $125.00 B170    A103      Review and comment on further revised OCP
                                                              procedure order incorporating Committee
                                                              comments

                                           Subtotal Hours                                              Subtotal
 TOTALS FOR B170: Fee/Employment                19.80                                                $12,622.50
 Objections
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                                            Code   Code

02/24/20   S. Kulka       0.40      $250.00 B180    A107      Call with Jeff Dutson and Darryl Laddin, and
                                                              then detailed email to Jeff Dutson regarding
                                                              potential avoidance issues related to retention
                                                              applications

02/26/20   S. Kulka       0.30      $187.50 B180    A103      Review and revise letter related to res judicata
                                                              and collateral estoppel issues regarding
                                                              avoidance actions

                                           Subtotal Hours                                              Subtotal
 TOTALS FOR B180: Avoidance Action               0.70                                                   $437.50
 Analysis


02/17/20   S. Kulka       0.10       $62.50 B185    A104      Review lease rejection order to ensure
                                                              compliance with UCC comments to the same

02/17/20   D. Laddin      0.10       $67.00 B185    A104      Reviewed lease rejection order

02/19/20   S. Kulka       0.20      $125.00 B185    A104      Review rejection orders for carved out leases

02/24/20   S. Kulka       0.40      $250.00 B185    A104      Review Emerson motion to compel assumption
                                                              of unexpired lease in mobile and related notice of
                                                              hearing (.20); review order rejecting Lake Point
                                                              lease and Saki sublease (.10); review order
                                                              rejecting Orlando FL lease (.10)

                                           Subtotal Hours                                              Subtotal
 TOTALS FOR B185: Assumption/Rejection           0.80                                                   $504.50
 of Leases and Contracts


02/12/20   S. Kulka       0.30      $187.50 B210    A105      Conferences with Darryl Laddin regarding final
                                                              hearing on first day pleadings

02/12/20   S. Kulka       0.60      $375.00 B210    A107      Emails with Kelley Drye team regarding cash
                                                              collateral issues (.20); call with Jason Adams
                                                              with Kelley Drye regarding first day pleadings
                                                              and Committee position related to the same, and
                                                              provide recap of prior hearings (.40)

02/12/20   D. Laddin      0.20      $134.00 B210    A105      Conference with S. Kulka regarding hearing
                                                              issues

02/13/20   S. Kulka       1.60    $1,000.00 B210    A101      Prepare for February 13 hearing, final hearing on
                                                              multiple first day motions

02/13/20   S. Kulka       2.10    $1,312.50 B210    A109      Attend February 13 hearing, final hearing on
                                                              multiple first day motions

02/13/20   S. Kulka       0.20      $125.00 B210    A107      Call with Jason Adams and Darryl Laddin
                                                              regarding February 13 hearing and next steps for
                                                              Committee
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02/13/20   D. Laddin      1.00      $670.00 B210    A101      Prepared for cash collateral, cash management,
                                                              US Foods and other hearings, including review of
                                                              proposed orders

02/13/20   D. Laddin      0.20      $134.00 B210    A107      Telephone conference with J. Adams, S. Kulka
                                                              regarding results of hearing and next steps

02/13/20   D. Laddin      2.10    $1,407.00 B210    A109      Attended cash collateral, cash management, US
                                                              Foods and other hearings

02/14/20   S. Kulka       0.30      $187.50 B210    A104      Review service copies of multiple entered first
                                                              day final orders and notice of hearing

02/16/20   S. Kulka       0.80      $500.00 B210    A102      Research regarding the appointment of a
                                                              responsible officer

02/17/20   J. Waite       0.30      $148.50 B210    A102      Responsible person case research

02/17/20   S. Kulka       1.70    $1,062.50 B210    A102      Research regarding corporate governance issues
                                                              and responsible person issues in lieu of trustee

02/17/20   S. Kulka       1.00      $625.00 B210    A104      Review first day affidavit and K&S application
                                                              disclosures related to equity and research
                                                              regarding board configuration

02/18/20   S. Kulka       0.20      $125.00 B210    A108      Emails with FTI team and Kelley Drye team
                                                              regarding corporate governance issues

                                           Subtotal Hours                                              Subtotal
 TOTALS FOR B210: Business Operations           12.60                                                 $7,993.50



02/13/20   S. Kulka       0.20      $125.00 B230    A104      Review cash collateral variance report and emails
                                                              related to the same

02/13/20   D. Laddin      0.20      $134.00 B230    A104      Reviewed interim US Foods order

02/17/20   S. Kulka       0.10       $62.50 B230    A104      Review emails from bank group regarding cash
                                                              collateral issues

02/17/20   D. Laddin      0.10       $67.00 B230    A104      Reviewed correspondence from Phoenix
                                                              regarding budget issues

02/19/20   S. Kulka       0.20      $125.00 B230    A107      Emails with Kelly Drye and FTI teams regarding
                                                              cash collateral budgeting issues

02/20/20   S. Kulka       1.00      $625.00 B230    A107      Call with Maeghan McLoughlin regarding DIP
                                                              financing and cash collateral issues (.30); call
                                                              with Rob Williamson regarding status of DIP
                                                              financing and cash collateral negotiations with
                                                              lenders (.70)

02/20/20   S. Kulka       0.20      $125.00 B230    A105      Conference with Darryl Laddin regarding DIP
                                                              financing and cash collateral issues
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Date       Timekeeper   Hours    Amount     Task   Activity   Description of Services
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02/20/20   S. Kulka       0.60      $375.00 B230    A104      Review complex case procedures and emails with
                                                              Kelley Drye team regarding the same and impact
                                                              on DIP financing and other items (.30); analyze
                                                              cash collateral variance and cash flow reports
                                                              (.30)

02/20/20   D. Laddin      0.60      $402.00 B230    A107      Telephone conference with E. Wilson regarding
                                                              DIP financing, sale and retention issues

02/20/20   D. Laddin      0.20      $134.00 B230    A105      Conference with S. Kulka regarding DIP
                                                              financing issues

02/20/20   D. Laddin      0.10       $67.00 B230    A104      Reviewed potential DIP financing issues

02/25/20   S. Kulka       0.20      $125.00 B230    A104      Review FTI cash flow and cash collateral
                                                              variance analysis

02/26/20   S. Kulka       1.70    $1,062.50 B230    A103      Review and revise limited objection to Debtors'
                                                              cash collateral motion (1.30); review and
                                                              comment on further revised cash collateral
                                                              objection (.40)

02/26/20   S. Kulka       0.20      $125.00 B230    A107      Emails with Eric Wilson regarding cash collateral
                                                              issues and cash collateral objection

02/27/20   M. Wells       1.20      $378.00 B230    A102      Research re: cash collateral issues

02/27/20   S. Kulka       0.20      $125.00 B230    A105      Conference with Darryl Laddin and Meghan
                                                              Wells regarding cash collateral issues

02/27/20   S. Kulka       0.20      $125.00 B230    A104      Review cash collateral variance report and cash
                                                              flow statements

02/27/20   S. Kulka       0.20      $125.00 B230    A107      Call with Maeghan McLoughlin regarding cash
                                                              collateral objection

02/27/20   S. Kulka       0.80      $500.00 B230    A103      Review and revise cash collateral objection and
                                                              finalize for filing

02/27/20   D. Laddin      0.50      $335.00 B230    A103      Reviewed and commented on Objection to Cash
                                                              Collateral Motion

02/27/20   D. Laddin      0.20      $134.00 B230    A105      Conference with S. Kulka, M. Wells regarding
                                                              cash collateral objection issues

02/27/20   D. Laddin      0.20      $134.00 B230    A104      Reviewed revisions to cash collateral objection

02/27/20   D. Laddin      0.10       $67.00 B230    A107      Correspondence regarding cash collateral
                                                              objection

02/28/20   S. Kulka       0.20      $125.00 B230    A104      Review multiple emails regarding status of DIP
                                                              and cash collateral orders
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Date          Timekeeper        Hours     Amount     Task    Activity    Description of Services
                                                     Code    Code

02/29/20      S. Kulka             0.10       $62.50 B230      A104      Review emails from Debtors' counsel regarding
                                                                         cash collateral issues

                                                     Subtotal Hours                                             Subtotal
 TOTALS FOR B230: Financing/Cash                           9.50                                                $5,664.50
 Collections


02/19/20      S. Kulka             0.90      $562.50 B310      A102      Research regarding stub rent and Section
                                                                         503(b)(9) claims and timing of payment of such
                                                                         claims

02/21/20      S. Kulka             0.30      $187.50 B310      A104      Review bar date motion and related notice of
                                                                         hearing

                                                     Subtotal Hours                                             Subtotal
 TOTALS FOR B310: Claims Administration                    1.20                                                  $750.00
 and Objections



                                                                            Total Hours                                 71.50

                                                                      Total For Services                        $45,091.00


                                               Attorney and Paralegal Summary

                                                       Hours Worked             Billed Rate             Bill Amount


           Kulka, Sean C.                                      51.90              $625.00               $32,437.50
           Laddin, Darryl S.                                   18.10              $670.00               $12,127.00
           Wells, Meghan J.                                     1.20              $315.00                  $378.00
           Waite, Jennifer M.                                   0.30              $495.00                  $148.50

           Total All Attorneys                                 71.50                                    $45,091.00




                     Description                                                                                   Amount

                     Westlaw (February 2020)                                                                          $69.62
                                                                         Total Expenses                               $69.62
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                                            FEES       DISBURSEMENTS              TOTAL


            CURRENT CHARGES:            $45,091.00                $69.62        $45,160.62

                Total Balance Due:      $45,091.00                $69.62        $45,160.62

                                                     Total This Statement       $45,160.62
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                                           Fee & Expense Summary
 Client Name ........................................................................ The Official Committee of
 Unsecured Creditors of The Krystal Company, et al.

 Matter Name ........................................................................ The Krystal Company Bankruptcy

 Account Number .................................................................. 37781-1

 Invoice ................................................................................. # 792263

 Bill Date ............................................................................... 03/11/20

 Current Fee Total ................................................................ $45,091.00

 Current Expense Total..........................................................$69.62

 Current Invoice Total ............................................................$ 45,160.62
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             Current Fee Summary Breakdown By Task Code

 B110: CASE ADMINISTRATION
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         4.90           $3062.50
 628               Laddin, Darryl S.                      0.30            $201.00
 TOTALS FOR B110: Case Administration                     5.20           $3,263.50


 B130: ASSET DISPOSITION
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         1.80           $1125.00
 628               Laddin, Darryl S.                      0.70            $469.00
 TOTALS FOR B130: Asset Disposition                       2.50           $1,594.00


 B150: MEETINGS OF AND COMMUNICATIONS WITH CREDITORS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         2.70           $1687.50
 628               Laddin, Darryl S.                      2.50           $1675.00
 TOTALS FOR B150: Meetings of and Communications with     5.20           $3,362.50
 Creditors


 B160: FEE/EMPLOYMENT APPLICATIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         10.70          $6687.50
 628               Laddin, Darryl S.                      3.30           $2211.00
 TOTALS FOR B160: Fee/Employment Applications             14.00          $8,898.50


 B170: FEE/EMPLOYMENT OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         14.30          $8937.50
 628               Laddin, Darryl S.                      5.50           $3685.00
 TOTALS FOR B170: Fee/Employment Objections               19.80         $12,622.50


 B180: AVOIDANCE ACTION ANALYSIS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         0.70            $437.50
 TOTALS FOR B180: Avoidance Action Analysis               0.70            $437.50
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   B185: ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   448               Kulka, Sean C.                          0.70           $437.50
   628               Laddin, Darryl S.                       0.10            $67.00
   TOTALS FOR B185: Assumption/Rejection of Leases and       0.80           $504.50
   Contracts


   B210: BUSINESS OPERATIONS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   1289              Waite, Jennifer M.                      0.30           $148.50
   448               Kulka, Sean C.                          8.80          $5500.00
   628               Laddin, Darryl S.                       3.50          $2345.00
   TOTALS FOR B210: Business Operations                      12.60         $7,993.50


   B230: FINANCING/CASH COLLECTIONS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   1288              Wells, Meghan J.                        1.20           $378.00
   448               Kulka, Sean C.                          6.10          $3812.50
   628               Laddin, Darryl S.                       2.20          $1474.00
   TOTALS FOR B230: Financing/Cash Collections               9.50          $5,664.50


   B310: CLAIMS ADMINISTRATION AND OBJECTIONS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   448               Kulka, Sean C.                          1.20           $750.00
   TOTALS FOR B310: Claims Administration and Objections     1.20           $750.00




              Current Expense Summary Breakdown By Code
E106              Online research                                            69.62



Total Expenses:                                                             $69.62
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The Official Committee of Unsecured Creditors of The Krystal Company, et al.      March 31, 2020
Kirk R. Carson Committee Co-Chair                                                 Invoice #794340
11995 El Camino Real                                                              Darryl S. Laddin
San Diego, CA 92130

For Legal Services Rendered In Connection With:

Client/Matter #37781-1
The Krystal Company Bankruptcy


Date       Timekeeper   Hours      Amount     Task     Activity   Description of Services
                                              Code     Code

03/03/20   S. Kulka       0.20      $125.00 B110        A104      Attention to service issues related to FTI retention
                                                                  application and AGG and Kelley Drye retention
                                                                  orders

03/04/20   T. Jackson     0.50       $75.00 B110        A109      Traveled to U.S. Bankruptcy Court to file
                                                                  Application for Admission Pro Hac Vice (2)

03/04/20   S. Kulka       0.10       $62.50 B110        A104      Attention to service issues related to FTI retention
                                                                  order

03/05/20   S. Kulka       0.10       $62.50 B110        A104      Coordinate obtaining transcript from March 3
                                                                  hearing

03/12/20   S. Kulka       0.10       $62.50 B110        A104      Review notices regarding telephonic hearings

03/12/20   D. Laddin      0.10       $67.00 B110        A107      Correspondence regarding court notice on
                                                                  hearings

03/12/20   D. Laddin      0.10       $67.00 B110        A107      Correspondence regarding court notice on
                                                                  hearings

03/16/20   S. Kulka       0.10       $62.50 B110        A104      Review General Order 32-2020 General Order
                                                                  Extending Certain Deadlines

03/17/20   S. Kulka       0.20      $125.00 B110        A104      Review Debtors' February monthly operating
                                                                  report

03/18/20   S. Kulka       0.20      $125.00 B110        A108      Review and respond to email from Court Reporter
                                                                  regarding request related to correct names to
                                                                  complete transcription of hearing

03/20/20   S. Kulka       0.10       $62.50 B110        A108      Emails with court reporter regarding transcript
                                                                  from March 3 cash collateral hearing

03/20/20   S. Kulka       0.10       $62.50 B110        A104      Review Public Notice Regarding Telephonic
                                                                  Hearing Disclaimer and emails with Kelley Drye
                                                                  team regarding the same
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Date       Timekeeper   Hours     Amount       Task   Activity   Description of Services
                                               Code   Code

03/27/20   S. Kulka       0.10          $62.50 B110     A108     Emails with court reporter regarding transcript
                                                                 from March 3 hearing

03/27/20   S. Kulka       0.30      $187.50 B110        A104     Review transcript from March 3 hearing and send
                                                                 to Kelly Drye team

                                              Subtotal Hours                                                Subtotal
 TOTALS FOR B110: Case Administration               2.30                                                   $1,209.00



03/02/20   S. Kulka       0.30      $187.50 B130        A107     Call and emails with Maeghan McLoughlin
                                                                 regarding bidding procedures issues and revised
                                                                 form of order

03/02/20   S. Kulka       0.10          $62.50 B130     A107     Emails with Maeghan McLoughlin regarding
                                                                 bidding procedures

03/09/20   D. Laddin      0.10          $67.00 B130     A106     Reviewed correspondence to Committee regarding
                                                                 sale and bid procedures

03/09/20   D. Laddin      0.10          $67.00 B130     A104     Reviewed correspondence regarding sale and
                                                                 bidding procedures

03/17/20   S. Kulka       0.20      $125.00 B130        A104     Review Committee update regarding case and sale
                                                                 process and email updates related to potential
                                                                 bidders

03/24/20   S. Kulka       0.10          $62.50 B130     A104     Review Lee County, Alabama objection to sale

03/28/20   S. Kulka       0.20      $125.00 B130        A107     Call with Matt Helt with Foley Lardner regarding
                                                                 client's interest in serving as stalking horse bidder

                                              Subtotal Hours                                                Subtotal
 TOTALS FOR B130: Asset Disposition                 1.10                                                     $696.50



03/12/20   S. Kulka       0.20      $125.00 B140        A104     Review Pruett stay relief motion

03/13/20   S. Kulka       0.10          $62.50 B140     A104     Review Moses Williams stay relief motion

03/16/20   S. Kulka       0.20      $125.00 B140        A104     Review Plair stay relief motion and emails with
                                                                 K&S regarding the same

03/24/20   S. Kulka       0.10          $62.50 B140     A104     Review notice of hearing on Williams stay relief
                                                                 motion

                                              Subtotal Hours                                                Subtotal
 TOTALS FOR B140: Relief from                       0.60                                                     $375.00
 Stay/Adequate Protection Proceedings


03/05/20   S. Kulka       0.20      $125.00 B150        A108     Call with landlord regarding status of case and
                                                                 proof of claim issues
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Date       Timekeeper   Hours    Amount   Task    Activity   Description of Services
                                          Code    Code

03/12/20   S. Kulka       0.50    $312.50 B150      A106     Conference call with full Committee and
                                                             professionals regarding last hearing, status of case,
                                                             and sales process

03/12/20   D. Laddin      0.40    $268.00 B150      A106     Participated in call with Committee regarding sale
                                                             process, financials, etc.



03/17/20   D. Laddin      0.10     $67.00 B150      A106     Correspondence with Committee regarding sale
                                                             process

03/25/20   S. Kulka       0.70    $437.50 B150      A106     Committee call regarding status of operations
                                                             related to Coronavirus, sale issues, and cash
                                                             collateral

03/25/20   D. Laddin      0.70    $469.00 B150      A106     Committee call regarding Krystal sale and budget
                                                             status and other issues

                                          Subtotal Hours                                                Subtotal
 TOTALS FOR B150: Meetings of and               2.60                                                   $1,679.00
 Communications with Creditors


03/02/20   S. Kulka       0.20    $125.00 B160      A108     Emails and call with Cliff Zucker regarding FTI
                                                             retention application

03/02/20   S. Kulka       0.10     $62.50 B160      A107     Emails with Kelley Drye team regarding Kelley
                                                             Drye and FTI retention applications

03/02/20   S. Kulka       1.20    $750.00 B160      A103     Finalize Kelly Drye retention application and
                                                             review and revise proposed order approving the
                                                             same (.7); finalize FTI retention application and
                                                             review and revise proposed order approving the
                                                             same (.5)

03/09/20   S. Kulka       0.80    $500.00 B160      A103     Prepare AGG February fee statement

03/11/20   S. Kulka       0.20    $125.00 B160      A103     Review and revise AGG February fee statement
                                                             and calls with Darryl Laddin regarding the same

03/11/20   D. Laddin      0.90    $603.00 B160      A103     Reviewed and revised AGG fee statement

03/11/20   D. Laddin      0.20    $134.00 B160      A107     Correspondence regarding professional fee
                                                             statements

03/11/20   D. Laddin      0.20    $134.00 B160      A104     Reviewed Complex Case Procedures relating to
                                                             monthly compensation and set up information for
                                                             compliance therewith

03/12/20   S. Kulka       0.10     $62.50 B160      A105     Call with Darryl Laddin regarding interim
                                                             compensation issues and emails with FTI
                                                             regarding the same
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Date       Timekeeper   Hours    Amount   Task    Activity   Description of Services
                                          Code    Code

03/12/20   D. Laddin      0.10     $67.00 B160      A107     Correspondence with M. Kuan regarding FTI fee
                                                             statements

03/13/20   S. Kulka       0.20    $125.00 B160      A104     Review and comment on FTI February fee
                                                             statement

03/13/20   D. Laddin      0.10     $67.00 B160      A104     Reviewed FTI Feb. statement

03/16/20   S. Kulka       0.20    $125.00 B160      A105     Call and then emails with Darryl Laddin regarding
                                                             interim compensation issues for AGG and other
                                                             Committee professionals and compliance with
                                                             General Order

03/16/20   D. Laddin      0.90    $603.00 B160      A103     Prepared February fee statement (.1); reviewed
                                                             General Order and prepared fee statement (.4);
                                                             revised fee statement letter (.1); prepared FTI fee
                                                             statement for service (.3)

03/16/20   D. Laddin      0.20    $134.00 B160      A107     Correspondence regarding AGG and Committee
                                                             fee statements (.1); correspondence with M. Kuan,
                                                             E. Wilson regarding fee statements of various
                                                             parties (.1)

03/18/20   S. Kulka       0.10     $62.50 B160      A107     Emails with Kelley Drye team and FTI team
                                                             regarding interim compensation issues

03/19/20   S. Kulka       0.10     $62.50 B160      A107     Emails with Kelley Drye team regarding interim
                                                             compensation issues

03/19/20   D. Laddin      0.30    $201.00 B160      A103     Reviewed and prepared AGG, FTI, Kelly Drye
                                                             statements for service

03/23/20   S. Kulka       0.20    $125.00 B160      A107     Emails with Kelly Drye team regarding interim fee
                                                             application issues

03/31/20   S. Kulka       0.10     $62.50 B160      A107     Emails with Kelley Drye team regarding interim
                                                             compensation issues

                                          Subtotal Hours                                                Subtotal
 TOTALS FOR B160: Fee/Employment                6.40                                                   $4,130.50
 Applications


03/04/20   S. Kulka       0.10     $62.50 B170      A104     Review Scroggins Williamson January fee
                                                             statement

03/06/20   S. Kulka       0.50    $312.50 B170      A104     Review amended list of OCP and multiple filed
                                                             certificates of disinterestedness filed by various
                                                             OCPs
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Date       Timekeeper   Hours    Amount   Task    Activity   Description of Services
                                          Code    Code

03/09/20   S. Kulka       0.40    $250.00 B170      A104     Further review of OCP amended list and related
                                                             filings and emails with Kelley Drye team
                                                             regarding the same (.2); review Digital Issues
                                                             Management certificate of disinterestedness and
                                                             emails with Kelley Drye team regarding the same
                                                             (.2)

03/10/20   S. Kulka       0.40    $250.00 B170      A104     Review multiple OCP declarations of
                                                             disinterestedness, and emails with Kelley Drye
                                                             team regarding the same and potential objections

03/10/20   S. Kulka       0.10     $62.50 B170      A105     Call with Darryl Laddin regarding ordinary course
                                                             professional disinterestedness issues

03/10/20   D. Laddin      0.10     $67.00 B170      A104     Reviewed ordinary course professional issues

03/12/20   S. Kulka       0.10     $62.50 B170      A104     Review Sefarth Shaw certificate of
                                                             disinterestedness

03/16/20   S. Kulka       0.10     $62.50 B170      A104     Review Scroggins & Williamson fee statement

03/16/20   S. Kulka       0.10     $62.50 B170      A105     Call with Darryl Laddin regarding Debtor
                                                             professional monthly fee statements

03/16/20   S. Kulka       0.10     $62.50 B170      A107     Emails with Kelley Drye team regarding Debtor
                                                             monthly fee statements

03/16/20   D. Laddin      0.10     $67.00 B170      A105     Conference with S. Kulka regarding Debtor fee
                                                             statements

03/26/20   S. Kulka       0.10     $62.50 B170      A104     Review KCC February fee statement and emails
                                                             with Darryl Laddin regarding the same

03/27/20   D. Laddin      0.10     $67.00 B170      A104     Reviewed KCC invoice

                                          Subtotal Hours                                              Subtotal
 TOTALS FOR B170: Fee/Employment                2.30                                                 $1,451.00
 Objections


03/09/20   S. Kulka       0.10     $62.50 B210      A104     Review entered final cash management order

03/11/20   S. Kulka       0.30    $187.50 B210      A104     Review agenda for committee call and cash flow
                                                             and operations report prepared by FTI

03/24/20   S. Kulka       0.20    $125.00 B210      A104     Review letter from Krystal regarding deferral of
                                                             April rent and related emails

                                          Subtotal Hours                                              Subtotal
 TOTALS FOR B210: Business Operations           0.60                                                   $375.00
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                                          Code    Code

03/01/20   S. Kulka       0.50    $312.50 B230     A107      Emails and conference call with Eric Wilson
                                                             regarding cash collateral and cash collateral
                                                             budget issues

03/01/20   S. Kulka       0.60    $375.00 B230     A104      Review emails from Debtors' counsel and Wells
                                                             Fargo's counsel regarding cash collateral issues
                                                             and cash collateral budgeting (.2); review
                                                             proposed third interim order and updated cash
                                                             collateral budget (.4)

03/02/20   S. Kulka       1.20    $750.00 B230     A104      Review Wells Fargo Declaration related to loan
                                                             documents and perfection (.2); review Debtors'
                                                             notice of filing of third interim cash collateral
                                                             order and proposed budget (.3); review Wells
                                                             Fargo supplemental objection to cash collateral
                                                             motion (.2); review Wells Fargo comments to
                                                             proposed third interim cash collateral order (.2);
                                                             review further revised third interim cash collateral
                                                             order with lender comments (.3)

03/02/20   S. Kulka       2.70   $1,687.50 B230    A107      Call with Kelley Drye team and FTI team
                                                             regarding cash collateral budget issues and cash
                                                             collateral hearing and bidding procedures (.7); call
                                                             and emails with Rufus Dorsey regarding bank
                                                             group's declaration related to loan documents and
                                                             cash collateral issues and upcoming hearing (.4);
                                                             follow up call with Eric Wilson regarding cash
                                                             collateral issues and hearing (.2); additional call
                                                             with Eric Wilson regarding Wells Fargo comments
                                                             to cash collateral order (.2); call with Rob
                                                             Williamson regarding cash collateral issues and
                                                             status of discussions with Wells Fargo (.2); call
                                                             with Debtors' legal team, Lender's legal team, and
                                                             Kelly Drye team regarding third interim cash
                                                             collateral order (.5); follow up call with Eric
                                                             Wilson regarding result of call and issues for
                                                             hearing (.2); subsequent call with Debtors' legal
                                                             team, Lender's legal team, and Kelly Drye team
                                                             regarding third interim cash collateral order (.3)

03/02/20   S. Kulka       2.90   $1,812.50 B230    A101      Prepare for cash collateral hearing

03/03/20   S. Kulka       2.90   $1,812.50 B230    A109      Attend final cash collateral hearing, and hearing on
                                                             bidding procedures, OCP procedure motion, credit
                                                             support agreement motion, and cash management
                                                             motion

03/03/20   S. Kulka       1.10    $687.50 B230     A101      Continue to prepare for final cash collateral
                                                             hearing, and hearing on bidding procedures, OCP
                                                             procedure motion, credit support agreement
                                                             motion, and cash management motion
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Date       Timekeeper   Hours    Amount   Task   Activity   Description of Services
                                          Code   Code

03/03/20   S. Kulka       1.20    $750.00 B230    A107      Meeting with secured lender's counsel, debtors'
                                                            counsel, and Eric Wilson to review and revise cash
                                                            collateral order and bidding procedures order to
                                                            conform to hearing results

03/04/20   S. Kulka       0.30    $187.50 B230    A107      Emails with Eric Wilson regarding cash collateral
                                                            budget issues (.1); call with Eric Wilson regarding
                                                            cash collateral budget issues (.2)

03/05/20   S. Kulka       0.70    $437.50 B230    A107      Call with Kelley Drye and FTI teams regarding
                                                            budget issues and case status (.4); additional
                                                            emails with team regarding variance in certain
                                                            actual expenses (.1); call with Maeghan
                                                            McLoughlin regarding outcome of cash collateral
                                                            hearing and next steps to create value (.2)

03/05/20   S. Kulka       0.20    $125.00 B230    A104      Review Debtor's weekly cash flow and cash
                                                            collateral variance report

03/09/20   S. Kulka       0.30    $187.50 B230    A105      Call with Darryl Laddin regarding cash collateral
                                                            issues

03/09/20   S. Kulka       0.10     $62.50 B230    A104      Review entered final U.S. Foods credit support
                                                            agreement approval order

03/09/20   D. Laddin      0.30    $201.00 B230    A105      Conference with S. Kulka regarding cash
                                                            collateral issues

03/11/20   S. Kulka       0.40    $250.00 B230    A107      Emails with Kelley Drye team and Cliff Zucker
                                                            regarding cash collateral budget issues (.3); emails
                                                            with Jeff Dutson and Jon Tibus regarding cash
                                                            collateral budget issues (.1)

03/12/20   S. Kulka       0.20    $125.00 B230    A107      Emails with Debtors' counsel and John Tibus
                                                            regarding cash collateral issues

03/12/20   S. Kulka       0.20    $125.00 B230    A104      Review cash collateral variance and cash flow
                                                            reports

03/12/20   D. Laddin      0.10     $67.00 B230    A105      Reviewed cash collateral report

03/13/20   S. Kulka       0.10     $62.50 B230    A107      Emails with Jeff Dunston and Jon Tibus regarding
                                                            cash collateral issues

03/16/20   S. Kulka       0.30    $187.50 B230    A105      Conference call with Darryl Laddin regarding
                                                            strategies for call with Debtors regarding cash
                                                            collateral budget (.1); conference call with Darryl
                                                            Laddin regarding cash collateral and sale issues
                                                            discussed in call with Debtors (.2)
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Date       Timekeeper   Hours    Amount   Task    Activity   Description of Services
                                          Code    Code

03/16/20   S. Kulka       1.70   $1,062.50 B230    A107      Emails with K&S team and Jon Tibus regarding
                                                             cash collateral budget issues (.1); emails with Eric
                                                             Wilson, Maeghan McLoughlin, FTU, and Darryl
                                                             Laddin regarding cash collateral budget issues
                                                             (.2); call with K&S team and Jon Tibus regarding
                                                             cash collateral budget issues (.6); email memo to
                                                             Kelley Drye team and FTI team regarding
                                                             outcome of Debtor call regarding cash collateral
                                                             and sale issues (.2); call with Committee team
                                                             regarding the same and next steps (.6)

03/16/20   D. Laddin      0.30    $201.00 B230     A105      Conference with S. Kulka regarding upcoming
                                                             cash collateral budget call (.1); conference with S.
                                                             Kulka regarding cash collateral and sale issues
                                                             discussed in call with Debtor (.2)

03/16/20   D. Laddin      0.70    $469.00 B230     A107      Correspondence with S. Kulka and E. Wilson
                                                             regarding cash collateral budget issues (.1);
                                                             telephone conference with Kelly Drye, FTI, S.
                                                             Kulka regarding budget and sale issues (.6)

03/19/20   S. Kulka       0.20    $125.00 B230     A104      Review Debtor's cash flow and cash collateral
                                                             variance reports

03/20/20   S. Kulka       0.70    $437.50 B230     A107      Emails with Kelley Drye and FTI teams regarding
                                                             cash collateral budget issues (.3); emails with
                                                             Debtor legal and management teams regarding
                                                             cash collateral budget issues (.3); additional emails
                                                             with Kelley Drye and FTI teams regarding cash
                                                             collateral budget issues and case update (.1)

03/23/20   S. Kulka       0.10     $62.50 B230     A107      Emails with Kelley Drye team and FTI team
                                                             regarding cash collateral issues

03/23/20   S. Kulka       0.30    $187.50 B230     A104      Review Debtors' draft dec with restated
                                                             assumptions and cash flow projections

03/24/20   S. Kulka       0.30    $187.50 B230     A104      Review agenda for Committee call and FTI
                                                             financial report (.2); review revised notice of April
                                                             1 cash collateral hearing and related emails from
                                                             Chambers and Debtor's counsel (.1)

03/25/20   D. Laddin      0.20    $134.00 B230     A104      Reviewed updates on Krystal status

03/26/20   S. Kulka       0.20    $125.00 B230     A104      Review Debtors' cashflow and cash collateral
                                                             reports

03/26/20   D. Laddin      0.10     $67.00 B230     A104      Reviewed cash collateral budget
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03/27/20   S. Kulka       0.80    $500.00 B230    A107      Call with Eric Wilson regarding cash collateral
                                                            budget issues and reservation of rights issues (.2);
                                                            emails with Ashley Ray regarding cash collateral
                                                            stipulation (.1); multiple emails with Kelley Drye,
                                                            FTI team, and Darryl Laddin team regarding
                                                            Debtors' cash collateral stipulation and updated
                                                            cash collateral budget and potential objections (.5)

03/27/20   S. Kulka       0.10     $62.50 B230    A105      Emails with Darryl Laddin regarding cash
                                                            collateral budget issues and reservation of rights
                                                            issues

03/27/20   S. Kulka       0.40    $250.00 B230    A104      Review and comment on Debtors' proposed cash
                                                            collateral stipulation and updated proposed budget

03/27/20   D. Laddin      0.10     $67.00 B230    A104      Reviewed cash collateral budget

03/28/20   S. Kulka       0.50    $312.50 B230    A108      Call with FTI team regarding cash collateral
                                                            budget and budget comparisons

03/28/20   S. Kulka       1.00    $625.00 B230    A103      Prepare informal objection to Debtors' proposed
                                                            cash collateral and settlement request (.9); review
                                                            and revise informal objection per comments from
                                                            Kelley Drye team (.1)

03/28/20   S. Kulka       0.30    $187.50 B230    A104      Review budget analysis prepared by FTI

03/28/20   S. Kulka       0.20    $125.00 B230    A105      Call with Darryl Laddin regarding cash collateral
                                                            issues

03/28/20   D. Laddin      0.20    $134.00 B230    A104      Reviewed Budget

03/29/20   S. Kulka       1.20    $750.00 B230    A107      Conference call with Kelley Drye team, FTI team,
                                                            and Darryl Laddin regarding cash collateral and
                                                            budget issues and potential objection to the same
                                                            (.7); emails with Debtors' counsel regarding cash
                                                            collateral settlement issues (.2); emails with and
                                                            conference call with Kelley Drye team, FTI team,
                                                            and Darryl Laddin regarding cash collateral
                                                            settlement issues (.3)

03/29/20   S. Kulka       0.30    $187.50 B230    A103      Review and revise informal objection to Debtors'
                                                            proposed cash collateral and settlement request
                                                            pursuant to discussion with Committee
                                                            professional team

03/29/20   D. Laddin      0.40    $268.00 B230    A104      Reviewed and analyzed Fourth Interim Budget and
                                                            related analyses of same

03/29/20   D. Laddin      0.70    $469.00 B230    A107      Telephone conference with E. Wilson, M.
                                                            McLoughlin, C. Zucker, M. Kuan, S. Kulka
                                                            regarding Budget, analysis of same, and potential
                                                            Objection (.7)
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                                          Code    Code

03/30/20   S. Kulka       0.70    $437.50 B230     A104      Review and comment on supplemental cash
                                                             collateral objection and reservation of rights (.3);
                                                             review and comment on further revised
                                                             supplemental cash collateral objection and
                                                             reservation of rights (.2); review Debtors' further
                                                             revised budget and cash collateral stipulation (.2)

03/30/20   S. Kulka       2.30   $1,437.50 B230    A107      Emails with Kelley Drye team, FTI team, and
                                                             Darryl Laddin regarding cash collateral issues and
                                                             cash collateral objection (.5); call with Eric Wilson
                                                             regarding cash collateral settlement issues (.2);
                                                             emails with Debtors' counsel regarding cash
                                                             collateral settlement issues (.4); subsequent call
                                                             with Eric Wilson regarding cash collateral budget
                                                             and related settlement issues (.1); emails with
                                                             Lender team regarding cash collateral budgeting
                                                             settlement issues (.2); emails with Kelly Drye team
                                                             regarding Debtors' further revised budget and
                                                             stipulation (.1); call and emails with Eric Wilson
                                                             and Cliff Zucker regarding cash collateral orders
                                                             and how they interplay with cash collateral
                                                             budgets (.3); subsequent call with Eric Wilson
                                                             regarding cash collateral budget and stipulation
                                                             and ways to bridge gap to settle on new interim
                                                             order (.2); subsequent emails with Debtors'
                                                             counsel to resolve cash collateral budget and
                                                             stipulation (.2)

03/30/20   S. Kulka       0.40    $250.00 B230     A103      Revise cash collateral objection and finalize for
                                                             filing

03/30/20   S. Kulka       0.30    $187.50 B230     A105      Calls with Darryl Laddin regarding cash collateral
                                                             issues

03/30/20   S. Kulka       0.30    $187.50 B230     A108      Calls with Cliff Zucker regarding cash collateral
                                                             budget issues

03/30/20   D. Laddin      0.60    $402.00 B230     A104      Reviewed draft of cash collateral objection (.2);
                                                             reviewed revised cash collateral objection (.1);
                                                             reviewed further revisions to cash collateral
                                                             objection (.2); reviewed latest draft of Stipulation
                                                             forwarded by A. Ray (.1)

03/30/20   D. Laddin      0.20    $134.00 B230     A107      Correspondence with E. Wilson, et al. regarding
                                                             cash collateral objection

03/30/20   D. Laddin      0.30    $201.00 B230     A105      Conference with S. Kulka regarding cash
                                                             collateral issues (.2); follow-up conference with S.
                                                             Kulka regarding latest cash collateral issues (.1)
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                                          Code    Code

03/31/20   S. Kulka       3.00   $1,875.00 B230     A107     Emails with Kelley Drye team and FYI team
                                                             regarding cash collateral issues and cash collateral
                                                             settlement issues (.3); conference call with Rufus
                                                             Dorsey regarding cash collateral settlement issues,
                                                             including Committee issues and Lender issues
                                                             (.4); conference call with Eric Wilson regarding
                                                             update related to the same and reservation of rights
                                                             pleading (.2); emails with Debtors' counsel
                                                             regarding cash collateral settlement issues (.2);
                                                             call with Rob Williamson and Ashley Ray
                                                             regarding cash collateral settlement issues related
                                                             Committee and Lender issues (.5); call with Eric
                                                             Wilson regarding the same (.3); subsequent call
                                                             with Rob Williamson and Ashley Ray regarding
                                                             same (.2); subsequent emails with Kelley Drye and
                                                             FTI teams regarding the same (.1); additional
                                                             emails with Rob Williamson and Ashley Ray to
                                                             finalize Committee and Debtor settlement on cash
                                                             collateral order and budget (.3); subsequent call
                                                             with Rob Williamson regarding Lender settlement
                                                             on cash collateral (.1); follow up email and then
                                                             call with Rufus Dorsey regarding the same (.2);
                                                             emails with Eric Wilson and Darryl Laddin
                                                             regarding the same and form of cash collateral
                                                             order (.2)

03/31/20   S. Kulka       0.10     $62.50 B230      A108     Call with Cliff Zucker regarding cash collateral
                                                             issues

03/31/20   S. Kulka       0.40    $250.00 B230      A103     Revise and revise cash collateral reservation of
                                                             rights and finalize for filing

03/31/20   S. Kulka       0.20    $125.00 B230      A105     Conference call with Darryl Laddin regarding cash
                                                             collateral issues

03/31/20   S. Kulka       0.60    $375.00 B230      A104     Review further revised and shorten budget (.1);
                                                             review and comment on further revised interim
                                                             cash collateral order (.5)

03/31/20   D. Laddin      0.20    $134.00 B230      A107     Reviewed correspondence regarding cash
                                                             collateral issues

03/31/20   D. Laddin      0.20    $134.00 B230      A103     Reviewed and revised cash collateral objection

03/31/20   D. Laddin      0.20    $134.00 B230      A105     Conference with S. Kulka regarding latest cash
                                                             collateral issues

                                          Subtotal Hours                                               Subtotal
 TOTALS FOR B230: Financing/Cash               37.30                                                 $23,528.50
 Collections


03/09/20   S. Kulka       0.10     $62.50 B310      A104     Review entered Section 503(b)(9) claim
                                                             procedures order
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                                                      Code     Code

03/09/20      S. Kulka            0.10     $62.50 B310           A107       Call with M. McLoughlin regarding bar date
                                                                            motion issues

03/12/20      S. Kulka            0.40    $250.00 B310           A107       Emails with K&S team regarding bar date motion
                                                                            and telephonic hearing issues on the same (.2);
                                                                            emails with Maeghan McLoughlin regarding the
                                                                            same, and form of bar date order (.2)

03/12/20      S. Kulka            0.20    $125.00 B310           A104       Review revised bar date order

03/16/20      S. Kulka            0.20    $125.00 B310           A104       Review notice of modified bar date order and
                                                                            notice of bar date

03/17/20      S. Kulka            0.40    $250.00 B310           A109       Attend hearing on motion to approve bar date

03/31/20      S. Kulka            0.20    $125.00 B310           A104       Analyze administrative expense claims priority
                                                                            issues

                                                      Subtotal Hours                                                Subtotal
 TOTALS FOR B310: Claims                                    1.60                                                   $1,000.00
 Administration and Objections



                                                                                Total Hours                               54.80

                                                                          Total For Services                      $34,444.50


                                                  Attorney and Paralegal Summary

                                                          Hours Worked              Billed Rate             Bill Amount


           Kulka, Sean C.                                         44.70                $625.00              $27,937.50
           Laddin, Darryl S.                                       9.60                $670.00               $6,432.00
           Jackson, Toussant S.                                    0.50                $150.00                  $75.00

           Total All Attorneys                                    54.80                                     $34,444.50




 Expense Code       Description                                                                                        Amount


 E108               VENDOR: Clerk, U.S. District Court INVOICE#: PHV KELLEY                                            $300.00
                    DRYE DATE: 3/2/2020 Pro hac vice admission fees (2)

 TOTALS FOR E108:                                                                                                      $300.00

                                                                             Total Expenses                            $300.00
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                                            FEES       DISBURSEMENTS              TOTAL


            CURRENT CHARGES:            $34,444.50               $300.00        $34,744.50

                Total Balance Due:      $34,444.50               $300.00        $34,744.50

                                                     Total This Statement       $34,744.50
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                                           Fee & Expense Summary
 Client Name ........................................................................ The Official Committee of
 Unsecured Creditors of The Krystal Company, et al.

 Matter Name ........................................................................ The Krystal Company Bankruptcy

 Account Number .................................................................. 37781-1

 Invoice ................................................................................. # 794340

 Bill Date ............................................................................... 03/31/20

 Current Fee Total ................................................................ $34,444.50

 Current Expense Total..........................................................$300.00

 Current Invoice Total ............................................................$ 34,744.50
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             Current Fee Summary Breakdown By Task Code

 B110: CASE ADMINISTRATION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 1217              Jackson, Toussant S.                   0.50            $75.00
 448               Kulka, Sean C.                         1.60          $1000.00
 628               Laddin, Darryl S.                      0.20           $134.00
 TOTALS FOR B110: Case Administration                     2.30          $1,209.00


 B130: ASSET DISPOSITION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.90           $562.50
 628               Laddin, Darryl S.                      0.20           $134.00
 TOTALS FOR B130: Asset Disposition                       1.10           $696.50


 B140: RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.60           $375.00
 TOTALS FOR B140: Relief from Stay/Adequate Protection    0.60           $375.00
 Proceedings


 B150: MEETINGS OF AND COMMUNICATIONS WITH CREDITORS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         1.40           $875.00
 628               Laddin, Darryl S.                      1.20           $804.00
 TOTALS FOR B150: Meetings of and Communications with     2.60          $1,679.00
 Creditors


 B160: FEE/EMPLOYMENT APPLICATIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         3.50          $2187.50
 628               Laddin, Darryl S.                      2.90          $1943.00
 TOTALS FOR B160: Fee/Employment Applications             6.40          $4,130.50


 B170: FEE/EMPLOYMENT OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         2.00          $1250.00
 628               Laddin, Darryl S.                      0.30           $201.00
 TOTALS FOR B170: Fee/Employment Objections               2.30          $1,451.00
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   B210: BUSINESS OPERATIONS
   Timekeeper Code   Timekeeper Name                        Hours             Value
   448               Kulka, Sean C.                         0.60            $375.00
   TOTALS FOR B210: Business Operations                     0.60            $375.00


   B230: FINANCING/CASH COLLECTIONS
   Timekeeper Code   Timekeeper Name                        Hours             Value
   448               Kulka, Sean C.                         32.50         $20312.50
   628               Laddin, Darryl S.                      4.80           $3216.00
   TOTALS FOR B230: Financing/Cash Collections              37.30         $23,528.50


   B310: CLAIMS ADMINISTRATION AND OBJECTIONS
   Timekeeper Code   Timekeeper Name                        Hours             Value
   448               Kulka, Sean C.                         1.60           $1000.00
   TOTALS FOR B310: Claims Administration and Objections    1.60           $1,000.00




              Current Expense Summary Breakdown By Code
E108                                                                        300.00



Total Expenses:                                                            $300.00
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The Official Committee of Unsecured Creditors of The Krystal Company, et al.       May 1, 2020
Kirk R. Carson Committee Co-Chair                                                  Invoice #796988
11995 El Camino Real                                                               Darryl S. Laddin
San Diego, CA 92130

For Legal Services Rendered In Connection With:

Client/Matter #37781-1
The Krystal Company Bankruptcy


Date       Timekeeper    Hours          Amount    Task   Activity   Description of Services
                                                  Code   Code

04/13/20    S. Kulka             0.20     $125.00 B110      A104     Review Debtors' March monthly operating
                                                                     report

04/20/20    S. Kulka             0.20     $125.00 B110      A104     Work on service issues related to Committee
                                                                     standing motion

04/21/20    S. Kulka             0.20     $125.00 B110      A104     Attention to service issues related to Committee
                                                                     standing motion and notice of hearing

04/22/20    S. Kulka             0.10      $62.50 B110      A104     Attention to service issues related to supplement
                                                                     to Committee standing motion

04/27/20    S. Kulka             0.10      $62.50 B110      A104     Attention to service issues related to limited
                                                                     objection to stalking horse motion

04/30/20    S. Kulka             0.10      $62.50 B110      A108     Review emails from Chambers regarding status
                                                                     conference and update Kelley Drye team and
                                                                     Darryl Laddin regarding the same

                                                  Subtotal Hours                                              Subtotal
 TOTALS FOR B110: Case Administration                  0.90                                                    $562.50



04/07/20    S. Kulka             0.20     $125.00 B120      A108     Call with Cliff Zucker regarding NOL issues

04/08/20    S. Kulka             1.80 $1,125.00 B120        A102     Research and analysis related to NOLs and
                                                                     property of the estate issues

04/08/20    S. Kulka             0.60     $375.00 B120      A105     Call with Darryl Laddin regarding NOL issues
                                                                     and impact on lender claims (.10); emails with
                                                                     Darryl Laddin and Ron Weiner regarding the
                                                                     same, and call with Darryl Laddin regarding the
                                                                     same (.50)

04/08/20    S. Kulka             0.30     $187.50 B120      A105     Call with Darryl Laddin and Zach Wilson
                                                                     regarding NOL issues
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                                                Code    Code

04/08/20    D. Laddin           1.50 $1,005.00 B120        A104     Analysis of NOL issues



04/08/20    D. Laddin           0.30     $201.00 B120      A105     Conference with S. Kulka, Z. Wilson regarding
                                                                    NOL issues

04/08/20    Z. Wilson           0.30     $184.50 B120      A105     Call with D. Laddin and S. Kulka re NOL
                                                                    carryback issue

04/09/20    S. Kulka            1.20     $750.00 B120      A102     Research NOL issues

04/09/20    S. Kulka            0.10      $62.50 B120      A108     Emails with Debtors' management and legal
                                                                    team regarding NOL issues

04/10/20    S. Kulka            0.80     $500.00 B120      A102     Research NOL and property of the estate issues

04/10/20    S. Kulka            0.40     $250.00 B120      A107     Conference call with Debtors' management
                                                                    team, Debtors' counsel, Cliff Zucker, and Darryl
                                                                    Laddin regarding NOL issues

04/10/20    S. Kulka            0.30     $187.50 B120      A105     Follow up conference call with Darryl Laddin
                                                                    regarding NOL issues

04/10/20    D. Laddin           0.60     $402.00 B120      A107     Telephone conference with R. Williamson, A.
                                                                    Ray, J. Tibus, C. Zucker, S. Kulka regarding
                                                                    NOL issues (.4); correspondence with E. Wilson,
                                                                    et al. regarding standing analysis (.2)

04/10/20    D. Laddin           0.30     $201.00 B120      A105     Conference with S. Kulka regarding NOL issues
                                                                    and drafting of email to E. Wilson regarding
                                                                    same

04/10/20    D. Laddin           0.20     $134.00 B120      A104     Reviewed tax return information provided by C.
                                                                    Zucker regarding NOL issues (.1); reviewed
                                                                    potential standing motion form (.1)

04/14/20    S. Kulka            0.30     $187.50 B120      A105     Review valuation research results and emails
                                                                    with Meghan Wells and Darryl Laddin regarding
                                                                    valuation method research

04/15/20    S. Kulka            0.40     $250.00 B120      A104     Analysis of property of estate issues and impact
                                                                    on NOLs

04/20/20    S. Kulka            0.20     $125.00 B120      A107     Emails with Kelley Drye team and Darryl Laddin
                                                                    regarding Committee standing motion

04/21/20    S. Kulka            0.10      $62.50 B120      A105     Call and emails with Darryl Laddin regarding
                                                                    supplement to Committee standing motion
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                                                Code    Code

04/30/20    S. Kulka            0.40     $250.00 B120      A104     Review 9019 motion related to Committee
                                                                    standing motion and sale, related motion to
                                                                    expedite, and Fortress comments to the same

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B120: Asset Analysis and                 10.30                                                 $6,565.00
 Recovery


04/03/20    S. Kulka            0.10      $62.50 B130      A105     Conference with Darryl Laddin regarding sales
                                                                    process

04/03/20    D. Laddin           0.10      $67.00 B130      A105     Conference with S. Kulka regarding sale status

04/06/20    S. Kulka            0.20     $125.00 B130      A108     Call with Debtors' management regarding status
                                                                    of operations and impact on sales process

04/07/20    S. Kulka            0.20     $125.00 B130      A104     Review cure claim notice and emails with FTI
                                                                    and Kelley Drye teams regarding the same

04/14/20    S. Kulka            0.40     $250.00 B130      A107     Conference with Debtors regarding status of
                                                                    sales process (.20); emails with Kelley Dry team,
                                                                    FTI team, and Darryl Laddin regarding the same
                                                                    (.20)

04/20/20    S. Kulka            0.60     $375.00 B130      A107     Call with Kelley Drye and FTI teams regarding
                                                                    current status of stalking horse bidders and sales
                                                                    process

04/20/20    D. Laddin           0.60     $402.00 B130      A107     Telephone conference with E. Wilson, M.
                                                                    McLaughlin, S. Kulka regarding bid for assets
                                                                    and response thereto

04/21/20    S. Kulka            0.30     $187.50 B130      A105     Conference with Darryl Laddin regarding
                                                                    stalking horse APA and sale issues and strategies

04/21/20    S. Kulka            0.50     $312.50 B130      A104     Review Debtors' motion to approve stalking
                                                                    horse and break up fee, motion to shorten related
                                                                    to the same, and order and notice of hearing
                                                                    related to the same

04/21/20    D. Laddin           0.20     $134.00 B130      A104     Reviewed draft of stalking horse APA

04/21/20    D. Laddin           0.30     $201.00 B130      A104     Reviewed APA and analyzed sale issues

04/21/20    D. Laddin           0.30     $201.00 B130      A105     Conference with S. Kulka regarding sale issues

04/22/20    S. Kulka            0.20     $125.00 B130      A107     Emais with Kelley Drye team, FTI team, and
                                                                    Darryl Laddin regarding sale issues

04/22/20    D. Laddin           0.30     $201.00 B130      A104     Reviewed Emergency Motion to Approve
                                                                    Stalking Horse
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04/24/20    S. Kulka            0.40     $250.00 B130      A107     Emails with Kelly Drye team regarding sale
                                                                    issues, including break up fee issues, and
                                                                    stalking horse limited objection

04/24/20    S. Kulka            0.10      $62.50 B130      A105     Emails with Darryl Laddin regarding stalking
                                                                    horse APA

04/24/20    S. Kulka            0.60     $375.00 B130      A104     Review stalking horse APA and necessary
                                                                    revisions to the same, including revisions related
                                                                    to break-up fee and avoidance actions (.40);
                                                                    review landlord objection to stalking horse
                                                                    motion (.20)

04/24/20    S. Kulka            0.60     $375.00 B130      A103     Review and revise limited objection to motion to
                                                                    approve stalking horse

04/24/20    D. Laddin           0.40     $268.00 B130      A104     Reviewed mark-up to APA (.1); reviewed draft
                                                                    of Committee Objection to break-up fee (.3)

04/25/20    S. Kulka            0.60     $375.00 B130      A107     Call with Jonathan Edwards, Eric Wilson, and
                                                                    Darryl Laddin regarding Fortress credit bid and
                                                                    competing APA structure

04/25/20    D. Laddin           0.60     $402.00 B130      A107     Telephone conference with J. Edwards, E.
                                                                    Wilson, S. Kulka regarding Lenders’ bid for
                                                                    company

04/26/20    S. Kulka            0.30     $187.50 B130      A107     Call with Debtors' team and Committee team
                                                                    regarding Nashville APA, Fortress bid, and
                                                                    alternative transactions

04/26/20    S. Kulka            0.20     $125.00 B130      A105     Conference with Darryl Laddin regarding
                                                                    Fortress APA

04/26/20    S. Kulka            0.90     $562.50 B130      A104     Review blackline of Fortress APA (.60); review
                                                                    and comment on related settlement agreement
                                                                    (.30)

04/26/20    D. Laddin           0.30     $201.00 B130      A107     Telephone conference with S. Borders, J.
                                                                    Dutson, J. Tibus, E. Wilson, S. Kulka regarding
                                                                    Fortress Lenders’ bid for company

04/26/20    D. Laddin           0.20     $134.00 B130      A105     Telephone conference with S. Kulka regarding
                                                                    Fortress APA

04/26/20    D. Laddin           0.50     $335.00 B130      A104     Reviewed draft of Fortress Lenders’ APA and
                                                                    Settlement Agreement

04/27/20    S. Kulka            1.30     $812.50 B130      A104     Review and comment on further revised Fortress
                                                                    APA and settlement agreement (.70); review
                                                                    KRY Warner Robins Realty objection to stalking
                                                                    horse motion (.10); review further revised APA
                                                                    and Schedules and further revised settlement
                                                                    agreement (.50)
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04/27/20    S. Kulka            0.40     $250.00 B130      A109     Attend telephonic hearing on Debtors' motion to
                                                                    approve stalking horse

04/27/20    S. Kulka            0.10      $62.50 B130      A104     Review landlord group objection to stalking
                                                                    horse motion

04/27/20    S. Kulka            1.70 $1,062.50 B130        A107     Emails with Kelley Drye team regarding Fortress
                                                                    APA and settlement agreement (.10); call with
                                                                    Kelley Drye team, FTI team, and Darryl Laddin
                                                                    regarding the same and to prepare for Committee
                                                                    call regarding sale process (.40); call with
                                                                    Debtors' team and Committee team regarding
                                                                    Fortress proposal and APA page turn (1.10);
                                                                    email to Kelley Drye team regarding strategies
                                                                    related to open sale terms (.10)

04/27/20    S. Kulka            0.10      $62.50 B130      A105     Call with Darryl Laddin regarding sale issues

04/27/20    D. Laddin           0.40     $268.00 B130      A109     Telephonically attended hearing on stalking
                                                                    horse bid

04/27/20    D. Laddin           1.50 $1,005.00 B130        A107     Telephone conference with E. Wilson, M.
                                                                    McLoughlin, C. Zucker, S. Kulka regarding sale
                                                                    issues and upcoming Committee call (.4);
                                                                    telephone conference with J. Dutson, Kelley
                                                                    Drye, J. Tibus, S. Kulka regarding lender APA
                                                                    (1.1)

04/28/20    S. Kulka            1.30     $812.50 B130      A107     Call with Eric Wilson regarding Fortress sale and
                                                                    applicable agreements (.30); call with Maeghan
                                                                    McLoughlin regarding Fortress settlement
                                                                    agreement (.10); multiple emails with Kelley
                                                                    Drye team and FTI team regarding settlement
                                                                    agreement and wind down budgets (.40);
                                                                    conference call with Eric Wilson regarding final
                                                                    form of transaction documents and preparation
                                                                    for Committee call regarding sign off (.50)

04/28/20    S. Kulka            3.20 $2,000.00 B130        A104     Review multiple emails related to Fortress
                                                                    transaction and administrative expenses
                                                                    constituting assumed liabilities (.30); review and
                                                                    provide comments to further revised Fortress
                                                                    APA and settlement agreement (1.30); review
                                                                    and comment on wind down budget and related
                                                                    emails (.20); review further drafts of Fortress
                                                                    APA and settlement agreement (.50); review
                                                                    multiple emails with Debtors' counsel and
                                                                    Fortress' counsel regarding transaction and
                                                                    continuing comments to transaction documents
                                                                    (.40); high level review of final transaction
                                                                    documents (.50)

04/28/20    S. Kulka            0.90     $562.50 B130      A103     Revise various carveout and release provisions
                                                                    in Fortress settlement agreement related to sale
                                                                    (.70); revise settlement agreement exhibits (.20)
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04/28/20    S. Kulka            0.30     $187.50 B130      A109     Attend telephonic continued hearing on stalking
                                                                    horse motion

04/28/20    D. Laddin           1.00     $670.00 B130      A103     Reviewed and commented on latest drafts of
                                                                    APA and Settlement Agreement (.6); further
                                                                    review and revisions to Settlement Agreement
                                                                    (.4)

04/28/20    D. Laddin           0.20     $134.00 B130      A107     Correspondence with E. Wilson, et al. regarding
                                                                    draft Settlement Agreement issues

04/28/20    D. Laddin           0.20     $134.00 B130      A109     Telephonically attended hearing on stalking
                                                                    horse motion

04/29/20    S. Kulka            0.20     $125.00 B130      A105     Emails and then call with Darryl Laddin
                                                                    regarding Fortress transaction status and issues

04/29/20    S. Kulka            0.30     $187.50 B130      A107     Call with Kelley Drye team, FTI team, and
                                                                    Darryl Laddin to prepare for Committee
                                                                    approval call related to Fortress transaction and
                                                                    settlement

04/29/20    S. Kulka            0.10      $62.50 B130      A104     Review withdrawal of stalking horse motion

04/29/20    D. Laddin           0.60     $402.00 B130      A104     Reviewed final edits to APA and Settlement
                                                                    Agreement

04/29/20    D. Laddin           0.30     $201.00 B130      A107     Telephone conference with E. Wilson, M.
                                                                    McLoughlin, C. Zucker, S. Kulka regarding
                                                                    lender bid issues and upcoming Committee call

04/30/20    S. Kulka            0.20     $125.00 B130      A107     Call with counsel to multiple landlords regarding
                                                                    status of sale and differences between Fortress
                                                                    and Nashville deals

04/30/20    S. Kulka            0.30     $187.50 B130      A109     Attend telephonic status conference on stalking
                                                                    horse motion and cash collateral extension

04/30/20    D. Laddin           0.30     $201.00 B130      A109     Telephonically attended status conference

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B130: Asset Disposition                  24.90                                                $15,936.00



04/02/20    S. Kulka            0.10      $62.50 B140      A104     Review Pruett declaration in support of landlord
                                                                    stay relief motion

04/06/20    S. Kulka            0.30     $187.50 B140      A104     Review Debtor's response to Pruett stay relief
                                                                    motion and related Tibus affidavit (.20); review
                                                                    Plair consent stay relief order (.10)

04/07/20    S. Kulka            1.30     $812.50 B140      A109     Attend hearing on Pruett stay relief motion
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04/07/20    S. Kulka             0.10      $62.50 B140      A107     Call with Jeff Dutson regarding April 7 hearing
                                                                     on Pruett stay relief

04/16/20    S. Kulka             0.20     $125.00 B140      A104     Review and comments on Williams stay relief
                                                                     consent order and emails with Debtors' counsel
                                                                     regarding the same

04/20/20    S. Kulka             0.10      $62.50 B140      A104     Review Pruett entered order denying stay relief

04/28/20    S. Kulka             0.10      $62.50 B140      A104     Review KRY Warner Robins Realty stay relief
                                                                     motion

                                                 Subtotal Hours                                             Subtotal
 TOTALS FOR B140: Relief from                         2.20                                                 $1,375.00
 Stay/Adequate Protection Proceedings


04/02/20    S. Kulka             0.20     $125.00 B150      A107     Emails with Brad Baldwin regarding status of
                                                                     stalking horse agreement and sales process

04/07/20    S. Kulka             0.10      $62.50 B150      A104     Review Committee update memo

04/08/20    D. Laddin            0.20     $134.00 B150      A104     Reviewed correspondence with Committee
                                                                     regarding sales and sale process

04/14/20    S. Kulka             0.20     $125.00 B150      A104     Review agenda and FTI exhibits and related
                                                                     emails for Committee Call

04/15/20    S. Kulka             0.40     $250.00 B150      A106     Committee call regarding Debtor's operations,
                                                                     including decreased sales, sale issues, cash
                                                                     collateral, and secured lender issues

04/15/20    S. Kulka             0.20     $125.00 B150      A107     Call with Mark Duedall regarding NOL issues

04/15/20    D. Laddin            0.30     $201.00 B150      A107     Telephone conference with E. Wilson, M.
                                                                     McLoughlin regarding issues for Committee

04/15/20    D. Laddin            0.40     $268.00 B150      A106     Conference call with Committee regarding sale,
                                                                     cash collateral, NOLs, etc.

04/16/20    D. Laddin            0.10      $67.00 B150      A106     Reviewed correspondence with Committee
                                                                     regarding motions filed and standing motion

04/21/20    S. Kulka             0.60     $375.00 B150      A106     Committee call regarding stalking horse offer
                                                                     and sales process

04/21/20    D. Laddin            0.60     $402.00 B150      A106     Conference call with Committee regarding
                                                                     stalking horse APA

04/22/20    S. Kulka             0.30     $187.50 B150      A107     Call with counsel to multiple landlords, Gai
                                                                     Lynn McCarth, regarding status of case, stalking
                                                                     horse APA, and sales process
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04/23/20    S. Kulka            0.20     $125.00 B150      A107     Review voicemail from and call with counsel to
                                                                    multiple landlords, Gai Lynn McCarth,
                                                                    regarding stalking horse APA

04/27/20    S. Kulka            0.60     $375.00 B150      A106     Call with Committee and all Committee
                                                                    professionals regarding sales process and
                                                                    transaction alternatives

04/27/20    D. Laddin           0.60     $402.00 B150      A106     Conference call with Committee regarding sale
                                                                    issues

04/29/20    S. Kulka            0.60     $375.00 B150      A106     Call with entire Committee and Committee
                                                                    professionals regarding approval of Fortress
                                                                    transaction and settlement

04/29/20    D. Laddin           0.60     $402.00 B150      A106     Conference call with Committee regarding
                                                                    lender bid issues

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B150: Meetings of and                    6.20                                                   $4,001.00
 Communications with Creditors


04/01/20    S. Kulka            0.90     $562.50 B160      A103     Review and revise AGG's March fee statement

04/01/20    D. Laddin           0.40     $268.00 B160      A103     Reviewed and revised AGG March fee statement

04/02/20    S. Kulka            0.10      $62.50 B160      A104     Review FTI's March fee statement

04/02/20    D. Laddin           0.40     $268.00 B160      A103     Reviewed and revised AGG March fee statement
                                                                    (.3); prepared AGG fee statement for billing (.1)

04/03/20    S. Kulka            0.10      $62.50 B160      A104     Review Kelley Drye March fee statement

04/03/20    D. Laddin           0.10      $67.00 B160      A104     Reviewed Kelly Drye fee statement

04/14/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B160: Fee/Employment                     2.10                                                   $1,353.00
 Applications


04/01/20    S. Kulka            0.10      $62.50 B170      A104     Review Scroggins Williamson March fee
                                                                    statement

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B170: Fee/Employment                     0.10                                                     $62.50
 Objections


04/10/20    S. Kulka            0.20     $125.00 B185      A107     Call with Sam Arden, counsel for corporate
                                                                    landlord regarding assumption issues
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                                                Code    Code

04/15/20    S. Kulka            0.20     $125.00 B185      A104     Review motion to extend time to assume or
                                                                    reject non-residential real property leases (.10);
                                                                    review Kushner White Associates Limited
                                                                    Partnership response to the same (.10)

04/17/20    S. Kulka            0.10      $62.50 B185      A104     Review Desai Holding cure claim objection

04/21/20    S. Kulka            0.20     $125.00 B185      A104     Review Pruett cure claim objection (.10); review
                                                                    PPB&D cure claim objection (.10)

04/22/20    S. Kulka            0.10      $62.50 B185      A104     Review Powell Cure Claim objection

04/23/20    S. Kulka            0.30     $187.50 B185      A104     Review Watts Trust cure claim objection (.10)
                                                                    review Colluro Family Partners cure claim
                                                                    objection (.10); review Peach Willow cure claim
                                                                    objection (.10)

04/24/20    S. Kulka            0.50     $312.50 B185      A104     Review amended Pruett cure claim objection
                                                                    (.10); review DSS Krystal, LLC Stockbridge
                                                                    cure claim objection (.10); review DSS Krystal,
                                                                    LLC Conyers cure claim object (.10); review
                                                                    Eden Star Properties, LLC cure claim objection
                                                                    (.10); review Clark/Willmschen Holdings 2,
                                                                    LLC cure claim objection (.10)

04/27/20    S. Kulka            1.70 $1,062.50 B185        A104     Review GAM Development, LLC cure claim
                                                                    objection (.10); review 1045 Ellis Avenue
                                                                    Owner, LLC cure claim objection (.10); review
                                                                    VEREIT Real Estate and CNL Net Lease
                                                                    Funding 2001 cure claim objection (.20); review
                                                                    The Cirignano Limited Partnership #3 cure claim
                                                                    objection (.10); review DJ Rash Realty
                                                                    Company, LLC, Hannah Rocks, LLC, JMT Land
                                                                    Holdings, LLC cure claim objection and
                                                                    reservation of rights (.10); review 182 Emerson
                                                                    LLC cure claim objection (.10); review SLM
                                                                    Waste & Recycling Services, Inc. d/b/a
                                                                    SLMFacility Solutions Nationwide cure claim
                                                                    objection (.10); review Buckhead 14th KB, LLC
                                                                    cure claim objection (.10); review Carpello
                                                                    Family Trust cure claim objection and objection
                                                                    to exclusivity (.10); review AR Global Landlords
                                                                    cure claim objection (.10); review Ladas
                                                                    Development cure claim objection(.10); review
                                                                    Alabama Power Company cure claim objection
                                                                    (.10); review C&L Properties cure claim
                                                                    objection (.10); review Georgia Power Company
                                                                    cure claim objection (.10); review CIVF IV-2,
                                                                    LLC, Capview Income & Value Fund IV, LP,
                                                                    STORE Master Funding I, LLC cure claim
                                                                    objection (.10); review Pierpont, Ltd. cure claim
                                                                    objection (.10)
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04/28/20    S. Kulka            0.30     $187.50 B185      A104     Review AR Global cure claim objection (.10);
                                                                    review Mississippi Power cure claim objection
                                                                    (.10); review C&L Properties cure claim
                                                                    objection (.10)

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B185: Assumption/Rejection of            3.60                                                   $2,250.00
 Leases and Contracts


04/06/20    S. Kulka            0.10      $62.50 B210      A104     Review notice of bank account closures

04/07/20    S. Kulka            0.10      $62.50 B210      A108     Emails with FTI team regarding Debtors'
                                                                    operations

04/13/20    S. Kulka            0.20     $125.00 B210      A107     Call with Maeghan McLoughlin regarding
                                                                    business operation issues, sale issues, and cash
                                                                    collateral issues for Committee update

04/25/20    S. Kulka            0.20     $125.00 B210      A104     Review Debtors' motion to terminate pension
                                                                    plan

                                                Subtotal Hours                                                Subtotal
 TOTALS FOR B210: Business Operations                0.60                                                      $375.00



04/01/20    S. Kulka            0.50     $312.50 B230      A107     Call with Eric Wilson and Darryl Laddin to
                                                                    prepare for cash collateral hearing (.40);
                                                                    subsequent call with Eric Wilson regarding
                                                                    strategies for reservation of rights at hearing
                                                                    (.10)

04/01/20    S. Kulka            0.50     $312.50 B230      A109     Attend telephonic cash collateral hearing

04/01/20    S. Kulka            0.50     $312.50 B230      A103     Review and provide comments to further revised
                                                                    4th interim cash collateral order (.30); review
                                                                    uploaded version of order and budget to ensure
                                                                    consistency with various comments and
                                                                    agreements (.20)

04/01/20    S. Kulka            0.40     $250.00 B230      A107     Emails and call with Rob Williamson and
                                                                    Ashley Ray regarding revised cash collateral
                                                                    order, and then one additional revision to order
                                                                    (.30); emails with Lender's counsel regarding the
                                                                    same (.10)

04/01/20    D. Laddin           0.20     $134.00 B230      A104     Reviewed proposed Order to be submitted on
                                                                    cash collateral

04/01/20    D. Laddin           0.40     $268.00 B230      A107     Telephone conference with E. Wilson, S. Kulka
                                                                    regarding budget and cash collateral order to be
                                                                    presented to Court

04/01/20    D. Laddin           0.50     $335.00 B230      A109     Telephonically attended cash collateral hearing
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04/02/20    S. Kulka            0.20     $125.00 B230      A104     Review Debtors' cash collateral variance report
                                                                    and cash flow report

04/02/20    D. Laddin           0.10      $67.00 B230      A104     Reviewed weekly cash flow report

04/03/20    S. Kulka            0.10      $62.50 B230      A104     Review entered 4th interim cash collateral order
                                                                    and budget

04/07/20    D. Laddin           0.10      $67.00 B230      A107     Correspondence regarding cash collateral
                                                                    reporting

04/09/20    S. Kulka            0.20     $125.00 B230      A104     Review cash collateral variance report and cash
                                                                    flow statement

04/10/20    S. Kulka            0.30     $187.50 B230      A107     Emails with Kelly Drye team and Darryl Laddin
                                                                    regarding cash collateral issues

04/11/20    S. Kulka            0.20     $125.00 B230      A107     Emails with Eric Wilson regarding cash
                                                                    collateral issues and adequate protection issues

04/13/20    S. Kulka            0.40     $250.00 B230      A107     Emails with Rob Williamson regarding cash
                                                                    collateral issues (.20); email with Kelley Drye
                                                                    team, FTI team, and Darryl Laddin regarding the
                                                                    same (.20)

04/13/20    S. Kulka            0.20     $125.00 B230      A102     Research regarding valuation methodology
                                                                    related to cash collateral

04/13/20    D. Laddin           0.10      $67.00 B230      A107     Correspondence with E. Wilson, M. McLoughlin
                                                                    regarding cash collateral budget issues

04/14/20    S. Kulka            0.60     $375.00 B230      A104     Review Debtors' proposed cash collateral budget
                                                                    extension (.20); review and comment on updated
                                                                    schedule of accrued and unpaid administrative
                                                                    expenses (.20); review further revised and
                                                                    shortened cash collateral budget extension and
                                                                    related emails (.20)

04/14/20    S. Kulka            1.20     $750.00 B230      A107     Emails with Kelley Drye team and FTI team
                                                                    regarding cash collateral budget issues (.20);
                                                                    emails with Debtors' counsel regarding cash
                                                                    collateral budget issues and cash collateral
                                                                    stipulation (.30); emails with Kelley Drye team
                                                                    and Darryl Laddin regarding cash collateral
                                                                    stipulation and comments (.30); call with and
                                                                    then email to with Rufus Dorsey regarding cash
                                                                    collateral stipulation (.20); additional emails
                                                                    with lender's and Debtor's counsel regarding
                                                                    cash collateral stipulation (.10); call with Rufus
                                                                    Dorsey regarding the same (.10)

04/14/20    S. Kulka            0.30     $187.50 B230      A104     Review and revise lender's proposed cash
                                                                    collateral stipulation
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04/14/20    D. Laddin           0.20     $134.00 B230      A104     Reviewed cash collateral budget

04/14/20    D. Laddin           0.20     $134.00 B230      A103     Reviewed and commented on Stipulated Order
                                                                    on further use of cash collateral

04/15/20    S. Kulka            0.30     $187.50 B230      A107     Emails with Rufus Dorsey and Rob Williamson
                                                                    regarding cash collateral stipulation and budget
                                                                    (.20); call with Rufus Dorsey regarding the same
                                                                    (.10)

04/15/20    S. Kulka            0.10      $62.50 B230      A104     Review notice of filing of proposed cash
                                                                    collateral order and form of order to ensure
                                                                    consistency with agreed terms

04/15/20    D. Laddin           0.20     $134.00 B230      A103     Reviewed revised cash collateral stipulation and
                                                                    associated budget

04/16/20    S. Kulka            0.20     $125.00 B230      A104     Review Debtors' cash collateral variance report
                                                                    and cashflow statement

04/16/20    S. Kulka            0.10      $62.50 B230      A107     Emails with Maeghan McLoughlin regarding
                                                                    cash collateral issues

04/23/20    S. Kulka            0.20     $125.00 B230      A104     Review Debtors' cash collateral variance reports
                                                                    and cash flow statements

04/23/20    D. Laddin           0.10      $67.00 B230      A104     Reviewed cash flow variance report

04/29/20    S. Kulka            0.10      $62.50 B230      A108     Emails with Chambers and signatories to cash
                                                                    collateral order regarding cash collateral hearing

04/29/20    S. Kulka            0.70     $437.50 B230      A104     Review new cash collateral budget running
                                                                    through closing (.20); review cash collateral
                                                                    stipulation and further revised accompanying
                                                                    revised budget (.30); review further revised cash
                                                                    collateral stipulation (.10); review filed notice of
                                                                    budget and compare to previously circulated
                                                                    budget (.10)

04/29/20    S. Kulka            0.70     $437.50 B230      A107     Emails with Rob Williamson and Ashley Ray,
                                                                    and lender's counsel regarding cash collateral
                                                                    issues, and approval and review of cash
                                                                    collateral stipulation and budget (.40); emails
                                                                    with Kelley Drye and FTI teams regarding cash
                                                                    collateral stipulation and budget (.20); further
                                                                    emails with Ashley Ray and Jonathan Edwards
                                                                    regarding cash collateral stipulation (.10)

04/29/20    D. Laddin           0.10      $67.00 B230      A104     Reviewed new Stipulated Order on cash
                                                                    collateral

04/29/20    D. Laddin           0.30     $201.00 B230      A107     Reviewed budget, and correspondence regarding
                                                                    same
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

04/30/20    S. Kulka            0.20     $125.00 B230      A104     Review Debtors' cash collateral variance report
                                                                    and cash flow statement

04/30/20    D. Laddin           0.10      $67.00 B230      A107     Correspondence regarding cash collateral and
                                                                    hearing

04/30/20    D. Laddin           0.20     $134.00 B230      A104     Reviewed new filed budget (.1); reviewed cash
                                                                    collateral variance report (.1)

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B230: Financing/Cash                     11.00                                                 $7,001.00
 Collections


04/01/20    S. Kulka            0.30     $187.50 B310      A107     Emails with Kelley Drye team and Darryl Laddin
                                                                    regarding lien review issues and analysis

04/01/20    S. Kulka            0.40     $250.00 B310      A104     Review and comment on lien analysis memo

04/02/20    D. Laddin           0.10      $67.00 B310      A107     Correspondence regarding lien analysis issues

04/02/20    D. Laddin           0.40     $268.00 B310      A104     Reviewed lien analysis as to Wells Fargo

04/03/20    S. Kulka            0.30     $187.50 B310      A104     Analyze Debtors' secured claim and lien analysis

04/03/20    S. Kulka            0.10      $62.50 B310      A105     Call with Darryl Laddin regarding Debtor's
                                                                    secured claim analysis and challenge deadlines
                                                                    under cash collateral order

04/03/20    S. Kulka            0.20     $125.00 B310      A107     Emails with Kelley Drye team and Darryl Laddin
                                                                    regarding Debtor's secured claim analysis

04/03/20    D. Laddin           0.40     $268.00 B310      A104     Reviewed Debtor's analysis of Wells liens

04/06/20    D. Laddin           0.10      $67.00 B310      A103     Correspondence regarding lien analysis

04/07/20    S. Kulka            2.10 $1,312.50 B310        A107     Call with Kelley Drye team and Darryl Laddin
                                                                    regarding Lender secured claim issues (1.00);
                                                                    emails with Debtors' team regarding the same
                                                                    (.10); call with Debtors' management and
                                                                    counsel, Darryl Laddin and Cliff Zucker
                                                                    regarding multiple issues related to Lender's
                                                                    secured claim (.80); follow up emails with Eric
                                                                    Wilson regarding the same (.20)

04/07/20    S. Kulka            0.20     $125.00 B310      A105     Follow up call with Darryl Laddin regarding
                                                                    multiple issues related to Lender's secured claim

04/07/20    D. Laddin           1.80 $1,206.00 B310        A107     Telephone conference with E. Wilson and Kelley
                                                                    Drye team, and S. Kulka, regarding lien issues
                                                                    (1.0); telephone conference with R. Williamson,
                                                                    A. Ray, J. Tibus, C. Zucker, S. Kulka regarding
                                                                    lender's secured claim (.8)
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

04/07/20    D. Laddin           0.20     $134.00 B310      A105     Conference with S. Kulka regarding lender's
                                                                    secured claim

04/08/20    M. Wells            2.10     $661.50 B310      A102     Research re: attachment to tax refund

04/08/20    S. Kulka            0.40     $250.00 B310      A107     Emails with Kelley Drye team, FTI team, and
                                                                    Darryl Laddin regarding Lender's secured claim
                                                                    and NOL issues

04/08/20    R. Weiner           0.80     $580.00 B310      A104     Legal analysis re tax refund matters and emails
                                                                    re same

04/09/20    M. Wells            7.90 $2,488.50 B310        A102     Research re: attachment to tax refund

04/09/20    S. Kulka            0.40     $250.00 B310      A105     Emails with Meghan Wells and Darryl Laddin
                                                                    regarding NOL issues and related research

04/09/20    D. Laddin           0.40     $268.00 B310      A104     Reviewed research on NOL issues

04/10/20    S. Kulka            0.30     $187.50 B310      A104     Analyze standing issues related to extent,
                                                                    validity, and priority of liens

04/10/20    S. Kulka            5.60 $3,500.00 B310        A103     Prepare motion to obtain derivative standing in
                                                                    favor of the Committee to assert certain claims
                                                                    and challenges

04/10/20    D. Laddin           0.30     $201.00 B310      A104     Analysis of standing to bring action to determine
                                                                    extent, validity and priority

04/11/20    S. Kulka            0.70     $437.50 B310      A103     Review and revise motion to obtain derivative
                                                                    standing in favor of the Committee to assert
                                                                    certain claims and challenges

04/13/20    S. Kulka            1.80 $1,125.00 B310        A103     Review and revise motion to obtain Committee
                                                                    standing to assert certain claims

04/14/20    M. Wells            4.70 $1,480.50 B310        A102     Research regarding valuation methodology
                                                                    related to cash collateral

04/14/20    S. Kulka            0.30     $187.50 B310      A104     Review comments from Darryl Laddin to
                                                                    Committee standing motion and then discuss the
                                                                    same with Darryl Laddin

04/14/20    D. Laddin           0.90     $603.00 B310      A103     Reviewed and revised Motion for Standing

04/16/20    S. Kulka            0.30     $187.50 B310      A107     Call and emails with Maeghan McLoughlin
                                                                    regarding Committee standing motion

04/16/20    S. Kulka            1.10     $687.50 B310      A103     Review and revise Committee standing motion

04/16/20    D. Laddin           0.10      $67.00 B310      A104     Reviewed revisions to standing motion
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

04/17/20    S. Kulka            0.90     $562.50 B310      A103     Further review and revise Committee standing
                                                                    motion (.40); prepare notice of hearing for
                                                                    Committee standing motion (.50)

04/17/20    D. Laddin           0.10      $67.00 B310      A104     Reviewed draft of updated standing motion

04/20/20    S. Kulka            0.60     $375.00 B310      A103     Review and revise Committee standing motion
                                                                    and finalize for filing (.50); review and revise
                                                                    notice of hearing for standing motion (.10)

04/20/20    D. Laddin           0.10      $67.00 B310      A104     Reviewed Notice of Hearing for standing
                                                                    motion, and as-filed standing motion

04/21/20    S. Kulka            0.10      $62.50 B310      A107     Emails with Eric Wilson regarding Section
                                                                    503(b)(9) claim issues

04/21/20    S. Kulka            0.60     $375.00 B310      A103     Draft supplement to Committee standing motion

04/21/20    D. Laddin           0.30     $201.00 B310      A103     Reviewed and revised Supplement to Standing
                                                                    Motion

04/21/20    D. Laddin           0.10      $67.00 B310      A105     Conference with S. Kulka regarding Supplement

04/22/20    S. Kulka            0.10      $62.50 B310      A107     Emails with Eric Wilson regarding
                                                                    administrative claim issues

04/23/20    S. Kulka            0.10      $62.50 B310      A104     Review Peach Willow request for administrative
                                                                    expense claim

04/30/20    D. Laddin           0.20     $134.00 B310      A104     Reviewed draft of 9019 Motion with Lenders

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B310: Claims Administration              37.90                                                $19,458.00
 and Objections


04/15/20    S. Kulka            0.20     $125.00 B320      A104     Review motion to extend exclusivity and related
                                                                    notice of hearing

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B320: Plan and Disclosure                0.20                                                    $125.00
 Statement



                                                                     Total Hours                              100.00

                                                               Total For Services                         $59,064.00
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                                         Attorney and Paralegal Summary

                                                  Hours Worked              Billed Rate              Bill Amount


Kulka, Sean C.                                            61.00               $625.00                $38,125.00
Laddin, Darryl S.                                         23.20               $670.00                $15,544.00
Wilson, Zach D                                             0.30               $615.00                   $184.50
Weiner, Ronald A.                                          0.80               $725.00                   $580.00
Wells, Meghan J.                                          14.70               $315.00                 $4,630.50

Total All Attorneys                                      100.00                                      $59,064.00




                                                            FEES            DISBURSEMENTS               TOTAL


                      CURRENT CHARGES:                 $59,064.00                         $0.00      $59,064.00

                         Total Balance Due:            $59,064.00                         $0.00      $59,064.00

                                                                          Total This Statement       $59,064.00
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                                           Fee & Expense Summary
 Client Name ........................................................................ The Official Committee of
 Unsecured Creditors of The Krystal Company, et al.

 Matter Name ........................................................................ The Krystal Company Bankruptcy

 Account Number .................................................................. 37781-1

 Invoice ................................................................................. # 796988

 Bill Date ............................................................................... 05/01/20

 Current Fee Total ................................................................ $59,064.00

 Current Expense Total..........................................................$0.00

 Current Invoice Total ............................................................$ 59,064.00
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             Current Fee Summary Breakdown By Task Code

 B110: CASE ADMINISTRATION
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         0.90            $562.50
 TOTALS FOR B110: Case Administration                     0.90            $562.50


 B120: ASSET ANALYSIS AND RECOVERY
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         7.10           $4437.50
 628               Laddin, Darryl S.                      2.90           $1943.00
 656               Wilson, Zach D                         0.30            $184.50
 TOTALS FOR B120: Asset Analysis and Recovery             10.30          $6,565.00


 B130: ASSET DISPOSITION
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         16.60         $10375.00
 628               Laddin, Darryl S.                      8.30           $5561.00
 TOTALS FOR B130: Asset Disposition                       24.90         $15,936.00


 B140: RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         2.20           $1375.00
 TOTALS FOR B140: Relief from Stay/Adequate Protection    2.20           $1,375.00
 Proceedings


 B150: MEETINGS OF AND COMMUNICATIONS WITH CREDITORS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         3.40           $2125.00
 628               Laddin, Darryl S.                      2.80           $1876.00
 TOTALS FOR B150: Meetings of and Communications with     6.20           $4,001.00
 Creditors


 B160: FEE/EMPLOYMENT APPLICATIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         1.20            $750.00
 628               Laddin, Darryl S.                      0.90            $603.00
 TOTALS FOR B160: Fee/Employment Applications             2.10           $1,353.00
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 B170: FEE/EMPLOYMENT OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         0.10             $62.50
 TOTALS FOR B170: Fee/Employment Objections               0.10             $62.50


 B185: ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         3.60           $2250.00
 TOTALS FOR B185: Assumption/Rejection of Leases and      3.60           $2,250.00
 Contracts


 B210: BUSINESS OPERATIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         0.60            $375.00
 TOTALS FOR B210: Business Operations                     0.60            $375.00


 B230: FINANCING/CASH COLLECTIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         8.20           $5125.00
 628               Laddin, Darryl S.                      2.80           $1876.00
 TOTALS FOR B230: Financing/Cash Collections              11.00          $7,001.00


 B310: CLAIMS ADMINISTRATION AND OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours             Value
 1288              Wells, Meghan J.                       14.70          $4630.50
 448               Kulka, Sean C.                         16.90         $10562.50
 628               Laddin, Darryl S.                      5.50           $3685.00
 797               Weiner, Ronald A.                      0.80            $580.00
 TOTALS FOR B310: Claims Administration and Objections    37.90         $19,458.00


 B320: PLAN AND DISCLOSURE STATEMENT
 Timekeeper Code   Timekeeper Name                        Hours             Value
 448               Kulka, Sean C.                         0.20            $125.00
 TOTALS FOR B320: Plan and Disclosure Statement           0.20            $125.00
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              Current Expense Summary Breakdown By Code


Total Expenses:                                                          $0.00
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The Official Committee of Unsecured Creditors of The Krystal Company, et al.       June 4, 2020
Kirk R. Carson Committee Co-Chair                                                  Invoice #799737
11995 El Camino Real                                                               Darryl S. Laddin
San Diego, CA 92130

For Legal Services Rendered In Connection With:

Client/Matter #37781-1
The Krystal Company Bankruptcy

Date       Timekeeper    Hours          Amount    Task   Activity   Description of Services
                                                  Code   Code

05/11/20    S. Kulka             0.10      $62.50 B110      A104     Review complex case procedures agenda for
                                                                     May 12 hearing

05/12/20    S. Kulka             0.20     $125.00 B110      A104     Review Debtors' April monthly operating report
                                                                     (.10); review agenda for May 12 hearing (.10)

05/19/20    S. Kulka             0.10      $62.50 B110      A107     Call with Maeghan McLoughlin regarding case
                                                                     closing issues

05/20/20    S. Kulka             0.10      $62.50 B110      A104     Review agenda for May 21 hearing

05/29/20    S. Kulka             0.10      $62.50 B110      A104     Attention to service issues related to withdrawal
                                                                     of Committee Standing Motion

                                                  Subtotal Hours                                             Subtotal
 TOTALS FOR B110: Case Administration                  0.60                                                   $375.00



05/01/20    S. Kulka             0.30     $187.50 B130      A107     Emails with Debtors' counsel, lender's counsel
                                                                     and Kelley Drye team regarding 9019 motion
                                                                     related to sale and standing motion

05/06/20    S. Kulka             0.40     $250.00 B130      A104     Review revised Fortress bid package and
                                                                     adequate assurance statement (.30); review
                                                                     notice of no auction (.10)

05/06/20    S. Kulka             0.10      $62.50 B130      A108     Call with Cliff Zucker regarding mechanics of
                                                                     assummed liabilities under Fortress sale

05/06/20    D. Laddin            0.10      $67.00 B130      A104     Reviewed Notice of No Auction and of APA

05/07/20    S. Kulka             0.10      $62.50 B130      A104     Review MetroAir & Refrigeration Service
                                                                     limited objection to sale

05/11/20    S. Kulka             0.10      $62.50 B130      A104     Review Buckhead 14th KB limited objection to
                                                                     sale
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                                                Code    Code

05/12/20    S. Kulka            0.70     $437.50 B130      A104     Review notice of filing of proposed sale order
                                                                    (.30); review further revised sale order and
                                                                    related emails and comments to sale order (.40)

05/12/20    S. Kulka            2.30 $1,437.50 B130        A107     Call with Maeghan McLoughlin regarding sale
                                                                    issues and substantial contribution issues (.40);
                                                                    emails with Debtors' team regarding sale order
                                                                    issues and related lease issues (.30); follow up
                                                                    call Maeghan McLoughlin regarding sale issue
                                                                    and related lease issues (.20); call with Jon
                                                                    Edwards regarding APA amendment issues
                                                                    (.20); review APA amendment and emails with
                                                                    Ashley Ray regarding APA amendment issues
                                                                    (.30); emails with Kelley Drye team and Darryl
                                                                    Laddin regarding sale issues (.20); additional
                                                                    emails with Jon Edwards and Debtors' counsel
                                                                    regarding sale issues and APA amendment
                                                                    issues (.30); call with Rob Williamson regarding
                                                                    sale order (.20); follow up call with Maeghan
                                                                    McLoughlin regarding sale order and sale
                                                                    hearing issues (.20)

05/12/20    D. Laddin           1.80 $1,206.00 B130        A107     Correspondence regarding issues concerning
                                                                    sale order and lease extensions (.1);
                                                                    correspondence regarding issues concerning sale
                                                                    order, lease extensions and professional fees (.3);
                                                                    telephone conference with M. McLoughlin
                                                                    regarding sale order issues (.4); telephone
                                                                    conference with M. McLoughlin following S.
                                                                    Borders, et al. call (.1); telephone conference
                                                                    with S. Borders, L. Shermohammed, J. Edwards,
                                                                    M. McLoughlin regarding sale order and
                                                                    settlement issues (.9)

05/12/20    D. Laddin           0.20     $134.00 B130      A104     Reviewed draft of proposed sale order

05/13/20    S. Kulka            1.70 $1,062.50 B130        A109     Attend telephonic hearing on sale, settlement
                                                                    motion, final use of cash collateral, and Pruett
                                                                    stay relief

05/13/20    S. Kulka            0.90     $562.50 B130      A104     Review multiple further revised versions of the
                                                                    sale order (.50); review supplemental notice of
                                                                    contracts to be assumed (.10); review notice of
                                                                    amended APA (.10); review KRY Warner
                                                                    Robins Realty objection to sale (.10); review
                                                                    final edits to sale order (.10)

05/13/20    S. Kulka            0.80     $500.00 B130      A107     Emails with Debtors and purchaser's counsel
                                                                    regarding sale order (.30); emails with Kelley
                                                                    Drye team and Darryl Laddin regarding open
                                                                    issues in sale order (.30); call with Maeghan
                                                                    McLoughlin regarding the same and strategies
                                                                    for sale hearing (.20)
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                                                 Code    Code

05/13/20    D. Laddin            0.50     $335.00 B130      A107     Correspondence with counsel for purchaser,
                                                                     Debtors and Committee regarding edits to sale
                                                                     order and issues relating thereto

05/13/20    D. Laddin            0.10      $67.00 B130      A104     Reviewed edits to Sale Order

05/13/20    D. Laddin            1.70 $1,139.00 B130        A109     Attended hearing on sale, lender settlement and
                                                                     cash collateral

05/19/20    S. Kulka             0.10      $62.50 B130      A105     Emails with Darryl Laddin regarding sale
                                                                     closing issues

05/19/20    S. Kulka             0.10      $62.50 B130      A107     Emails with Debtors regarding sale closing
                                                                     issues

                                                 Subtotal Hours                                             Subtotal
 TOTALS FOR B130: Asset Disposition                   12.00                                                $7,698.00



05/22/20    S. Kulka             0.10      $62.50 B140      A104     Review Pruett stay relief order

                                                 Subtotal Hours                                             Subtotal
 TOTALS FOR B140: Relief from                         0.10                                                    $62.50
 Stay/Adequate Protection Proceedings


05/01/20    D. Laddin            0.10      $67.00 B150      A107     Telephone conference with creditor regarding
                                                                     status of case

05/08/20    S. Kulka             0.20     $125.00 B150      A107     Emails with Gai Lynn McCarthy, counsel to
                                                                     landlord, regarding status of cases

05/12/20    D. Laddin            0.10      $67.00 B150      A106     Correspondence with Committee regarding
                                                                     purchaser

05/14/20    S. Kulka             0.20     $125.00 B150      A107     Emails with David Cooper, counsel to GUC
                                                                     creditor, regarding sale and potential
                                                                     distributions to general unsecured claims

05/20/20    S. Kulka             0.20     $125.00 B150      A106     Committee call to update on sale closing and
                                                                     next steps

05/20/20    D. Laddin            0.20     $134.00 B150      A106     Attended call with Creditors' Committee

                                                 Subtotal Hours                                             Subtotal
 TOTALS FOR B150: Meetings of and                     1.00                                                   $643.00
 Communications with Creditors


05/01/20    S. Kulka             0.10      $62.50 B160      A104     Review FTI April fee statement and discuss the
                                                                     same with Darryl Laddin

05/01/20    S. Kulka             1.10     $687.50 B160      A103     Review and revise AGG April fee statement
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

05/01/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

05/01/20    D. Laddin           1.20     $804.00 B160      A103     Reviewed and revised AGG April fee statement
                                                                    (1.0); finalized AGG April fee statement (.2)

05/02/20    D. Laddin           0.20     $134.00 B160      A103     Reviewed FTI April fee statement and prepared
                                                                    and served fee statement

05/04/20    S. Kulka            0.10      $62.50 B160      A107     Call with Maeghan McLoughlin regarding final
                                                                    fee application issues

05/04/20    D. Laddin           0.10      $67.00 B160      A107     Correspondence regarding fee applications

05/05/20    S. Kulka            2.90 $1,812.50 B160        A103     Draft AGG Final Fee Application (2.60); review
                                                                    Darryl Laddin's comments to AGG Final Fee
                                                                    Application and review and revise application
                                                                    (.30)

05/05/20    D. Laddin           0.40     $268.00 B160      A103     Reviewed and revised AGG fee application

05/11/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B160: Fee/Employment                     6.30                                                   $4,023.00
 Applications


05/01/20    S. Kulka            0.10      $62.50 B170      A104     Review Scroggins & Williamson fee statement

05/04/20    S. Kulka            0.10      $62.50 B170      A104     Review KCC fee statement

05/04/20    D. Laddin           0.10      $67.00 B170      A104     Reviewed KCC invoice

05/05/20    S. Kulka            0.30     $187.50 B170      A107     Emails with Kelley Drye team, FTI team, and
                                                                    Darryl Laddin regarding KCC March fee
                                                                    statement and potential objection thereto (.20);
                                                                    call with Jeff Dutson regarding the same (.10)

05/05/20    D. Laddin           0.10      $67.00 B170      A107     Correspondence regarding KCC invoice

05/06/20    S. Kulka            0.10      $62.50 B170      A107     Emails with Debtors' counsel and management
                                                                    regarding KCC March fee statement

05/06/20    D. Laddin           0.10      $67.00 B170      A107     Correspondence regarding KCC invoice

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B170: Fee/Employment                     0.90                                                    $576.00
 Objections


05/01/20    S. Kulka            0.10      $62.50 B185      A104     Review NCR cure claim objection and
                                                                    reservation of rights
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                                                Code    Code

05/05/20    S. Kulka            0.30     $187.50 B185      A104     Review KRY Warner Robins Realty amended
                                                                    cure claim objection (.10); review KRY Warner
                                                                    Robins Realty objection to motion to extend time
                                                                    to assume or reject leases (.10); review Tenn
                                                                    Partners objection to motion to extend time to
                                                                    assume or reject leases (.10)

05/08/20    S. Kulka            0.60     $375.00 B185      A104     Review Pruett objection to Debtors' motion to
                                                                    extend time to assume or reject leases (.10);
                                                                    review DJ Rash Realty Company, Hannah
                                                                    Rocks, and JMT Land Holdings objection to
                                                                    Debtors' motion to extend time to assume or
                                                                    reject leases (.10); review Watts Trust objection
                                                                    to Debtors' motion to extend time to assume or
                                                                    reject leases (.10); review Colluro Family
                                                                    Partner objection to Debtors' motion to extend
                                                                    time to assume or reject leases (.10); review
                                                                    Peach Willow objection to Debtors' motion to
                                                                    extend time to assume or reject leases (.10);
                                                                    review GAM Development objection to
                                                                    Debtors' motion to extend time to assume or
                                                                    reject leases (.10)

05/11/20    S. Kulka            0.20     $125.00 B185      A104     Review Mary Ann Sage objection to motion to
                                                                    extend time to assume or reject leases (.10);
                                                                    review Buckhead 14th KB objection to motion to
                                                                    extend time to assume or reject leases (.10)

05/12/20    S. Kulka            1.50     $937.50 B185      A109     Attend telephonic hearing on motion to extend
                                                                    deadline to assume or reject leases and
                                                                    exclusivity extension

05/12/20    S. Kulka            0.30     $187.50 B185      A105     Conference with Darryl Laddin regarding results
                                                                    of hearing on lease extension motion (.10);
                                                                    further follow up conference with Darryl Laddin
                                                                    regarding lease extension issues (.20)

05/12/20    D. Laddin           0.30     $201.00 B185      A105     Conference with S. Kulka regarding results of
                                                                    hearing on lease extension motion (.1); further
                                                                    follow-up conference with S. Kulka regarding
                                                                    lease extension issues (.2)

05/14/20    S. Kulka            0.10      $62.50 B185      A104     Review order and notice related to motion to
                                                                    extend period to assume or reject leases

05/19/20    S. Kulka            0.20     $125.00 B185      A107     Call with Debtors and purchaser regarding status
                                                                    of assumption and rejection of leases, and
                                                                    upcoming May 21 hearing

05/19/20    D. Laddin           0.10      $67.00 B185      A107     Correspondence regarding lease hearing

05/19/20    D. Laddin           0.20     $134.00 B185      A107     Telephone conference with J. Edwards, S.
                                                                    Borders, M. McLoughlin, S. Kulka regarding
                                                                    lease assumption and rejection and payment
                                                                    issues
 Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                          Desc Main
                                 Document    Page 663 of 749
Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

05/21/20    S. Kulka            0.20     $125.00 B185      A104     Review memo on status of contract assumption,
                                                                    modification, and rejection, and review related
                                                                    emails

05/21/20    S. Kulka            1.20     $750.00 B185      A109     Attend telephonic hearing on motion to extend
                                                                    time period to assume or rejection leases and
                                                                    substantial contribution motion

05/21/20    D. Laddin           1.20     $804.00 B185      A109     Telephonically attended assumption/rejection
                                                                    extension hearing and other matters

05/22/20    S. Kulka            0.50     $312.50 B185      A104     Review Brown Objection to Supplemental
                                                                    Notice of Contract Parties (.10); review FCPT
                                                                    Objection to Supplemental Notice of Contract
                                                                    Parties (.10); review 182 Emerson Objection to
                                                                    Supplemental Notice of Contract Parties (.10);
                                                                    review Calluro Family Objection to
                                                                    Supplemental Notice of Contract Parties (.10);
                                                                    review Alan Watts Trust Objection to
                                                                    Supplemental Notice of Contract Parties (.10)

05/22/20    S. Kulka            0.10      $62.50 B185      A107     Emails with buyer regarding designation of
                                                                    rights issues

05/26/20    S. Kulka            0.10      $62.50 B185      A107     Emails with buyer's counsel regarding
                                                                    designation of rights issues

05/26/20    S. Kulka            0.50     $312.50 B185      A104     Review SLM Waster supplemental cure
                                                                    objection (.10); review SLM Waste & Recycling
                                                                    Service supplemental cure objection (.20);
                                                                    review 1455 Lincoln supplemental cure
                                                                    objection (.10); review Clark Dothan
                                                                    supplemental cure objection (.10)

05/27/20    S. Kulka            0.40     $250.00 B185      A104     Review order extending time to assume or reject
                                                                    leases (.10); review order for procedures to reject
                                                                    or assign leases (.10); review KRY Warner
                                                                    Robbins supplemental cure claim objection
                                                                    (.10); review Debtors' notice of rejected
                                                                    contracts (.10)

05/28/20    S. Kulka            0.40     $250.00 B185      A104     Review revised order related to extension of time
                                                                    to assume or reject and related emails (.30);
                                                                    review KRY Warner Robins Realty withdrawal
                                                                    of cure claim objection (.10)

05/29/20    S. Kulka            0.10      $62.50 B185      A104     Review entered version of amended order
                                                                    extending time to assume or reject

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B185: Assumption/Rejection of            8.60                                                   $5,456.00
 Leases and Contracts
 Case 20-61065-pwb         Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00                          Desc Main
                                 Document    Page 664 of 749
Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

05/01/20    S. Kulka            0.10      $62.50 B230      A104     Review entered third stipulated cash collateral
                                                                    order to ensure consistency with agreement

05/07/20    S. Kulka            0.20     $125.00 B230      A104     Review Debtors' cash collateral variance report
                                                                    and cash flow statement

05/07/20    D. Laddin           0.10      $67.00 B230      A104     Reviewed cash variance report

05/12/20    S. Kulka            0.10      $62.50 B230      A105     Conference call with Darryl Laddin regarding
                                                                    cash collateral issues

05/12/20    S. Kulka            0.30     $187.50 B230      A104     Review final cash collateral order and related
                                                                    emails and comments

05/12/20    D. Laddin           0.30     $201.00 B230      A107     Telephone conference with E. Wilson, M.
                                                                    McLoughlin regarding Final Cash Collateral
                                                                    Order issues

05/12/20    D. Laddin           0.20     $134.00 B230      A103     Reviewed and commented on Final Cash
                                                                    Collateral Order

05/12/20    D. Laddin           0.10      $67.00 B230      A105      Conference call with S. Kulka regarding cash
                                                                    collateral issues

05/13/20    S. Kulka            0.30     $187.50 B230      A104     Review and comment on additional interim cash
                                                                    collateral order and review related emails

05/13/20    S. Kulka            1.10     $687.50 B230      A107     Multiple emails with Debtors and lenders
                                                                    regarding revisions to final cash collateral order
                                                                    related to surcharge and Section 552(b) waivers,
                                                                    and timing of presentment of order (.30);
                                                                    multiple emails with Kelley Drye team and
                                                                    Darryl Laddin regarding the same (.30); follow
                                                                    up call with Maeghan McLoughlin regarding
                                                                    cash collateral order revisions resulting from sale
                                                                    hearing (.20); additional emails with Debtors,
                                                                    lenders, and Kelley Drye team regarding revised
                                                                    interim cash collateral order resulting from
                                                                    hearing, and Committee comments to the same
                                                                    (.30)

05/13/20    D. Laddin           0.10      $67.00 B230      A103     Reviewed and commented on revised cash
                                                                    collateral order

05/14/20    S. Kulka            1.20     $750.00 B230      A107     Multiple emails with Debtors and lender
                                                                    regarding finalizing cash collateral order (.40);
                                                                    multiple emails calls with Maeghan McLoughlin
                                                                    regarding various revisions and comments to
                                                                    cash collateral order (.50); emails and calls with
                                                                    Rob Wiliamson regarding final revisions to cash
                                                                    collateral order and sign off (.30)
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

05/14/20    S. Kulka            0.60     $375.00 B230      A104     Review and comment on edits to cash collateral
                                                                    order (.30); review and comment on further
                                                                    revised cash collateral order (.10); review
                                                                    Debtor's cash collateral variance report and cash
                                                                    flow statement (.20)

05/14/20    D. Laddin           0.30     $201.00 B230      A103     Reviewed additional edits to cash collateral
                                                                    order, and commented on same

05/14/20    D. Laddin           0.20     $134.00 B230      A107     Correspondence regarding edits to cash
                                                                    collateral order

05/15/20    S. Kulka            0.10      $62.50 B230      A104     Review 4th interim cash collateral order and
                                                                    notice of final hearing

05/15/20    D. Laddin           0.10      $67.00 B230      A104     Reviewed entered cash collateral order

05/19/20    S. Kulka            0.60     $375.00 B230      A103     Review and revise on final cash collateral order

05/20/20    S. Kulka            0.30     $187.50 B230      A104     Review lender comments to Final Cash
                                                                    Collateral Order and emails with Committee
                                                                    team regarding the same (.20); review notice
                                                                    related to Final Cash Collateral Order (.10)

05/20/20    S. Kulka            0.40     $250.00 B230      A107     Emails with Kelley Drye team and Darryl Laddin
                                                                    regarding Final Cash Collateral Order (.20);
                                                                    emails with Debtors, Lender, and Committee
                                                                    team regarding Final Cash Collateral Order (.20)

05/20/20    D. Laddin           0.30     $201.00 B230      A104     Reviewed draft of Final Cash Collateral Order

05/21/20    S. Kulka            0.30     $187.50 B230      A104     Review notice of filing Final Cash Collateral
                                                                    Order (.10); review Debtors' cash collateral
                                                                    variance report and cash flow statements (.20)

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B230: Financing/Cash                     7.30                                                  $4,639.00
 Collections


05/01/20    D. Laddin           0.10      $67.00 B310      A104     Reviewed as-filed 9019 motion for settlement
                                                                    with lenders

05/08/20    S. Kulka            0.30     $187.50 B310      A104     Review Debtors' motion for administrative
                                                                    expense claim for substantial contribution for by
                                                                    Krystal Acquisition, LLC , accompanying
                                                                    motion to expedite, and related Committee
                                                                    update emails

05/11/20    S. Kulka            0.20     $125.00 B310      A104     Review order and notice on motion for
                                                                    substantial contribution (.10); review emails
                                                                    regarding factual basis for substantial
                                                                    contribution motion (.10)
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

05/11/20    D. Laddin           0.20     $134.00 B310      A104     Reviewed motion to pay claim of Nashville
                                                                    Capital

05/12/20    S. Kulka            0.10      $62.50 B310      A104     Review 1045 Ellis Avenue objection to
                                                                    substantial contribution motion

05/13/20    S. Kulka            0.10      $62.50 B310      A107     Emails with Rob Williamson regarding
                                                                    Committee standing motion

05/15/20    S. Kulka            0.10      $62.50 B310      A104     Review stipulation related to standing motion
                                                                    and emails with Rob Williamson regarding the
                                                                    same

05/18/20    S. Kulka            0.60     $375.00 B310      A103     Draft notice of withdrawal of Committee
                                                                    standing motion

05/19/20    S. Kulka            0.10      $62.50 B310      A107     Emails regarding substantial contribution motion
                                                                    and hearing

05/19/20    S. Kulka            0.10      $62.50 B310      A104     Review stipulation related to GAM
                                                                    Development, LLC claim

05/19/20    D. Laddin           0.10      $67.00 B310      A104     Reviewed standing motion withdrawal, and
                                                                    correspondence regarding same

05/22/20    S. Kulka            0.20     $125.00 B310      A108     Emails with Chambers regarding adjournment of
                                                                    hearing on Committee Standing Motion

05/22/20    S. Kulka            0.10      $62.50 B310      A107     Emails to Debtors, Lender, and Committee team
                                                                    regarding adjournment related to Committee
                                                                    standing motion

05/26/20    S. Kulka            0.30     $187.50 B310      A109     Attend telephonic hearing on Committee
                                                                    standing motion

05/27/20    S. Kulka            0.10      $62.50 B310      A104     Review order awarding substantial contribution

05/28/20    S. Kulka            0.20     $125.00 B310      A103     Finalize notice of withdrawal of Committee
                                                                    Standing Motion

05/29/20    S. Kulka            0.10      $62.50 B310      A104     Review withdrawal of Peach Willow motion for
                                                                    administrative expense claim

                                                Subtotal Hours                                             Subtotal
 TOTALS FOR B310: Claims Administration              3.00                                                 $1,893.00
 and Objections


                                                                     Total Hours                                 39.80

                                                               Total For Services                         $25,365.50
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                                             Attorney and Paralegal Summary

                                                      Hours Worked               Billed Rate            Bill Amount


Kulka, Sean C.                                                28.90                $625.00               $18,062.50
Laddin, Darryl S.                                             10.90                $670.00                $7,303.00

Total All Attorneys                                           39.80                                      $25,365.50




Expense Code        Description                                                                            Amount


E108                VENDOR: Esquire Deposition Solutions LLC INVOICE#:                                     $966.45
                    INV1680083 DATE: 3/27/2020
                    Hearing Transcript

TOTALS FOR E108: Postage                                                                                   $966.45

                    POSTAGE                                                                                 $80.70
                                                                        Total Expenses                   $1,047.15




                                                                FEES             DISBURSEMENTS             TOTAL


                      CURRENT CHARGES:                     $25,365.50                    $1,047.15       $26,412.65

                            Total Balance Due:             $25,365.50                    $1,047.15       $26,412.65

                                                                              Total This Statement       $26,412.65
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                                           Fee & Expense Summary
 Client Name ........................................................................ The Official Committee of
 Unsecured Creditors of The Krystal Company, et al.

 Matter Name ........................................................................ The Krystal Company Bankruptcy

 Account Number .................................................................. 37781-1

 Invoice ................................................................................. # 799737

 Bill Date ............................................................................... 06/04/20

 Current Fee Total ................................................................ $25,365.50

 Current Expense Total..........................................................$1,047.15

 Current Invoice Total ............................................................$ 26,412.65
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             Current Fee Summary Breakdown By Task Code

 B110: CASE ADMINISTRATION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.60           $375.00
 TOTALS FOR B110: Case Administration                     0.60           $375.00


 B130: ASSET DISPOSITION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         7.60          $4750.00
 628               Laddin, Darryl S.                      4.40          $2948.00
 TOTALS FOR B130: Asset Disposition                       12.00         $7,698.00


 B140: RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.10            $62.50
 TOTALS FOR B140: Relief from Stay/Adequate Protection    0.10            $62.50
 Proceedings


 B150: MEETINGS OF AND COMMUNICATIONS WITH CREDITORS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.60           $375.00
 628               Laddin, Darryl S.                      0.40           $268.00
 TOTALS FOR B150: Meetings of and Communications with     1.00           $643.00
 Creditors


 B160: FEE/EMPLOYMENT APPLICATIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         4.40          $2750.00
 628               Laddin, Darryl S.                      1.90          $1273.00
 TOTALS FOR B160: Fee/Employment Applications             6.30          $4,023.00


 B170: FEE/EMPLOYMENT OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.60           $375.00
 628               Laddin, Darryl S.                      0.30           $201.00
 TOTALS FOR B170: Fee/Employment Objections               0.90           $576.00
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   B185: ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
   Timekeeper Code   Timekeeper Name                        Hours              Value
   448               Kulka, Sean C.                         6.80            $4250.00
   628               Laddin, Darryl S.                      1.80            $1206.00
   TOTALS FOR B185: Assumption/Rejection of Leases and      8.60           $5,456.00
   Contracts


   B230: FINANCING/CASH COLLECTIONS
   Timekeeper Code   Timekeeper Name                        Hours              Value
   448               Kulka, Sean C.                         5.60            $3500.00
   628               Laddin, Darryl S.                      1.70            $1139.00
   TOTALS FOR B230: Financing/Cash Collections              7.30           $4,639.00


   B310: CLAIMS ADMINISTRATION AND OBJECTIONS
   Timekeeper Code   Timekeeper Name                        Hours              Value
   448               Kulka, Sean C.                         2.60            $1625.00
   628               Laddin, Darryl S.                      0.40             $268.00
   TOTALS FOR B310: Claims Administration and Objections    3.00           $1,893.00




              Current Expense Summary Breakdown By Code
E108              Postage                                                   1047.15



Total Expenses:                                                           $1,047.15
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The Official Committee of Unsecured Creditors of The Krystal Company, et al.       July 7, 2020
Kirk R. Carson Committee Co-Chair                                                  Invoice #802328
11995 El Camino Real                                                               Darryl S. Laddin
San Diego, CA 92130

For Legal Services Rendered In Connection With:

Client/Matter #37781-1
The Krystal Company Bankruptcy


Date       Timekeeper    Hours          Amount    Task   Activity   Description of Services
                                                  Code   Code

06/10/20    S. Kulka             0.10      $62.50 B110      A107     Emails with Debtor's counsel regarding case
                                                                     closing issues

06/11/20    S. Kulka             0.20     $125.00 B110      A107     Call with Debtors regarding case closing issues
                                                                     (.10); emails with Committee team regarding the
                                                                     same (.10)

06/15/20    S. Kulka             0.20     $125.00 B110      A107     Call with Maeghan McLoughlin regarding June
                                                                     17 hearing and final fee application issues

06/23/20    S. Kulka             0.20     $125.00 B110      A104     Review April and May monthly operating report

                                                  Subtotal Hours                                           Subtotal
 TOTALS FOR B110: Case Administration                  0.70                                                 $437.50



04/27/20    D. Laddin            0.50     $335.00 B130      A104     Reviewed revisions to APA and Settlement
                                                                     Agreement with Lenders

                                                  Subtotal Hours                                           Subtotal
 TOTALS FOR B130: Asset Disposition                    0.50                                                 $335.00



06/11/20    S. Kulka             0.10      $62.50 B140      A104     Review Patrick McLean stay relief motion

06/30/20    S. Kulka             0.10      $62.50 B140      A104     Review Haygood stay relief consent order

                                                  Subtotal Hours                                           Subtotal
 TOTALS FOR B140: Relief from                          0.20                                                 $125.00
 Stay/Adequate Protection Proceedings
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

06/24/20    D. Laddin           0.20     $134.00 B150      A107     Telephone conference with E. Durlacher
                                                                    regarding creditor inquiry concerning status of
                                                                    case

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B150: Meetings of and                    0.20                                                    $134.00
 Communications with Creditors


06/01/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

06/02/20    S. Kulka            0.70     $437.50 B160      A103     Review and revise AGG May fee statement

06/02/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

06/02/20    S. Kulka            0.30     $187.50 B160      A103     Review and revise AGG final fee application

06/04/20    S. Kulka            0.30     $187.50 B160      A103     Review and revise AGG May statement

06/04/20    D. Laddin           0.20     $134.00 B160      A103     Reviewed and edited AGG fee statement

06/08/20    S. Kulka            0.10      $62.50 B160      A103     Finalize AGG May fee statement

06/12/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

06/15/20    S. Kulka            0.10      $62.50 B160      A104     Review Kelley Drye fee statement

06/16/20    S. Kulka            0.10      $62.50 B160      A107     Emails regarding FTI May fee statement and
                                                                    interim compensation issues

06/16/20    D. Laddin           0.20     $134.00 B160      A104     Reviewed FTI fee statement, and
                                                                    correspondence regarding same

06/17/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors regarding interim
                                                                    compensation issues

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B160: Fee/Employment                     2.40                                                   $1,518.00
 Applications


06/12/20    S. Kulka            0.10      $62.50 B170      A104     Review Scroggins Williamson May fee
                                                                    statement

06/18/20    S. Kulka            0.10      $62.50 B170      A104     Review KCC April fee statement

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B170: Fee/Employment                     0.20                                                    $125.00
 Objections
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

06/01/20    S. Kulka            0.10      $62.50 B185      A104     Review Highway 522 Consent Motion to extend
                                                                    time to assume or reject

06/02/20    S. Kulka            0.20     $125.00 B185      A104     Review notice of assumed and assigned
                                                                    contracts (.10); review revised order regarding
                                                                    assumption and rejection procedures (.10)

06/03/20    S. Kulka            0.10      $62.50 B185      A104     Review supplemental assumption notice

06/10/20    S. Kulka            0.20     $125.00 B185      A104     Review notice of rejected contracts and leases
                                                                    (.10); review notice of assumed and assigned
                                                                    contracts and leases (.10)

06/16/20    S. Kulka            0.10      $62.50 B185      A104     Review supplemental list of assumed and
                                                                    assigned contracts

06/30/20    S. Kulka            0.20     $125.00 B185      A104     Review notice of additional agreements to be
                                                                    rejected (.10); review notice of additional
                                                                    agreements to be assumed and assigned (.10)

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B185: Assumption/Rejection of            0.90                                                    $562.50
 Leases and Contracts


06/01/20    S. Kulka            0.20     $125.00 B230      A107     Call with Maeghan McLoughlin regarding June
                                                                    2 final cash collateral hearing and status of
                                                                    motion to extend time to assume or reject and
                                                                    designation of rights issues

06/02/20    S. Kulka            0.80     $500.00 B230      A109     Attend final cash collateral hearing and hearing
                                                                    on motion to further extend time to assume or
                                                                    reject

06/03/20    S. Kulka            0.30     $187.50 B230      A104     Review and comment on revised final cash
                                                                    collateral order and related emails

06/04/20    S. Kulka            0.10      $62.50 B230      A107     Emails with Lender's counsel and Debtor's
                                                                    counsel regarding final cash collateral order

06/18/20    S. Kulka            0.10      $62.50 B230      A104     Review order amending fee restriction in cash
                                                                    collateral order

                                                Subtotal Hours                                              Subtotal
 TOTALS FOR B230: Financing/Cash                     1.50                                                    $937.50
 Collections


06/05/20    S. Kulka            0.10      $62.50 B310      A104     Review order and notice on Colluro request for
                                                                    administrative expense claim

06/11/20    D. Laddin           0.10      $67.00 B310      A104     Reviewed claim notarization issue
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Date         Timekeeper        Hours          Amount   Task    Activity     Description of Services
                                                       Code    Code

06/16/20      S. Kulka                 0.10      $62.50 B310       A104      Review withdrawal of Calluro request for
                                                                             administrative expense claim

06/17/20      S. Kulka                 0.40     $250.00 B310       A109      Attend hearing on various requests for
                                                                             administrative expense claims and related
                                                                             designation of rights issues

06/19/20      D. Laddin                0.20     $134.00 B310       A107      Correspondence regarding sale and proof of
                                                                             claim issues

                                                        Subtotal Hours                                                 Subtotal
 TOTALS FOR B310: Claims Administration                      0.90                                                       $576.00
 and Objections


                                                                              Total Hours                                      7.50

                                                                      Total For Services                                $4,813.00


                                                 Attorney and Paralegal Summary

                                                         Hours Worked              Billed Rate                 Bill Amount


           Kulka, Sean C.                                         6.20               $625.00                    $3,875.00
           Laddin, Darryl S.                                      1.40               $670.00                      $938.00

           Total All Attorneys                                    7.60                                          $4,813.00




 Expense Code        Description                                                                                         Amount

 E109                VENDOR: Petty Cash/ c/o Toussant Jackson INVOICE#:                                                       $3.48
                     PETTYCASH-6/16/20 DATE: 6/16/2020 Traveled to U.S. Bankruptcy
                     Court to file Application for Admission Pro Hac Vice (2)

 E108                POSTAGE                                                                                                 $11.90
                                                                            Total Expenses                                   $15.38



                                                                    FEES               DISBURSEMENTS                         TOTAL


                         CURRENT CHARGES:                       $4,813.00                             $15.38            $4,828.38

                               Total Balance Due:               $4,813.00                             $15.38            $4,828.38

                                                                                   Total This Statement                 $4,828.38
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                                           Fee & Expense Summary
 Client Name ........................................................................ The Official Committee of
 Unsecured Creditors of The Krystal Company, et al.

 Matter Name ........................................................................ The Krystal Company Bankruptcy

 Account Number .................................................................. 37781-1

 Invoice ................................................................................. # 802328

 Bill Date ............................................................................... 07/07/20

 Current Fee Total ................................................................ $4,813.00

 Current Expense Total..........................................................$15.38

 Current Invoice Total ............................................................$ 4,828.38
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             Current Fee Summary Breakdown By Task Code

 B110: CASE ADMINISTRATION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.70           $437.50
 TOTALS FOR B110: Case Administration                     0.70           $437.50


 B130: ASSET DISPOSITION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 628               Laddin, Darryl S.                      0.50           $335.00
 TOTALS FOR B130: Asset Disposition                       0.50           $335.00


 B140: RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.20           $125.00
 TOTALS FOR B140: Relief from Stay/Adequate Protection    0.20           $125.00
 Proceedings


 B150: MEETINGS OF AND COMMUNICATIONS WITH CREDITORS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 628               Laddin, Darryl S.                      0.20           $134.00
 TOTALS FOR B150: Meetings of and Communications with     0.20           $134.00
 Creditors


 B160: FEE/EMPLOYMENT APPLICATIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         2.00          $1250.00
 628               Laddin, Darryl S.                      0.40           $268.00
 TOTALS FOR B160: Fee/Employment Applications             2.40          $1,518.00


 B170: FEE/EMPLOYMENT OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.20           $125.00
 TOTALS FOR B170: Fee/Employment Objections               0.20           $125.00
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   B185: ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   448               Kulka, Sean C.                          0.90           $562.50
   TOTALS FOR B185: Assumption/Rejection of Leases and       0.90           $562.50
   Contracts


   B230: FINANCING/CASH COLLECTIONS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   448               Kulka, Sean C.                          1.50           $937.50
   TOTALS FOR B230: Financing/Cash Collections               1.50           $937.50


   B310: CLAIMS ADMINISTRATION AND OBJECTIONS
   Timekeeper Code   Timekeeper Name                         Hours            Value
   448               Kulka, Sean C.                          0.60           $375.00
   628               Laddin, Darryl S.                       0.30           $201.00
   TOTALS FOR B310: Claims Administration and Objections     0.90           $576.00




              Current Expense Summary Breakdown By Code
E108              Postage                                                    11.90
E109              Local travel                                                3.48



Total Expenses:                                                            $15.38
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The Official Committee of Unsecured Creditors of The Krystal Company, et al.       July 31, 2020
Kirk R. Carson Committee Co-Chair                                                  Invoice #804470
11995 El Camino Real                                                               Darryl S. Laddin
San Diego, CA 92130

For Legal Services Rendered In Connection With:

Client/Matter #37781-1
The Krystal Company Bankruptcy


Date       Timekeeper    Hours          Amount    Task   Activity   Description of Services
                                                  Code   Code

07/07/20    S. Kulka             0.20     $125.00 B110      A104     Review May/June monthly operating report

07/27/20    S. Kulka             0.10      $62.50 B110      A107     Emails with Debtors' team regarding case
                                                                     closing issues

07/31/20    S. Kulka             0.10      $62.50 B110      A104     Review updated master service list

07/31/20    S. Kulka             0.50     $312.50 B110      A109     Attend hearing on motion to dismiss cases and
                                                                     omnibus fee application [Estimated]

07/31/20    D. Laddin            0.50     $335.00 B110      A109     Attend hearing on motion to dismiss cases and
                                                                     omnibus fee application [Estimated]

                                                  Subtotal Hours                                           Subtotal
 TOTALS FOR B110: Case Administration                  1.40                                                 $897.50



07/24/20    S. Kulka             0.20     $125.00 B120      A107     Emails with Eric Wilson regarding NOL issues
                                                                     and back-up for analysis

                                                  Subtotal Hours                                           Subtotal
 TOTALS FOR B120: Asset Analysis and                   0.20                                                 $125.00
 Recovery


07/02/20    S. Kulka             0.10      $62.50 B140      A104     Review Owens stay relief motion

07/16/20    S. Kulka             0.10      $62.50 B140      A104     Review Owens stay relief consent order

                                                  Subtotal Hours                                           Subtotal
 TOTALS FOR B140: Relief from                          0.20                                                 $125.00
 Stay/Adequate Protection Proceedings


07/06/20    S. Kulka             0.30     $187.50 B160      A103     Review and revise AGG June fee statement

07/06/20    D. Laddin            0.20     $134.00 B160      A103     Reviewed and revised AGG June fee statement
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Date       Timekeeper   Hours          Amount   Task    Activity   Description of Services
                                                Code    Code

07/13/20    S. Kulka            0.10      $62.50 B160      A104     Review Kelley Drye June fee statement

07/29/20    S. Kulka            0.10      $62.50 B160      A107     Emails with Debtors' counsel regarding
                                                                    consolidated final fee applications

07/31/20    S. Kulka            0.30     $187.50 B160      A104     Review and comment on AGG July fee
                                                                    statement and email with Darryl Laddin
                                                                    regarding finalizing AGG bills for Debtors'
                                                                    omnibus fee application

07/31/20    D. Laddin           0.20     $134.00 B160      A103     Review and revise AGG July fee statement and
                                                                    address final close-out issues

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B160: Fee/Employment                     1.20                                                     $768.00
 Applications


07/08/20    S. Kulka            0.10      $62.50 B170      A104     Review KCC May fee statement

07/14/20    S. Kulka            0.10      $62.50 B170      A104     Review KCC fee statement

07/17/20    S. Kulka            0.10      $62.50 B170      A104     Review KCC monthly fee statement

07/31/20    S. Kulka            0.10      $62.50 B170      A104     Review Scroggins Williamson fee statement

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B170: Fee/Employment                     0.40                                                     $250.00
 Objections


07/01/20    S. Kulka            0.20     $125.00 B185      A104     Review supplemental notice of rejection of
                                                                    contracts and leases (.10); review supplemental
                                                                    notice of assumption of contracts and leases (.10)

07/02/20    S. Kulka            0.20     $125.00 B185      A104     Review further supplemental notice of rejected
                                                                    contracts (.10); review further supplemental
                                                                    notice of assumed contracts (.10)

07/06/20    S. Kulka            0.10      $62.50 B185      A104     Review supplemental notice of rejection to
                                                                    remaining contracts

07/28/20    S. Kulka            0.20     $125.00 B185      A107     Call with TB of Stark's and Live Oak's counsel
                                                                    regarding cure claim issues and sale process

                                                Subtotal Hours                                               Subtotal
 TOTALS FOR B185: Assumption/Rejection of            0.70                                                     $437.50
 Leases and Contracts



                                                                     Total Hours                                  4.10

                                                               Total For Services                            $2,603.00
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                                         Attorney and Paralegal Summary

                                                 Hours Worked             Billed Rate            Bill Amount


    Kulka, Sean C.                                        3.20              $625.00               $2,000.00
    Laddin, Darryl S.                                     0.90              $670.00                 $603.00

    Total All Attorneys                                   4.10                                    $2,603.00




                                                            FEES             DISBURSEMENTS                     TOTAL


                CURRENT CHARGES:                        $2,603.00                       $0.00             $2,603.00

                        Total Balance Due:              $2,603.00                       $0.00             $2,603.00

                                                                          Total This Statement            $2,603.00
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                                           Fee & Expense Summary
 Client Name ........................................................................ The Official Committee of
 Unsecured Creditors of The Krystal Company, et al.

 Matter Name ........................................................................ The Krystal Company Bankruptcy

 Account Number .................................................................. 37781-1

 Invoice ................................................................................. # 804470

 Bill Date ............................................................................... 07/31/20

 Current Fee Total ................................................................ $2,603.00

 Current Expense Total..........................................................$0.00

 Current Invoice Total ............................................................$ 2,603.00
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             Current Fee Summary Breakdown By Task Code

 B110: CASE ADMINISTRATION
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.90           $562.50
 628               Laddin, Darryl S.                      0.50           $335.00
 TOTALS FOR B110: Case Administration                     1.40           $897.50


 B120: ASSET ANALYSIS AND RECOVERY
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.20           $125.00
 TOTALS FOR B120: Asset Analysis and Recovery             0.20           $125.00


 B140: RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.20           $125.00
 TOTALS FOR B140: Relief from Stay/Adequate Protection    0.20           $125.00
 Proceedings


 B160: FEE/EMPLOYMENT APPLICATIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.80           $500.00
 628               Laddin, Darryl S.                      0.40           $268.00
 TOTALS FOR B160: Fee/Employment Applications             1.20           $768.00


 B170: FEE/EMPLOYMENT OBJECTIONS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.40           $250.00
 TOTALS FOR B170: Fee/Employment Objections               0.40           $250.00


 B185: ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
 Timekeeper Code   Timekeeper Name                        Hours            Value
 448               Kulka, Sean C.                         0.70           $437.50
 TOTALS FOR B185: Assumption/Rejection of Leases and      0.70           $437.50
 Contracts
 Case 20-61065-pwb   Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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              Current Expense Summary Breakdown By Code


Total Expenses:                                                          $0.00
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                                  EXHIBIT D-7

                           Detailed Time Entries/Invoices

                        First and Final Application Period
                      January 19, 2020 Through July 31, 2020
                                  FTI Consulting
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                                                                                                                             Invoice Remittance

The Krystal Company                                                                                                                     March 13, 2020
1455 Lincoln Parkway                                                                                                           FTI Invoice No. 7541452
Dunwoody, GA 30346                                                                                                            FTI Job No. 474536.0001
                                                                                                                                          Terms Net 30
                                                                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20

FTI Invoice #: 7541452
Current Invoice Period: Charges Posted through February 29, 2020
____________________________________________________________________________________________________

Professional Services............................................................................................                          $57,717.90

Expenses...............................................................................................................                     $1,064.36

Total Amount Due this Period..............................................................................                                 $58,782.26

Total Amount Due........................................................................................                                   $58,782.26



Please Remit Payment To: FTI Consulting, Inc.
                         P.O. Box 418178
                         Boston, MA 02241-8178

Wire Payment To: Bank of America, NA                                                  ACH Payments To: Bank of America, NA
103West 33rd Street, New York, NY 10001                                               1455 Market Street, San Francisco, CA 94109
Account #: 003939577164                                                               Account #: 003939577164
ABA #: 026009593                                                                      ABA #: 052001633
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                                                                                                      Invoice Summary
The Krystal Company                                                                                            March 12, 2020
1455 Lincoln Parkway                                                                                  FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                               Terms Net 30
                                                                                                  FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020



                                                EXHIBIT A
                              THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                   SUMMARY OF HOURS BY PROFESSIONAL
                            FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

                                                                           Billing     Total       Total
                       Professional                 Position                Rate       Hours       Fees
                Joffe, Steven             Senior Managing Director             1,125        3.8       4,275.00
                Simms, Steven             Senior Managing Director             1,295        0.9       1,165.50
                Zucker, Clifford          Senior Managing Director               985       44.9      44,226.50
                Kuan, Michelle            Senior Consultant                      660       30.2      19,932.00
                Hellmund-Mora, Marili Associate                                  280        3.5        980.00
                SUBTOTAL                                                                   83.3    $70,579.00
                                          Less: 50% discount for non-working travel time            (6,448.00)
                TOTAL BEFORE REDUCTIONS                                                    83.3    $64,131.00
                                          Less: 10% voluntary reduction                             (6,413.10)
                GRAND TOTAL                                                                83.3    $57,717.90
       Case 20-61065-pwb              Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00   Desc Main
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                                                                                      Invoice Summary
The Krystal Company                                                                           March 12, 2020
1455 Lincoln Parkway                                                                 FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                              Terms Net 30
                                                                                 FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020



                                                EXHIBIT B
                              THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                        SUMMARY OF HOURS BY TASK
                            FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

            Task                                                              Total       Total
            Code                                 Task Description             Hours       Fees
              1      Current Operating Results & Events                        12.5      $10,102.50

              2      Cash & Liquidity Analysis                                  7.7        7,584.50

              3      Financing Matters (DIP, Exit, Other)                      16.6       13,166.00

              5      Real Estate Issues                                         0.6          591.00

              6      Asset Sales                                                7.2        6,600.00

              7      Analysis of Business Plan                                  2.0        1,970.00

              10     Analysis of Tax Issues                                     4.9        5,001.00

              12     Analysis of SOFAs & SOALs                                  2.6         2,561.00

              13     Analysis of Other Miscellaneous Motions                    2.3        2,265.50

              16     POR & DS - Analysis, Negotiation and Formulation           1.1          726.00

              20     General Meeting with Debtor & Debtors' Professionals       1.3        1,280.50

              21     General Meetings with Committee & Committee Counsel        5.4        4,855.00

              23     Firm Retention                                             3.5          980.00

              25     Travel Time                                               15.6       12,896.00

                     SUBTOTAL                                                  83.3      $70,579.00

                     Less: 50% discount for non-working travel time                       (6,448.00)

                     TOTAL BEFORE REDUCTIONS                                   83.3      $64,131.00

                     Less: 10% voluntary reduction                                        (6,413.10)

                     GRAND TOTAL                                               83.3      $57,717.90
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                                                                                                                 Invoice Summary
The Krystal Company                                                                                                          March 12, 2020
1455 Lincoln Parkway                                                                                               FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                             Terms Net 30
                                                                                                               FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020




                                                         EXHIBIT C
                                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                                  DETAIL OF TIME ENTRIES
                                     FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

   Task
                    Date               Professional      Hours                                      Activity
  Category

       1       2/14/2020         Zucker, Clifford            0.4   Review and analysis of budget/actual reporting WE 2/9.

       1       2/17/2020         Kuan, Michelle              1.1   Review information flow and data room files.

       1       2/17/2020         Kuan, Michelle              0.7   Catch up with Counsel re: case updates and strategy for Committee call.

       1       2/17/2020         Kuan, Michelle              0.8   Prepare draft list of initial diligence requests for A&M.

       1       2/17/2020         Kuan, Michelle              1.0   Participate in call with A&M to discuss case status and background.

                                                                   Prepare summary and slide re: budget to actual results for Committee
       1       2/18/2020         Kuan, Michelle              1.1
                                                                   presentation.

       1       2/18/2020         Zucker, Clifford            0.5   Review comments to report to UCC on budget results and sale process.

       1       2/20/2020         Zucker, Clifford            0.5   Review and analysis of cash flow reporting for WE 2/16.

                                                                   Participate in discussion on case and Company background with
       1       2/24/2020         Kuan, Michelle              2.1
                                                                   Debtors.

       1       2/24/2020         Zucker, Clifford            1.5   Meet with management team on operations and business plan.

       1       2/24/2020         Zucker, Clifford            0.6   Meet with A&M regarding operating results.

       1       2/25/2020         Zucker, Clifford            1.0   Meet with CFO on financial statement disclosures and tax calculations.

       1       2/25/2020         Zucker, Clifford            0.4   Review and provide comments to report to Committee on operations.

       1       2/26/2020         Zucker, Clifford            0.8   Review and analysis of FY 13 audit financial package.

    1 Total                                                 12.5

       2       2/13/2020         Zucker, Clifford            0.6   Perform analysis of the second cash collateral budget.
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                                                                                                                  Invoice Summary
The Krystal Company                                                                                                            March 12, 2020
1455 Lincoln Parkway                                                                                                 FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                               Terms Net 30
                                                                                                                 FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020




                                                         EXHIBIT C
                                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                                  DETAIL OF TIME ENTRIES
                                     FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

   Task
                    Date               Professional      Hours                                     Activity
  Category

       2       2/13/2020         Zucker, Clifford            0.5   Review and analysis of first cash collateral budget.

       2       2/17/2020         Zucker, Clifford            1.5   Review and analysis of detailed cash collateral budget and support.

       2       2/18/2020         Zucker, Clifford            0.9   Call with Debtors on cash collateral budget and support.

       2       2/18/2020         Zucker, Clifford            0.4   Call with Flowers counsel and Counsel on budget issues.

       2       2/21/2020         Zucker, Clifford            0.5   Call with Counsel on budget review.

       2       2/24/2020         Zucker, Clifford            1.5   Meet with CFO and A&M on cash collateral and DIP models.

       2       2/25/2020         Zucker, Clifford            1.8   Meet with A&M on budget and cash flow projections.

    2 Total                                                  7.7

       3       2/13/2020         Zucker, Clifford            0.8   Review and analysis of cash collateral motion and orders

       3       2/17/2020         Zucker, Clifford            1.2   Review and analysis of detailed DIP budget and support.

       3       2/18/2020         Kuan, Michelle              0.7   Discuss initial review of budget with team.

       3       2/18/2020         Kuan, Michelle              1.0   Participate in call with A&M re: cash collateral and DIP budgets.

       3       2/18/2020         Kuan, Michelle              1.8   Review cash collateral and DIP budgets and prepare diligence for call.

       3       2/18/2020         Zucker, Clifford            0.5   Review and analysis of correspondence on DIP terms.

       3       2/19/2020         Kuan, Michelle              0.9   Summarize current draft of DIP term sheet.

       3       2/20/2020         Kuan, Michelle              0.4   Prepare summary of monthly professional fees.
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                                                                                                                  Invoice Summary
The Krystal Company                                                                                                            March 12, 2020
1455 Lincoln Parkway                                                                                                 FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                               Terms Net 30
                                                                                                                 FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020




                                                         EXHIBIT C
                                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                                  DETAIL OF TIME ENTRIES
                                     FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

   Task
                    Date               Professional      Hours                                     Activity
  Category

       3       2/20/2020         Zucker, Clifford            0.5   Call with Webster Bank counsel on DIP loan and budget.

       3       2/24/2020         Kuan, Michelle              1.8   Discuss DIP and cash collateral budgets in detail with A&M.

       3       2/25/2020         Kuan, Michelle              1.9   Discuss go-forward strategy on DIP process with A&M team.

                                                                   Participate in call with Counsel re: catch-up on DIP strategy and cash
       3       2/25/2020         Kuan, Michelle              0.6
                                                                   collateral and DIP budgets.

       3       2/25/2020         Zucker, Clifford            0.6   Review comments to proposal form of DIP order.

       3       2/25/2020         Zucker, Clifford            0.6   Call with Counsel on DIP cash collateral issues.

       3       2/25/2020         Zucker, Clifford            0.5   Review comments to proposal final cash collateral order.

       3       2/27/2020         Kuan, Michelle              0.7   Review objection to cash collateral motion.

       3       2/27/2020         Zucker, Clifford            0.4   Review comments to draft cash collateral objection.

       3       2/27/2020         Zucker, Clifford            0.2   Call with Counsel on cash collateral and DIP issues.

       3       2/28/2020         Zucker, Clifford            0.5   Review and analysis of cash collateral order comments.

       3       2/28/2020         Zucker, Clifford            0.4   Meet with Counsel on DIP and cash collateral issues.

       3       2/28/2020         Zucker, Clifford            0.2   Call with CRO regarding lender discussions.

       3       2/29/2020         Zucker, Clifford            0.4   Meet with Counsel regarding budget review.

    3 Total                                                 16.6

       5       2/26/2020         Zucker, Clifford            0.6   Review and analysis of DIP loan comparables.
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                                                                                                                 Invoice Summary
The Krystal Company                                                                                                         March 12, 2020
1455 Lincoln Parkway                                                                                              FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                            Terms Net 30
                                                                                                              FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020




                                                         EXHIBIT C
                                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                                  DETAIL OF TIME ENTRIES
                                     FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

   Task
                    Date               Professional      Hours                                     Activity
  Category

    5 Total                                                  0.6

       6       2/17/2020         Kuan, Michelle              1.8   Review and summarize bid procedures for Committee presentation.

       6       2/18/2020         Zucker, Clifford            0.8   Review and analysis of sale process update.

       6       2/18/2020         Zucker, Clifford            0.7   Review and analysis of confidential sale memorandum.

       6       2/18/2020         Zucker, Clifford            0.5   Call with IB on sale process overview.

       6       2/18/2020         Zucker, Clifford            0.9   Review and analysis of bid procedures motion.

       6       2/21/2020         Zucker, Clifford            0.4   Call with Counsel on bid procedures objection.

       6       2/25/2020         Zucker, Clifford            1.1   Review and analysis of draft form asset purchase agreement.

       6       2/25/2020         Simms, Steven               0.3   Correspondence regarding asset purchase agreement.

       6       2/26/2020         Zucker, Clifford            0.7   Review and analysis of IB process update and status report.

    6 Total                                                  7.2

       7       2/24/2020         Zucker, Clifford            2.0   Meet with CFO and A&M on baseline model for business plan.

    7 Total                                                  2.0

                                                                   Review financial documents in preparation for call regarding tax basis
      10       2/26/2020         Joffe, Steven               1.5
                                                                   and historical equity statement.
                                                                   Review of financial documents including changes in stockholders
      10       2/27/2020         Joffe, Steven               1.2
                                                                   equity.

      10       2/27/2020         Joffe, Steven               1.1   Discuss tax basis and historical equity statement with the FTI tax team.
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The Krystal Company                                                                                                          March 12, 2020
1455 Lincoln Parkway                                                                                               FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                             Terms Net 30
                                                                                                               FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020




                                                         EXHIBIT C
                                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                                  DETAIL OF TIME ENTRIES
                                     FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

   Task
                    Date               Professional      Hours                                     Activity
  Category

      10       2/27/2020         Kuan, Michelle              1.1   Discuss tax basis and historical equity statement with the FTI tax team.

   10 Total                                                  4.9

      12       2/27/2020         Zucker, Clifford            1.2   Review and analysis of statement of financial affairs.

      12       2/27/2020         Zucker, Clifford            1.4   Review and analysis of schedule of assets and liabilities.

   12 Total                                                  2.6

      13       2/13/2020         Zucker, Clifford            0.7   Review the Tibus declaration.

      13       2/17/2020         Zucker, Clifford            1.6   Review first day motion and orders.

   13 Total                                                  2.3

                                                                   Discuss estimate for accrued and unpaid administrative expenses at end
      16       2/24/2020         Kuan, Michelle              1.1
                                                                   of case or sale.

   16 Total                                                  1.1

      20       2/17/2020         Zucker, Clifford            1.3   Call with CRO on case background and budget review.

   20 Total                                                  1.3

      21       2/14/2020         Zucker, Clifford            0.3   Review correspondence from counsel re: case update and budget.

      21       2/17/2020         Zucker, Clifford            0.7   Call with Counsel on case issues and work plan.

                                                                   Participate in Committee call on general case update, budget to actual
      21       2/19/2020         Kuan, Michelle              1.0
                                                                   results, and bid procedures overview.
                                                                   Participate in Committee re: case update, budget to actual results, and
      21       2/19/2020         Simms, Steven               0.6
                                                                   bid procedures overview.
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The Krystal Company                                                                                                            March 12, 2020
1455 Lincoln Parkway                                                                                                 FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                               Terms Net 30
                                                                                                                 FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020




                                                         EXHIBIT C
                                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                                  DETAIL OF TIME ENTRIES
                                     FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

   Task
                    Date               Professional      Hours                                       Activity
  Category
                                                                   Participate in Committee re: case update, budget to actual results, and
      21       2/19/2020         Zucker, Clifford            0.7
                                                                   bid procedures overview.

      21       2/20/2020         Zucker, Clifford            0.3   Call with Counsel on independent director review.

      21       2/25/2020         Zucker, Clifford            0.2   Review correspondence Counsel on case issues and status.

      21       2/26/2020         Kuan, Michelle              1.0   Participate in Committee call regarding case update and financials.

      21       2/26/2020         Zucker, Clifford            0.6   Participate on Committee call on financial and legal update.

   21 Total                                                  5.4

                                                                   Prepare the list of parties in interest for the conflict check in connection
      23       2/20/2020         Hellmund-Mora, Marili       1.7
                                                                   with the retention declaration.

      23       2/24/2020         Hellmund-Mora, Marili       1.8   Prepare the Krystal retention documents.

   23 Total                                                  3.5

      25       2/24/2020         Kuan, Michelle              3.8   Travel from NYC to Atlanta for meeting at Krystal corporate office.

      25       2/24/2020         Zucker, Clifford            4.0   Travel from NYC to Atlanta for meeting at Krystal corporate office.

      25       2/25/2020         Kuan, Michelle              3.8   Travel back to NYC from Atlanta after management meetings.

      25       2/25/2020         Zucker, Clifford            4.0   Travel back to NYC from Atlanta after management meetings.

   25 Total                                                 15.6

 Grand Total                                                83.3
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The Krystal Company                                                                         March 12, 2020
1455 Lincoln Parkway                                                               FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                            Terms Net 30
                                                                               FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020



                                                EXHIBIT D
                              THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                          SUMMARY OF EXPENSES
                            FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

         Expense Type                                                                    Amount
         Airfare                                                                          $540.05
         Lodging                                                                          $231.20
         Transportation                                                                   $251.09
         Working Meals                                                                     $42.02
         Total                                                                          $1,064.36
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The Krystal Company                                                                                                   March 12, 2020
1455 Lincoln Parkway                                                                                         FTI Job No. 474536.0001
Dunwoody, GA 30346                                                                                                      Terms Net 30
                                                                                                         FEDERAL I.D. NO. 52‐1261113

Re: The Krystal Co. ‐ UCC ‐ 20

Current Invoice Period: Charges Posted through February 29, 2020



                                                 EXHIBIT E
                               THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                              EXPENSE DETAIL
                             FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020

          Date    Professional       Expense Type     Expense Detail                                               Amount

                                                      Airfare - Coach/Economy, Clifford Zucker, EWR - ATL,
        02/25/20 Zucker, Clifford    Airfare                                                                          $540.05
                                                      02/24/2020 - 02/25/2020. Client visit

                                     Airfare Total                                                                    $540.05

                                                      Lodging - Clifford Zucker 02/24/2020 - 02/25/2020.
        02/25/20 Zucker, Clifford    Lodging                                                                           231.20
                                                      Client visit - Hotel rate

                                     Lodging Total                                                                     231.20

                                                      Taxi - Clifford Zucker, Home - Newark Airport. Client
        02/24/20 Zucker, Clifford    Transportation                                                                     48.00
                                                      visit
                                                      Car Rental - Standard/Full Size, Clifford Zucker,
        02/25/20 Zucker, Clifford    Transportation                                                                    122.25
                                                      02/24/2020 - 02/25/2020. Client visit

        02/25/20 Zucker, Clifford    Transportation   Car Rental - Gas - Clifford Zucker. Client visit                   5.84


        02/25/20 Zucker, Clifford    Transportation   Hotel - Parking - Clifford Zucker. Client visit                   20.00

                                                      Taxi - Clifford Zucker, Newark Airport - Home. Client
        02/25/20 Zucker, Clifford    Transportation                                                                     55.00
                                                      visit

                                     Transportation Total                                                              251.09


        02/24/20 Zucker, Clifford    Working Meals Meals - Travel Related - Clifford Zucker. Client visit               23.00

                                                      Meals - Travel Related - Clifford Zucker. Client visit -
        02/25/20 Zucker, Clifford    Working Meals                                                                      19.02
                                                      Lunch

                                     Working Meals Total                                                                42.02


                                     Grand Total                                                                    $1,064.36
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                                                                                                                              Invoice Remittance

The Krystal Company                                                                                                                     March 31, 2020
1455 Lincoln Parkway                                                                                                           FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                                                            FTI Job No. 474536.0001
                                                                                                                                          Terms Net 30
                                                                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20

FTI Invoice # 7543444
Current Invoice Period: Charges Posted through March 31, 2020
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Professional Services............................................................................................                          $76,228.00

Less 10% Voluntary Reduction....................................................................................                           -$7,622.80

Net Professional Fees...........................................................................................                           $68,605.20

Expenses...............................................................................................................                       $856.58

Total Amount Due this Period..............................................................................                                 $69,461.78

Total Amount Due........................................................................................                                   $69,461.78



Please Remit Payment To: FTI Consulting, Inc.
                         P.O. Box 418178
                         Boston, MA 02241-8178

Wire Payment To: Bank of America, NA                                                  ACH Payments To: Bank of America, NA
103West 33rd Street, New York, NY 10001                                               1455 Market Street, San Francisco, CA 94109
Account #: 003939577164                                                               Account #: 003939577164
ABA #: 026009593                                                                      ABA #: 052001633
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The Krystal Company                                                                                     March 31, 2020
1455 Lincoln Parkway                                                                           FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                            FTI Job No. 474536.0001
                                                                                                          Terms Net 30
                                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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                                         EXHIBIT A
                        THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                             SUMMARY OF HOURS BY PROFESSIONAL
                        FOR THE PERIOD MARCH 1, 2020 TO MARCH 31, 2020


                                                                       Billing    Total          Total
         Professional                         Position                  Rate      Hours          Fees
  Friedland, Scott D.            Senior Managing Director                 $985       2.5          $2,462.50

  Joffe, Steven                  Senior Managing Director                 1,125      3.6           4,050.00

  Simms, Steven                  Senior Managing Director                 1,295      3.2           4,144.00

  Zucker, Clifford               Senior Managing Director                   985     34.7          34,179.50

  Hopkins, Kelsey                Senior Consultant                          530      9.2           4,876.00

  Kuan, Michelle                 Senior Consultant                          660     39.2          25,872.00

  Hellmund-Mora, Marili          Associate                                  280      2.3             644.00

  SUBTOTAL                                                                          94.7         $76,228.00

                                 Less: 50% discount for non-working travel time                          0.00

  TOTAL BEFORE REDUCTIONS                                                           94.7         $76,228.00

                                 Less: 10% voluntary reduction                                    (7,622.80)

  GRAND TOTAL                                                                       94.7         $68,605.20
  Case 20-61065-pwb              Doc 610 Filed 09/21/20 Entered 09/21/20 12:58:00        Desc Main
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                                                                                   Invoice Summary

The Krystal Company                                                                       March 31, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7543444
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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                                                 EXHIBIT B
                                 THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                         SUMMARY OF HOURS BY TASK
                                 FOR THE PERIOD MARCH 1, 2020 TO MARCH 31, 2020


    Task                                                                             Total       Total
    Code                                  Task Description                           Hours       Fees

      1       Current Operating Results & Events                                      18.1      $15,095.50

      2       Cash & Liquidity Analysis                                                 5.6       4,573.50

      3       Financing Matters (DIP, Exit, Other)                                     31.5      25,564.50

      6       Asset Sales                                                               3.4       3,535.00

      7       Analysis of Business Plan                                                 1.9       1,871.50

     10       Analysis of Tax Issues                                                   20.2      15,077.50

     12       Analysis of SOFAs & SOALs                                                 5.5       3,890.00

     21       General Meetings with Committee & Committee Counsel                       5.0       5,184.50

     24       Preparation of Fee Application                                            3.5       1,436.00

              SUBTOTAL                                                                 94.7     $76,228.00

              Less: 50% discount for non-working travel time                                             0.00

              TOTAL BEFORE REDUCTIONS                                                  94.7     $76,228.00

              Less: 10% voluntary reduction                                                      (7,622.80)

              GRAND TOTAL                                                              94.7     $68,605.20
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The Krystal Company                                                                             March 31, 2020
1455 Lincoln Parkway                                                                   FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                    FTI Job No. 474536.0001
                                                                                                  Terms Net 30
                                                                                  FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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                                              EXHIBIT C
                              THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                        DETAIL OF TIME ENTRIES
                                 FOR THE PERIOD MARCH 1, 2020 TO MARCH 31, 2020


     Task
                    Date              Professional      Hours                         Activity
    Category
        1         3/4/2020       Zucker, Clifford          1.3   Review and analyze 4 wall store EBITDA.
                                                                 Call with Counsel on work plan and budget
        1         3/5/2020       Zucker, Clifford          0.4
                                                                 review.
                                                                 Review and analysis of budget/actual reporting
        1         3/5/2020       Zucker, Clifford          0.4
                                                                 WE 3/1.
                                                                 Prepare summary of store-level financials for
        1         3/8/2020       Kuan, Michelle            1.7
                                                                 Committee report.
                                                                 Review comments to report to committee on
        1         3/9/2020       Zucker, Clifford          0.5
                                                                 operations.
                                                                 Review and analysis of budget/actual results WE
        1         3/12/2020      Zucker, Clifford          0.4
                                                                 3/8.
                                                                 Prepare schedule of fees for current events update
        1         3/16/2020      Kuan, Michelle            1.2
                                                                 call.
                                                                 Call with counsel on operation update and case
        1         3/16/2020      Zucker, Clifford          0.5
                                                                 issues.
                                                                 Participate in status update call with A&M on
        1         3/17/2020      Kuan, Michelle            0.8
                                                                 current events and revised budget.
                                                                 Review and analysis of operating protocol due to
        1         3/18/2020      Zucker, Clifford          0.6
                                                                 Covid-19.
                                                                 Review latest week budget to actual variance
        1         3/19/2020      Kuan, Michelle            1.0
                                                                 report.
                                                                 Review and analysis of budget/actual reporting
        1         3/19/2020      Zucker, Clifford          0.5
                                                                 WE 3/15.
                                                                 Discuss current case status and next steps with
        1         3/23/2020      Kuan, Michelle            0.5
                                                                 Counsel.
                                                                 Review and analysis of debtor update on
        1         3/23/2020      Zucker, Clifford          0.8
                                                                 operations.
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                                                                                        Invoice Summary

The Krystal Company                                                                           March 31, 2020
1455 Lincoln Parkway                                                                 FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                  FTI Job No. 474536.0001
                                                                                                Terms Net 30
                                                                                FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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     Task
                    Date              Professional    Hours                         Activity
    Category
        1         3/23/2020      Zucker, Clifford        0.3   Call with Counsel on operations and budgets.
                                                               Review update presentation from A&M with
        1         3/23/2020      Kuan, Michelle          1.4   revised forecast and operating plan re: coronavirus
                                                               impact.
                                                               Prepare budget to actual variance slide for
        1         3/24/2020      Kuan, Michelle          1.0
                                                               Committee report.
                                                               Review comment to the report to the Committee
        1         3/24/2020      Zucker, Clifford        0.4
                                                               on operations.
                                                               Review and analysis of correspondence on non-
        1         3/24/2020      Zucker, Clifford        0.3
                                                               payment of rent and messaging.
                                                               Review and analysis of Debtors' revised report on
        1         3/24/2020      Zucker, Clifford        0.6
                                                               operations.
                                                               Call with Debtors on operations, revised business
        1         3/24/2020      Zucker, Clifford        0.9
                                                               plan.
                                                               Review and analysis of YOY comparable sales
        1         3/24/2020      Zucker, Clifford        0.6
                                                               data.
                                                               Participate in call with committee members on
        1         3/25/2020      Zucker, Clifford        0.5
                                                               operating results and revised budget.
        1         3/25/2020      Simms, Steven           0.2   Review update re: lease payments.
                                                               Review latest week budget to actual variance
        1         3/26/2020      Kuan, Michelle          1.0
                                                               report.
                                                               Review and analysis of budget/actual reporting
        1         3/26/2020      Zucker, Clifford        0.3
                                                               WE 3/22.
     1 Total                                            18.1

                                                               Review and analysis of accrued and unpaid
        2         3/2/2020       Zucker, Clifford        0.8
                                                               liabilities.
                                                               Prepare draft schedule showing roll-back of
        2         3/2/2020       Kuan, Michelle          1.4
                                                               estimate accrued admin priority claims.
                                                               Prepare weekly breakout of professional fees in
        2         3/2/2020       Kuan, Michelle          0.6
                                                               budget for counsel.
                                                               Participate in discussion with FTI team re: accrued
        2         3/2/2020       Kuan, Michelle          0.9
                                                               admin priority payables.
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The Krystal Company                                                                           March 31, 2020
1455 Lincoln Parkway                                                                 FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                  FTI Job No. 474536.0001
                                                                                                Terms Net 30
                                                                                FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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     Task
                    Date              Professional    Hours                        Activity
    Category
                                                              Review correspondence with counsel and UCC on
        2         3/4/2020       Zucker, Clifford       0.4
                                                              503(b)9 claims.
        2         3/4/2020       Zucker, Clifford       0.2   Call with Counsel on 509(b)9 claims.

        2         3/25/2020      Zucker, Clifford       0.4   Call with counsel on lease payments and budget.
                                                              Review and analysis of control accounts and
        2         3/30/2020      Zucker, Clifford       0.4
                                                              DACA information.
                                                              Review comments to pro fee analysis on budget
        2         3/30/2020      Zucker, Clifford       0.5
                                                              comparison.
     2 Total                                            5.6

                                                              Participate in call with Counsel on cash collateral
        3         3/1/2020       Zucker, Clifford       0.2
                                                              budget.
                                                              Participate in call with Counsel on cash collateral
        3         3/2/2020       Zucker, Clifford       0.7
                                                              budget and hearing preparation.
        3         3/2/2020       Zucker, Clifford       0.4   Call with Debtors on cash collateral budget detail.

        3         3/2/2020       Zucker, Clifford       0.9   Review and analysis of cash collateral budget.

        3         3/2/2020       Zucker, Clifford       0.4   Review comments to cash collateral objection.

        3         3/3/2020       Zucker, Clifford       0.6   Review and analysis of cash collateral declaration.
                                                              Review and analysis of third interim cash
        3         3/3/2020       Zucker, Clifford       0.4
                                                              collateral order.
        3         3/3/2020       Zucker, Clifford       0.5   Review Wells objection to cash collateral.
                                                              Review and analysis of cash collateral budget
        3         3/5/2020       Zucker, Clifford       1.1
                                                              support.
                                                              Review and analysis of draft cash collateral
        3         3/23/2020      Zucker, Clifford       0.7
                                                              budget thru 5/31.
                                                              Compare further revised budget to prior interim
        3         3/23/2020      Kuan, Michelle         2.2
                                                              budget and prior draft.
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The Krystal Company                                                                           March 31, 2020
1455 Lincoln Parkway                                                                 FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                  FTI Job No. 474536.0001
                                                                                                Terms Net 30
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Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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     Task
                    Date              Professional    Hours                        Activity
    Category
                                                              Review and analysis of revised cash collateral
        3         3/24/2020      Zucker, Clifford       0.7
                                                              budget.
                                                              Participate in discussion with A&M re: revised
        3         3/24/2020      Kuan, Michelle         1.5
                                                              interim cash collateral budget.
                                                              Compile notes on and continue reviewing interim
        3         3/24/2020      Kuan, Michelle         1.3
                                                              cash collateral budget.
                                                              Review comments to draft cash collateral
        3         3/26/2020      Zucker, Clifford       0.5
                                                              objection.
                                                              Review and analysis of revised cash collateral
        3         3/26/2020      Zucker, Clifford       0.6
                                                              budget.
                                                              Prepare exhibit of budgeted professional fees to
        3         3/26/2020      Kuan, Michelle         1.6
                                                              date.
                                                              Review draft objection to interim cash collateral
        3         3/26/2020      Kuan, Michelle         1.8
                                                              order and research fee amounts.
                                                              Review final version of interim cash collateral
        3         3/26/2020      Kuan, Michelle         1.1
                                                              budget and filing version.
                                                              Review and analysis of revised stub cash collateral
        3         3/27/2020      Zucker, Clifford       0.4
                                                              budget.
        3         3/27/2020      Zucker, Clifford       0.3   Call with Counsel on revised budget.

        3         3/27/2020      Zucker, Clifford       0.3   Call with team on budget assumptions.
                                                              Participate in discussion with Counsel re: revised
        3         3/27/2020      Kuan, Michelle         0.4
                                                              fee exhibit.
                                                              Discuss and revise fee exhibits for counsel for
        3         3/27/2020      Kuan, Michelle         2.1
                                                              draft objection to cash collateral budget.
                                                              Participate in call Counsel on cash collateral
        3         3/28/2020      Zucker, Clifford       0.4
                                                              budget review.
                                                              Review and analysis of budget sensitivity for
        3         3/28/2020      Zucker, Clifford       0.8
                                                              discussion with Counsel.
                                                              Prepare revised exhibit laying out professional
        3         3/28/2020      Kuan, Michelle         1.4
                                                              fees for interim cash collateral budget objection.
                                                              Review comments to exhibits for Counsel
        3         3/29/2020      Zucker, Clifford       0.4
                                                              objections to cash collateral.
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The Krystal Company                                                                            March 31, 2020
1455 Lincoln Parkway                                                                  FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                   FTI Job No. 474536.0001
                                                                                                 Terms Net 30
                                                                                 FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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     Task
                    Date              Professional    Hours                          Activity
    Category
                                                               Participate in call with Counsel on budget
        3         3/29/2020      Zucker, Clifford        0.7
                                                               comparison.
                                                               Participate in call with Counsel to discuss
        3         3/29/2020      Kuan, Michelle          1.5
                                                               professional fees and revise exhibit per discussion.
                                                               Participate in call with Debtors on cash collateral
        3         3/30/2020      Zucker, Clifford        0.5
                                                               budget.
                                                               Review and analysis of 4-week cash collateral
        3         3/30/2020      Zucker, Clifford        0.6
                                                               budget.
                                                               Review and analysis of comparative analysis of
        3         3/30/2020      Zucker, Clifford        0.7
                                                               budget revisions.
                                                               Participate in call with Counsel cash collateral
        3         3/30/2020      Zucker, Clifford        0.3
                                                               budget.
                                                               Review comments to objection to cash collateral
        3         3/30/2020      Zucker, Clifford        0.4
                                                               budget.
                                                               Review comments to stipulation authorizing cash
        3         3/30/2020      Zucker, Clifford        0.3
                                                               collateral use.
        3         3/30/2020      Kuan, Michelle          1.2   Incorporate updates to the fee exhibit for Counsel.
                                                               Prepare correspondence re: cash collateral
        3         3/31/2020      Simms, Steven           0.2
                                                               objection and budget.
        3         3/31/2020      Zucker, Clifford        0.2   Call with counsel on budget variance restrictions.

        3         3/31/2020      Zucker, Clifford        0.3   Review comments to cash collateral objection.
                                                               Review fee exhibit including correspondence from
        3         3/31/2020      Kuan, Michelle          0.9
                                                               Counsel on professional fees.
     3 Total                                            31.5

        6         3/2/2020       Zucker, Clifford        0.3   Participate in call with Counsel re: bid process.

        6         3/9/2020       Zucker, Clifford        0.8   Review and analysis of data room documents.

        6         3/9/2020       Zucker, Clifford        0.5   Review and analysis of marketing process update.
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The Krystal Company                                                                                   March 31, 2020
1455 Lincoln Parkway                                                                         FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                          FTI Job No. 474536.0001
                                                                                                        Terms Net 30
                                                                                        FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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      Task
                        Date                     Professional          Hours                        Activity
     Category
                                                                      Participate in call with counsel re: sale and case
        6         3/13/2020      Simms, Steven                  0.3
                                                                      issues.
        6         3/16/2020      Zucker, Clifford               0.5   Review and analysis of sale process update.
                                                                      Call with team Regarding case items related to the
        6         3/19/2020      Simms, Steven                  0.3
                                                                      sale.
                                                                      Review and analysis of updated market status
        6         3/23/2020      Zucker, Clifford               0.3
                                                                      report.
                                                                      Participate in call with the FTI team on sale
        6         3/25/2020      Zucker, Clifford               0.4
                                                                      process.
     6 Total                                                    3.4

                                                                      Review and analysis of revised annual operating
        7         3/23/2020      Zucker, Clifford               1.0
                                                                      plan down 25%.
                                                                      Review and analysis of annual operating plan
        7         3/24/2020      Zucker, Clifford               0.9
                                                                      down 50%.
     7 Total                                                    1.9

                                                                      Review and analysis of historical dividends
        10        3/11/2020      Zucker, Clifford               0.6
                                                                      activity.
        10        3/12/2020      Zucker, Clifford               0.8   Review and analysis of historical financial results.

        10        3/2/2020       Joffe, Steven                  0.9   Review financials and retained earnings.
                                                                      Discussion with the FTI team regarding purchase
        10        3/4/2020       Joffe, Steven                  1.0
                                                                      accounting.
                                                                      Review financial statements and general ledger
                                                                      account balances, including 2012 purchase
        10        3/4/2020       Friedland, Scott D.            0.8
                                                                      accounting goodwill, 2013 dividend to parent and
                                                                      2018 equity contribution.
        10        3/9/2020       Hopkins, Kelsey                1.9   Perform review of the 2013 financial statements.
                                                                      Review and update the financial statement
        10        3/10/2020      Friedland, Scott D.            0.8
                                                                      analysis.
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                                                                                                 Invoice Summary

The Krystal Company                                                                                    March 31, 2020
1455 Lincoln Parkway                                                                          FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                           FTI Job No. 474536.0001
                                                                                                         Terms Net 30
                                                                                         FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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      Task
                        Date                     Professional           Hours                        Activity
     Category
                                                                       Perform reconciliation of identifiable assets as of
        10        3/10/2020      Hopkins, Kelsey                 3.9
                                                                       3/20/2012 to Balance Sheet at 12/30/2012.
                                                                       Update identifiable assets as of 3/20/2012 to
        10        3/10/2020      Hopkins, Kelsey                 2.6   Balance Sheet at 12/30/2012 including push down
                                                                       accounting materials.
                                                                       Review Tennessee corporate law w/r/t dividends
        10        3/11/2020      Joffe, Steven                   0.8
                                                                       and dividend history/account.
                                                                       Summarize financial statement analysis of
        10        3/11/2020      Friedland, Scott D.             0.9   dividend payments, sources of funds, capital
                                                                       contributions, and purchase accounting issues.
                                                                       Participate in FTI team meeting to discuss
        10        3/11/2020      Hopkins, Kelsey                 0.8   accounting for the March 2012 acquisition and
                                                                       subsequent dividend payments to parents.
                                                                       Review of stock purchase agreement and equity
        10        3/17/2020      Joffe, Steven                   0.9
                                                                       roll forward.
                                                                       Review equity rollforward provided for tax basis
        10        3/17/2020      Kuan, Michelle                  2.2
                                                                       investigation.
                                                                       Research tax diligence questions and discuss with
        10        3/25/2020      Kuan, Michelle                  1.3
                                                                       A&M.
     10 Total                                                   20.2

                                                                       Review SOFA and SOALs filed by each Debtor
        12        3/4/2020       Kuan, Michelle                  1.2
                                                                       entity.
        12        3/5/2020       Kuan, Michelle                  1.9   Prepare summary of SOFAs for Committee report.

        12        3/9/2020       Kuan, Michelle                  0.8   Research royalty payments to affiliated entity.
                                                                       Review comments to report to committee on
        12        3/11/2020      Zucker, Clifford                0.8
                                                                       SOFA/SOAL's.
                                                                       Revise SOFA and SOAL exhibits based on
        12        3/12/2020      Kuan, Michelle                  0.8
                                                                       discussion.
     12 Total                                                    5.5

                                                                       Participate in Committee call on financial update,
        21        3/12/2020      Simms, Steven                   0.6
                                                                       key case items, and next steps.
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The Krystal Company                                                                                March 31, 2020
1455 Lincoln Parkway                                                                      FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                       FTI Job No. 474536.0001
                                                                                                     Terms Net 30
                                                                                     FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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      Task
                        Date                  Professional           Hours                       Activity
     Category
                                                                    Call with Counsel on issues review and UCC call
        21        3/12/2020      Zucker, Clifford             0.3
                                                                    prep.
                                                                    Participate in Committee call on financial update,
        21        3/12/2020      Zucker, Clifford             0.5
                                                                    key case issues, and next steps.
                                                                    Prepare correspondence re: operation update and
        21        3/16/2020      Simms, Steven                0.3
                                                                    sale process.
        21        3/24/2020      Simms, Steven                0.4   Prepare correspondence re: operations update.

        21        3/25/2020      Kuan, Michelle               0.4   Participate in weekly UCC professionals' pre-call.
                                                                    Participate in weekly UCC call re: current events
        21        3/25/2020      Kuan, Michelle               0.9
                                                                    and revised budget.
                                                                    Participate in call with Counsel re: lease payments
        21        3/25/2020      Simms, Steven                0.3
                                                                    and budget.
                                                                    Participate in weekly UCC call re: current events
        21        3/25/2020      Simms, Steven                0.6
                                                                    and revised budget.
                                                                    Participate in weekly UCC call regarding current
        21        3/25/2020      Zucker, Clifford             0.7
                                                                    events and revised budget.
     21 Total                                                 5.0

                                                                    Generate fee estimate in connection with reporting
        24        3/4/2020       Hellmund-Mora, Marili        0.5
                                                                    budget.
        24        3/11/2020      Kuan, Michelle               1.2   Prepare the February fee statement.

                                                                    Prepare the February fee application to ensure
        24        3/12/2020      Hellmund-Mora, Marili        1.2
                                                                    compliance with bankruptcy guidelines.

        24        3/13/2020      Hellmund-Mora, Marili        0.6   Update and finalize the February fee application.

     24 Total                                                 3.5

  Grand Total                                                94.7
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The Krystal Company                                                                     March 31, 2020
1455 Lincoln Parkway                                                           FTI Invoice No. 7543444
Dunwoody, GA 30346                                                            FTI Job No. 474536.0001
                                                                                          Terms Net 30
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Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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                                              EXHIBIT D
                       THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                 SUMMARY OF EXPENSES
                        FOR THE PERIOD MARCH 1, 2020 TO MARCH 31, 2020

  Expense Type                                                                          Amount

  Airfare                                                                               $370.76
  Lodging                                                                                351.84
  Transportation                                                                          88.72
  Working Meals                                                                           45.26

  Total                                                                                 $856.58
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The Krystal Company                                                                                   March 31, 2020
1455 Lincoln Parkway                                                                         FTI Invoice No. 7543444
Dunwoody, GA 30346                                                                          FTI Job No. 474536.0001
                                                                                                        Terms Net 30
                                                                                        FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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                                            EXHIBIT E
                          THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                         EXPENSE DETAIL
                        FOR THE PERIOD FEBRUARY 13, 2020 TO FEBRUARY 29, 2020


       Date      Professional        Expense Type       Expense Detail                                     Amount

                                                        Airfare - Coach - EWR - ATL, 02/24/20 -
     02/24/20    Kuan, Michelle      Airfare            02/25/20 (includes travel agent fee). Travel to     $370.76
                                                        attend Krystal Co. case meetings.

                                     Airfare Total                                                           370.76

                                                        Hotel - 02/24/20 - 02/25/20. Hotel while
     02/24/20    Kuan, Michelle      Lodging                                                                 351.84
                                                        traveling to attend Krystal Co. case meetings.

                                     Lodging Total                                                           351.84

                                                        Taxi from home to EWR airport. Travel to
     02/24/20    Kuan, Michelle      Transportation                                                           57.68
                                                        attend Krystal Co. case meetings.

                                                        Taxi from EWR airport to home. Travel to
     02/24/20    Kuan, Michelle      Transportation                                                           31.04
                                                        attend Krystal Co. case meetings.

                                     Transportation Total                                                     88.72

                                                        Dinner for self while traveling to attend
     02/24/20    Kuan, Michelle      Working Meals                                                            12.76
                                                        Krystal Co. case meetings.

                                                        Breakfast for self while traveling to attend
     02/24/20    Kuan, Michelle      Working Meals                                                             8.90
                                                        Krysta Co. case meetings.

                                                        Lunch while working at the office on the
     03/08/20    Kuan, Michelle      Working Meals                                                            23.60
                                                        weekend on the Krystal Co. case.
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                                                                                Invoice Summary

The Krystal Company                                                                     March 31, 2020
1455 Lincoln Parkway                                                           FTI Invoice No. 7543444
Dunwoody, GA 30346                                                            FTI Job No. 474536.0001
                                                                                          Terms Net 30
                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through March 31, 2020
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                                     Working Meals Total                                    45.26


                                     Grand Total                                          $856.58
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                                                                                                                              Invoice Remittance

The Krystal Company                                                                                                                      April 30, 2020
1455 Lincoln Parkway                                                                                                           FTI Invoice No. 7546352
Dunwoody, GA 30346                                                                                                            FTI Job No. 474536.0001
                                                                                                                                          Terms Net 30
                                                                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20

FTI Invoice #7546352
Current Invoice Period: Charges Posted through April 30, 2020
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Professional Services............................................................................................                          $51,206.50

Less 10% Voluntary Reduction....................................................................................                            -$5,120.65

Net Professional Fees...........................................................................................                           $46,085.85

Expenses...............................................................................................................                        $57.28

Total Amount Due this Period..............................................................................                                 $46,143.13

Total Amount Due........................................................................................                                   $46,143.13



Please Remit Payment To: FTI Consulting, Inc.
                         P.O. Box 418178
                         Boston, MA 02241-8178

Wire Payment To: Bank of America, NA                                                  ACH Payments To: Bank of America, NA
103West 33rd Street, New York, NY 10001                                               1455 Market Street, San Francisco, CA 94109
Account #: 003939577164                                                               Account #: 003939577164
ABA #: 026009593                                                                      ABA #: 052001633
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                                                                                          Invoice Summary

The Krystal Company                                                                                April 30, 2020
1455 Lincoln Parkway                                                                     FTI Invoice No. 7546352
Dunwoody, GA 30346                                                                      FTI Job No. 474536.0001
                                                                                                    Terms Net 30
                                                                                    FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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                                         EXHIBIT A
                        THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                             SUMMARY OF HOURS BY PROFESSIONAL
                         FOR THE PERIOD APRIL 1, 2020 TO APRIL 30, 2020


                                                                  Billing     Total        Total
                 Professional                 Position             Rate       Hours        Fees
            Joffe, Steven             Senior Managing Director        1,125       3.2      3,600.00

            Simms, Steven             Senior Managing Director        1,295       1.7      2,201.50

            Zucker, Clifford          Senior Managing Director         985     37.0       36,445.00

            Kuan, Michelle            Senior Consultant                660     12.6        8,316.00

            Hellmund-Mora, Marili     Associate                        280        2.3        644.00

            SUBTOTAL                                                           56.8      $51,206.50
                                      Less: 50% discount for non-working travel
                                                                                                0.00
                                      time
            TOTAL BEFORE REDUCTIONS                                            56.8      $51,206.50

                                      Less: 10% voluntary reduction                       (5,120.65)

            GRAND TOTAL                                                        56.8      $46,085.85
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                                                                                Invoice Summary

The Krystal Company                                                                      April 30, 2020
1455 Lincoln Parkway                                                           FTI Invoice No. 7546352
Dunwoody, GA 30346                                                            FTI Job No. 474536.0001
                                                                                          Terms Net 30
                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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                                          EXHIBIT B
                         THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                 SUMMARY OF HOURS BY TASK
                          FOR THE PERIOD APRIL 1, 2020 TO APRIL 30, 2020

       Task                                                                 Total       Total
       Code                           Task Description                      Hours       Fees
         1      Current Operating Results & Events                             4.8     $4,143.00

         2      Cash & Liquidity Analysis                                      7.3      6,605.50

         6      Asset Sales                                                   22.7     21,501.00

        10      Analysis of Tax Issues                                         9.3      9,348.50

        13      Analysis of Other Miscellaneous Motions                        0.6        591.00

        14      Analysis of Claims/Liabilities Subject to Compromise           3.5      3,183.00

        21      General Meetings with Committee & Committee Counsel            5.0      4,332.50

        24      Preparation of Fee Application                                 3.6      1,502.00

                SUBTOTAL                                                      56.8    $51,206.50

                Less: 50% discount for non-working travel time                              0.00

                TOTAL BEFORE REDUCTIONS                                       56.8    $51,206.50

                Less: 10% voluntary reduction                                         (5,120.65)

                GRAND TOTAL                                                   56.8    $46,085.85
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The Krystal Company                                                                       April 30, 2020
1455 Lincoln Parkway                                                            FTI Invoice No. 7546352
Dunwoody, GA 30346                                                             FTI Job No. 474536.0001
                                                                                           Terms Net 30
                                                                           FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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                                           EXHIBIT C
                          THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                    DETAIL OF TIME ENTRIES
                           FOR THE PERIOD APRIL 1, 2020 TO APRIL 30, 2020

    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                   Review and analysis of budget to
        1         4/2/2020         Zucker, Clifford            0.3
                                                                   actual results WE 3/29.
                                                                   Review and provide comments to
        1         4/7/2020         Zucker, Clifford            0.4 the report to UCC on budget to
                                                                   actual results.
                                                                   Review and analysis of Counsel
        1         4/7/2020         Zucker, Clifford            0.3 correspondence to Committee re:
                                                                   current case updates.
                                                                   Review and analysis of budget to
        1         4/9/2020         Zucker, Clifford            0.4
                                                                   actual results WE 4/5.
                                                                   Review comments to report to
        1         4/14/2020        Zucker, Clifford            0.4
                                                                   Committee on operations.
                                                                   Prepare Committee report on budget
        1         4/14/2020        Kuan, Michelle              1.4 to actual results and new interim
                                                                   cash collateral budget.
                                                                   Review and analysis of budget to
        1         4/16/2020        Zucker, Clifford            0.4
                                                                   actual results WE 4/12.
                                                                     Perform analysis of the budget to
        1         4/23/2020        Zucker, Clifford            0.4
                                                                     actual results WE 4/19.
                                                                     Review budget to actual results for
        1         4/23/2020        Kuan, Michelle              0.4
                                                                     most recent week.
                                                                     Review and analysis of budget to
        1         4/30/2020        Zucker, Clifford            0.4
                                                                     actual operating results WE 4/26.

    1 Total                                                    4.8
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                                                                                  Invoice Summary

The Krystal Company                                                                       April 30, 2020
1455 Lincoln Parkway                                                            FTI Invoice No. 7546352
Dunwoody, GA 30346                                                             FTI Job No. 474536.0001
                                                                                           Terms Net 30
                                                                           FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Review comments to revised cash
        2         4/1/2020         Zucker, Clifford            0.2
                                                                     collateral order and correspondence.
                                                                     Review and analysis of revised two
        2         4/1/2020         Zucker, Clifford            0.3
                                                                     week cash collateral budget.
                                                                     Review and analysis of cash
        2         4/13/2020        Zucker, Clifford            0.7
                                                                     collateral budget through WE 5/17.
                                                                     Review 5th interim cash collateral
        2         4/13/2020        Kuan, Michelle              0.9
                                                                     budget.
                                                                     Review and analysis of revised stub
        2         4/14/2020        Zucker, Clifford            0.5
                                                                     cash collateral budget.
                                                                     Call with CRO on cash collateral
        2         4/14/2020        Zucker, Clifford            0.3
                                                                     budget.
                                                                     Review new interim cash collateral
        2         4/14/2020        Kuan, Michelle              0.9
                                                                     budget.
                                                                     Call with CRO on accrued and
        2         4/20/2020        Zucker, Clifford            0.3
                                                                     unpaid liabilities schedule.
                                                                     Review and analysis of draft accrued
        2         4/20/2020        Zucker, Clifford            0.7
                                                                     and unpaid liabilities schedule.
                                                                     Review and analysis of cash budget
        2         4/28/2020        Zucker, Clifford            0.8
                                                                     and support.
                                                                     Review and analysis of new interim
        2         4/28/2020        Zucker, Clifford            0.7
                                                                     cash collateral budget.
                                                                     Review and analysis of revised cash
        2         4/29/2020        Zucker, Clifford            0.4
                                                                     collateral budget.
                                                                     Review and analysis of cash
        2         4/30/2020        Zucker, Clifford            0.3
                                                                     collateral stipulation.
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                                                                                   Invoice Summary

The Krystal Company                                                                        April 30, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7546352
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Review and analysis of revised cash
        2         4/30/2020        Zucker, Clifford            0.3
                                                                     collateral budget

    2 Total                                                    7.3

                                                                     Call with Piper on status of sale
        6         4/3/2020         Zucker, Clifford            0.2
                                                                     process.
                                                                     Call with Piper on sale process
        6         4/14/2020        Zucker, Clifford            0.3
                                                                     update.
                                                                     Call with Counsel on sale update
        6         4/15/2020        Zucker, Clifford            0.3
                                                                     and operations.
                                                                   Call with Committee member on
        6         4/17/2020        Zucker, Clifford            0.4
                                                                   operations and sale process.
                                                                   Review assumed liability amounts
                                                                   laid out in APA to compare to
        6         4/19/2020        Kuan, Michelle              1.0
                                                                   schedule of admin and priority
                                                                   claims.
                                                                   Call with Counsel to discuss APA
        6         4/20/2020        Zucker, Clifford            0.5
                                                                   report to Committee.

        6         4/20/2020        Zucker, Clifford            0.6   Call with Counsel on draft APA.
                                                                     Review and compare assumed
        6         4/20/2020        Zucker, Clifford            0.6   liabilities schedule to APA
                                                                     provisions.
                                                                     Call with Debtors and Counsel on
        6         4/20/2020        Zucker, Clifford            0.3
                                                                     APA issues.

        6         4/20/2020        Zucker, Clifford            0.4   Call with Piper on APA deal terms.

        6         4/20/2020        Zucker, Clifford            0.8   Review and analysis of TKC APA.
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                                                                                   Invoice Summary

The Krystal Company                                                                        April 30, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7546352
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Call with investment banker on
        6         4/20/2020        Zucker, Clifford            0.2
                                                                     proposed buyer background.
                                                                     Participate in call with counsel and
        6         4/20/2020        Kuan, Michelle              0.5
                                                                     Debtor advisors to discuss APA.
                                                                     Compare updated assumed liabilities
        6         4/20/2020        Kuan, Michelle              0.9
                                                                     schedule to APA language.
                                                                     Participate in discussion with
        6         4/20/2020        Kuan, Michelle              0.4
                                                                     counsel re: APA open issues.
                                                                     Call with Committee member on
        6         4/21/2020        Zucker, Clifford            0.2
                                                                     proposed buyer.
                                                                     Review and analysis of revised TKC
        6         4/21/2020        Zucker, Clifford            0.5
                                                                     APA.
                                                                     Review and analysis of TKC APA
        6         4/21/2020        Zucker, Clifford            0.8
                                                                     schedules.
                                                                     Review and analysis of stalking
        6         4/22/2020        Zucker, Clifford            0.6
                                                                     horse motion.
                                                                     Review lease renegotiation letter
        6         4/23/2020        Zucker, Clifford            0.4
                                                                     and process as part of sale update.
                                                                     Review correspondence re: deal
        6         4/24/2020        Simms, Steven               0.4
                                                                     issues and sale process.
                                                                     Review comments to bid protection
        6         4/24/2020        Zucker, Clifford            0.4
                                                                     objections.
                                                                     Participate in call with Debtor FA to
        6         4/27/2020        Kuan, Michelle              0.7
                                                                     discuss assumed liabilities schedule.
                                                                     Call with company on potential
        6         4/27/2020        Zucker, Clifford            0.7
                                                                     assumed liabilities and cases
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                                                                                   Invoice Summary

The Krystal Company                                                                       April 30, 2020
1455 Lincoln Parkway                                                            FTI Invoice No. 7546352
Dunwoody, GA 30346                                                             FTI Job No. 474536.0001
                                                                                           Terms Net 30
                                                                           FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Call with Piper on stalking horse
        6         4/27/2020        Zucker, Clifford            0.5
                                                                     discussions and process
                                                                     Call with counsel on assumed
        6         4/27/2020        Zucker, Clifford            0.4
                                                                     liabilities.
                                                                     Review comments to proposed
        6         4/27/2020        Zucker, Clifford            0.6
                                                                     settlement agreement.

        6         4/27/2020        Zucker, Clifford            0.2   Call with counsel on buyer offer.

                                                                     Review comments to stalking horse
        6         4/27/2020        Zucker, Clifford            1.1
                                                                     APA and credit bid APA.
                                                                     Call with counsel on bidders and
        6         4/27/2020        Zucker, Clifford            0.4
                                                                     APA provisions.
                                                                     Call with counsel on settlement
        6         4/28/2020        Zucker, Clifford            0.2
                                                                     agreement.
                                                                     Review and analysis of draft credit
        6         4/28/2020        Zucker, Clifford            0.9
                                                                     bid APA schedules.
                                                                     Call with CRO on sale schedules
        6         4/28/2020        Zucker, Clifford            0.6
                                                                     and admin expenses.
                                                                     Review correspondence with
        6         4/28/2020        Zucker, Clifford            0.3
                                                                     committee on proposed sale.
                                                                     Review comments to revised
        6         4/28/2020        Zucker, Clifford            0.4
                                                                     settlement agreement.
                                                                     Review comments to Exhibit A to
        6         4/28/2020        Zucker, Clifford            0.3
                                                                     settlement agreement.

        6         4/28/2020        Zucker, Clifford            0.2   Call with counsel on bid terms.
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                                                                                   Invoice Summary

The Krystal Company                                                                        April 30, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7546352
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
____________________________________________________________________________________________________


    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Review and analysis of draft
        6         4/28/2020        Zucker, Clifford            1.0   assumed liabilities schedule and
                                                                     support.
                                                                     Review comment to revised credit
        6         4/28/2020        Zucker, Clifford            0.7
                                                                     bid APA.
                                                                     Call with S. Simms on APA and sale
        6         4/28/2020        Zucker, Clifford            0.4
                                                                     update.
                                                                     Participate in call with Counsel on
        6         4/28/2020        Simms, Steven               0.5
                                                                     sale process update.
                                                                     Review and analysis of revised
        6         4/29/2020        Zucker, Clifford            0.4
                                                                     settlement agreement.
                                                                     Call with counsel on credit bid and
        6         4/29/2020        Zucker, Clifford            0.3
                                                                     UCC update.
                                                                     Review and analysis of revisions to
        6         4/29/2020        Zucker, Clifford            0.5
                                                                     APA.
                                                                     Review and analysis of revised APA
        6         4/29/2020        Zucker, Clifford            0.7
                                                                     schedules.

    6 Total                                                   22.7

       10         4/3/2020         Joffe, Steven               0.5 Review FYE 2017 tax return.

                                                                     Discuss tax follow-ups and NOL
       10         4/6/2020         Kuan, Michelle              0.8
                                                                     claims with the FTI team.
                                                                     Participate in call with and Counsel
       10         4/6/2020         Zucker, Clifford            0.4
                                                                     on NOL claims.
                                                                     Review and analysis of NOL claims
       10         4/6/2020         Zucker, Clifford            0.6
                                                                     analysis.
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                                                                                   Invoice Summary

The Krystal Company                                                                        April 30, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7546352
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
____________________________________________________________________________________________________


    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Review and analysis of Counsel tax
       10         4/7/2020         Zucker, Clifford            0.5
                                                                     refund research.
                                                                     Call with Debtors and Counsel on
       10         4/7/2020         Zucker, Clifford            0.8
                                                                     NOL activity and uses.
                                                                     Call with Counsel on NOL analysis
       10         4/7/2020         Zucker, Clifford            0.2
                                                                     and Debtors' discussions.
                                                                     Perform review of tax returns for
       10         4/10/2020        Joffe, Steven               2.0
                                                                     past 2 years.
                                                                     Participate in call with FTI team re:
       10         4/10/2020        Joffe, Steven               0.2
                                                                     tax carry backs.

       10         4/10/2020        Zucker, Clifford            0.2 Call with CRO on tax liabilities.

                                                                     Call with the FTI team on tax carry
       10         4/10/2020        Zucker, Clifford            0.2
                                                                     backs.
                                                                     Call with Debtors and Counsel on
       10         4/10/2020        Zucker, Clifford            0.4
                                                                     NOLs.
                                                                   Review and analysis of NOL carry
       10         4/10/2020        Zucker, Clifford            0.7
                                                                   back analysis.
                                                                   Prepare for and participate in call
       10         4/15/2020        Joffe, Steven               0.5 with FTI team re: tax treament of
                                                                   carryback and sale.
                                                                   Review and analysis of
       10         4/15/2020        Zucker, Clifford            0.3
                                                                   correspondence on NOLs.
                                                                     Call with the FTI team on tax
       10         4/15/2020        Zucker, Clifford            0.3
                                                                     treatment of carryback and sale.
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                                                                                   Invoice Summary

The Krystal Company                                                                        April 30, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7546352
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
____________________________________________________________________________________________________


    Task
                       Date               Professional      Hours                   Activity
   Category
                                                                     Review and analysis of 2019
       10         4/15/2020        Zucker, Clifford            0.7
                                                                     estimated tax loss.

    10 Total                                                   9.3

                                                                     Review comments to UCC motion
       13         4/16/2020        Zucker, Clifford            0.6
                                                                     for standing.

    13 Total                                                   0.6

                                                                   Review correspondence from
       14         4/1/2020         Zucker, Clifford            0.5
                                                                   Counsel on hearing and lien memo.
                                                                   Review claims register and filed
       14         4/2/2020         Kuan, Michelle              1.1 statements to estimate GUC pool
                                                                   size.
                                                                   Review updates re: claims register
       14         4/2/2020         Simms, Steven               0.3
                                                                   and pool.
                                                                     Review and analysis of claims
       14         4/2/2020         Zucker, Clifford            0.7
                                                                     register and classification analysis.
                                                                     Review and analysis of pension plan
       14         4/27/2020        Zucker, Clifford            0.4
                                                                     termination motion.
                                                                     Review and analysis of 503(b)9
       14         4/30/2020        Zucker, Clifford            0.5
                                                                     claims register.

    14 Total                                                   3.5
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                                                                                   Invoice Summary

The Krystal Company                                                                        April 30, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7546352
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
____________________________________________________________________________________________________


    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Committee call on financial and
       21         4/15/2020        Zucker, Clifford            0.4
                                                                     legal update.
                                                                   Committee call on financial and
       21         4/21/2020        Zucker, Clifford            0.6
                                                                   legal update on sale process.
                                                                   Participate on Committee call re:
       21         4/21/2020        Kuan, Michelle              0.6 APA and other sale process
                                                                   documentation.
                                                                   Participate in Committee
       21         4/27/2020        Kuan, Michelle              0.4 professionals' pre-call to prepare for
                                                                   Committee call re: sale process.
                                                                   Participate in Committee call re: sale
       21         4/27/2020        Kuan, Michelle              0.7
                                                                   process updates.
                                                                   Committee call on financial and
       21         4/27/2020        Zucker, Clifford            0.6
                                                                   legal update re: sales process.
                                                                   Participate in Committee
                                                                   professionals pre-call and
       21         4/29/2020        Kuan, Michelle              0.6
                                                                   Committee call re: sale process
                                                                   updates.
                                                                   Committee call on financial and
       21         4/29/2020        Zucker, Clifford            0.6
                                                                   legal update re: sales process.
                                                                     Participate in Committee call re: sale
       21         4/29/2020        Simms, Steven               0.5
                                                                     and case issues.

    21 Total                                                   5.0

                                                                   Prepare March fee application to
       24         4/1/2020         Hellmund-Mora, Marili       1.4 ensure compliance with bankruptcy
                                                                   guidelines.
                                                                   Update and finalize the March fee
       24         4/2/2020         Hellmund-Mora, Marili       0.9
                                                                   application.
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                                                                                  Invoice Summary

The Krystal Company                                                                       April 30, 2020
1455 Lincoln Parkway                                                            FTI Invoice No. 7546352
Dunwoody, GA 30346                                                             FTI Job No. 474536.0001
                                                                                           Terms Net 30
                                                                           FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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    Task
                       Date              Professional       Hours                 Activity
   Category
                                                                     Incorporate updates to the March fee
       24         4/2/2020         Kuan, Michelle              1.3
                                                                     application.

    24 Total                                                   3.6

 Grand Total                                                  56.8
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                                                                                Invoice Summary

The Krystal Company                                                                      April 30, 2020
1455 Lincoln Parkway                                                           FTI Invoice No. 7546352
Dunwoody, GA 30346                                                            FTI Job No. 474536.0001
                                                                                          Terms Net 30
                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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                                                EXHIBIT D
                         THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                   SUMMARY OF EXPENSES
                            FOR THE PERIOD APRIL 1, 2020 TO APRIL 30, 2020

     Expense Type                                                                        Amount

     Working Meals                                                                         $57.28

     Total                                                                                 $57.28
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                                                                                       Invoice Summary

The Krystal Company                                                                            April 30, 2020
1455 Lincoln Parkway                                                                 FTI Invoice No. 7546352
Dunwoody, GA 30346                                                                  FTI Job No. 474536.0001
                                                                                                Terms Net 30
                                                                                FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through April 30, 2020
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                                            EXHIBIT E
                           THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                         EXPENSE DETAIL
                                 FOR THE PERIOD APRIL 1, 2020 TO APRIL 30, 2020

         Date      Professional       Expense Type     Expense Detail                              Amount
                                                       Working lunch for self and S. Friedland
      03/04/20     Joffe, Steven      Working Meals                                                  $57.28
                                                       on Krystal case.

                                      Working Meals Total                                             57.28

                                      Grand Total                                                    $57.28
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                                                                                                                              Invoice Remittance

The Krystal Company                                                                                                                       June 16, 2020
1455 Lincoln Parkway                                                                                                           FTI Invoice No. 7550426
Dunwoody, GA 30346                                                                                                            FTI Job No. 474536.0001
                                                                                                                                          Terms Net 30
                                                                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20

FTI Invoice #7550426
Current Invoice Period: Charges Posted through May 31, 2020
____________________________________________________________________________________________________

Professional Services............................................................................................                          $11,610.00

Less 10% Voluntary Reduction....................................................................................                            -$1,161.00

Net Professional Fees...........................................................................................                           $10,449.00

Expenses...............................................................................................................                          $0.00

Total Amount Due this Period..............................................................................                                 $10,449.00

Total Amount Due........................................................................................                                   $10,449.00



Please Remit Payment To: FTI Consulting, Inc.
                         P.O. Box 418178
                         Boston, MA 02241-8178

Wire Payment To: Bank of America, NA                                                  ACH Payments To: Bank of America, NA
103West 33rd Street, New York, NY 10001                                               1455 Market Street, San Francisco, CA 94109
Account #: 003939577164                                                               Account #: 003939577164
ABA #: 026009593                                                                      ABA #: 052001633
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                                                                                         Invoice Summary

The Krystal Company                                                                                June 16, 2020
1455 Lincoln Parkway                                                                    FTI Invoice No. 7550426
Dunwoody, GA 30346                                                                     FTI Job No. 474536.0001
                                                                                                   Terms Net 30
                                                                                   FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through May 31, 2020
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                                          EXHIBIT A
                          THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                               SUMMARY OF HOURS BY PROFESSIONAL
                            FOR THE PERIOD MAY 1, 2020 TO MAY 31, 2020


                                                                   Billing    Total        Total
                   Professional                Position             Rate      Hours        Fees
             Zucker, Clifford          Senior Managing Director        $985    10.4       10,244.00

             Kuan, Michelle            Senior Consultant               660         1.9      1,254.00

             Hellmund-Mora, Marili     Associate                       280         0.4       112.00

             SUBTOTAL                                                          12.7      $11,610.00
                                       Less: 50% discount for non-working travel
                                                                                                0.00
                                       time
             TOTAL BEFORE REDUCTIONS                                           13.1      $11,610.00

                                       Less: 10% voluntary reduction                      (1,161.00)

             GRAND TOTAL                                                       12.7      $10,449.00
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                                                                                Invoice Summary

The Krystal Company                                                                       June 16, 2020
1455 Lincoln Parkway                                                           FTI Invoice No. 7550426
Dunwoody, GA 30346                                                            FTI Job No. 474536.0001
                                                                                          Terms Net 30
                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through May 31, 2020
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                                         EXHIBIT B
                         THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                 SUMMARY OF HOURS BY TASK
                           FOR THE PERIOD MAY 1, 2020 TO MAY 31, 2020

       Task                                                                 Total       Total
       Code                            Task Description                     Hours       Fees
          1      Current Operating Results & Events                            1.7     $1,674.50

          2      Cash & Liquidity Analysis                                     4.0      3,940.00

          6      Asset Sales                                                   3.9      3,841.50

         21      General Meetings with Committee & Committee Counsel           1.3      1,118.00

         24      Preparation of Fee Application                                1.8      1,036.00

                 GRAND TOTAL                                                  12.7    $11,610.00

                 Less: 50% discount for non-working travel time                0.0          0.00

                 TOTAL BEFORE REDUCTIONS                                              $11,610.00

                 Less: 10% voluntary reduction                                        (1,161.00)

                 GRAND TOTAL                                                          $10,449.00
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                                                                                 Invoice Summary

The Krystal Company                                                                       June 16, 2020
1455 Lincoln Parkway                                                           FTI Invoice No. 7550426
Dunwoody, GA 30346                                                            FTI Job No. 474536.0001
                                                                                          Terms Net 30
                                                                          FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through May 31, 2020
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                                          EXHIBIT C
                          THE KRYSTAL COMPANY, ET AL. - CASE NO. 20-61065
                                    DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MAY 1, 2020 TO MAY 31, 2020

    Task
                       Date               Professional      Hours                 Activity
   Category
                                                                    Review and analysis of
        1         5/7/2020         Zucker, Clifford          0.5
                                                                    budget/actual results WE 5/3.
                                                                    Review and analysis of
        1         5/14/2020        Zucker, Clifford          0.4
                                                                    budget/actual results WE 5/10.
                                                                    Review and analysis of
        1         5/19/2020        Zucker, Clifford          0.4
                                                                    budget/actual results WE 5/10.
                                                                    Review and analysis of
        1         5/21/2020        Zucker, Clifford          0.4    budget/actual reporting WE 5/19
                                                                    and cash.

    1 Total                                                  1.7

                                                                    Review correspondence from
        2         5/5/2020         Zucker, Clifford          0.5
                                                                    Debtors on admin costs.
                                                                    Call with Counsel on administrative
        2         5/6/2020         Zucker, Clifford          0.3
                                                                    expenses.
                                                                    Call with Counsel on amendment to
        2         5/13/2020        Zucker, Clifford          0.3
                                                                    cash collateral.
                                                                    Review and analysis of cash
        2         5/13/2020        Zucker, Clifford          0.5
                                                                    projection for sale closing.
                                                                    Review and analysis of wind down
        2         5/19/2020        Zucker, Clifford          0.5
                                                                    funding to settlement agreement.
                                                                    Review and analysis of final cash
        2         5/19/2020        Zucker, Clifford          0.4
                                                                    collateral motion.
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                                                                                   Invoice Summary

The Krystal Company                                                                         June 16, 2020
1455 Lincoln Parkway                                                             FTI Invoice No. 7550426
Dunwoody, GA 30346                                                              FTI Job No. 474536.0001
                                                                                            Terms Net 30
                                                                            FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through May 31, 2020
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    Task
                       Date               Professional      Hours                  Activity
   Category
                                                                     Review and analysis of closing
        2         5/26/2020        Zucker, Clifford            0.8
                                                                     designation rights assets.
                                                                     Review and analysis of contract and
        2         5/27/2020        Zucker, Clifford            0.7
                                                                     lease rejections.

    2 Total                                                    4.0

                                                                     Call with CRO on sale closing
        6         5/6/2020         Zucker, Clifford            0.4
                                                                     process and budget.
                                                                     Review and analysis of amended
        6         5/6/2020         Zucker, Clifford            0.8
                                                                     credit bid.
                                                                     Review and analysis of adequate
        6         5/6/2020         Zucker, Clifford            0.6
                                                                     assurance information on buyers.
                                                                     Review and analysis of
        6         5/11/2020        Zucker, Clifford            0.4
                                                                     reimbursement motion and budget.
                                                                     Review and analysis of revised cure
        6         5/12/2020        Zucker, Clifford            0.6
                                                                     costs analysis.
                                                                     Participate in call with Debtors on
        6         5/12/2020        Zucker, Clifford            0.4
                                                                     sale closing.
                                                                     Call with Debtors on sale transition
        6         5/15/2020        Zucker, Clifford            0.4
                                                                     issues.
                                                                     Review of Counsel correspondence
        6         5/20/2020        Zucker, Clifford            0.3   to UCC on closing and wind-down
                                                                     timeline.

    6 Total                                                    3.9
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                                                                                  Invoice Summary

The Krystal Company                                                                        June 16, 2020
1455 Lincoln Parkway                                                            FTI Invoice No. 7550426
Dunwoody, GA 30346                                                             FTI Job No. 474536.0001
                                                                                           Terms Net 30
                                                                           FEDERAL I.D. NO. XX-XXXXXXX


Re: The Krystal Co. - UCC - 20


Current Invoice Period: Charges Posted through May 31, 2020
____________________________________________________________________________________________________


    Task
                       Date               Professional      Hours                 Activity
   Category
                                                                   Review and analysis of UCC update
       21         5/5/2020         Zucker, Clifford            0.3
                                                                   memo from Counsel.
                                                                   Review correspondence with
       21         5/11/2020        Zucker, Clifford            0.3 Committee re: case update and key
                                                                   issues..
                                                                   Participate in weekly Committee
       21         5/20/2020        Kuan, Michelle              0.5 call re: wind down updates and
                                                                   operational results..
                                                                   Weekly Committee call on financial
       21         5/20/2020        Zucker, Clifford            0.2
                                                                   and legal updates.

    21 Total                                                   1.3

                                                                   Prepare the April fee application to
       24         5/1/2020         Hellmund-Mora, Marili       0.4 ensure compliance with bankruptcy
                                                                   guidelines.
                                                                   Prepare April fee statement and
       24         5/1/2020         Kuan, Michelle              1.4
                                                                   exhibits.

    24 Total                                                   1.8

 Grand Total                                                  12.7
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                                  EXHIBIT E

                                Proposed Order
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                               )       Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al.,1                        )       Case No. 20-61065 (PWB)
                                                     )
                                                     )
                Debtors.                             )       (Jointly Administered)
                                                     )

                        ORDER GRANTING CONSOLIDATED
             FIRST AND FINAL APPLICATION FOR ALLOWANCE OF FEES
                       AND REIMBURSEMENT OF EXPENSES

         Upon consideration of the Consolidated First and Final Fee Application for Allowance of

Fees and Reimbursement of Expenses [Docket No. __] (the “Application”) filed by the Case

Professionals retained in the above-captioned chapter 11 cases seeking, in connection therewith,

allowance and authorizing payment of final compensation and reimbursement of fees and

expenses for Compensation Period; and this Court having jurisdiction over this matter pursuant

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
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to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order (this “Order”)

consistent with Article III of the United States Constitution; and this Court having found that

venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

adequate notice of the Application was provided under the circumstances; and this Court having

reviewed the Application and the amounts set forth on Exhibit A; and this Court having

determined that the legal and factual bases set forth in the Application establish just cause for the

relief granted herein; and after due deliberation and sufficient cause appearing therefor; it is

HEREBY ORDERED THAT:

        1.      The Application is GRANTED to the extent set forth herein.

        2.      Final allowance shall be made to each Case Professional in the sums set forth on

Exhibit A attached hereto as compensation for necessary and reasonable professional services

rendered and for reimbursement of actual and necessary costs and expenses incurred during the

Compensation Period.

        3.      Necessary and reasonable fees for professional services rendered and actual and

necessary costs and expenses incurred by the Case Professionals for the periods following July

31, 2020 shall be paid in accordance with the Wind Down Budget.

        4.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.

        5.      Counsel for the Debtors is directed to serve a copy of this Order on the parties that

received service of the Application within three (3) days of the entry of this Order and to file a

certificate of service with the Clerk of Court.


                                                  2
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                                END OF ORDER




                                      3
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Prepared and presented by:

/s/ Sarah R. Borders
Sarah R. Borders
Georgia Bar No. 610649
Jeffrey R. Dutson
Georgia Bar No. 637106
Leia Clement Shermohammed
Georgia Bar No. 972711
KING & SPALDING LLP
1180 Peachtree Street NE
Atlanta, Georgia 30309
Telephone: (404) 572-4600
Email: sborders@kslaw.com
Email: jdutson@kslaw.com
Email: lshermohammed@kslaw.com

Counsel for the Debtors in Possession




                                         4
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                                                                                    Exhibit A

       (1)                     (2)            (3)               (4)               (5)                (6)                  (7)                    (8)               (9)
     Applicant             Fee Period        Docket            Fees              Fees            Expenses              Expenses           Fees & Expenses   Fees & Expenses
                                           Number of      Requested for     Allowed for the   Requested for the   Allowed for the Fee     Previously Paid      to be Paid
                                           Application    the Fee Period      Fee Period         Fee Period             Period

King & Spalding LLP     January 19, 2020                 $1,533,613.50     $1,533,613.50      $8,886.80           $8,886.80             $1,542,500.30       $0
                        Through July 31,
                        2020

Scroggins &             January 19, 2020                 $258,800.00       $258,800.00        $388.22             $388.22               $259,188.22         $0
Williamson, P.C.        Through July 31,
                        2020

Alvarez & Marsal        January 19, 2020                 $2,248,270.00     $2,248,270.00      $16,314.90          $16,314.90            $2,264,584.90       $0
                        Through July 31,
                        2020

Piper Sandler & Co.     January 19, 2020                 $1,732,500.00     $1,732,500.00      $8,064.03           $8,064.03             $1,740,564.03       $0
                        Through July 31,
                        2020

Kelley Drye & Warren    January 19, 2020                 $545,266.35       $545,266.35        $3049.68            $3049.68              $548,316.03         $0
LLP                     Through July 31,
                        2020

Arnall Golden Gregory   January 19, 2020                 $171,381.00       $171,381.00        $1,432.15           $1,432.15             $172,813.15         $0
LLP                     Through July 31,
                        2020

FTI Consulting          January 19, 2020                 $182,857.95       $182,857.95        $1,978.22           $1,978.22             $184,836.17         $0
                        Through July 31,
                        2020
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                                  EXHIBIT F

                         Piper Sandler Engagement Letter
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                                                                                          CONFIDENTIAL

                                                                                       December 21, 2019
The Krystal Company
1455 Lincoln Pkwy, Suite 600
Dunwoody, GA 30346
Attn: Jon Tibus

Re:     Engagement Letter

Ladies and Gentlemen:

        This letter agreement (the “Agreement”) confirms the terms under which The Krystal Company
(the “Company” or “you”) has engaged Piper Jaffray & Co. (“Piper Jaffray”, “we” or “us”) as your
exclusive financial advisor. For purposes hereof, the term “Company” includes subsidiaries of the Company
and any entity that the Company or its subsidiaries may form or invest in and shall also include any
successor to or assignee of all or any substantial portion of the assets and/or businesses of the Company.
The matters referred to in this Agreement constitute our “Engagement”. This Agreement shall be effective
as of December 21, 2019.

1.      SERVICES TO BE RENDERED.

        The financial advisory services to be provided by Piper Jaffray shall include the following:

      General Financial Advisory and Investment Banking Services. To the extent requested by the
Company, we shall:

        (a)      Familiarize ourselves with the business, operations, properties, financial condition and
prospects of the Company;

        (b)     Review the Company’s financial condition and outlook;

        (c)     Assist you in your development of financial data;

        (d)     Present to the Company’s Board of Directors, creditors, as you request;

         (e)    Analyze the Company’s financial liquidity and evaluate alternatives to improve such
liquidity;

        (f)     Evaluate the Company’s debt capacity and alternative capital structures;

         (g)     Participate in negotiations among the Company and its creditors, suppliers, lessors and
other interested parties with respect to any of the transactions contemplated by this Agreement; and

        (h)    Provide such other advisory services as are customarily provided in connection with the
analysis and negotiation of any of the transactions contemplated by this Agreement, as requested and
mutually agreed.

         Sale Services. We shall:




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        (a)      Provide financial advice to the Company in structuring, evaluating and effecting a value-
maximizing Sale (as defined below), identify potential purchasers and, at the Company’s request, contact
and solicit potential purchasers;

         (b)      Assist in arranging and executing a Sale, including identifying potential purchasers or
parties in interest, assisting in the due diligence process, assisting in the review of letters of intent and the
selection of a stalking horse bidder, conducting the auction, if any, and negotiating the terms of any
proposed Sale; and

        (c)      Appearing in court and testifying in any Court proceeding related to the Sale.

         For purposes of this Agreement, the term “Sale” shall mean the disposition in one or a series of
related transactions of all or substantially all of the assets or businesses of the Company or its subsidiaries.

        Restructuring Services. To the extent requested by the Company, we shall:

        (a)      Analyze various Restructuring (as defined below) scenarios and the potential impact of
these scenarios on the value of the Company and recoveries of stakeholders;

         (b)     Provide strategic advice with regard to restructuring or refinancing the Company’s
obligations;

        (c)      Provide financial advice and assistance to the Company in developing a Restructuring;

         (d)     In connection therewith, provide financial advice and assistance to the Company in
structuring any new securities to be issued under a Restructuring; and

        (e)     Assist the Company and/or participate in negotiations with entities or groups affected by
the Restructuring.

         For purposes of this Agreement, the term “Restructuring” means any recapitalization,
modification, restructuring or reorganization (whether or not pursuant to chapter 11 (“Chapter 11”) of the
title 11 of the United State Code (the “Bankruptcy Code”)) of the Company’s equity and/or debt securities
and/or other indebtedness, obligations or liabilities (including partnership interests, lease obligations, trade
credit facilities (but for the avoidance of doubt, not the negotiation by the Company of adjustments of bills
from vendors in the ordinary course) and/or contract or tort obligations) (collectively, the “Obligations”),
including pursuant to any repurchase, exchange, conversion, cancellation, forgiveness, retirement, plan,
solicitation of consents, waivers, acceptances, authorizations and/or a modification or amendment to the
terms, conditions or covenants thereof (provided such terms, condition or covenants are amended for a
period exceeding twelve months); provided that a Restructuring does not included a Sale.

         Generally. Notwithstanding anything contained in this Agreement to the contrary, we shall have
no responsibility for designing or implementing any initiatives to improve the Company’s administration,
organization, operations, profitability, cash management or liquidity, or to provide any fairness, valuation,
or solvency opinions or to make any independent evaluation or appraisal of any assets or liabilities of the
Company or any other party; provided, for the avoidance of doubt, we will, to the extent requested, provide
the services described in Section 1(d) in “General Financial Advisory and Investment Banking Services.”
We make no representations or warranties about the Company’s ability to (i) successfully improve its
operations, or (ii) maintain or secure sufficient liquidity to operate its business, or (iii) successfully complete
a Restructuring. We are retained under this Agreement solely to provide advice and services regarding the
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transactions contemplated by this Agreement. Our Engagement does not encompass providing “crisis
management” and business consulting services to the Company.

         The advisory services and compensation arrangements set forth in this Agreement do not
encompass other investment banking services or transactions that may be undertaken by us at the written
request of the Company, or any other specific services not set forth in this Agreement. The terms and
conditions of such investment banking services, including compensation and arrangements, would be set
forth in a separate written agreement between us and the Company.

2.      COMPENSATION

       As compensation for our services, the Company agrees to pay us in cash, by wire transfer of
immediately available funds when due, the following fees (individually or collectively, “Fees”):

       (a)           a monthly financial advisory fee (“Monthly Fee”) of $75,000 for each month of the
Engagement, with the first Monthly Fee due and payable on the date hereof, and each subsequent
Monthly Fee due and payable in advance of each subsequent calendar month commencing on January 20,
2020; with one-half of each Monthly Fee being credited against any Sale Fee earned hereunder; plus

       (b)         a Restructuring fee (“Restructuring Fee”) in the amount of $1,250,000, payable
promptly upon consummation of a Restructuring;

        (c)         a Sale fee (“Sale Fee”) equal to four percent (4.0%) of the Transaction Value of a
Sale, payable promptly upon consummation of such Sale.

        The minimum fee under (b) or (c) shall be $1,250,000 (the “Minimum Fee”).

        Notwithstanding the foregoing, Piper Jaffray shall not be paid both a Restructuring Fee and a Sale
Fee in connection with the same transaction. For the avoidance of doubt, where the nature of the transaction
and services provided may fall into more than one category, the highest of any of the Restructuring Fee or
Sale Fee shall apply. In addition, Piper Jaffray shall not be paid a fee with respect to any DIP financing
provided to and incurred by the Company.

         For the purpose of calculating a Sale Fee, “Transaction Value” shall include without limitation
and without duplication: (i) all cash (including escrowed amounts, and other withheld amounts) paid or
payable to the Company or its owners by the purchaser in the transaction; (ii) the fair market value of all
notes, securities and other property issued or delivered or to be issued or delivered to the Company by the
purchaser in the transaction; (iii) indebtedness for borrowed money of the Company assumed by the
purchaser in an acquisition of assets and the amount of any capitalized lease obligations of the Company
that are assumed by the purchaser in an acquisition of assets; (iv) the net present value of any contingent
payments (whether or not related to future earnings or operations); and (v) the amount of any extraordinary
dividends or distributions payable to the Company’s securityholders after repayment in full of all bank debt
and other senior obligations as required under the Bankruptcy Code. For purposes of computing
Transaction Value hereunder, non-cash consideration shall be valued as follows: (a) publicly traded
securities shall be valued at the average of their closing prices (as reported in The Wall Street Journal or
other reputable source reasonably designated by us if The Wall Street Journal does not publish such closing
prices) for the five trading days prior to the closing of the transaction, (b) options shall be valued using the
treasury stock method without giving effect to tax implications, and (c) any other non-cash consideration
shall be valued at the fair market value thereof as determined in good faith by us and the Company.
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3.      EXPENSES

         In addition to our fees for professional services, the Company agrees that it will promptly reimburse
us for all of our reasonable out-of-pocket costs and expenses (“Expenses”) (including, without limitation,
(i) reasonable legal fees and expenses of Piper Jaffray, (ii) reasonable appraisal, consulting and audit fees,
and (iii) reasonable travel and hotel expenses, document delivery, and publicity costs) and for a reasonable
allocation of database, courier and communication costs, incurred by Piper Jaffray in connection with each
transaction contemplated hereby and the Engagement, as incurred by Piper Jaffray. The Company’s
obligation to reimburse expenses incurred by us in connection with the Engagement will survive the
completion or termination of the Engagement.

4.      BANKRUPTCY COURT APPROVAL

         In the event that the Company is or becomes a debtor under Chapter 11 of the Bankruptcy Code,
whether voluntarily or involuntarily, the Company shall use its reasonable efforts to seek an order
authorizing our employment pursuant to the terms of this Agreement, as a professional person pursuant to,
and subject to the standard of review of, Sections 327(a) and 328(a) of title 11 of the Bankruptcy Code, the
applicable Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and applicable local rules and
orders and not subject to any other standard of review under Section 330 of the Bankruptcy Code. In so
agreeing to seek our retention under Sections 327(a) and 328(a) of the Bankruptcy Code, the Company
acknowledges that it believes that our general restructuring experience and expertise, our knowledge of the
capital markets and our merger and acquisition capabilities will inure to the benefit of the Company in
pursuing any transaction, that the value to the Company of our services derives in substantial part from that
expertise and experience and that, accordingly, the structure and amount of the contingent Fees are
reasonable regardless of the number of hours to be expended by our professionals in the performance of the
services to be provided hereunder. The Company shall submit our employment application as soon as
practicable following the Company’s filing of a voluntary Chapter 11 case, or the entry of an order for relief
in any involuntary case filed against the Company, and use its reasonable efforts to cause such application
to be considered on a prompt basis. The employment application and the proposed order authorizing our
employment shall be provided to us as much in advance of any Chapter 11 filing as is practicable, to enable
us to review and approve (in our sole discretion) any such application or order prior to its filing. Following
entry of the order authorizing our employment, the Company shall pay all Fees and Expenses due pursuant
to this Agreement as promptly as possible subject to (i) the approval of the court having jurisdiction of the
bankruptcy case involving the Company (the “Bankruptcy Court”), (ii) any fee and expense guidelines,
orders of the Bankruptcy Court, the Bankruptcy Rules and applicable local rules and orders, and (iii) any
requirements governing interim and final fee applications. The Company will work with us to promptly
file any and all necessary applications regarding such fees and expenses with the Bankruptcy Court. We
shall have no obligation to provide services under this Agreement in the event that the Company becomes
a debtor under the Bankruptcy Code unless our retention under this Agreement is approved under Sections
327(a) and 328(a) of the Bankruptcy Code by final order of the Bankruptcy Court which is acceptable to us
and which approves this Agreement in all material respects. If the order authorizing our employment is not
obtained, or is later reversed, modified or set aside for any reason, we may terminate this Agreement, and
the Company shall promptly reimburse us for all Fees and Expenses due hereunder, including any Fees due
or to become due under the tail period described in the TERMINATION section below. Prior to
commencing a Chapter 11 case, the Company shall pay all amounts then due and payable to us in cash.
The terms of this Section are solely for our benefit, and may be waived, in whole or in part, only by us.
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5.      EXPERTISE

          The Company acknowledges and agrees that Piper Jaffray’s restructuring expertise as well as its
capital markets knowledge, financing skills and mergers and acquisitions capabilities, some or all of which
may be required by the Company during the term of our Engagement hereunder, were important factors in
determining the amount of the various fees set forth herein, and that the ultimate benefit to the Company of
our services hereunder could not be measured merely by reference to the number of hours to be expended
by our professionals in the performance of such services. The Company also acknowledges and agrees that
the various fees set forth herein have been agreed upon by the parties in anticipation that a substantial
commitment of professional time and effort will be required of us and our professionals hereunder over the
life of the Engagement, and in light of the fact that such commitment may foreclose other opportunities for
us and that the actual time and commitment required of us and our professionals to perform their services
hereunder may vary substantially from week to week or month to month, creating “peak load” issues for
the firm. In addition, given the numerous issues which we may be required to address in the performance
of our services hereunder, our commitment to the variable level of time and effort necessary to address all
such issues as they arise, and the market prices for our services for engagements of this nature in an out-of-
court context, the Company agrees that all of the fee arrangements specified herein are commercially
reasonable.

6.      COMPANY INFORMATION

         You agree to furnish Piper Jaffray with such information about the Company, and its subsidiaries
and affiliates and the transactions contemplated hereby as Piper Jaffray reasonably requests, including
information to be included in a prospectus (including any related registration statement), private placement
memorandum, offering memorandum or circular or other disclosure document. You hereby represent and
covenant to Piper Jaffray that (a) all information other than the Projections (as defined below) that has been
or will be made available to Piper Jaffray by you, or any of your representatives in connection with the
transactions contemplated hereby (the “Information”), when taken as a whole, is and will be complete and
correct in all material respects and does not and will not contain any untrue statement of a material fact or
omit to state a material fact necessary to make the statements contained therein, in the light of the
circumstances under which such statements are made, not misleading and (b) all financial projections that
have been or will be made available to Piper Jaffray by you, or any of your representatives in connection
with the transactions contemplated hereby (the “Projections”) have been and will be prepared in good faith
and will be based upon assumptions believed by you to be reasonable (it being understood that projections
by their nature are inherently uncertain and no assurances are being given that the results reflected in the
Projections will be achieved).

         You agree that if at any time prior to the Closing Date any of the representations in the preceding
sentence are or would be no longer accurate and complete in all material respects, if the Information and
Projections were being furnished or delivered, and such representations were being made, at any such time,
then you will promptly supplement, or cause to be supplemented, the Information and Projections so that
such representations will be correct in all material respects at such time. You also agree to promptly advise
Piper Jaffray of all developments materially affecting the Company or any of its subsidiaries or affiliates
or the transactions contemplated hereby. Subject to its confidentiality obligations to you, you acknowledge
that Piper Jaffray may share with any of its affiliates, and such affiliates may share with Piper Jaffray, any
information related to the Company or any of its subsidiaries or affiliates (including, without limitation, in
each case, information relating to creditworthiness) and the transactions contemplated hereby.

        In conducting the transactions hereunder, you acknowledge that Piper Jaffray is and will be using
and relying on the Information without independent verification thereof.
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7.      WORK PRODUCT

        All documents, materials or information of any kind created by us in connection with this
engagement, including, without limitation, any written reports, memoranda, analyses, work papers or status
summaries, whether or not delivered to the Company, are work product (collectively, “Work Product”).
You agree not to use any Work Product except in connection with any transaction contemplated by this
Agreement or otherwise within the scope of the Engagement, and not for any other purpose. Unless
otherwise expressly agreed, no one, other than senior management or the Company’s Board of Directors,
is authorized to rely upon the Work Product. You may not publicly disclose, summarize, excerpt from or
otherwise refer to any Work Product rendered by us, whether formal or informal, without our prior written
consent. Notwithstanding the foregoing, the Company may disclose Work Product if, upon written advice
of outside counsel, and then only to the extent required by law, order of a court of competent jurisdiction,
or legal process, provided the Company shall provide us prior written notice of such requirement and
cooperate with us to seek reasonable protective treatment of such Work Product.

8.      SCOPE OF PIPER JAFFRAY’S SERVICES

         In performing its services pursuant to this Agreement, Piper Jaffray is not assuming any
responsibility for the decision of the Company or any other party to pursue (or not to pursue) any business
strategy or to effect (or not to effect) any Restructuring or other transaction contemplated hereby. Piper
Jaffray shall not be responsible for providing or deemed to have provided any tax, accounting, actuarial,
legal or other specialist advice.

9.      INDEMNIFICATION AND CONTRIBUTION

        Annex A is hereby incorporated by reference into and made a part of this Agreement.

10.     USE AND DISCLOSURE OF ADVICE AND INFORMATION

         You acknowledge that all opinions and advice we render, whether formal or informal, are intended
solely for the benefit and use of your Board of Directors in its consideration of the Restructuring or any
other transaction contemplated hereby. Except to the Board of Directors, your senior management and their
professional advisors, no advice or opinion we render, whether formal or informal, may be disclosed, in
whole or in part, or summarized, excerpted from, or otherwise referred to without our prior written consent,
which consent will not be unreasonably withheld.

         To help the United States government fight the funding of terrorism and money laundering
activities, the federal law of the United States requires all financial institutions to obtain, verify and record
information that identifies each person with whom they do business. This means we must ask you for
certain identifying information, including a government-issued identification number (e.g., a U.S. taxpayer
identification number) and such other information or documents that we consider appropriate to verify your
identity, such as certified articles of incorporation, a government-issued business license, a partnership
agreement or a trust instrument.

        You agree that Piper Jaffray has the right to place advertisements in financial and other newspapers
and journals at its own expense describing its services to you.

11.     REPRESENTATIONS, WARRANTIES AND AGREEMENTS OF PIPER JAFFRAY
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        We represent and warrant to you that Piper Jaffray is a broker-dealer registered with the U.S.
Securities and Exchange Commission pursuant to the Securities Exchange Act of 1934, as amended, and is
a member firm of FINRA, and at all times relevant to this engagement, will maintain such registration and
membership.

12.     OTHER MATTERS RELATING TO OUR ENGAGEMENT

         You acknowledge and agree that you have retained Piper Jaffray solely to provide the services set
forth in this Agreement and that your engagement of Piper Jaffray shall not be deemed to be on behalf of,
and is not intended to confer rights upon, any of your affiliates, security holders, creditors or other persons
not a party hereto as against Piper Jaffray or any of its affiliates or any of their respective directors, officers,
agents, employees or representatives.

        In rendering such services, we will act as an independent contractor. You acknowledge and agree
that nothing in this Agreement is intended to create duties to you beyond those expressly provided for in
this Agreement, and we expressly disclaim the creation of any fiduciary or agent relationship on our part.
In no event, shall Piper Jaffray or any of its affiliates or agents be responsible or liable as a fiduciary to you
or any of your affiliates, security holders, creditors, or employees, or any other person making any claim
on behalf of or through you or any of your affiliates, security holders, creditors or employees, in connection
with any activity that Piper Jaffray may undertake or has undertaken in furtherance of a transaction or
otherwise pursuant to this Agreement, either before or after the date hereof.

         You acknowledge that Piper Jaffray is a securities firm engaged in securities trading and brokerage
activities and providing investment banking and financial advisory services. You further acknowledge that
affiliates of Piper Jaffray engage in investment advisory and asset management activities, both for their
own accounts and for those of their clients. In the ordinary course of business, we and our affiliates may at
any time hold long or short positions, and may trade or otherwise effect transactions, for their own account
or the accounts of customers, in your debt or equity securities, or the debt or equity securities of your
affiliates or other entities that may be involved in the transactions contemplated by this Agreement.

          In connection with the services to be provided hereunder, Piper Jaffray may employ the services of
its affiliates and may share with any such affiliate any information concerning the Company in accordance
with the terms of this Agreement. Any affiliate so employed shall be entitled to all of the benefits afforded
to Piper Jaffray hereunder and shall be entitled to be reimbursed for its expenses on the same basis as Piper
Jaffray.

        In addition, we and our affiliates may from time to time perform various investment banking and
financial advisory services for other clients and customers who may have conflicting interests with respect
to you. Except as otherwise provided herein or by separate agreement with you, we and our affiliates will
not use confidential information obtained from you pursuant to this engagement in connection with the
performance by us and our affiliates of services for other companies, and we and our affiliates will not
furnish any such information to other companies. You also acknowledge that we and our affiliates have no
obligation to use in connection with this engagement or to furnish you, confidential information obtained
from other companies.

         Furthermore, you acknowledge we may have fiduciary or other relationships whereby we or our
affiliates may exercise voting power over securities of various persons, which securities may from time to
time include securities of the Company. You acknowledge that we or such affiliates may exercise such
powers and otherwise perform our functions in connection with such fiduciary or other relationships
without regard to our relationship to you hereunder.
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        You acknowledge that we are not an advisor as to legal, tax, accounting or regulatory matters in
any jurisdiction. You should consult with your own advisors concerning such matters and are responsible
for making your own independent investigation and appraisal of the transactions contemplated by this
agreement, and we have no responsibility or liability to you with respect such matters.

        If the definitive transaction agreement includes a provision which disclaims on behalf of you any
representation, warranty or agreement, not made in writing in the definitive transaction agreement, you will
use your best efforts to include in such agreement a similar disclaimer for the benefit of Piper Jaffray and
an acknowledgment by the acquiring party of Piper Jaffray’s third party beneficiary status in respect of such
disclaimer.

13.     CONFIDENTIALITY

        This Agreement is delivered to you upon the condition that neither the existence of this Agreement,
nor any of its contents shall be disclosed by you or any of your affiliates, directly or indirectly, to any other
person, except that such existence and contents may be disclosed (i) as may be compelled in a judicial or
administrative proceeding or as otherwise required by law and (ii) to your directors, officers, employees,
legal counsel, accountants, lenders and their legal counsel and advisors in each case on a confidential and
“need-to-know” basis and only in connection with the transactions contemplated hereby.

14.     TERMINATION

         The engagement of Piper Jaffray hereunder may be terminated (i) by Piper Jaffray at any time or
(ii) by you on the date that is 12 months after the date hereof, in each case by prior written notice thereof
to the other party; provided, that the provisions under the headings COMPENSATION, EXPENSES,
INDEMNIFICATION AND CONTRIBUTION (including Annex A), CONFIDENTIALITY, and MISCELLANEOUS
shall survive any termination of this Engagement; provided, however, that prior to any such termination by
you, you shall have paid or cause to be paid to Piper Jaffray any fees or other amounts due to Piper Jaffray
hereunder; provided, further, that in the case of termination by you, we shall be entitled to be paid the full
amount of our Fees if, within 9 months of such termination, (x) any Restructuring and/or Sale is effected,
or (y) the Company agrees to a Restructuring and/or Sale which is subsequently effected, at any time.
Notwithstanding the foregoing, the Company may terminate this engagement on or before January 1, 2020
without the payment of any Minimum Fee and without Piper Jaffray having any additional right to any
compensation from the Company. No Minimum Fee will be due if the Bankruptcy Court does not approve
Piper Jaffray’s retention on the basis of a conflict of interest provided the Company has fully complied with
Paragraph 4 hereof.

15.     MISCELLANEOUS

         This Agreement shall be governed by, and construed in accordance with, the laws of the State of
New York. You and we hereby waive any right to trial by jury with respect to any claim, action or
counterclaim (whether based in contract, tort or otherwise) in connection with any dispute arising out of
this Agreement or any of the matters contemplated herein. You further agree that the foregoing provisions
of this paragraph shall also apply to your subsidiaries to the same extent as to you, and that Piper Jaffray’s
obligations hereunder are being made in reliance on your foregoing agreements.

        This Agreement shall not be assignable by either party without the prior written consent of the other
party, provided, however, that either party shall have the absolute right to assign this Agreement to any
party that is a successor to the assigning party by contract or operation of law. Any purported assignment
to a non-successor party without such prior written consent shall be void.
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        Piper Jaffray reserves the right to employ the services of its affiliates in providing services
contemplated by this Agreement and to allocate, in whole or in part, to its affiliates certain fees payable to
Piper Jaffray in such manner as Piper Jaffray and its affiliates may agree, in Piper Jaffray’s sole discretion.

        You further acknowledge that Piper Jaffray may share with any of its affiliates, and such affiliates
may share with Piper Jaffray, any information related to the Company or any of its subsidiaries or affiliates
(including, without limitation, information relating to creditworthiness) and the transactions contemplated
hereby; provided that Piper Jaffray agrees to treat, and cause any such affiliate to treat, all non-public
information provided to us by you as confidential information in accordance with customary banking
industry practices.

        This Agreement constitutes the entire agreement between the parties relating to the subject matter
hereof and supersedes any and all previous agreements and understandings, oral or written, relating to such
subject matter, except for the Non-Disclosure Agreement, dated December 3, 2019. No party has been
authorized by Piper Jaffray to make any oral or written statements or agreements that are inconsistent with
this Agreement. This Agreement may not be amended or any provision hereof waived or modified except
by an instrument in writing signed by Piper Jaffray and you. This Agreement may be executed in any
number of counterparts, each of which shall be an original and all of which, when taken together, shall
constitute one agreement. Delivery of a manually executed counterpart of a signature page of this
Agreement by e-mail in PDF format shall be effective as delivery of the hardcopy original signature page.
Headings are for convenience of reference only and shall not affect the construction of, or be taken into
consideration when interpreting, this Agreement.

         Except with respect to any Indemnified Person as set forth in Annex A hereto, this Agreement is
intended for the benefit of the parties hereto and, is not intended to confer any benefits upon, or create any
rights in favor of, and may not be relied on by, any persons other than the parties hereto.



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          Jonathan Tibus
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                                                  Annex A


You agree to (i) indemnify and hold harmless us, our affiliates (within the meaning of the Securities Act
of 1933), and each of our respective past, present and future partners, managers, members, directors,
officers, agents, consultants, employees and controlling persons (within the meaning of the Securities Act
of 1933, as amended or Section 20 of the Securities Exchange Act of 1934, as amended) (each of Piper
Jaffray and such other person or entity is hereinafter referred to as an “Indemnified Person”), to the fullest
extent lawful from and against any losses, claims, damages, liabilities and expenses, joint or several,
asserted by or attributable to any third party, and all actions, inquiries, proceedings and investigations in
respect thereof, to which any Indemnified Person may become subject, arising out of or in connection
with our engagement under, or any matter referred to in the agreement to which this Annex A is attached
and of which this Annex A forms a part (whether occurring before, at, or after the date hereof) (including
this Annex A, this “Agreement”), regardless of whether any of such Indemnified Persons is a party
thereto, and (ii) periodically reimburse an Indemnified Person for such person’s legal and other expenses
as may be incurred in connection with investigating, preparing, defending, paying, settling or
compromising any such action, inquiry, proceeding or investigation, whether or not such action, inquiry,
proceeding or investigation is initiated or brought by you, your creditors or stockholders, or any other
person. You are not responsible under clause (i) of the foregoing sentence for any losses, claims,
damages, liabilities or expenses to the extent that such loss, claim, damage, liability or expense has been
finally judicially determined to have resulted primarily and directly from actions taken or omitted to be
taken by such Indemnified Person due to such person’s gross negligence, willful misconduct or bad faith.
To the extent that any prior payment you made to an Indemnified Person is determined to have been
improper by reason of such Indemnified Person’s gross negligence, willful misconduct or bad faith, such
Indemnified Person will promptly reimburse you such amount.

If the indemnity or reimbursement referred to above is, for any reason whatsoever, unenforceable,
unavailable or otherwise insufficient to hold each Indemnified Person harmless, you agree to pay to or on
behalf of each Indemnified Person contributions for losses, claims, damages, liabilities or expenses so that
each Indemnified Person ultimately bears only a portion of such losses, claims, damages, liabilities or
expenses as is appropriate (i) to reflect the relative benefits received by each such Indemnified Person,
respectively, on the one hand and you and your stockholders on the other hand in connection with the
Transaction or (ii) if the allocation on that basis is not permitted by applicable law, to reflect not only the
relative benefits referred to in clause (i) of the foregoing sentence but also the relative fault of each such
Indemnified Person, respectively, and you as well as any other relevant equitable considerations;
provided, however, that in no event will the aggregate contribution of all Indemnified Persons to all
losses, claims, expenses, damages, liabilities or expenses in connection with any Transaction exceed the
amount of the fee actually received by us pursuant to this Agreement. The respective relative benefits
received by us and you in connection with any Transaction will be deemed to be in the same proportion as
the aggregate fee paid or proposed to be paid to Piper Jaffray in connection with the Transaction bears to
the Aggregate Transaction Value paid or proposed to be paid in the Transaction, whether or not
consummated.

Promptly after its receipt of notice of the commencement of any action or proceeding, any Indemnified
Person will, if a claim in respect thereof is to be made against you pursuant to this Agreement, notify you
in writing of the commencement thereof, but omission to so notify you will not relieve you from any
liability which you may have to any Indemnified Person, except to the extent that you suffer actual
prejudice as a result of such failure; provided, however, under no circumstances will such omission
relieve you from your obligation to indemnify any Indemnified Person pursuant to applicable statutory
law, common law, or contractual obligations otherwise than hereunder. If you so elect, you may assume
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the defense of such action or proceeding in a timely manner, including the employment of counsel
(reasonably satisfactory to us) and payment of expenses, provided you permit an Indemnified Person and
counsel retained by an Indemnified Person at its expense to participate in such defense. Notwithstanding
the foregoing, in the event (i) you fail promptly to assume the defense and employ counsel reasonably
satisfactory to us, or (ii) the Indemnified Person has been advised by counsel that there exist actual or
potential conflicting interests between you or your counsel and such Indemnified Person, an
Indemnified Person may employ separate counsel (in addition to local counsel) to represent or
defend such Indemnified Person in such action or proceeding, and you agree to pay the fees and
disbursements of such separate counsel as incurred; provided however, that you will not, in connection
with any one such action or proceeding, or separate but substantially similar actions or proceedings
arising out of the same general allegations, be liable for fees and expenses of more than one separate firm
of attorneys (in addition to any local counsel).

You will not, without our prior written consent, settle or compromise or consent to the entry of any
judgment in any pending or threatened claim, action, suit or proceeding in respect of which
indemnification or contribution may be sought under this agreement, unless such settlement, compromise
or consent includes an express, complete and unconditional release of us and each other Indemnified
Person from all liability and obligations arising therefrom and does not include any admission of fault on
the part of us or any other Indemnified Person. Without your prior written consent, which will not be
unreasonably withheld, delayed or conditioned, no Indemnified Person will settle or compromise any
claim for which indemnification or contribution may be sought hereunder. Notwithstanding the foregoing
sentence, if at any time an Indemnified Person requests that you reimburse the Indemnified Person for
fees and expenses as provided in this agreement, you agree that you will be liable for any settlement of
any proceeding effected without your prior written consent if (i) such settlement is entered into more than
30 days after receipt by you of the request for reimbursement, and (ii) you will not have reimbursed the
Indemnified Person in accordance with such request prior to the date of such settlement.

The provisions of this Annex A shall apply to any modifications of this Agreement, shall be in addition to
any liability that the Company may otherwise have, and shall be binding on and inure to the benefit of any
of (i) the Company’s successors or assigns and (ii) each Indemnified Person. The provisions of this
Annex A shall survive the consummation of any Transaction, as well as any termination or completion of
the relationship established by this Agreement, and shall remain operative and in full force and effect.
Nothing, however, in this Annex A is intended to confer any right or remedy on any person or entity other
than the parties to this Agreement and their respective successors and assigns, other than the Indemnified
Persons.


You also agree that no Indemnified Person will have any liability to you or your affiliates, directors,
officers, employees, agents, creditors or stockholders, directly or indirectly, related to or arising out of the
Agreement or the services performed hereunder, except losses, claims, damages, liabilities and expenses
you incur which have been finally judicially determined to have resulted primarily and directly from
actions taken or omitted to be taken by such Indemnified Person due to such person’s gross negligence,
willful misconduct or bad faith. In no event, regardless of the legal theory advanced, will any
Indemnified Person be liable for any consequential, indirect, incidental or special damages of any nature.
Your indemnification, reimbursement, exculpation and contribution obligations in this Annex A will be in
addition to any rights that any Indemnified Person may have at common law or otherwise.

Capitalized terms used, but not defined in this Annex A, have the meanings assigned to such terms in the
Agreement.
